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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA




RALPH COLEMAN, et al.,
    Plaintiffs,

           v.                          No. CIV. S-90-0250 KJM DB P


EDMUND G. BROWN, JR. et al.,
    Defendants.




    SPECIAL MASTER'S MONITORING REPORT ON THE MENTAL HEALTH
      INPATIENT CARE PROGRAMS FOR INMATES OF THE CALIFORNIA
          DEPARTMENT OF CORRECTIONS AND REHABILITATION




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                                                             August 30, 2018
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                        ACRONYMS and ABBREVIATIONS


3CMS:              Correctional Clinical Case Management System
ADL:               Activities of Daily Living
AIMS:              Abnormal Involuntary Movement Scale
ASH:               Atascadero State Hospital
BUM:               Bed Utilization Management
CC I:              Correctional Counselor I
CCWF:              Central California Women’s Facility
CDCR:              California Department of Corrections and Rehabilitation
CHCF:              California Health Care Facility
CHCF-PIP:          California Health Care Facility Psychiatric Inpatient Program
CIW:               California Institution for Women
CIW-PIP:           California Institution for Women Psychiatric Inpatient Program
CMF:               California Medical Facility
CMF L1-PIP:        California Medical Facility L1 Psychiatric Inpatient Program
CMF-PIP:           California Medical Facility Psychiatric Inpatient Program
CMC:               California Men’s Colony
CPR:               Cardiopulmonary Resuscitation
CQI:               Continuous Quality Improvement
CQIT:              Continuous Quality Improvement Tool
CSH:               Coalinga State Hospital
CSP/LAC:           California State Prison/Los Angeles County
CSP/SAC:           California State Prison/Sacramento
CTC:               Correctional Treatment Center
DBT:               Dialectical Behavioral Therapy
DD:                Developmental Disability
DPS:               Discretionary Program Status
DSH:               Department of State Hospitals

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EHRS:               Electronic Health Records System
EMRRC:              Emergency Medical Response Review Committee
EMS:                Emergency Medical System
EOP:                Enhanced Outpatient Program
FRC:                Facility Review Committee
FTE:                Full-Time Equivalent
GED:                General Equivalency Diploma
HAS:                Hospital Access System
HCITC:              High Custody Intermediate Treatment Center
HCPOP:              Health Care Placement Oversight Process
HS:                 Hora Somni/Hour of Sleep
ICC:                Institutional Classification Committee
ICF:                Intermediate Care Facility
IDTT:               Interdisciplinary Treatment Team
IEX:                Indecent Exposure
IPOC:               Individual Plan of Care
KVSP:               Kern Valley State Prison
LVN:                Licensed Vocational Nurse
LRH:                Least Restrictive Housing
MAPP:               My Activity Participation Plan
MCSP:               Mule Creek State Prison
MDO:                Mentally Disordered Offender
MHCB:               Mental Health Crisis Bed
MHSDS:              Mental Health Services Delivery System
MOU:                Memorandum of Understanding
MTA:                Medical Technical Assistant
MVR:                Medication Variance Reporting
NCAT:               Non-Clinical Activity Tracking


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NKSP:               North Kern State Prison
NOS:                Not Otherwise Specified
PaWSS:              Patient Wellness and Recovery Model Support System
PBSP:               Pelican Bay State Prison
PBST:               Positive Behavioral Support Team
PIP:                Psychiatric Inpatient Program
PRC:                Program Review Committee
PRN:                Take As Needed
PSH:                Patton State Hospital
PSSC:               Psychology Specialist Services Committee
PSU:                Psychiatric Services Unit
PTSD:               Post-Traumatic Stress Disorder
QIT:                Quality Improvement Team
RJD:                Richard J. Donovan Correctional Facility
RN:                 Registered Nurse
RVR:                Rules Violation Report
SATF:               Substance Abuse Treatment Facility
SIR:                Serious Incident Report
SNF:                Skilled Nursing Facility
SOMS:               Strategic Offender Management System
SPC:                Suicide Prevention Committee
SPRFIT:             Suicide Prevention and Response Focused Improvement Team
SQ-PIP:             San Quentin Psychiatric Inpatient Program
SRN:                Senior Registered Nurse
SHU:                Security Housing Unit
SMTA:               Senior Medical Technical Assistant
SQ:                 San Quentin State Prison
SRA:                Suicide Risk Assessment


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SRASHE:             Suicide Risk Assessment and Self-Harm Evaluation
STAGE:              Steps Toward Accomplishment Growth and Education
STEP:               System to Encourage Progress
SVPP:               Salinas Valley Psychiatric Program
SVSP:               Salinas Valley State Prison
SVSP-PIP:           Salinas Valley State Prison Psychiatric Inpatient Program
TC:                 Treatment Center
TC1:                Treatment Center 1
TC2:                Treatment Center 2
TCMP:               Transitional Case Management Program
TSI:                Therapeutic Strategies and Interventions Training
UCC:                Unit Classification Committee
VPP:                Vacaville Psychiatric Program
WaRMSS:             Wellness and Recovery Model Support System
WIC:                California Welfare and Institutions Code




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                                               INTRODUCTION

         This report encompasses the Special Master’s full review of the inpatient mental health

care programs that provide treatment to inmates in the California Department of Corrections and

Rehabilitation (CDCR). All eight inpatient programs are covered in the report, including the six

CDCR operated Psychiatric Inpatient Programs (PIPs)—California Health Care Facility

Psychiatric Inpatient Program (CHCF-PIP), California Institution for Women Psychiatric

Inpatient Program (CIW-PIP), California Medical Facility L1 Psychiatric Inpatient Program

(CMF L1-PIP), California Medical Facility Psychiatric Inpatient Program (CMF-PIP), San

Quentin Psychiatric Inpatient Program (SQ-PIP), Salinas Valley Psychiatric Inpatient Program

(SVSP-PIP)—and the two Department of State Hospitals (DSH) programs located at Atascadero

State Hospital (DSH-Atascadero) and Coalinga State Hospital (DSH-Coalinga). The monitor1

conducted all inspections on-site2 with each program receiving two to three day visits between

November 1, 2017 and February 1, 2018.

                  The monitoring focus areas were:

                           A.       Staffing

                           B.       Treatment and Clinical Services

                           C.       Quality of Care Issues in IDTTs and Treatment Planning in the
                                    Inpatient Programs

                           D.       Patient Access to Treatment



1
 While collected data and findings in this report are the result of members of different monitoring teams, the various
monitors are collectively referred to as ‘the monitor.” The Special Master’s staff of mental health experts are
collectively referred to as “the Special Master’s expert.”

2
 In the preceding report, CIW-PIP and DSH-Coalinga were monitored by means of paper review, i.e. the monitor
and expert conducted their review by examination of documentation regarding the operations at these programs
during the review period.


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                      E.      Referrals and Transfers

                      F.      Admissions and Discharges

                      G.      Patient Disciplinary Process and the Use of Force

                      H.      Use of Observation Cells/Rooms, Seclusion, and Restraint

                      I.      Suicide Prevention, Emergency Response, and the Death Review
                              Process

                      J.      Quality Management and Utilization Review

                      K.      Patient Complaints/Satisfaction

                      L.      Coleman Postings

                      M.      Laundry and Supply Issues

                      N.      Visitation/Privileges/Telephone Access

                      O.      Law Library Access

                      P.      Education

       Following the format of the preceding inpatient report, this report is comprised of two

major sections. Part I provides an update on the state of access to mental health inpatient care

for Coleman class members. Subpart I (A) covers the transfer of responsibility to CDCR for

operation of three DSH inpatient programs which treated Coleman class members. Subpart I (B)

provides an update on the activation of 70 temporary intermediate care beds at CMF L1-PIP.

Subpart I (C) contains a discussion of five core areas—staffing vacancies, referrals and transfers,

least restrictive housing (LRH) placements, access to DSH facilities, and clinical services and

treatment in inpatient programs—which defendants must address to sustain any progress that has

been achieved related to problems with access to and the provision of adequate mental health

care for CDCR inmates.




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        Part II of this report contains the Special Master’s summaries of his findings at the eight

inpatient programs. The summaries are organized by focus area (i.e. items A through P listed

above), and further grouped by common characteristics, i.e., (1) DSH-operated facilities: DSH-

Atascadero and DSH-Coalinga; (2) the PIPs now under CDCR’s operation as a result of Lift and

Shift: SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP; and (3) the PIPs operated by CDCR

prior to Lift and Shift: CIW-PIP and SQ-PIP.

        The Special Master’s individual summaries of his findings at each of the eight inpatient

programs are provided in Appendices A1 - A8. His expert’s clinical case reviews for each of the

eight programs are found in Appendices B-1 - B-8.

        On June 22, 2018, the Special Master provided the Coleman parties with a draft version

of this report. In accordance with regular practice for the Special Master’s compliance reports,

the parties were given 30 days to submit to the Special Master any comments or objections to the

draft report. In their written response, plaintiffs’ counsel stated that the findings in the draft

report supported the need for affirmative recommendations and requested the Special Master

include in this report three recommendations for court orders. The Special Master acknowledges

plaintiffs’ request and their reasoning in support, and intends to address those concerns as part of

the All-Parties Workgroup process and/or in Coleman Policy Meetings.

        The first of plaintiffs’ three recommendations was that DSH be required to report staffing

levels consistently with their past reporting practices. In support of this recommendation,

plaintiffs stated that defendants recently made two changes to the way they reported on staffing –

they now reported staffing levels as ratios, rather than as vacancy rates, and only reported

staffing levels for the Coleman class member population, rather than overall staffing levels for

the entire hospital population, as they had done in the past. Plaintiffs asked that defendants be



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required to provide any missing data retroactively, to aid in proper comparisons in future

evaluations of staffing data.

       The second of plaintiffs’ three recommendations was twofold. Plaintiffs requested that

defendants be required to: (1) correct deficiencies in documentation related to the provision of

inpatient care in the PIPs and DSH programs, and (2) report monthly on the number of treatment

hours scheduled, offered, attended, cancelled, and refused in inpatient programs in the same way

that they are reported for CDCR Enhanced Outpatient Program (EOP) inmates. This

recommendation reflects concerns related to the ability to effectively monitor whether class

members are receiving adequate care while in the inpatient programs. In support of the first part

of this recommendation, plaintiffs correctly point to several instances in the draft inpatient care

report where the Special Master reported insufficient documentation in patients’ medical records.

       The third of plaintiffs’ three recommendations related to defendants’ LRH practices.

Plaintiffs requested that defendants be required to (1) “improve their documentation of LRH

reviews and re-evaluations,” (2) “meet specific timeframes for evaluating and moving Coleman

class members into their LRH designations,” and (3) develop and “implement more specific

criteria to ensure class members are being moved consistently to lower security housing.” In

support of these recommendations, plaintiffs correctly state that the draft inpatient report cites a

need to fully integrate into treatment plans both a discussion of LRH and the development of

treatment interventions to assist patients in reaching their LRH. Further, plaintiffs point to data

indicating that since October 2017, the percentage of class members housed in higher security

settings than required by their LRH has increased to 58 percent, its highest rate since

measurement began. Plaintiffs assert that the LRH issue requires additional focused attention in




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order to ensure the provision of meaningful treatment not limited by “excessive security-based

restrictions.”

        Plaintiffs also requested that the Special Master add some clarifying language related to

defendants’ use of therapeutic treatment modules, which has been incorporated into this report.

(See infra p. 33, 53, 54, 164, 170, and 171.)

        Along with their comments to the draft report, plaintiffs provided data which pointed to

an increase in the rejection and rescission rates for referrals to inpatient care following the July 1,

2017 implementation of Lift and Shift. The Special Master intends to closely examine those data

trends as well as the reasons for rejections and rescissions as part of the All-Parties Workgroup

process and/or Coleman policy meetings, and will issue his findings in either a stand-alone report

or as part of his Twenty-Eighth Round Monitoring Report.

        The CDCR defendants sent the Special Master suggested corrections, which are

incorporated into this report. (See infra p. 9, 19, 30, 43, 59, 75, 76, 84, 134, 160, 186, 187, and

208.)

        The Special Master made one addition to this report since it was submitted to the parties

in draft form. (See infra p. 16 n.12.)

                                                PART I.

            UPDATE ON ACCESS TO MENTAL HEALTH INPATIENT CARE
                            FOR CDCR INMATES

        One major development which occurred since the filing of the May 25, 2016 Special

Master’s Monitoring Report on the Mental Health Inpatient Care Programs for Inmates of the

California Department of Corrections and Rehabilitation (“2016 Inpatient Care Report”), (ECF




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No. 5448)3 was the transfer of administrative responsibility and control of the PIPs at Salinas

Valley State Prison (SVSP), California Medical Facility (CMF), and California Health Care

Facility (CHCF) from DSH to CDCR—referred to as “Lift and Shift”—on July 1, 2017. In

another major development, acting through a waiver of state law authority granted by this Court

on April 14, 2017, CDCR opened an additional 70-bed intermediate care facility in CMF’s L1

Unit. ECF No. 5605. This report presents the findings of the Special Master’s first monitoring

review of the three PIPs located at SVSP, CMF, and CHCF, since the implementation of Lift and

Shift—and of the CMF L1-PIP since its activation.

           This update provides further details below regarding these two significant developments.

The update also identifies several areas of focus that defendants should continue to address in

order to sustain the progress that has been made in improving and streamlining the referral,

acceptance, transfer, and admission of seriously mentally ill CDCR inmates to inpatient beds

since the filing of the 2016 Inpatient Care Report—which must include consistent access for

those inmates who meet clinical and custodial requirements for admission to DSH-Atascadero,

DSH-Coalinga, and Patton State Hospital (PSH). In addition, the update highlights three

treatment issues that require prioritized attention for providing adequate care to patients once

admitted to an inpatient program: a) treatment planning, b) group therapy, and c) individual

treatment.

A.         “Lift and Shift:” The Transfer of Responsibility to CDCR for Operation of Three
           DSH Inpatient Programs Which Treat Coleman Class Members

           As the Special Master reported in his 2016 Inpatient Care Report, from August 2015

through February 2016, he and members of his team worked with CDCR and DSH—with input



3
    All Electronic Case Filing (ECF) citations are to the page number assigned by the court’s ECF system.


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from the plaintiffs—to develop a new Memorandum of Understanding (MOU). ECF No. 5448

p. 14-16. The new MOU was drafted with language designed to support the concept of Lift and

Shift. As the Special Master reported, “[t]he idea was to draft the language of the MOU so that

the relationship between the coordinated but independent CDCR and DSH inpatient care systems

would be re-defined and realigned in such a way that CDCR, as well as DSH, could acquire

responsibility for inpatient care of CDCR inmates that was delivered theretofore by DSH,

efficiently and seamlessly.” Id. at 14. The DSH-run programs targeted for this shift of

responsibility were located at SVSP, CMF, and CHCF. The approach “was envisioned as a

permanent solution to the longstanding cycle of backed-up admissions of Coleman class

members into inpatient beds at DSH programs and the resulting surges of long waitlists for

patients who are so seriously mentally ill as to require inpatient care.” Id. at 14-15.

       The shift of responsibility from DSH to CDCR required the approval of the California

State Legislature before it could be implemented. ECF No. 5448 at 14. Although submitted for

inclusion in the Governor’s 2016-2017 budget, it did not survive the winnowing process and was

not included in the approved budget that year. Id. at 16. As a result, the request for funds to

implement the Lift and Shift process was submitted for inclusion in the Governor’s 2017-2018

budget and subsequently approved.

       Legislative approval of Lift and Shift was a significant achievement in what had—up to

that point—been a years-long effort to bring the concept to fruition. To ensure its successful

implementation, the Coleman parties and the Special Master commenced a series of efforts

towards that objective. The Special Master’s Twenty-Seventh Round Monitoring Report

provides further detail:

       From February to June 2017, the Special Master worked with both CDCR
       and DSH defendants on their joint “Lift and Shift” project that transferred

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       responsibility and control from DSH to CDCR over acute and intermediate
       inpatient care facilities located within CDCR institutions. The Special Master
       fully participated in revising existing DSH policies and procedures related to
       inpatient care as well as pertinent parts of the Memorandum of Understanding
       between CDCR and DSH. The Special Master also assisted in developing new
       policies and procedures and training materials to implement Lift and Shift; his
       experts and monitors observed the training in several facilities. Plaintiffs provided
       input into all aspects of the Lift and Shift process.

ECF No. 5779 at 24-25.

       On July 1, 2017, DSH, acting under authority granted through California’s 2017/2018

State Budget, transferred responsibility and control over acute and intermediate inpatient care

facilities located within CDCR institutions to CDCR. Id. 5779 at 24. This Lift and Shift process

transferred 1,156 inpatient mental health treatment beds and 1,977.6 staffing positions from DSH

to the responsibility of CDCR. Id. “The purpose of the transfer as announced in the budget was

to streamline processes, reduce review periods, improve referral transfer timelines, and improve

service delivery in acute and intermediate care provided by these facilities.” Id.

       Lift and Shift presented CDCR with the opportunity to develop and implement what the

Special Master described in his 2016 Inpatient Care Report as “enduring strategies and policies

that will create and sustain a regular and effective process of identifying those inmates in need of

inpatient care, and who, once identified for such care, do not have to wait for long periods before

actual placement into appropriate treatment programs.” ECF No. 5448 at 24. With Lift and

Shift, CDCR assumed direct responsibility for providing appropriate care to Coleman class

members in the former DSH PIPs, as regulated by their LRH status, and the clinical services

offered to them. (Similar responsibilities remained with DSH regarding the state hospitals that

continued to provide care to Coleman class members, DSH-Atascadero, DSH-Coalinga, and

Patton State Hospital.) During August and September 2017, the Special Master, accompanied by

the parties, conducted LRH-focused tours of the PIPs at SVSP, CHCF, CMF and CIW. The

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objective of these tours was “to monitor the implementation and application of the Least

Restrictive Housing (LRH) designation after Lift and Shift, and to consult with CDCR regarding

how the application of LRH in the PIPs impacted bed availability for acute and intermediate

inpatient care throughout the system.” ECF No. 5779 at 25. Upon completion of the tours, the

Special Master met with defendants to discuss his initial findings and consult further regarding

the application of the LRH designation. Id.

       The Special Master is encouraged by the implementation of Lift and Shift, although the

change is in its infancy. Any attempt to gauge its success at this time would be premature. As

stated above, this report presents the findings of the Special Master’s first monitoring review of

the three PIPs located at SVSP, CMF, and CHCF, since the implementation of Lift and Shift.

B.     Activation of 70 Temporary Intermediate Care Beds at CMF L1-PIP

       As stated above, on April 14, 2017, the court issued an order waiving state licensing

requirements for 18 months from the date of the order that permitted the establishment of 70

temporary intermediate care beds, and two observation and restraint rooms in the L1 Unit at

CMF. This was an “interim measure to expand intermediate care beds available to inmates

requiring inpatient care.” ECF No. 5779 at 26. The court indicated that it would consider

extending the waiver for an additional 12 months on application of the parties. ECF No. 5605 at

4. CMF L1-PIP, while offering significantly more hours than other inpatient programs, had not

reached the mandated 12 hours per week instituted by the court order at the time of the site visit.

The primary obstacle discovered during the site visit related to space limitations in the CMF L1-

PIP.

       At the time of the writing of this report, the parties, under the guidance of the Special

Master, had commenced discussion regarding the need for an extension of the waiver, and



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anticipated submitting a timely application should the parties agree to filing a petition for an

extension. Representatives of the parties and the Special Master’s team conducted a tour of

CMF L1-PIP on May 16, 2018 – May 17, 2018. The Special Master will make quarterly site

visits to CMF L1-PIP and will report to the Court through his regular monitoring report.

C.     Areas of Focus: Issues Defendants Need to Address Regarding Inpatient Care

       With the reconfiguration of inpatient care in CDCR following Lift and Shift, the current

round of monitoring tours of the three former DSH inpatient programs and two state hospitals

spotlighted specific areas of focus which remained ongoing regarding the provision of adequate

inpatient care to the Coleman class; these focus areas—which need to be addressed by CDCR

and DSH—are discussed in detail in Part II of this report. This update highlights below several

core areas that defendants must address to ensure patients are provided with adequate care upon

admission to inpatient programs.

       1.      Staffing Vacancies

       In its order dated October 10, 2017, the court reiterated that the “full implementation of

defendants’ staffing plans” is one of the necessary matters “to achieve compliance with the

Constitution and thereby the end of federal court oversight.” ECF No. 5711 at 1. As reported in

detail in Part II (A) below, staffing vacancies in multiple disciplines across programs remained a

significant impairment to providing appropriate care in inpatient settings. The Special Master’s

monitoring showed that all institutions did not consistently meet established staffing ratios in the

various units, which impacted their capacity to provide care. Required treatment services were

not consistently and timely provided across programs, notably individual contacts and

appropriate individual assessments.




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       Pursuant to the October 10, 2017 court order, the parties and the Special Master have

been conferring at least every 90 days through the All-Parties Workgroup process “to discuss the

status of defendants’ progress toward compliance with [the] order,” as well as the steps the

CDCR defendants are taking that are necessary “to come into complete compliance with the

staffing ratios in their 2009 Staffing Plan and the maximum ten percent vacancy rate required by

the court’s June 13, 2002 order.” Id. at 29-30.

       As required by the October 10, 2017 court order, defendants are also developing policies

under the guidance of the Special Master to govern the use of telepsychiatry that will regulate

how telepsychiatrists “may provide mental health services in place of on-site psychiatrists.” ECF

No. 5711 at 30. In its order, the court emphasized that telepsychiatrists “should serve as a

supplement, rather than a substitute, for on-site psychiatry and should only be used when

institutions are unable to recruit psychiatrists or have short-term vacancies that cannot be filled

by contract psychiatrists.” Id. The court directed that the above, “subject to modification as

appropriate as a result of ongoing monitoring of defendants’ telepsychiatry program,” shall form

the basis of an addendum to the Revised Program Guide governing the use of telepsychiatry in

CDCR. Id.

       In the court’s March 7, 2017 order adopting the 2016 Inpatient Care Report, DSH

defendants were directed to “continue to work on their staffing plan for their inpatient programs

that treat Coleman class members” and provide the Special Master with monthly updates on its

implementation. ECF No. 5573 at 3. In an amendment to the March 7, 2017 order, the court’s

order of October 10, 2017 further directed DSH defendants to completely implement their

staffing plan within one year from the date of the order. ECF No. 5711 at 30. This is also being




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addressed through the All-Parties Workgroup process, with the Special Master’s full expectation

that the court-ordered deadline of October 10, 2018 will be timely met.

           Initially, the court set a status conference for April 12, 2018, and a further status

conference on October 11, 2018. Id. On February 5, 2018, the court issued an order vacating the

April 12, 2018 status conference, indicating that it would be reset as appropriate. ECF No. 5774

at 4. The conference set for October 11, 2018 remains in place, prior to which the parties shall

file a joint status report addressing, “as necessary, issues pertaining to enforcement of [the

October 10, 2017] order and to durability of the staffing remedy. ECF No. 5711 at 31.

           2.      Referrals and Transfers

           The court has clearly stated that the "absence of timely access to appropriate levels of

care at every point in the system" is evidence of an ongoing constitutional violation. Order,

entered April 5, 2013, (ECF No. 4539 at 46) (quoting Brown, 131 S. Ct. at 1931 [quoting report

filed by Special Master in July 20094]). "The relevant requirement [for assessing constitutional

compliance] is defendants' constitutional obligation to provide `a system of ready access to

adequate (mental health) care.'" Id. at 47, quoting Hoptowit v. Ray, 682 F.2d 1237, 1253 (9th

Cir. 1982).

           Defendants achieved substantial strides in timely transferring referred patients to acute

and intermediate inpatient care during July 2017 through March 2018. Pursuant to the court

order of June 8, 2017 (ECF No. 5631), directing the Special Master to “closely supervise” the

Coleman parties’ monthly review of exceptions to the timely transfer of patients referred to

inpatient care, at the time of this writing, the All-Parties Workgroup continued to closely monitor

adherence to transfer timelines and exceptions.


4
    Special Master’s Twenty-First Round Monitoring Report, filed July 31, 2009. ECF No. 3638.


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           Data filed with the court during July 2017 through September 2017 covering census,

waitlist, compliance, and exceptions to transfer within Program Guide timeframes, indicated that

of 516 patients referred to intermediate care, one patient was not transferred within Program

Guide timelines. For the same time period, 99 patients or 14 percent of 549 patients referred to

acute care were not timely transferred. Two acute care patients were indicated to be within the

exceptions to the Program Guide timeframes, as were 23 intermediate care referrals for the time

period.5

           For the time period of October 2017 through December 2017, all patients referred for

transfer to acute and intermediate care were reported to have been transferred timely. During

this time period, eight acute and two intermediate care referrals were determined to be within the

exceptions.6

           During January 2018 through March 2018, all referrals to acute and intermediate care

were reported to have transferred within Program Guide timeframes. Two acute referrals and no

intermediate care referrals were indicated to be within the exceptions.7

           Defendants have reported consistent compliance with transfers of inmates to acute and

intermediate care settings from September 13, 2017 through March 31, 2018.8

           In order for defendants to sustain their progress in meeting transfer timelines, ongoing

close internal supervision and effective data collection and reporting systems must remain in

place. As observed in the Special Master’s preceding report on inpatient care, if defendants

cannot adhere to their own sustainable remedies to provide access to inpatient care without


5
    ECF No. 5664 at 19, ECF No. 5684 at 18, and ECF No. 5715 at 18.
6
    ECF No. 5731 at 18, ECF No. 5751 at 16, and ECF No. 5757 at 16.
7
    ECF No. 5789 at 16, ECF No. 5804 at 15, and ECF No. 5819 at 15.
8
    ECF No. 5817 at 2.

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repeated court intervention, that failure “will remain the barrier between defendants and

termination of court oversight of this matter.” ECF No. 5448 at 40.

       As indicated above, the All-Parties Workgroup will continue to monitor compliance with

transfer timelines and their exceptions.

       3.      Least Restrictive Housing (LRH) Placements

       Both CDCR and DSH’s policies require patients that need inpatient treatment to be

placed in the least restrictive setting based on their LRH designation. Under CDCR’s LRH

policy, patients in inpatient programs may only be treated in more restrictive housing than their

LRH when specific defined clinical issues prevent them from being safely treated within their

LRH designations. The interdisciplinary treatment teams (IDTTs) in both CDCR and DSH are

responsible for developing a treatment plan to address any risk factors that prevent a patient from

being safely treated within their LRH designation.

       There were multiple patients placed outside their LRH in the various psychiatric inpatient

programs. IDTTs across non-hospital programs should be consistent in addressing patients’

LRH. There was also a need to be consistent in documenting the reasons for housing placements

outside of LRH and making a determination as to their appropriateness, as well as an

institutionalized process for reviewing and addressing the reasons patients are not in their LRH.

Ongoing attention to patients’ LRH before and after admission to inpatient care is necessary to

providing appropriate care in the least restrictive setting, unless the placement is contraindicated

for clinical and/or custodial reasons.

       4.      Access to DSH Facilities

       In his 2016 Inpatient Care Report, the Special Master offered an extensive history of the

problems regarding CDCR inmate access to inpatient care at DSH-Atascadero—problems which



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had been identified dating back to the original court order of 1995,9 and which have persisted

through the writing of this report. ECF No. 5448 at 24-40. The Special Master concluded that

finding “[a] lasting resolution to this problem will be one of the final major accomplishments

required to conclude the remedial process.” Id. at 24.

           Providing timely access to DSH beds for all CDCR inmates who meet clinical and

custodial requirements for placement at DSH-Atascadero, DSH-Coalinga, and PSH is essential

to the remedial process in the Coleman case. Maintaining a system that facilitates patient

movement through the various programs available to CDCR inmates is likely to prevent

repeating the previous cycles of inpatient waitlists while providing appropriate care to patients at

their least restrictive setting. History shows that when beds in DSH facilities are not being used

for CDCR patients, the process of “timely admissions is upset and bed admissions throughout the

[system] for CDCR inmates quickly become backed up, with surging waitlists.” ECF No. 5448 at

36.

                   a.       DSH-Atascadero and DSH-Coalinga

           The court “has repeatedly ordered DSH to utilize the intermediate care beds at DSH-

Atascadero to treat Coleman class members.” Id. At 36. As the Special Master emphasized in

his 2016 Inpatient Care Report, the “roller coaster of non-compliance with utilization of DSH-

Atascadero beds must finally end, and the all too predictable cycle of court intervention must be

broken.” Id. At 39.

           Reports filed with the court for July 2017 through September 2017 indicated that patients

filled 70, 80, and 86 percent of Coleman class bed capacity at DSH-Atascadero. During the




9
    912 F. Supp. 1282, 1309 (1995).


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same time period, the reporting on DSH-Coalinga indicated that 96, 100, and 96 percent of

Coleman class beds were filled on those dates.10

           For October 2017 through December 2017, data for the reporting dates filed with the

court showed that 89, 87, and 84 percent of Coleman class bed capacity at DSH-Atascadero was

filled on the respective reporting dates. DSH-Coalinga Coleman class members filled 94, 100,

and 94 percent of bed capacity on the same reporting dates.11

           During January 2018 through March 2018, the reporting dates in the data filed with the

court showed that the percentage of Coleman class patients in the designated beds at DSH-

Atascadero were 74, 77, and 79 percent of capacity on those reporting dates.12 At DSH-

Coalinga, 98, 100, and 94 percent of Coleman beds were filled.13




10
     ECF No. 5664 at 8, ECF No. 5684 at 8, and ECF No. 5715 at 8.

11
     ECF No. 5731 at 8, ECF No. 5751 at 6, and ECF No. 5757 at 6.
12
  During April 2018 through July 2018, data for the reporting dates filed with the court showed the number of
available beds at DSH-Atascadero were 61, 70, 93, and 101, respectively. ECF No. 5827 at 5, ECF No. 5837 at 5,
ECF No. 5858 at 5, and ECF No. 5882 at 5.

13
     ECF No. 5789 at 6, ECF No. 5804 at 5, and ECF No. 5819 at 5.

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                                                           DSH-Atascadero Fill Rate
                                                                    89%
                                 250                       86%                   87%
                                                                                               84%
                                                 80%                                                                                79%
                                                                    229                                                77%
                                                           219
                                                                                 223          216        74%
                                 200   70%        206
                                                                                                                               202
                                                                                                                 196
256 Beds Available




                                                                                                       190
                                         178
                                 150



                                 100



                                  50



                                   0
                                       Jul-17   Aug-17   Sep-17   Oct-17     Nov-17     Dec-17       Jan-18    Feb-18        Mar-18

                                                                   Total # of beds occupied



                                                             DSH-Coalinga Fill Rate

                                 55
                                                100%                           100%                                100%
                                       96%                                                               98%
                                                          96%
                                 50                50               94%                        94%                50                94%
                                                                                 50
                                          48                                                            49
                                                            48       47                       47                               47
             50 Beds Available




                                 45


                                 40


                                 35


                                 30


                                 25
                                       Jul-17   Aug-17   Sep-17   Oct-17    Nov-17     Dec-17        Jan-18    Feb-18    Mar-18

                                                                   Total # of beds occupied




                                                                            17
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             As the data shows, while the beds at DSH-Coalinga were fully utilized, and bed

utilization at DSH-Atascadero has remained higher than it has in the past, defendants were still

not using the full capacity of DSH-Atascadero for Coleman class member patients.

                                    b.         Patton State Hospital

             PSH maintained 30 designated Coleman beds. On the reporting dates filed with the court

for July 2017 through September 2017, the number of Coleman patients in PSH were five, 11,

and nine or 17, 37, and 30 percent of capacity.14 On the reporting dates filed for October 2017

through December 2017, the number of Coleman patients in PSH were 12, ten, and seven

patients or 40, 33, and 23 percent of capacity.15 During January 2018 through March 2018, the

number of Coleman patients in PSH were seven, 13, and 17 for the reporting dates or 23, 43, and

57 percent of capacity.16


                                                                  PSH Fill Rate
                                                                                                                        57%
                               20
           30 Beds Available




                                                                    40%                                        43%
                               15                 37%                                                                   17
                                                           30%                  33%
                                                                    12                       23%               13
                               10        17%      11                            10                    23%
                                                            9                                         7
                                5        5                                                   7

                                0
                                    Jul-17      Aug-17   Sep-17   Oct-17   Nov-17     Dec-17       Jan-18   Feb-18   Mar-18

                                                                  Total # of beds occupied


             The underutilization of bed capacity at PSH has a ripple effect on female access to

inpatient care in CDCR, because it impacts bed availability at the CIW-PIP and access to mental


14
     ECF No. 5664 at 8, ECF No. 5684 at 8 and ECF No. 5715 at 8.
15
     ECF No. 5731 at 8, ECF No. 5751 at 6, and ECF No. 5757 at 6.
16
     ECF No. 5789 at 6, ECF No. 5804 at 5, and ECF No. 5819 at 5.


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health crisis beds for women at both the California Institution for Women (CIW) and the Central

California Women’s Facility (CCWF). In order to address this growing problem, CDCR has

submitted a preliminary plan to activate temporary mental health crisis beds (MHCBs) at CIW

for consideration by the All-Parties Workgroup. Plans for increasing the utilization of double-

celling in the MHCB at CCWF are also under consideration in the workgroup process.17

        5.       Clinical Services and Treatment in Inpatient Programs: Treatment
                 Planning, Group Therapy, and Individual Treatment

        As discussed in detail in this report, issues regarding individual treatment, group therapy

and treatment planning, including behavioral planning persist in the inpatient care programs

managed by both CDCR and DSH.

                 a.       Treatment Planning

        Across facilities, treatment planning, including the use of behavioral plans as appropriate,

was found to be inadequate. CDCR should attend to remedying the absence of required

documentation in treatment plans. Training and supervision designed to develop treatment

interventions that are targeted to address issues for referral, consistent inclusion of treatment

goals and progress in treatment plans, and modifying treatment objectives to address clinical

changes in patients are matters that require prioritized attention in the inpatient programs.

Additionally, discussion of LRH and development of treatment interventions to assist patients in

reaching their LRH still need to be fully integrated into all treatment planning for patients not in

their LRH.

        Utilizing appropriate behavioral plans and interventions for all patients for whom it is

clinically indicated should be prioritized in the inpatient programs, particularly in the higher


17
 The Special Master will tour PSH during his next round of inpatient care monitoring as part of his regular
monitoring duties.


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custody programs. Properly trained staff are required to develop individual behavioral plans that

include evidence of the completion of a functional analysis, with positive reinforcers that are

responsive to the targeted behavior—elements that are essential to effective behavioral planning.

                  b.      Group Therapy

        Across programs, structured and unstructured out-of-cell activities were found wanting

during site visits. Improving the system and quality of structured and unstructured out-of-cell

activities is one of the outstanding issues that require the attention of CDCR and DSH. Offering

adequate hours of appropriate core and non-core group activities, as a well as adequate hours of

access to out-of-cell activities that meet the clinical needs of patients in the various inpatient

programs, are priorities that need to be addressed by CDCR and DSH. Accurately tracking and

reporting all structured and unstructured out-of-cell activities offered and received is a necessary

step required to remedy the issues surrounding the most used treatment modality in the inpatient

programs.

                  c.      Individual Treatment

              Individual treatment was rarely offered or provided across inpatient programs, and

where provided was either woefully inadequate, or not accurately tracked. Developing and

implementing meaningful guidelines and training staff regarding the provision of adequate

individual treatment must be addressed by CDCR and DSH. In addition, a system to accurately

track and report the number of individual treatment hours offered and received needs to be

instituted.




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                                              PART II.

                       THE SPECIAL MASTER'S FINDINGS AT THE
                            EIGHT INPATIENT PROGRAMS

A.      STAFFING
                                            Background

        As detailed in Part I above, following the submission of the 2016 Inpatient Care Report

(ECF No. 5448), the court issued an order on March 8, 2017, directing DSH to continue working

on their staffing plan in coordination with the development of CDCR’s mental health staffing

plan under the guidance of the Special Master. ECF No. 5573 at 3. In an October 10, 2017 order

directing CDCR to implement its staffing plan by October 10, 2018, the court amended its March

8, 2017 order and directed DSH defendants to also complete the implementation of their staffing

plan by October 10, 2018. ECF No. 5711 at 30. As previously stated, the Special Master

continues to meet with DSH and CDCR defendants through the All-Parties Workgroup to re-

evaluate the staffing plans of both defendants with the full expectation that the court’s October

10, 2018 deadline will be met.

        The designated staff-to-patient ratios for all inpatient facilities and programs remained

unchanged at 1:15 for admissions and acute care units, and 1:35 for intermediate care units.

These ratios were applicable to psychiatrists, psychologists, social workers, and rehabilitation

therapists.

        While the staff-to-patient ratios were all within established requirements at DSH-

Coalinga, DSH-Atascadero exceeded the staff-to-patient ratios in its admissions unit and all

treatment units. Both the SVSP-PIP and CMF-PIP failed to meet any of the required clinical

staffing ratios for psychiatrists, psychologists, social workers, or rehabilitation therapists. At the

time of the site visit, the CHCF-PIP met the staff-to-patient ratios, but would not be in



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compliance if they were at full capacity with the current staffing numbers. With the exception of

psychiatry, the L1 Unit at CMF met the required ratios for the remaining clinical disciplines.

The SQ-PIP met staff-to-patient ratios for all clinical disciplines, as did the CIW-PIP, with the

exception of psychiatry at the acute care level.

       1.      DSH-Atascadero and DSH-Coalinga

       As of January 9, 2018, there were 196 Coleman class member patients at DSH-

Atascadero, bringing the census to 74 percent of capacity for Coleman patients at the facility.

Psychiatry vacancies continued to plague the facility at a rate of 63 percent, representing a slight

decrease from the 68-percent vacancy rate reported in the preceding monitoring round. The use

of contractors reduced the functional vacancy rate to 25 percent.

       At DSH-Atascadero, all psychologist and rehabilitation therapist positions were filled,

while functional vacancy rates for social workers and psych techs were each at 13 percent.

Registered nurses (RN) and senior psych techs reported higher vacancy rates of 25 percent and

22 percent respectively.

       The admissions unit had a census of 31, which made compliance unachievable for

psychiatry under the current staffing level with a designated clinician-to-patient ratio of 1:15.

Psychology, social work, and rehabilitation therapy slightly exceeded the designated ratios at

1:15.5. In the five intermediate care treatment units at DSH-Atascadero, all clinical disciplines

were non-compliant with the designated 1:35 staff-to-patient ratio. However, the cause of this

problem was not new. Each unit had a population ranging from 43 to 46 patients and the fixed

number of clinical positions assigned to each unit would never be sufficient to meet the

designated ratios for this number of patients, thus ensuring non-compliance.




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        As of January 4, 2018, the census at DSH-Coalinga was 50, which was the maximum

capacity for Coleman class member patients at the facility. All clinical positions were filled,

with the exception of psych techs, which had a vacancy rate of only six percent, with 29 of the

31 positions filled. All staff-to-patient ratios were within the established requirements of 1:35

for psychiatry, psychology, social work, and rehabilitation therapy. With an established staffing

ratio of 1:8 for senior psych techs, psych techs and RN positions, DSH-Coalinga was actually

staffed at a ratio of 1:6 in those disciplines.

        2.      SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

        The SVSP-PIP reached 89 percent of its operational capacity at the time of the site visit

with 219 of 246 beds filled. Psychiatry and social work each had vacancy rates of 20 percent

while psychology and rehabilitation therapy reported no vacancies. Psych techs and RNs had the

highest vacancy rates at 55 percent and 38 percent respectively. With an established staff-to-

patient ratio of 1:25 for psychiatrists, psychologists, social workers, and rehabilitation therapists,

SVSP-PIP did not fully meet the ratios for any of the disciplines.

        Treatment Center 1 (TC1) had two psychiatrist positions, two psychologist positions, two

social worker positions, and two rehabilitation therapist positions assigned to that unit; one of the

two positions within each of those disciplines exceeded the established staff-to-patient ratios

resulting in non-compliance for the unit. In Treatment Center 2 (TC2), both psychiatrists

exceeded the staff-to-patient ratio, but each of the three psychologists, social workers, and

rehabilitation therapists had caseloads that were compliant with established ratios.

        In C5, no discipline met the established staff-to-patient ratio of 1:25. Psychiatry,

psychology, social work, and rehabilitation therapy all had caseloads between 1:27 and 1:29.

The non-compliance with staffing ratios was similar in C6 with the staff-to-patient ratio for



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psychology, social work, and rehabilitation therapy between 1:27 and 1:29. The one full-time

staff psychiatrist had a caseload of 39, while the part-time registry psychiatrist had a caseload of

17.

        Of the 396 beds available for acute and intermediate care for Coleman class members at

the CMF-PIP, 347, or 87.6 percent, were occupied at the time of the site visit. Psychiatry saw an

appreciable increase in the vacancy rate since the preceding monitoring report, rising from

eleven percent to 29 percent. Psychology and social work reported slight decreases in vacancy

rates from 26 percent to 22.5 percent and 24 percent to 19 percent, respectively. Rehabilitation

therapists and RNs had the lowest vacancy rates at seven percent and four percent.

        Psychiatrists and psychologists met the established ratio of 1:15 in the acute care program

with the exception of Unit P2, while social workers and rehabilitation therapists failed to meet

the required ratio in both acute care units. The intermediate care program at CMF-PIP also

reported varying compliance with clinician-to-patient ratios. The 1:35 staffing ratio was met in

several units except Unit A3 where psychiatrist and psychologist ratios were non-compliant and

Unit A2 where the staff-to-patient ratio was 1:42 for psychiatry.

        CMF L1-PIP is a 70-bed unit that houses Coleman class members in need of intermediate

care. At the time of the site visit, 64 beds were occupied, which represented 91 percent of the

program’s occupancy rate. There were no vacancies reported for psychologists, rehabilitation

therapists or RNs. Psychiatry experienced the highest vacancy rate at 30 percent and there was a

20-percent vacancy rate for social workers. Psychiatry was the only clinical discipline in which

the 1:35 staff-to-patient ratio was not met. The required ratio was met for psychologists, social

workers and rehabilitation therapists.




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        On November 7, 2017, the CHCF-PIP housed 376 Coleman patients, with 199 at the

acute care level and 177 at the intermediate care level, representing 75.8 percent of the total

capacity. The psychiatry vacancy rate was 24.6 percent, which was a slight decrease from the

30-percent vacancy rate reported in the preceding monitoring report. The psychology vacancy

rate continued its decline and decreased from 36 percent to 10.4 percent over the last two

monitoring periods. Vacancy rates for social workers, rehabilitation therapists, and RNs all

decreased since the preceding monitoring round, with reported vacancy rates of ten percent, 12.5

percent, and 10.4 percent respectively. CHCF-PIP reported that all units were staffed for an

acute level of care at a staff-to-patient ratio of 1:15. At the time of the site visit, the established

ratio was met by all clinical disciplines for the number of patients at the facility. However, as

previously stated, if CHCF-PIP were operating at full capacity with its current staffing levels, the

facility would exceed these ratios for psychiatry without additional staff.

        3.      CIW-PIP and SQ-PIP

        As of November 1, 2017, the CIW-PIP census was 45, which represented 100 percent of

capacity and included both acute and intermediate care patients. All psychiatry, psychology,

social work, and recreation therapy positions were filled, as were all nursing and psych tech

positions. All clinical disciplines met the staff-to-patient ratio for acute care of 1:15 and

intermediate care of 1:35 with the exception of psychiatry, which exceeded the ratio for acute

care at 1:22.

        On January 30, 2018 the census at the SQ-PIP was 25, or 62 percent of capacity. The 40

flexible beds in the unit were used interchangeably for acute care, intermediate care, and MHCB

condemned patients. The vacancy rate for psychiatry and psychology was zero, with all three

psychiatrist positions and all three psychologist positions filled. All six RN positions were filled



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as were all 18 psych tech positions. There was a 25-percent vacancy rate for social workers and

recreation therapists, with three of the four positions filled in each discipline. At the time of the

site visit, psychiatry, psychology, social work, and recreation therapy were all within the

established staff-to-patient ratio of 1:15.

B.      TREATMENT AND CLINICAL SERVICES

        1.      DSH-Atascadero and DSH-Coalinga

                a.      IDTTs

        Audit results provided by DSH-Atascadero revealed good IDTT attendance by required

disciplines, with psychiatrists and psychologists attending 98 percent of all scheduled IDTTs and

social workers and rehabilitation therapists attending 100 percent. IDTT meetings observed

during the site visit also proved well-attended by required disciplines. Initial IDTTs were

completed within seven days of admission as required by policy 81 percent of the time.

        Observed IDTT meetings at DSH-Atascadero reflected appropriate multidisciplinary

input, with most treatment team members and patients participating in the discussions. IDTTs

were facilitated by the psychiatrist and included discussion of treatment goals and progress,

medication-related concerns, and current symptomatology. In Unit 32 IDTTs, treatment plans

were displayed on an overhead projector, allowing visualization by all attendees. Unit 30’s

treatment team reported meeting with patients monthly and quarterly; the quarterly IDTT

meetings were more comprehensive than the monthly IDTTs.

        At DSH-Coalinga, a records review revealed significant issues with IDTTs and the

treatment planning process, including poor attendance of required disciplines at IDTT meetings.

Other notable concerns included inadequate treatment plans related to inaccurate and/or

inconsistent diagnoses, as well as incomplete treatment plan sections. There were also problems



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with documentation, as admission notes by psychiatrists, psychologists, and social workers were

not always present in the record, and monthly progress notes by all required disciplines were

often not present in the record.

       DSH-Coalinga used the Positive Reinforcement Program whereby points were given to

patients who exhibited positive behaviors; those points may then be redeemed for activities or

items at the incentive store. According to policy, this was required to be done in an

individualized manner through the treatment planning process. The process did not occur in any

of the treatment teams observed during the site visit.

               b.      Group Therapy

       At DSH-Atascadero, the data provided indicated that patients received a weekly average

of 6.3 hours of group therapy and an additional 7.04 weekly hours of recreational groups, for a

total average of 13.34 hours.

       The facility continued to provide core and centralized groups to patients. Core groups

were facilitated by patients’ treatment teams and held on patients’ treatment units. Centralized

groups were facilitated by a variety of hospital staff and were conducted in other areas of the

facility. They were open to both Coleman class members and other patients. Patients generally

expressed high satisfaction with the groups offered, and interviewed inmates reported clinical

benefits. Based on discussions with staff, the number of groups offered to Coleman class

member patients was driven more by staffing resources as opposed to individual treatment

planning.

       DSH-Coalinga offered core and supplemental treatment activities to patients. Core

groups were scheduled for four hours per day, Monday through Friday, and represented 37.5

percent of the treatment offered to patients, with a weekly average of 7.37 hours offered, and



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4.68 hours attended. Interviewed patients cited multiple reasons for their lack of attendance,

including over-sedation due to medications, conflicting medical appointments, and not finding

the group to be personally meaningful. Patients also reported that groups were frequently

cancelled.

       Supplemental activities were offered on evenings and weekends and represented 62.1

percent of the treatment being provided; 58 percent were co-facilitated by rehabilitation

therapists and/or behavior specialists.

       Patients reported that more groups specific to their diagnoses would be useful.

               c.      Individual Treatment

       Individual treatment was not routinely available at DSH-Atascadero. A weekly average

of 0.1 hours of individual therapy was provided to patients. While patients reported that they

did not have monthly individual clinical contacts with either a psychiatrist, psychologist, social

worker, or rehabilitation therapist, they reported good access to these clinicians through the self-

referral process. One-on-one contacts with social workers and rehabilitation therapists were also

reported to be accessible on an as-needed basis.

       At DSH-Coalinga, patients attended various treatment activities; 0.3 percent of the total

hours attended were classified as individual therapy.

               d.      Psychiatric Services

       Patients at DSH-Atascadero reported that initial weekly psychiatric contacts were

provided during the first one to two months following admission. There were no problems

reported related to receiving medications. An average of 12 patients received non-formulary

psychotropic medications during the review period.




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        DSH-Coalinga reported that newly-admitted patients were provided with weekly

psychiatric contacts during their first two months of hospitalization; psychiatry progress notes,

however, were frequently not present in the health care record. Interviewed patients indicated

general satisfaction with the telepsychiatry process and reported no complaints with its use.

        The number of non-formulary medications prescribed during the review period ranged

from two to nine per month. At the time of the site visit, two patients were receiving non-

formulary medications. There were no continuity of medications issues reported by interviewed

patients.

                 e.          Other Treatment Issues

                        i.      Involuntary Medications (PC 2602)

        DSH-Atascadero administered involuntary psychotropic medications to 56 patients on at

least one occasion during the review period.

        There were no PC 2602 petitions initiated or renewed by DSH-Coalinga during the

review period. The number of patients administered involuntary medications ranged from two to

ten per month. Three patients were receiving involuntary medications at the time of the site visit.

                       ii.      Behavioral Management

        There were no individual behavior plans initiated or in use at DSH-Atascadero during the

review period, nor were there any Coleman class member patients with individual behavior plans

at the time of the site visit.

        DSH-Coalinga reported that no patients were on individual behavior plans during the

review period.




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        2.      SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

                a.      IDTTs

        SVSP-PIP did not track IDTT attendance of the various disciplines, however, staff

reported that correctional counselors were not consistently attending IDTTs. Despite a recent

effort to facilitate correctional counselor attendance by rescheduling the meetings, a correctional

counselor was not present at observed IDTTs held during the site visit.

        Some positive observations noted during IDTTs included appropriate clinical interaction

between the treatment team and the patient, reasonable discussion of treatment goals and the

reasons for not placing patients at their LRH, and good attendance by all required disciplines—

with the exception of correctional counselors, as previously stated. Observed concerns included

pre-meetings held prior to the start of some IDTTs where vital treatment issues were discussed

outside of the patient’s presence and were not revisited once the patient joined the meeting, and

the incorporation of medication management activities into the IDTTs which should have

occurred in an individual session with the psychiatrist. Treatment team meetings would have

greatly benefited from the presence of a correctional counselor, as multiple custody issues raised

by patients were appropriate for a correctional counselor to address.

        CMF-PIP did not provide information on IDTT attendance by the various disciplines;

however, as at SVSP-PIP, staff reported that correctional counselors did not regularly attend

IDTTs. CMF-PIP was also unable to provide audit data related to timeliness of IDTTs, or

produce reports on initial and most recent IDTT dates for current patients.

        IDTTs were observed in the acute care program; with the exception of the correctional

counselor, all required disciplines were present. Treatment planning was not adequately focused

upon, either being discussed very little, or not at all.



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       In the intermediate care program, a correctional counselor covered IDTTs in all four units

of the high custody building. In observed IDTTs in the Dialectical Behavior Therapy (DBT)

unit, treatment teams were found to employ several strategies to engage patients in the process

and appropriately addressed patients’ treatment issues. LRH was addressed; however, it was

inconsistently documented in reviewed patient health care records. In the high custody unit,

observed IDTTs revealed significant clinical deficiencies. Patients had not been seen by any

treatment team member prior to IDTT, nor was any justifiable clinical rationale offered for not

doing so; further, the psychiatrist was not engaged in the IDTT process.

       At CMF L1-PIP, the required disciplines were in attendance at all IDTT meetings

observed during the site visit. There were appropriate discussions related to LRH, placement

into groups based on clinical needs, and discharge planning, where applicable.

       Similar to what was found at other PIPs, correctional counselors were not observed to be

present during IDTTs at CHCF-PIP. In the acute care units, some IDTTs were found to be

adequately conducted, while others demonstrated areas of concern, such as limited team

discussion—including the failure to regularly discuss treatment goals. Further, issues such as

current treatment plan, progress towards treatment goals, behavior necessary to attain new

privileges, and the types of treatment which would occur until the time of the next scheduled

IDTT were not discussed with patients. Additionally, discussions related to LRH were cursory

and the reasons for decisions were unclear.

       The quality of IDTTs in the intermediate care program varied and collaborative treatment

planning between clinical staff and patients was lacking. There was little or no discussion of

patients’ progress in groups and many IDTTs lacked staff introductions, explanation of the IDTT

to the patient at his functional level, progress in treatment, changes in symptoms and functioning



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as well as current symptoms/functioning, LRH, patient referral to group including clinical

appropriateness, and clinical preparation for discharge or transfer to another PIP.

               b.      Group Therapy

       At SVSP-PIP, data on the average number of hours that patients were offered and/or

participated in weekly structured or unstructured out-of-cell activities was not accurately tracked.

According to staff and patient interviews, sufficient hours of out-of-cell activities were not

provided to patients, the hours offered being significantly lower than what was offered at the

EOP level of care in CDCR prisons. Staffing shortages resulted in a lack of coverage for the

provision of group therapy. A consequence of this lack of out-of-cell time was poor treatment

planning due to the dearth of available treatment options. Puzzles and games were offered to

patients at cell-front approximately three to four times per week in an attempt to mitigate the

effect of this. While somewhat beneficial to patients, this did not equate to providing appropriate

mental health care

       During the site visit, two groups in C5 were observed. One group consisted of a music

therapist showing music videos by patient request, the other involved the rehabilitation therapist

reading affirmations, with patients subsequently participating in an unrelated art project. The

monitor’s expert observed that both groups would benefit from increased organization, structure,

and supervision. Patients interviewed after observation of a music therapy group in TC1

indicated that approximately 20 percent of their groups were relevant to their specific issues. A

problem-solving group conducted by a practicum student in TC2 was attended by 15 patients, the

majority of whom were engaged the entire time.

       Staff at CMF-PIP reported that the number of treatment hours provided to acute care

patients during the review period was insufficient to meet the clinical needs of multiple patients.



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Data from July through August 2017 showed that the average hours offered per patient, per week

was 1.19, with an average of 0.62 hours per week delivered—significantly lower than what was

offered at the EOP level of care. The facility had not been able to produce any additional

treatment hours data since the transition to the Electronic Health Records System (EHRS) in

September 2017.

       Group therapies were provided in the dayrooms of the acute care housing units; due to

clinical and security concerns, group participants were generally limited to six to eight patients.

Of the six dayrooms scheduled for group therapy use during the site visit, just three had a

structured therapeutic activity occurring as scheduled. Interviewed patients indicated that it took

many weeks after admission to the acute care program before they were eligible for out-of-cell

time in excess of one hour. The amount of out-of-cell treatment activities provided to acute care

patients in CMF-PIP was inadequate, which was exacerbated for those with a Maximum Custody

classification. CDCR reported during the site visit and subsequently in the workgroup process

that the custody level of patients with a Maximum Custody classification required the use of

therapeutic modules, which CMF-PIP did not have. In their comments to the draft report,

plaintiffs indicated their strong objection “to any implication in the Draft Inpatient Report that a

lack of therapeutic treatment modules, or cages, is a reasonable justification for failing to provide

adequate mental health treatment.” Plaintiffs also reiterated their objection to the use of “cages

in any mental health program in Defendants’ facilities, and particularly in the licensed inpatient

programs.” The Special Master will utilize the workgroup process to address the issue of the

inadequate amount of out-of-cell treatment activities provided to acute care patients in CMF-PIP,

including those with Maximum Custody classifications.




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        The lack of both adequate programming space within the housing units, and escort

officers to accompany patients to available treatment space within O-Wing on the prison side,

were the two major limiting factors for providing adequate hours of out-of-cell structured

therapeutic activities in the acute care program. Staffing issues and other unexpected events

were also reported as frequently related to the cancellation of groups.

        The intermediate care program provided treatment groups that were psychoeducational in

nature and unstructured enrichment activities. For both structured and unstructured activity

combined, in July 2017, the intermediate care program averaged 4.68 hours scheduled, 4.21

offered and 1.85 delivered, with a refusal rate of 56 percent. In August 2017, the average was

5.08 hours scheduled, 4.39 offered, and 2.00 delivered, with a refusal rate of 54 percent. For

structured treatment hours alone, in July 2017, 1.37 were scheduled, .86 offered, and .69

delivered. In August 2017, 1.14 hours were scheduled, .58 offered, and .55 delivered. As with

the acute care program, the hours offered to intermediate care patients were significantly lower

than what was offered at the EOP level of care. Although CMF-PIP acknowledged that the

intermediate care program was not providing adequate group treatment hours and not meeting

the treatment needs of all its patients, it did not have any concrete plans for improving services at

the time of the site visit.

        With the exception of those with Maximum Custody status, patients in the CMF L1-PIP

were provided with structured, semi-structured, and non-therapeutic activities; group sizes

ranged from eight to 12 participants. Space limitations resulted in nearly all structured treatment

occurring on CMF’s O-Wing, which required escort and supervision of patients to and from

treatment. Semi-structured groups and nontherapeutic activities were offered on the L1 unit.




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       Staff reported difficulty in providing and tracking the required 12 hours of out-of-cell

activities; the manual tracking method indicated that patients were offered between nine to 11

hours per day. Interviewed patients were pleased with the amount of out-of-cell time provided,

however there were some complaints related to the need for group therapy sessions more directly

related to their individualized needs. According to staff and patient reports, there had been

recent changes and improvements in group therapy offerings, allowing for more individualized

therapy. Nonetheless, some patients reported that group assignment was based upon their

housing location and not their clinical needs.

       CHCF-PIP was unable to provide reliable data on the provision of treatment hours to

acute care patients. However, preliminary data provided by CHCF-PIP suggested uneven

provision of non-clinical activities across units and significant variation in the refusal rates

reported for these activities. An acute care group observed during the site visit was led by a

recreation therapist; patients were engaged and clearly benefited from the group.

       During the review period, a sample of 200 intermediate care patients, or 32 percent of the

population, showed an average of 2.87 treatment hours scheduled per week—less than what was

offered at the EOP level of care; six, or three percent of those patients had ten or more hours

scheduled. The facility did not have a formal audit process of groups or other structured

activities. Based on a review of the health care records, in the intermediate care program,

patients were assigned to groups without sufficient documentation of consideration of their

treatment needs and current mental health status.

       The activity offerings in the intermediate care units varied greatly, with interviewed

patients expressing a number of concerns regarding the variability of the unit schedule and

resulting confusion. It was noted during observed groups that some patients would have



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benefitted from alternative group therapy placement. Further, while a DSH directive required a

secondary facilitator to maintain observation of a group, there appeared to be some confusion

related to the exact role of the secondary facilitator, which, as observed during the site visit,

resulted in some disruption to the group therapy process.

               c.      Individual Treatment

       Since the implementation of the EHRS, SVSP-PIP patients had been assigned to a

primary clinician (psychologist or social worker) who was supposed to meet with them at least

once weekly in an out-of-cell setting. Individual clinical contacts provided to patients were

extremely limited, averaging 0.2 to 1.0 hours monthly, and therefore inadequate.

         At the CMF-PIP, initial assessments were not always timely completed; this varied

across disciplines. Weekly individual psychology or social work contacts were provided in some

cases, but were uncommon.

       No data was provided regarding the number of hours of individual treatment provided to

patients in the CMF L1-PIP.

       CHCF-PIP did not provide data relative to timeliness and frequency of primary clinician

or psychiatric contacts in the intermediate care program during the review period. The provision

of individual therapy at CHCF-PIP was unclear. Interviewed patients reported limited individual

contact and interviewed staff did not have a clear understanding of when to utilize individual

contacts. Individual treatment at CHCF-PIP needed significant improvement which could be

accomplished through the development of meaningful guidelines for clinical staff.




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               d.          Psychiatric Services

       At SVSP-PIP, psychiatrists usually saw patients on a monthly basis; some were seen in

individual sessions on a more frequent basis. There were no problems found with documentation

of psychiatric contacts.

       Intermediate and acute care patients at CMF-PIP saw psychiatrists regularly as scheduled.

Telepsychiatry was used in one unit in the stand-alone high security intermediate care program.

Although staff reported that the use of telepsychiatry was a pilot, they did not provide specific

objectives to be measured beyond meeting contact mandates. CMF-PIP reported there was no

plan to expand or make telepsychiatry permanent in its program.

       In the CMF L1-PIP, psychiatrists prescribed medications, provided appropriate direct

patient services, and offered patients the opportunity to discuss their individual psychiatric issues

in regular one-to-one interviews. Patients in the CMF L1-PIP were seen by psychiatrists either

in L1 or in CMF’s O-Wing.

       CHCF-PIP psychiatrists were required to provide weekly direct patient contact, however,

staffing shortages negatively affected the provision of this care. Across units, psychiatry

contacts varied, ranging from no scheduled time on four units to 12 one-hour increments on

others. Notably, the two units with the greatest number of offered psychiatry contacts were

provided through telepsychiatry.

               e.          Other Treatment Issues

                      i.      Involuntary Medications (PC 2602)

       At the time of the site visit, there were 57 SVSP-PIP patients with PC 2602




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orders; one had been extended pending a hearing. Due to the lack of sufficient staff during

evening hours, refused PC 2602 medications were ordered for daytime administration only.

Staff agreed to work to identify alternative measures to resolve the issue.

       There were 24 PC 2602 petitions initiated at CMF-PIP during the review period.

Fourteen petitions were renewed and three petitions were denied.

       There were no PC 2602 petitions initiated at CMF L1-PIP during the review period. Of

two requested PC 2602 renewals, one was granted and one denied.

           At the time of the site visit, there were 88 patients with PC 2602 orders at CHCF-PIP.

                       ii.   Behavioral Management

       At the SVSP-PIP, similar to findings from the preceding site visit, staff continued to

underutilize individual behavior plans and interventions when indicated. There were no

documented modifications observed in the health records regarding treatment plans, treatment

modalities, goals, or objectives to address concerning behavior in those instances where a

patient’s identified problematic behavior did not change during the course of treatment.

Documented behavioral interventions designed to address identified problems and aid transfer to

a patient’s LRH were not consistently found in patient health records. Core functioning and

stated behavioral interventions were also found to be inconsistently documented in health

records.

       There was an increased use of individual behavior plans at CMF-PIP as compared to

previous site visits. Of the 13 requests for behavioral consultations or plans made during the

review period, 12 resulted in an individual behavior plan. By the time of the site visit, an

additional 12 requests had been made; three remained pending, eight resulted in plans, and two

resulted in consults only.



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       The reason for referral was unclear in most of the individual behavior plans reviewed,

similarly, most contained no evidence that a functional analysis had been completed. As the

functional analysis provides the foundation for an individual behavior plan, this missing element

was cause for concern. An additional concerning finding was that multiple individual behavior

plans used punishment rather than positive reinforcement to respond to the targeted behavior.

During the site visit, staff was advised that outside expertise in behavior therapy and individual

behavior plans would be helpful in assisting the CMF-PIP to remedy those deficiencies.

       CMF L1-PIP staff reported that a plan was in place to hire a behavioral psychologist for

the unit. There were no individual behavior plans implemented at the time of the site visit.

       A multi-disciplinary Positive Behavior Support Team (PBST) at CHCF-PIP assisted

treatment teams to develop and monitor behavioral guidelines for patients who were not

responsive to treatment or engaged in behaviors that posed a high risk of violence. During the

time period between July and October 2017, an average of 28 CHCF-PIP patients had behavioral

guidelines. At the time of the site visit, six acute care patients and 21 intermediate care patients

had active behavioral guidelines.

       The monitor’s expert made several observations related to the development of behavioral

guidelines at CHCF-PIP. Many had similar components and did not include clear rationale for

why specific interventions were chosen for each patient. They generally focused on staff

interventions, suggesting a need for staff training. Additionally, collaboration with the patient

was not clearly documented in the health care record. Of the six behavioral guidelines which

included rewards for positive behavior, it was unclear whether the rewards were meaningful to

the patient. Rewards must be contingent on the desired behavior, which should be clearly

defined, observable and measurable. Although the PBST provided a solid foundation for



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behavior interventions, behavioral guidelines were staff-focused rather than patient-focused.

Staff reported that the implementation of EHRS had presented a challenge to documentation and

monitoring of behavioral guidelines.

       3.      CIW-PIP and SQ-PIP

               a.      IDTTs

       Initial and follow-up IDTTs in the CIW-PIP continued to be conducted in compliance

with Program Guide timelines. Correctional counselor attendance at IDTTs was at 90 percent

during the review period, with the exception of September 2017, when the attendance rate was

77 percent. LRH had been discussed in 75 percent of IDTTs since the indicator was added in

September 2017.

       In the SQ-PIP, the overall compliance rate for the timely conduct of routine IDTTs

ranged from 88 to 92 percent during the review period; the data was not separated by level of

care. Data on initial IDTTs was inconsistent. Observed IDTTs were noted to have good

interdisciplinary discussion, treatment plans and goals were discussed, and team members were

receptive to feedback. In addition, treatment team members actively used electronic databases to

aid team discussion and treatment planning. A review of treatment plans however, conflicted

with the IDTT observations reflecting a high quality of care. At times, clinical interventions

were not specified, targets for treatment goals were not stated in objective behavioral terms,

treatment plans were not modified when patients failed to respond to therapeutic efforts, and

treatment plans did not identify primary treatment obstacles and functional deficits as problem

areas. In some cases, however, progress notes indicated that substantial therapeutic intervention

was occurring during individual sessions, despite treatment plans which indicated that little

treatment was occurring.



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               b.      Group Therapy

       CIW-PIP reported an inability to track the number of out-of-cell structured and

unstructured activities offered to patients on an average basis. The data provided was not

separated by group therapy hours offered, received, and refused. Patients in the CIW-PIP were

offered structured therapeutic activities based on an individualized treatment plan. There were

no problems with group cancellation. Groups were described as helpful by interviewed patients,

who also indicated a desire for access to additional groups.

       In the SQ-PIP, acute care patients continued to be provided treatment in an individual

setting rather than being offered group therapy. During the review period, between 4.57 and

26.83 hours per week of individualized out-of-cell structured therapeutic activities were offered

to acute care patients, with the average patient attending between 0.29 and 12.64 hours per week.

       For intermediate care patients, an average of 12.66 hours of structured therapeutic

activities were offered weekly, with an average of 8.78 hours attended. Many intermediate care

groups were cancelled during the site visit, due to a lack of attendance. Staff reported that it

became more difficult to place patients into appropriate groups as the population decreased. This

was made more difficult, in part, by the SQ-PIP’s continued use of a fixed cohort system,

whereby patients were assigned to cohort groups based on their clinical presentation and

functional level. This system seemed no longer viable as the population decreased.

               c.      Individual Treatment

       At the CIW-PIP, the treatment programs for acute and intermediate care patients were

similar. All patients had access to individual sessions with primary clinicians on a weekly basis.

Individual psychiatry sessions were provided to acute care patients three times weekly and to

intermediate care patients at least monthly.



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       Individual treatment data provided by SQ-PIP did not categorize the information by

number of hours in each category and patient level of care. According to the data provided,

acute care patients attended 97 percent and intermediate care patients attended 77 percent of

216.4 individual treatment hours offered during the review period.

                 d.        Psychiatric Services

       Record reviews at CIW-PIP did not reveal any issues with psychiatric services during the

review period.

       SQ-PIP did not provide data on compliance with psychiatric service requirements for

acute or intermediate care patients.

                 e.        Other Treatment Issues

                      i.   Involuntary Medications (PC 2602)

       CIW-PIP did not provide data on the number of PC 2602 petitions initiated, renewed, or

pending during the review period. At the time of the site visit, there were 16 patients with PC

2602 orders.

       There was one PC 2602 petition initiated during the review period at SQ-PIP; 14 were

renewed. There were no issues with the management of involuntary medications at SQ-PIP

during the review period.

                   ii.     Behavioral Management

       CIW-PIP did not formally track which patients were receiving individual behavior

plans. Individual behavior plans were developed and reviewed through the IDTT process,

ordinarily for patients on Discretionary Program Status (DPS), suicide watch and/or suicide

precaution status.




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       There were four patients with active individual behavior plans at SQ-PIP at the time of

the site visit. There were nine referrals for behavioral consultation, 11 for individual behavior

plans, and four completed individual behavior plans during the review period. There had been a

marked improvement in the behavioral assessment process at SQ-PIP since the preceding site

visit. It was a structured, data-driven process, which included patient input. The assessment

process was a combination of indirect assessment and descriptive analysis, with functional

analyses used in several individual cases. Positive support individual behavior plans were

written in clear terms that staff from any discipline could understand. The state purchasing

system was found to present one challenge to obtaining individualized reinforcers for patients, as

the items available for purchase were limited and the process could be time-consuming.

According to SQ-PIP staff, patients had experienced meaningful clinical improvements

following the implementation of individual behavior plans.

C.     QUALITY OF CARE ISSUES IN IDTTS AND TREATMENT PLANNING IN
       THE INPATIENT CARE PROGRAMS

       1.      Observed Inadequacies in the IDTT Process

       As reported in Part II (B) above, although there were some instances in which the IDTT

process was revealed to be working as intended, as found during the preceding monitoring round,

multiple inadequacies remained.

       One of the challenges following Lift and Shift was ensuring that correctional counselors

attended IDTT meetings consistent with Program Guide requirements. However, during the

monitoring round, observed IDTTs and staff reports revealed their attendance to be sporadic at

best, with correctional counselors found to be regularly absent from IDTTs at SVSP-PIP, CMF-

PIP, and CHCF-PIP.




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       Mirroring the findings from the Special Master’s preceding report on inpatient care,

IDTTs observed during the current monitoring round revealed several areas of concern. In

IDTTs at DSH-Coalinga, SVSP-PIP, CMF-PIP, and CHCF-PIP, treatment team members failed

to see patients prior to IDTTs and discussed vital treatment issues outside the patient’s presence;

treatment planning was inadequate; medication management issues were inappropriately

incorporated into the IDTT process; and there was either inadequate focus on, or a complete lack

of discussion of treatment planning, treatment goals, progress in groups, and/or behavior

necessary to attain new privileges. At the SQ-PIP, although IDTT observations during the site

visit reflected a high quality of care, a review of treatment plans conflicted with those

observations.

       The depth of the problems with IDTTs was highlighted through a clinical review of

patient health care records. For example, in the records of Patient J (SVSP-PIP), there was a lack

of documentation showing that important issues were addressed by the IDTT. Patient M’s

(CMF-PIP) master treatment plan was not completed properly; in addition, the IDTT failed to

include the patient’s impulsivity as a treatment target. Patient K’s (CMF-PIP) IDTT did not

indicate any action to facilitate the patient’s placement in his LRH, and despite the patient’s

progress, did not recommend he be moved to his LRH. In the cases of Patient A, Patient B,

Patient C, and Patient L (SVSP-PIP), there was inadequate discussion of LRH and no

documentation of efforts to address identified problems. Further, for Patients A, B, and C

(SVSP-PIP), poor treatment plan documentation prevented assessment of the adequacy of

treatment planning.

       Although Patient A (DSH-Coalinga) had been admitted to the facility for a little over two

weeks, the treatment team had not developed a clear plan of treatment beyond medication



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management. The IDTT’s treatment targets for Patient B (DSH-Coalinga) could not be

determined due to the absence of a cohesive summary of the patient’s care, progress, and plan

from the record. The psychiatrist and psychologist were not present at the initial treatment team

meeting for Patient D (DSH-Coalinga); similarly, a treatment team meeting for Patient F (DSH-

Coalinga) was conducted without the psychiatrist or social worker present.

       When the treatment team for Patient J (SQ-PIP) changed, the new treatment team failed

to build on prior treatment for identified problem areas. Patient I’s (SVSP-PIP) treatment team

failed to revise treatment, treatment modalities, or IDTT goals when the patient showed no

improvement. The same was found for Patient K (SVSP-PIP), where despite the patient’s lack

of progress, the IDTT did not revise treatment goals and interventions.

       2.      Deficiencies in Treatment Planning

       The quality of treatment plans and treatment planning varied across programs.

Significant problems were found in treatment plans for Coleman class members at DSH-

Coalinga. Treatment plans for Patients A, B, C, D and E (DSH-Coalinga) were either

incomplete or otherwise deficient. The treatment plan for Patient A (DSH-Coalinga) contained

no documentation of treatment beyond medication management. Patient B (DSH-Coalinga)’s

initial treatment plan was not fully complete in all areas and subsequent treatment plans

contained the exact same omissions.

       In the cases of Patients C and D (DSH-Coalinga), treatment plans failed to address issues

related to the patients’ Gender Dysphoria diagnosis. Especially concerning was the treatment

plan for Patient D (DSH-Coalinga), who was provided a diagnosis of Schizophrenia instead of

the diagnoses of Post-Traumatic Stress Disorder (PTSD) and Gender Dysphoria, both of which

were listed in the referral and the admitting psychiatric diagnoses—no record documenting the



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reason for the change was found during the record review. The treatment plan also failed to

address several issues specific to Patient D (DSH-Coalinga)’s referral. Several sections of the

treatment plan for Patient E (DSH-Coalinga) were marked “TBD” but were otherwise left blank,

including the element entitled psychiatric and psychological—the same of which was found

missing from treatment plans for Patients F and G (DSH-Coalinga). The most recent treatment

plan for Patient H (DSH-Coalinga) was vague regarding the patient’s presenting problems and

contained inconsistent objectives.

       Treatment plan documentation for Patients A, B, and C (SVSP-PIP) was so deficient it

was difficult to assess the adequacy of treatment planning, with problems including the failure to

adequately document the patient’s current functioning and interventions and poor documentation

of individualized treatment planning. For Patients I and K (SVSP-PIP), treatment remained

unchanged despite a lack of patient improvement.

       At CMF-PIP, the master treatment plan for Patient M (CMF-PIP) was not properly

completed and specific treatment interventions were not documented. Patient K (CMF-PIP)’s

master treatment plan was also inadequate; it lacked a current assessment of the patient’s

functional level, did not contain some basic elements of treatment, and did not target his most

problematic behaviors. Copying and pasting from prior treatment plans was also a problem

found in both cases.

       A number of problems were found with the treatment planning for Patient J (SQ-PIP).

The treatment plan failed to adequately address the patient’s ongoing lack of engagement with

treatment, treatment goals were not stated in objective behavioral terms, and the treatment plan

lacked appropriate treatment interventions for the patient’s primary functional problems, among

other notable deficiencies.



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       3.       Deficiencies in Behavioral Plans

       As outlined in Part II (B) above, the use of individual behavior plans and interventions

varied across the inpatient programs. For example, the use of individual behavior plans had

increased at CMF-PIP since the preceding site visit, while at the SVSP-PIP, individual behavior

plans continued to be underutilized as a treatment modality for Coleman class member patients.

Where individual behavior plans were in use, they were sometimes inadequate, e.g., including

behavior guidelines that were staff-focused rather than patient-focused and missing key elements

such as a completed functional analysis and clear rationale for chosen interventions, among other

deficiencies.

       There were no individual behavior plans in use during the review period and/or at the

time of the site visit at DSH-Atascadero, DSH-Coalinga, or the CMF L1-PIP.

       At the CMF-PIP, although there had been improvement in the utilization of individual

behavior plans, a records review revealed multiple deficiencies in their development, indicating

that improvement was still required in this area. In the case of Patient H (CMF-PIP), the plan

addressed interventions more appropriately addressed through the treatment plan (e.g.,

medication adherence), used punishment rather than positive reinforcement to respond to

targeted behavior, contained goals that were too large in number as well as unrealistic for the

patient’s functional level, and the target behavior was unclear. The individual behavior plan for

Patient J (CMF-PIP) was also inadequate. There was no functional analysis completed; the plan

did not address precursors to the problematic behavior, instead focusing on interventions after

the behavior had occurred; and reinforcement for positive behavior was too infrequent to be

effective. The individual behavior plan for Patient L (CMF-PIP) suffered from some of the same




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aforementioned deficiencies, a functional analysis was not completed and goals were unrealistic

for the patient’s functional level.

        There were also cases in which—although clinically indicated—behavioral plans were

not used. A review of the record for Patient A (DSH-Coalinga) revealed that an individual

behavior plan could have been effective in treating specific functional deficits. The record

contained no evidence that an individual behavior plan had been considered for Patient A

(SVSP-PIP) who was housed out of his LRH due to documented behavior problems. The same

was found in the case of Patient B (SVSP-PIP), who was also housed out of his LRH. Similarly,

although Patient L (SVSP-PIP) and Patient A (CHCF-PIP) had issues preventing transfer to

LRH, there was no documentation in the record that an individual behavior plan had been

considered. There were clinical indications that it would have been appropriate to consider the

development of an individual behavior plan in the cases of Patients H and I (SVSP-PIP), the

former of whom experienced a worsening of psychotic symptoms, deterioration in self-care, and

poor treatment participation, while the latter showed no improvement in behavior, treatment

participation, or mood.

        In the case of Patient M (CMF-PIP), behavior resulting in increased custody status and

more restrictive housing, which reportedly exacerbated the patient’s suicidal thoughts and self-

harming behaviors, was a clinical indication of the need for an individual behavior plan, yet none

was developed. An individual behavior plan should have been developed for Patient B (SQ-PIP)

after the individual treatment plan that had been implemented proved ineffective in increasing

his participation in structured therapeutic activities.




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D.        PATIENT ACCESS TO TREATMENT

          The eight inpatient programs had various distinct policies and procedures concerning

patient access to treatment. The programs were composed of structured guidelines outlining

expectations for patient behavior and treatment. As patients fulfilled requirements, they

progressed through the respective treatment programs and typically received additional

treatment, programming, and greater access to privileges and property.

          Although the inpatient programs had similar objectives, they historically lacked

uniformity. In its order adopting the Special Master’s 2016 Inpatient Care Report, the court

ordered DSH defendants to “develop within 90 days a plan for the creation of a consistent and

uniform patient level system to be utilized across all of its inpatient programs that treat Coleman

class members.” ECF No. 5573 at 3. Prior to the issuance of the court’s order, DSH defendants,

with input from the Special Master’s team of experts and monitors, developed a uniform patient

level system for use at DSH-Atascadero and DSH-Coalinga, a completed draft of which was

provided to the Special Master on January 30, 2017.

          CDCR used the System to Encourage Progress (STEP) for treatment progression to

promote patient advancement through their treatment programs for its PIPs at SVSP, CMF and

CHCF.

          At CIW-PIP and SQ-PIP, CDCR continued to use the Steps Toward Accomplishment

Growth and Education (STAGE) system, which remained unchanged since the preceding

reporting period.

     1.          DSH-Atascadero and DSH-Coalinga

          DSH-Atascadero utilized the Hospital Access System (HAS) to manage patient

supervision, privileges and advancement through five distinct access levels. The treatment


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team decided a patient’s HAS level, which specified where the patient could go within the

hospital and any required supervision. No changes had been made to DSH-Atascadero’s

HAS since the preceding site visit.

       DSH-Atascadero patients were admitted at Level 1, where they remained for at least

seven days. At this Level, they were deemed to be high risk and, due to mental health factors,

possibly unable to care for themselves. At Level 1, a staff escort was needed for patients to leave

their assigned unit.

       Although Level 2 patients could adhere to their own unit’s rules, they required

supervision while on other units. As such, Level 2 patients were able to go to group on their own

but needed an escort to go to the gym, main courtyard, and other places.

       At Level 3, patients typically modeled suitable behavior. They were permitted to go to

three different locations within the hospital without having to check back in with their unit and

were eligible for employment after 30 days. Level 3 patients could progress to Level 4 after 90

days. Patients at Level 4 were eligible for special destinations and privileges. At Level 5,

patients received priority consideration for employment and were recommended for community

placement.

       DSH-Coalinga’s HAS was delineated in Administrative Directive No. 558 (A.D. No.

558), which had been updated in November 2017. Following admission to the hospital, the

treatment plan team assessed the patient toward granting him access to the hospital and to

treatment services. The treatment plan team ascertained each patient’s cognitive ability and level

of functioning, evaluated his ability to control his behavior, adhere to rules and follow hospital

policy and staff direction, preserve therapeutic relationships, and navigate safely to a destination.

Patients who the treatment plan team felt did not pose a threat to themselves or to others and who



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could safely navigate the hospital had to be provided with hospital access within seven days of

this finding.

          Once granted hospital access, DSH-Coalinga patients had to follow staff direction and

unit and off-unit rules, and refrain from physical or verbal assaults and from acts of

overfamiliarity. Patients who were given hospital access were also required to maintain personal

hygiene, respect the rights of others, not possess contraband, or leave the unit without

authorization, and refrain from interfering with staff in the performance of their duties, among

other things. Any patient who violated any provision of A.D. No. 558 could have their hospital

access restricted.

    2.           SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          Prior to the July 2017 implementation of Lift and Shift, DSH instituted the STEP system

in the DSH-run programs housed at CDCR institutions. The STEP system had remained in place

after Lift and Shift, and was in use during the site visits to SVSP-PIP, CMF-PIP, CMF L1-PIP

and CHCF-PIP.

          The STEP program was a system of treatment progression that sought to motivate

patients to advance through their treatment program. It consisted of a structured system of

guidelines that outlined patients’ behavioral expectations and treatment and included distinct

requirements that patients had to satisfy to advance through various STEPs. As patients

demonstrated treatment program progress, they advanced clinically through the various STEP

levels.

          The STEP process began with Assessment and Orientation, where the patient was

assessed and evaluated; the IDTT performed a clinical evaluation and there was a custody

evaluation by the Institutional Classification Committee (ICC)/Unit Classification Committee



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(UCC). There was also treatment planning during Assessment and Orientation, during which the

patient was oriented to treatment expectations and program rules. The IDTT determined whether

patients participated in solo and/or small group treatment activities. Patients were provided

incentives and were allowed property as clinically indicated.

       Following Assessment and Orientation, patients either transitioned to STEP 1 or STEP 2.

Some patients with clinical and custodial factors indicating readiness to program with others

could move directly from Assessment and Orientation to STEP 2. Otherwise, they were placed

at STEP 1 when clinical and custodial factors reflected that the patient required a solo treatment

program; in these cases, STEP 2 advancement required the patient to demonstrate successful

participation in solo treatment at STEP 1, and resolution of any clinical and/or custodial factors

that had previously precluded programming with others.

       The objective of STEP 1 was to socialize patients and fully implement their treatment

plans. At STEP 1, the patient’s treatment plan determined whether his treatment activities

included solo and/or group programming; based on treatment outcomes, the IDTT further

determined the number and type of patient group activities. STEP 1 patients were typically

expected to understand and focus on targeted problems, integrate into and safely participate in

treatment activities, and properly communicate with staff and other patients. STEP 1 patients

were also provided specific incentives, including in-cell recreation activities. Property was

allowed as clinically indicated.

       Progression from STEP 1 to STEP 2 required patient participation in 50 percent of

treatment activities and adherence to STEP 1 requirements. Treatment expectations generally

included patient participation in treatment activities, adhering to medications, progress toward

fulfilling treatment goals, maintaining personal hygiene, appropriately interacting with others,



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and following community rules, among other requirements. There were also specific incentives

for STEP 2 patients and property was allowed as clinically indicated.

       Patients who attended 80 percent of treatment activities could advance to STEP 3.

However, in considering this advancement, the IDTT reviewed whether the patient had satisfied

STEP 2 requirements and the prerequisites that the IDTT had established for such progression.

        STEP 3 patients were required to comprehend their mental illness and actively engage in

treatment. In addition to satisfying the requirements that permitted advancement to STEP 3, the

patient had to show treatment motivation, display positive leadership, meet any specific criteria

that the IDTT established and be able to recover from behavioral and judgment lapses without

significant disruption. To remain at STEP 3, the patient had to attend 90 percent or more of

treatment activities and be free of disciplinary issues. STEP 3 patients were eligible for certain

incentives and property was allowed.

       At a minimum, the IDTT assessed the patient’s STEP level at every meeting and

addressed requirements to progress, which could include additional or modified requirements. It

also decided when there was a need to adjust a patient’s STEP in those situations where the

patient did not maintain the necessary criteria for his STEP level. When this occurred, the IDTT

met with the patient to address the reasons for any STEP adjustment and what the patient would

have to do to return to the prior STEP.

       The STEP programs included DPS, which was a temporary status where a patient was

placed after there was a grave behavioral violation that necessitated increased security measures

that would permit patient access to care and treatment in a secure environment. A patient could

be placed at DPS for clinical or safety reasons at any point. There was also Maximum Custody

status, which required that the patient remain under custody’s direct supervision and control, and



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which CMF-PIP has indicated could be accomplished by the use of a therapeutic treatment

module or mechanical restraints.

   3.          CIW-PIP and SQ-PIP

        The CIW-PIP and SQ-PIP continued to utilize the STAGE level system during the review

period. The STAGE program was composed of several levels through which a patient was

anticipated to progress during treatment. Patient behavior could also result in the treatment

team’s reduction of the patient’s STAGE level.

        All new CIW-PIP admissions were placed on DPS during orientation and until the IDTT

completed evaluations and approved the patient to program. Patients admitted from a Security

Housing Unit (SHU)/administrative segregation, Psychiatric Services Unit (PSU), or an

institution other than CIW had to obtain ICC clearance before DPS could be discontinued. DPS

patients programmed individually in restraints, ate their meals in their cells and had limited

possessions.

        The CIW-PIP STAGE I patients attended treatment groups that the IDTT selected, and

could eat in the dining room, attend group yard, and have visitors and telephone privileges.

STAGE II patients received property and had access to the canteen, quarterly packages, and a

PIP-issued radio. STAGE III patients were allowed a PIP-issued television.

        The SQ-PIP also used a STAGE system with four levels: DPS, where the patient was

assessed, and STAGEs 1, 2, and 3. This STAGE system was effectively unchanged since the

preceding monitoring round.

        The SQ-PIP treatment program established structure and guidelines for STAGE levels 1

through 3 by incorporating a specific percentage of treatment participation into the three

STAGEs; a patient had to maintain the required percentages for a minimum of 30 days.



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However, treatment teams were also permitted to individualize expectations to allow for

performance impairment limitations.

          DPS patients could be placed in treatment activities as soon as 72 hours following

admission and were placed at STAGE 1 following the ten-day treatment team meeting. The

treatment team decided the various incentives that were offered to patients; however, policy did

not delineate these incentives.

E.        REFERRALS AND TRANSFERS

     1.          DSH-Atascadero and DSH-Coalinga

          During the review period, 156 Coleman class members were referred for transfer to DSH-

Atascadero. Acceptance or rejection decisions were made within three days, per policy, in 81

percent of the cases. Two patients were rejected for non-clinical reasons. Bed assignments for

accepted patients met Program Guide requirements in 88 percent of cases. Calculated from

IDTT referral date to date of admission to DSH-Atascadero, 89 percent of Coleman class

members transferred within 30 days, with an average length of time of 12 days. One admitted

patient had complex medical needs, no patients were admitted from the SHU, and there were no

delays in the referral or admission process due to either an involuntary medication issue or a

Vitek hearing.

          Thirty-five patients were referred and admitted to DSH-Coalinga during the review

period. The average time from referral to admission was 22 days and ranged from nine to 63

days.

     2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          During the review period, 242 Coleman class members were referred to SVSP-PIP. Of

those, 221 or 91 percent were accepted and three were rejected. Of the remaining 18, 12



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referrals were rescinded, two patients were referred to acute level of care and four were re-

endorsed for treatment at other PIPs.

         CMF-PIP was unable to provide referral and transfer information, as the review period

included data prior to Lift and Shift and that data was maintained by DSH’s admission discharge

unit.

         Of the 104 patients referred to the CMF L1-PIP, 92, or 88 percent were accepted.

Twelve referred patients were rejected—nine in relation to housing classification and three in

relation to accessibility issues due to their disabilities. Three referrals were rescinded. Accepted

patients transferred within 30 days at a rate of 99 percent.

         At CHCF-PIP, there were 263 admissions to acute care and 47 admissions to intermediate

care during the review period. Data was not presented in a format to facilitate accurate

calculation of transfer timeframes.

    3.          CIW-PIP and SQ-PIP

         There were 34 referrals to the CIW-PIP, including 18 referrals to the acute care program

and ten to the intermediate care program. In addition, four patients initially referred to the acute

care program were subsequently admitted to the intermediate care program. There was one

rescission and one rejection. CIW-PIP did not provide data regarding timeliness of transfers.

Eleven patients were transferred to PSH during the review period.

         All patients referred to the SQ-PIP were admitted; most admissions were from the

intermediate care program. The acute care program census ranged from zero to three patients

during the review period.




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F.        ADMISSIONS AND DISCHARGES

     1.          DSH-Atascadero and DSH-Coalinga

          In a change from the preceding review period, DSH-Atascadero leadership reported no

longer admitting patients referred to an acute level of care. The facility followed the referral and

admission process in the MOU between CDCR and DSH regarding patients requiring

intermediate care. While DSH clinically accepted all patients, some continued to be rejected for

security reasons. During the site visit, 16 accepted patients were waitlisted; nine of them were

timely admitted during the same week.

          DSH-Atascadero discharged 137 patients during the review period. The average length

of stay was 344 days, with a range of seven to 1,064 days, and there was 100-percent compliance

with clinician-to-clinician contact following patient discharge to CDCR. At the time of the site-

visit, there were 16 patients who were clinically discharged but physically remained at DSH-

Atascadero; 11 had scheduled discharge dates.

          For patients returning to CDCR, discharge planning began during IDTT, and during

individual sessions with a social worker. Discharge planning communication between DSH and

CDCR was improving through the use of SharePoint and increased clinician-to-clinician contact.

Parole planning was initiated upon admission for patients within one year of their scheduled

release, as well as for patients pending parole within 60 to 120 days.

          At DSH-Coalinga, there were 35 patients referred during the review period; all were

admitted. Additional admissions data was provided for 27 of the patients. According to the data

provided, the time from receipt of the completed referral to admission ranged from four to 28

days, with an average of 13 days. There was one outlier at 55 days. The average time from

acceptance to admission was 9.6 days, with a range of two to 22 days.



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         During the review period, DSH-Coalinga discharged 38 patients; 28 to EOP programs,

four to acute care programs, two to other intermediate care programs, one to a Correctional

Treatment Center (CTC), one to the Mentally Disordered Offender (MDO) program at DSH-

Atascadero, and two paroled. The average length of stay from admission to clinical discharge

was 196 days, from admission to physical discharge it was 201 days. The lengths of stay ranged

from 14 to 754 days for clinical discharge and 23 to 756 days for physical discharge.

         For patients within 90 days of parole, nine of ten received pre-release planning; seven

also received services from the Transitional Case Management Program (TCMP).

    2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, AND CHCF-PIP

         There were 221 admissions to the SVSP-PIP during the review period. There were 33

patients admitted through the Vitek process and nine patients had two or more admissions. ICC

meetings within ten days of admission as required by policy occurred 98 percent of the time.

There were 128 patients discharged from the SVSP-PIP during the review period; the average

length of stay was 165.74 days.

         CMF-PIP did not provide admissions data for the review period related to difficulty

obtaining information post Lift and Shift. For patients housed in the CMF-PIP at the time of the

site visit, the average length of stay was approximately 55 days for both Maximum Custody and

non-Maximum Custody patients. The two months preceding the site visit saw a significant drop

in the occupancy rate in the acute psychiatric program, resulting in approximately 30 unoccupied

beds at the time of the site visit.

         During the review period, there were 336 patients discharged from the CMF-PIP acute

care program; the average length of stay was 77 days. Of those, 28 percent were discharged to

an intermediate care program. Excluding five outliers ranging from 21 to 49 days, the average



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number of administrative days after clinical discharge was four days; CMF-PIP did not provide

reasons for delays. There were 192 patients discharged from the intermediate care program; the

average length of stay was 142 days. Administrative days after clinical discharge averaged 3.4

days.

         At the CMF L1-PIP, there were 92 patients admitted during the review period. There

were 29 patients discharged—15 to single cells and two to locked dorms at CMF-PIP, and two to

unlocked dorms at DSH-Atascadero. The remaining ten were discharged for various reasons,

such as parole or transfer to a CDCR EOP program, among others.

         During the review period, CHCF-PIP admitted 263 patients to acute care and 47 patients

to intermediate care. Of the 356 patients that were discharged, data was provided for 355. The

average length of stay after clinical discharge was 5.32 days; for 50 or 14 percent of patients it

exceeded ten days. The delays were cause for concern as there could be patients awaiting

inpatient beds.

    3.            CIW-PIP and SQ-PIP

         CIW-PIP admitted 32 patients; 18 patients to the acute care program and 14 patients to

the intermediate care program. There were 34 patients discharged during the review period. The

average length of stay was 112.2 days. Data was not provided relative to any administrative

delays impacting transfers after clinical discharge. In October 2017—prior to the site visit—two

patients discharged to Patton State Hospital, continuing access to the facility for some CIW-PIP

patients.

         At the SQ-PIP, all referred patients were accepted and timely admitted at the time of the

site visit. Transfers from the SQ-PIP intermediate care program comprised most of the




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admissions to the acute care program, the census of which generally ranged from zero to three

patients.

          There were nine patients discharged from the SQ-PIP during the review period. For

acute care patients, the average length of stay was 17.41 days during the review period. At the

time of the site visit, for intermediate care patients the average length of stay was 750.88 days.

G.        PATIENT DISCIPLINARY PROCESS AND THE USE OF FORCE

          Patient Disciplinary Process

          As the Special Master noted in his preceding report on inpatient care, there were several

modifications to the Rules Violation Report (RVR) policies and procedures following the filing

of his January 30, 2015 RVR report. ECF No. 5448 at 107. During the preceding review period,

the Special Master had been unable to examine the implementation of the new policies and

procedures due to an extended timeframe for staff training and implementation. Subsequently as

a result, the Special Master reported on implementation of the new RVR policies and procedures

in his Twenty-Seventh Round Monitoring Report. ECF No. 5779 at 106-115.

     1.          DSH-Atascadero and DSH-Coalinga

          There were 18 RVRs issued at DSH-Atascadero during the review period. One of 18

mental health assessments recommended mitigation. Documentation related to RVR

dispositions was unavailable for review.

          During the review period, DSH-Coalinga issued 13 RVRs. The hospital had only

recently begun retaining copies of RVR packets and seven were available for review. Reviewed

mental health assessments did not reflect consideration of mental health factors where patients

were found guilty. Hearing officers’ reports were unavailable to determine whether RVR

dispositions were compatible with mental health assessments.



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        DSH-Coalinga’s RVR log was inaccurate. The hospital also did not track issues such as

consideration of the patient’s mental illness toward penalty reduction where the patient was

found guilty. None of the DSH-Coalinga clinicians who completed mental health assessments

had received training on completion of mental health assessments.

   2.          SVSP-PIP, CMF-PIP, CMF L1-PIP and CHCF-PIP

        SVSP-PIP provided data reflecting that 119 RVRs were issued during the review period.

A total of 15 of 119 mental health assessment requests were timely sent by custody staff to

mental health. Clinicians timely completed and returned 96 percent of the assessments. A

reviewed sample of 18 RVR packets revealed one that recommended documenting the behavior

in an alternate manner. Two of 18 mental health assessments determined that patients’ mental

health contributed to the behaviors resulting in the RVRs. One of 18 noted factors that the

hearing officer should consider during penalty assessment. SVSP-PIP custody officers regularly

documented consideration of the mental health assessment.

        SVSP-PIP reported that 90 percent or more of required custody staff received the annual

inmate disciplinary process mental health assessment training; data for clinical staff was not

provided. All eligible SVSP-PIP clinicians were trained on the new RVR process that utilized

EHRS to complete mental health assessments; 90 percent or more of correctional administrators,

captains and lieutenants received the training, but only 81 percent of sergeants received it.

        CMF-PIP issued 95 RVRs during the review period. A review of a ten-percent sample

found 90-percent compliance with timely requests for and subsequent completion of mental

health assessments. With one exception, CMF-PIP senior hearing officers indicated

consideration of mental health input in all reviewed cases. No reviewed cases recommended




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documenting the case in an alternate manner. Where mitigation occurred, senior hearing officers

typically limited it to not reducing privileges, as notable credit forfeitures were imposed.

       Excluding two new employees, CMF-PIP psychologists completed the four-hour

mandatory RVR training, as did 93 percent of required custody staff. Eighty-three percent of

non-newly-employed psychologists had been trained on completing the mental health assessment

through EHRS, as were 94 percent of required custody staff.

       CMF L1-PIP issued 18 RVRs during the review period. A sample review reflected

custody officers’ timely request of mental health assessments, but none were timely completed

and returned by mental health. Reviewed RVRs reflected hearing officers’ consideration of

mental health input. In cases where the clinician requested mitigation, although a loss of

privileges was imposed, significant loss of credit earnings was also administered as a penalty in

guilty dispositions.

       CHCF-PIP reported adjudicating 92 RVRs from July 1, 2017 through November 6, 2017.

Custody timely referred mental health assessments to clinicians, who timely completed and

returned them. One reviewed RVR indicated an alternate manner for resolution and proper

review by the captain. Senior hearing officers noted consideration of mental health assessments

and there was penalty mitigation.

       CHCF-PIP reported greater than 90-percent compliance for mental health staff training

on the new mental health assessment process using EHRS, and 85.7 percent compliance for

custody staff.

      3.         CIW-PIP and SQ-PIP

       Of the six RVRs issued at CIW-PIP during the review period, two were timely sent for

completion of a mental health assessment. Clinicians timely returned the assessment in four of


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six cases. None of the CIW-PIP mental health assessments recommended documenting the

behavior in an alternate manner. Five assessments indicated that patients’ mental health

contributed to the conduct resulting in the RVR and noted specific examples. In all cases,

clinicians provided specific recommendations as to penalty mitigation and custody documented

consideration of the mental health assessment. Mental health considerations led to the dismissal

of one case and the reduction of charges in two others.

       All seven RVRs issued to SQ-PIP patients were referred for an assessment; mental health

was found to be a factor in the conduct underlying all of them. Six of seven assessments

recommended mitigation, but clinicians did not recommend documenting the behavior in an

alternate manner. Clinicians generally identified factors that hearing officers should consider

during penalty assessment and hearing officers documented the consideration of clinical

recommendations.

      Use of Force

      1.       DSH-Atascadero and DSH-Coalinga

       There were no use of force incidents or cell extractions at DSH-Atascadero or DSH-

Coalinga during the review period.

      2.       SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

       SVSP-PIP reported one controlled and nine immediate use of force incidents during the

review period. Review of the controlled use of force incident packet revealed that staff’s actions

complied with the use of force policy. SVSP-PIP reported compliance for completion of annual

use of force training by custody staff. For medical technical assistants (MTAs), 83 percent

completed the training; data was not provided for clinicians.




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       CMF-PIP reported ten immediate and eight controlled use of force incidents during the

review period. For CMF-PIP custody staff, 97 percent were compliant with use of force training,

while 40 percent of clinical staff were compliant. Data on use of force training for MTAs was

not provided.

       There were five immediate use of force incidents in the CMF L1-PIP. Reviewed incident

reports found that all were compliant with the use of force policy.

       There were no controlled use of force incidents at the CHCF-PIP from July 1, 2017

through September 2017; data for October 2017 was not reported. There were 20 immediate use

of force incidents. Managerial reviews were comprehensive.

      3.        CIW-PIP and SQ-PIP

       There were ten use of force incidents in the CIW-PIP, one controlled and nine immediate.

A review of the controlled use of force incident packet and video revealed that required

procedures were followed.

       There were no controlled use of force incidents in the SQ-PIP and three immediate use of

force incidents. All resulted in RVRs against patients.

H.     USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

      1.        DSH-Atascadero and DSH-Coalinga

       Generally, DSH-Atascadero demonstrated overall compliance with policies and

procedures regarding restraints and seclusion. Occasional noncompliance in one month would

be followed by significant improvements in subsequent months. At DSH-Atascadero, 11

patients were involved in 12 incidents of seclusion during the review period, with a range of 2.2

to 73.3 hours and an average duration of 22.4 hours. Restraints ranged from 1.3 to 38.8 hours,

averaged 8.5 hours, and involved 28 patients over 56 episodes.


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        At DSH-Coalinga, one of nine seclusion episodes lasted more than three hours, and the

single outlier lasted 24.42 hours. Of the nine restraints that occurred, six of them involved two

patients. The length of time for restraints ranged in duration from .37 hours to 5.88 hours, with

nine of the eleven episodes lasting less than two hours.

      2.        SVSP-PIP, CMF, CMF L1-PIP, and CHCF-PIP

        At SVSP-PIP, there were 77 seclusion episodes involving 51 patients, ranging from 52

minutes to just over 228 hours during the review period. Documentation was challenging to find

as a result of changes that occurred during Lift and Shift, however, nursing staff reported

compliance with seclusion policies and no adverse patient outcomes. Only one incident of

restraint which lasted seven hours and five minutes was reported.

        CMF-PIP did not use observation or seclusion rooms. Four acute care patients required

restraints, with three of the patients being restrained for less than 5.35 hours, with a range of 3.45

hours to 15.20 hours. CMF-PIP reported no incidents of restraint in the intermediate care

program.

        There were 30 seclusion placements at CMF L1-PIP during the review period, of which

22 involved one-to-one suicide monitoring. Many of the seclusion episodes reported involved

the same patient. The longest duration for seclusion was eight days. CMF L1-PIP had two

observation rooms with restraint beds; there had been no documented medical restraints since the

unit’s activation.

        At the CHCF-PIP, there were 48 incidents of one-to-one observation that occurred during

the review period. There were three incidents of restraint reported; the longest lasted

approximately four hours and eleven minutes. Nursing documented monitoring all incidents.




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          3.        CIW-PIP and SQ-PIP

            CIW-PIP reported no patients were placed in seclusion during the review period, and

only one patient was placed in restraint for a total of nine hours and 15 minutes. The restraint

was appropriately documented.

            At SQ-PIP, there were no incidents of seclusion or restraint reported during the review

period.

I.          SUICIDE PREVENTION, EMERGENCY RESPONSE, AND THE DEATH
            REVIEW PROCESS

     1.            DSH-Atascadero and DSH-Coalinga

            There were no suicides at DSH-Atascadero during the review period.

            The suicide prevention process remained within the standard of care. A new focus of

suicide prevention had been implemented emphasizing trauma informed care, and there were

plans to expand implementation to other institutions. At DSH-Atascadero, a trauma consultation

group was formed, which included psychologists, social workers, rehabilitation therapists and

nursing, as were several groups for Coleman patients that focused on trauma-related issues.

            A number of suicide prevention activities were undertaken at DSH-Atascadero by the

Suicide Prevention Committee (SPC). Such efforts included a pilot in Program V to replace the

current bedding with tear resistant bedding, modifications to certain physical structures,

including stairwells, handicap grab rails, and toilet paper holders and rolls.

            DSH-Atascadero emergency response remained unchanged since the preceding site visit.

Basic life support training was provided to nursing and medical staff and first aid training was

provided to all staff who had patient contact. A review of the emergency response drill schedule

for the review period showed that corrective actions had been implemented for identified areas of

deficiency.

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            There were no suicides at DSH-Coalinga during the review period. There was one

suicide attempt, which was addressed properly by unit staff and no corrective action was deemed

necessary.

            DSH-Coalinga’s Suicide Risk and Prevention Committee met twice during the reporting

period. Reviewed minutes indicated that items frequently reviewed by the committee included

risk and other factors associated with suicidal gestures and behaviors.

            There were no deaths at DSH-Coalinga during the reporting period that required

implementation of the death review process.

       2.           SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

            During the review period, there were no completed suicides at SVSP-PIP.

            There were four suicide attempts and eleven aggressive acts to self.18 The SVSP-PIP

collaborated with SVSP on suicide prevention. There was no SPRFIT coordinator position at

SVSP-PIP. Staff indicated the position was needed to provide the necessary documentation and

suicide prevention training required for the unit.

            There were four emergency responses; all were handled timely.

            No deaths occurred at SVSP-PIP during the review period.

            There were no suicides in the CMF-PIP.

            CMF-PIP staff reported Suicide Risk Assessment and Self-Harm Evaluations

(SRASHEs) were completed within ten days of admission and upon discharge, but they were

unable to generate compliance reports for review.

            There were no events requiring emergency response which were responsive to acts of

serious harm.

18
     “Aggressive acts to self” is the terminology used by SVSP-PIP.


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          A review of provided documents showed CMF L1-PIP was not in compliance with the

requirement to complete SRASHEs within ten days of admission.

          There were no suicides in the CMF L1-PIP during the review period.

          No suicides occurred at CHCF-PIP. There were 16 incidents of suicidal behavior during

the review period. CHCF-PIP did not track SRASHEs or conduct any audits regarding suicide

prevention efforts.

   3.            CIW-PIP and SQ-PIP

          CIW-PIP demonstrated compliance with Program Guide requirements related to suicide

prevention efforts. SRASHEs were timely completed for all patients. CIW-PIP established an

internal process to review self-harming behaviors and/or suicide attempts. CIW’s Suicide

Prevention and Response Focused Improvement Team (SPRFIT) also reviewed serious suicide

attempts. Of 30 incidents included in the self-harm log, three reflected suicide attempts.

          All emergency responses at the CIW-PIP were reviewed by CIW’s patient safety

committee. No documentation regarding the occurrence of emergency drills was provided for

review.

          There were no deaths reported in the CIW-PIP during the review period.

          No suicides occurred in the SQ-PIP during the review period. Nine incidents of self-

harm were reported. A facility audit of SQ-PIP SRASHEs revealed compliance for all audit

criteria. Suicide risk evaluations at the time of admission to the SQ-PIP were at 100-percent

compliance. SPRFIT suicide prevention efforts encompassed all SQ institutional programs,

including the SQ-PIP.

          A review of minutes of the Emergency Medical Response Review Committee (EMRRC)

indicated emergency drills occurred in compliance with policy.



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          There were no patient deaths in the SQ-PIP during the review period.

J.        QUALITY MANAGEMENT AND UTILIZATION REVIEW

     1.          DSH-Atascadero and DSH-Coalinga

          In his 2016 Inpatient Care Report, the Special Master noted that “[t]he existing quality

management mechanisms in place in the DSH programs were, on balance, found to be needed

and useful.” ECF No. 5448 at 82. However, those quality management processes—which still

applied to DSH-Atascadero and DSH-Coalinga after Lift and Shift—did not equip them with the

ability to diagnose and resolve on a lasting basis the problems with the quality of care delivered

to Coleman class members. “In short, DSH’s quality management structure was not found to be

a continuous quality improvement structure.” Id.

          In its March 7, 2017 order adopting the 2016 Inpatient Care Report, the court directed

DSH defendants, under the guidance and supervision of the Special Master, and with input from

plaintiffs as appropriate, to “develop a plan within 90 days for the creation of a continuous

quality improvement (CQI) process to be utilized in the DSH programs that treat Coleman class

members.” ECF No. 5573 at 3. In response to the court’s order, DSH defendants—with the

aforementioned input from the Special Master and plaintiffs—developed a CQI reporting format

that included Coleman key indicators proposed by the Special Master’s team of experts and

monitors. Finalization and implementation of the proposed DSH CQI reporting format—

submitted to the Special Master on September 1, 2017—remains pending.

          DSH-Atascadero’s quality management process remained largely unchanged during the

review period, with the notable addition of key indicators regarding Coleman class members.

The quality council committee met weekly and considered reports regarding risk

management/utilization review, violence prevention, quality improvement, medication



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management, emergency care, standards compliance, and program review. Although over 63

audits were performed on at least an annual basis during 2017, the audits only reported results

and did not include a description of the problem reviewed, methodology used, assessment of the

results, or plans to address any identified deficiencies. Effective quality improvement audit

reports should include all these elements.

       DSH-Atascadero continued to track various treatment-related activities through the

Wellness and Recovery Model Support System (WaRMSS), which included key indicator data

that triggered reports identifying patients who may require additional attention and/or

intervention. They also continued to use the Incident Management System to track all special

incidents that adversely affected the safety, care, treatment, and rehabilitation of patients.

       At DSH-Atascadero, the utilization management committee met monthly during the

review period. The committee reviewed all patients who had been hospitalized for 180 and 240

days and thereafter, every 30 days. The risk management/utilization review committee also met

monthly. Medical risk management, treatment support, suicide prevention, facility review,

violence prevention and intense case/preventative case analysis all either reported to or provided

reports to this committee. Meeting minutes revealed adequate summaries of reviewed items.

       The structure of the quality improvement process at DSH-Coalinga was robust, although

the actual quality improvement studies specific to the Coleman class members were problematic.

The problems related directly to the format of the studies in that they were not stand-alone

documents, and did not explicitly state the purpose, methodology, assessment of the results, or

offer any remedial plans if any deficiencies were identified.

       At DSH-Coalinga, the utilization review committee met regularly to oversee the review

of the medical necessity for admissions, extended stays and services rendered. The committee



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consistently reviewed issues specific to Coleman class members, and the enhanced trigger

review committee further examined issues specific to Coleman class members, although these

results were most often “no recommendations.”

   2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

        As previously reported, on July 1, 2017, operation of the SVSP-PIP transitioned from

DSH to CDCR during the process known as Lift and Shift. Due to Lift and Shift and the

implementation of EHRS—which was activated on September 12, 2017—the quality council

committee experienced interruptions in its various activities during the review period; however,

it continued to monitor various incident reports. Following Lift and Shift, SVSP-PIP retained the

fundamentals of the quality management/utilization review processes instituted by DSH;

however, post Lift and Shift, the quality council committee functioned as a mental health

subcommittee and reported directly to SVSP’s quality management committee. These transitions

impacted the ability to collect and use data for audits and program evaluation during the review

period. Further, in preparation for EHRS activation, staff training during June and August 2017

impacted all programs at SVSP-PIP including quality management. SVSP-PIP did not provide

utilization review data.

        At the time of the site visit, SVSP-PIP’s Standards and Compliance Office was drafting a

local operating procedure for the quality and performance improvement program, expected to be

completed by the end of January 2018 with training to follow. SVSP-PIP staff reported that the

role of the quality council committee and its policies and procedures would also be revised.

Going forward, the quality council committee would collect and review monthly reports from

SVSP-PIP’s clinical and administrative departments including performance goals and objectives.

Relevant reports would be elevated to the local quality management committee.



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       CMF-PIP’s quality management steering committee met weekly during the review

period. Due to training for Lift and Shift and EHRS, there were no quality improvement studies

or audits regarding treatment programs in the acute or intermediate care programs during the

review period.

       At CMF-PIP, the utilization management committee reviewed all patients prior to

acceptance by the admission and discharge unit. For the time period of July 1 to October 31,

2017, the CMF-PIP utilization management committee reviewed all 205 patients with lengths of

stay of 30 days or longer in the acute care program, as well as all 42 patients with lengths of stay

of 180 days or longer in the intermediate care program. There were significantly divergent

results in discharge recommendations between the IDTTs and the utilization management

committee. Staff acknowledged the need for additional training and dialog. During the review

period, EHRS implementation and preparation also negatively impacted the completion of the

continued stay forms, a vital component of the utilization management committee review.

       The quality management for mental health services committee met monthly and covered

both CMF L1-PIP and CMF-PIP. Additionally, the CMF L1-PIP management team met daily,

and its executive management team met monthly. Both addressed issues of quality improvement

as needed. There had been no audits conducted in the CMF L1-PIP since activation. Staff

reported plans to develop performance measures; results would be displayed on the CDCR

dashboard.

       A weekly case consultation meeting that included all disciplines was the primary

utilization review forum at CMF L1-PIP. During these weekly meetings patients’ treatment and

lengths of stay were reviewed.




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        At the time of the site visit, CHCF-PIP continued to utilize the DSH model for its quality

management program. The quality council committee, which met monthly, functioned as the

overall quality management committee. Various committees, including utilization management

reported to the quality council committee. A review of quality council committee meeting

minutes reflected discussion of pertinent issues related to the delivery of care to Coleman class

members. CHCF-PIP utilized a Risk Management Program to track deficiencies and corrective

action plans, track and monitor all serious incident reports, and report unusual occurrences to

appropriate oversight agencies.

   3.          CIW-PIP and SQ-PIP

        The performance improvement system at CIW-PIP included the performance

improvement subcommittee, a multi-disciplinary team of key clinical and custody administrators

and supervisors, which met monthly. Data reviewed by the performance improvement

subcommittee included, but was not limited to, incident reports, root cause analysis reports, and

various audits and quality improvement projects.

        CIW-PIP’s utilization review committee met monthly during the review period. Agenda

items included admission and discharge data, least restrictive housing, waitlist data, lengths of

stay, transfers to PSH, and barriers to discharge.

        At SQ-PIP, quality management was monitored through bi-weekly SQ-PIP subcommittee

meetings. During the review period, the SQ-PIP subcommittee chartered three quality

improvement teams and two workgroups. SQ-PIP staff discussed interventions, treatment plans

and programmatic issues on a weekly basis. Additionally, the local governing body, and the

quality management, patient safety and bed utilization management committees—which also

regularly discussed SQ-PIP issues—met monthly. Verbal reports on the various audit focus



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areas were provided to the appropriate committee during the monthly meetings. At the time of

the site visit, key indicator reports had been conceptualized, but not yet successfully

implemented.

K.        PATIENT COMPLAINTS/PATIENT SATISFACTION

     1.          DSH-Atascadero and DSH-Coalinga

          During the review period, 57 Coleman patients housed at DSH-Atascadero filed a total of

136 complaints. Twice annually, DSH-Atascadero conducted patient surveys. The most recent

Program V survey reflected patient satisfaction at 90 percent or higher for 11 of 13 inquiries,

including patient safety and the respectful treatment of patients by staff. An observed

community meeting similarly revealed positive patient comments about the hospital’s treatment

milieu and programming; patients reported very good clinical access, indicated that groups were

therapeutic, and denied problems obtaining medications. Patients expressed concerns with

inadequate access to the correctional counselor and an interest in greater educational

opportunities and additional individual therapy.

          Three DSH-Coalinga patients made a total of five complaints; the hospital reported that

all were resolved. Sixteen of 38 patients discharged from DSH-Coalinga took part in a patient

satisfaction survey. Their responses revealed that 94 percent strongly agreed that they felt safe

and learned coping skills at the hospital, and that staff spent sufficient time with them.

Moreover, 88 percent strongly agreed that they were appropriately referred to DSH-Coalinga and

that staff urged their involvement in treatment planning. Patients also had positive comments

about the hospital’s program at an observed community meeting. Patients typically stated that

core groups were beneficial and did not indicate complaints as to gym or yard access. With the

exception of the correctional counselor, patients spoke positively about staff.



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     2.           SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          The SVSP-PIP reported 112 health care appeals. Slightly more than one quarter were for

mental health issues. SVSP-PIP’s various units typically had functioning patient councils. A

review of meeting minutes from patient councils indicated that they were typically a forum that

provided patients with information. Patient councils addressed patient questions and concerns

about both treatment and non-treatment issues. Staff responses included offering staff resolution,

providing patients with necessary information or instructing them on how to obtain it, or

indicating that the matter would be reviewed.

          During the review period, CMF-PIP processed 137 CDCR 602 appeals. Forty-two CMF-

PIP acute care patients completed patient satisfaction surveys. Eighty percent of respondents

indicated feeling safe, but only 29 percent reported satisfaction with the current number of

treatment groups. Patients’ responses also reflected dissatisfaction with offered leisure activities

and learned skills. In the CMF-PIP intermediate care program, 103 patients completed patient

surveys; almost three quarters reported that treatment groups addressed their emotional or mental

health issues. However, interviewed patients typically reported receiving very little treatment

and, in the intermediate care program, inadequate yard access. Interviewed DBT patients were

more positive about treatment, but also expressed a desire for more yard.

          CMF L1-PIP staff and patients reported a major concern regarding the lack of an

acceptable infrastructure to furnish televisions to STEP 3 patients.19 Patients also expressed

concern as to their ability to receive personal property following admission, which staff

confirmed.



19
  In their response to the draft report, defendants reported that the issue with infrastructure had since been resolved
and patients who reach Step 3 now receive televisions.


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          CHCF-PIP patients filed 98 appeals during the review period, of which just under 50

percent were for complaints against staff. Quarterly satisfaction surveys by CHCF-PIP patients

indicated issues with staff and insufficient out-of-cell time and treatment. Interviewed acute care

CHCF-PIP patients also expressed concerns with insufficient out-of-cell time in addition to their

property not following them after they left CDCR prisons. They further reported low staffing

levels.

     3.          CIW-PIP and SQ-PIP

          CIW-PIP patients did not file any CDCR Form 602 appeals during the review period.

          SQ-PIP patients filed 13 grievances and completed annual surveys. Three of 20 surveyed

areas attained a score of 85 percent or better, including patient awareness of their medications

and being urged to participate in treatment planning. In addition, 60 percent or less of patients

reported receiving needed treatment and that their concerns were heard by staff.

          The officers of SQ-PIP’s patient council met weekly to address matters for monthly

community meetings, to which all patients were invited. There was also a quarterly multi-

disciplinary meeting, which included the warden and mental health, nursing, medical, and

custody staff, at which patient council officers presented issues.

L.        COLEMAN POSTINGS

     1.          DSH-Atascadero and DSH-Coalinga

          With very limited exceptions, Coleman postings in English and Spanish were located in

accessible areas in units housing Coleman class member patients at DSH-Atascadero and DSH-

Coalinga.




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     2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          Postings in English and Spanish were appropriately displayed in units housing Coleman

patients at SVSP-PIP, CMF-PIP, CMF L1-PIP and CHCF-PIP.

     3.          CIW-PIP and SQ-PIP

          Coleman notices were properly posted in the CIW-PIP. In the SQ-PIP, postings were

available in English and Spanish, but could have been placed in a more prominent patient-

accessible area.

M.        LAUNDRY AND SUPPLY ISSUES

     1.          DSH-Atascadero and DSH-Coalinga

          Laundry areas observed at DSH-Atascadero were clean and well-kept. Some patients

expressed concern that occasionally they received clothing in the wrong size or something was

missing from their laundry. A sufficient supply of personal grooming items were available on

the units.

          No concerns were noted with obtaining clean clothing or supplies at DSH-Coalinga. In

addition, khaki muumuus, and a variety of undergarments were available for patients with a

diagnosis of gender dysphoria.

     2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          At SVSP-PIP, although a tour of housing units TC1 and TC2 revealed sufficient clothing,

bed sheets, and other supplies such as shoes and soap, patients reported that laundry supplies

were insufficient and laundered items did not smell clean.

          Delayed deliveries from the offsite laundry facility caused intermittent problems in the

CMF-PIP acute care program, while no laundry or supply issues were reported in the

intermediate care program there.


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          Multiple problems were reported with the laundry at CMF L1-PIP which were remedied

during the site visit. A laundry bag exchange system was implemented and included the one-to-

one exchange of a patient’s full complement of clothing on laundry day.

          In interviews, patients on the intermediate care unit B6A at CHCF-PIP complained that

laundry was returned to them stained and malodorous. There were no audits, reports or logs for

laundry and supplies during the review period, nor were there any appeals filed regarding

laundry.

     3.          CIW-PIP and SQ-PIP

          At the CIW-PIP, a review of the minutes of the patient council meetings showed that

issues reported regarding clothing and bed linens during the review period were documented as

subsequently resolved.

          A sufficient supply of laundry, including linens, smocks, jackets, blues and whites were

available at the SQ-PIP. Ample supplies of personal grooming items were available on psych

tech carts, with supplementary inventory in a stock room. Haircuts were provided at the SQ-PIP

at least twice a month, often more frequently.

N.        VISITATION/PRIVILEGES/TELEPHONE

     1.          DSH-Atascadero and DSH-Coalinga

          At DSH-Atascadero and DSH-Coalinga patients were entitled to daily visitation, unless

there was a clinical, safety or security reason. From September through late December 2017

visitation at DSH-Atascadero was limited to non-contact visits due to incidents involving patient

possession of contraband. There were no issues reported with visitation at DSH-Coalinga.




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         At DSH-Atascadero patients had daily access to telephones on all units, some patients

complained about the cost to use them. Patients at DSH-Coalinga typically reported receiving

their property upon arrival.

   2.           SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

         Patients at SVSP-PIP did not report any concerns about visitation or telephone use.

Approved visits occurred on Thursday and Fridays. Patients were loaned crank radios when

they were available.

         Privileges and telephone use were not reported to be concerns during the review period or

at the time of the site visit at the CMF-PIP.

         CMF L1-PIP patients reported no issues with visitation and privileges. Access to

telephones occurred without issue.

         Appropriateness for visitation at CHCF-PIP was determined by IDTT. There were daily

sign up logs for telephone use, which excluded Maximum Custody patients, who required IDTT

approval, and agreement from the facility captain.

    3.          CIW-PIP and SQ-PIP

         CIW-PIP followed the same visitation policy as CIW, with the exception of patients on

DPS. Telephone access was directly related to a patient’s Stage level, though IDTT approval

was required for patients on DPS status. The only complaints expressed by patients during

interviews were regarding the food choices in the canteen and quarterly packages.

         At the SQ-PIP, contact visits were available to all patients four days a week. Patients

were allowed legal or attorney visits every day of the week. At the time of the site visit, there

were no patients restricted from contact visits. Patients maintained the same privileges they had

upon arrival in the SQ-PIP, unless subsequently restricted for clinical, safety or security reasons.



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Patients enjoyed daily phone access and use of the day room, as well as personal electronic

devices, such as TVs and headphones.

O.        LAW LIBRARY ACCESS

     1.          DSH-Atascadero and DSH-Coalinga

          The law library at DSH-Atascadero was open Monday through Friday, and Coleman

patients were welcome to use it. Computers enabled with Lexis/Nexis gave patients access to

various legal publications and other reference materials. A typewriter was also available for

patient use.

          At DSH-Coalinga patients were entitled to use the law library three times a week for one

hour. Patients did not report any problems with access to the law library, though frustration was

expressed regarding the challenges in using the computers without librarian assistance.

     2.          SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

          Patients at SVSP-PIP were provided access to an online law library via computers

available in the various SVSP-PIP housing units, including C5, C6, TC1, and TC2. Patients

reported the system was complicated to use and indicated there was limited assistance available.

Books on carts were observed in the housing units and available for patients to read.

          The patients at the CMF-PIP conveyed no concerns about access to the law library.

          A paging system was used at CMF L1-PIP to access library resources. Patients were

required to submit a request for information through institutional mail and the library staff would

deliver the materials to patients’ rooms. No concerns with regards to the paging system were

identified during the review period.

          At CHCF-PIP, aside from a single appeal regarding law library access filed during the

review period, no other concerns were expressed by patients.



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     3.           CIW-PIP and SQ-PIP

          At CIW-PIP, patients were provided with instructions on how to access library services in

the patient orientation handbook; no concerns regarding law library access were reported during

the site visit.

          The procedure for access to the law library was the same in the SQ-PIP as it was

throughout SQ, although there was a separate policy issued for the PIP in December 2017.

Neither staff nor patients interviewed were aware of the policy or the ability of PIP patients to

have physical access to the law library once per week. In addition to law library access, there

was a legal kiosk available to patients in the day room, though the kiosk was often broken.

P.        EDUCATION

     1.           DSH-Atascadero and DSH-Coalinga

          DSH-Atascadero was reorganizing the educational program throughout most of the period

under review. As a result, limited and primarily General Equivalency Diploma (GED) classes,

were available to patients. Staff reported that subsequent to the reorganization more substantive

classes, such as math, reading, and writing would be offered.

          DSH-Coalinga did not provide educational programming for patients.

     2.           SVSP-PIP, CMF-PIP, CMF L1-PIP, and CHCF-PIP

The above programs did not provide education programming to patients.

     3.           CIW-PIP and SQ-PIP

          At CIW-PIP a patient’s request and IDTT approval were necessary to partake in

educational services. Patient participation in education was minimal and time was tracked

manually, as EHRS was not capable.




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        While no patients at SQ-PIP were using educational services at the time of the site visit,

education unit staff were available to assist patients. SQ-PIP staff indicated the lack of use of

education services was related to the acuity of the mental health issues and the functional

impairment of the current patient group

                                               CONCLUSION

        As outlined in detail above, the time period between the filing of the Special Master’s

preceding inpatient care report in May 2016 and the writing of this report has been activity-filled

for both the DSH and CDCR defendants, as well as the All-Parties Workgroup and the Special

Master and his staff. A comprehensive list of completed project/activities was detailed in the

Special Master’s Twenty-Seventh Round Monitoring Report.20




20
  1) Tested CDCR’s CQIT at ten institutions; 2) Developed CDCR’s staffing plan to address vacancies in mental
health staffing; 3) Resolved the issue of timely calling “911” emergency following activation of the EMS at prisons;
4) Reached agreement to withdraw Recommendations 14, 15, and 16 from the Special Master’s expert’s initial
suicide prevention practices report, “First Audit and Update on Suicide Prevention Practices in the Prisons of the
California Department of Corrections and Rehabilitation (CDCR).” ECF No. 5259.; 5) Developed the annual
Suicide Report template; 6) Revised CDCR’s response to suicide attempts by asphyxiation and hanging, and
replacement of the cut-down tool; 7) Revised CDCR’s Interdisciplinary Progress Note 5-day Follow-Up (CDCR
MH 7230-B); 8) Revised CDCR’s MHCB Discharge Custody Check Policy; 9) Revised the format/templates of
defendants’ census, waitlist, and trends reports to the court; 10) Revised and updated CDCR/DSH Memorandum of
Understanding (MOU); 11) Revised/developed policies and procedures related to Lift and Shift prior to July 1,
2017; 12) Developed training material for Lift and Shift; 13) Attended Lift and Shift training at PIPs and provided
feedback to CDCR; 14) Conducted focused monitoring tours regarding the application of LRH in the PIPs after Lift
and Shift; 15) Assessed DSH telepsychiatry at PSH; 16) Activated temporary intermediate care beds in L1 at CMF;
17) Modified and activated medical isolation rooms into safe intermediate care beds at CHCF-PIP; 18) Revised
“Mental Health Crisis Beds Privileges” policy; 19) Revised CDCR’s policy regarding “Housing of Patients Pending
Mental Health Crisis Bed”; 20) Activated RJD’s Level II Dorm Complex; 21) Revised disciplinary policy regarding
MHSDS treatment refusals; 22) Revised Work Group C and Privilege Group C policy; 23) Finalized and
implemented CDCR’s peer review process; 24) Developed and implemented the EOP and 3CMS review studies; 25)
Developed the Custody and Mental Health Partnership Plan including training materials; 26) Revised policy
regarding program access for MHSDS inmates; 27) Conducted three focused site visits at CSP/Sac; 28) Conducted
focused RVR compliance assessment of 17 prisons; 29) Conducted focused Use of Force compliance assessment of
15 prisons; and 30) Resolved issues regarding PBSP Welfare/Security Checks. ECF No. 5779 at 143-145.


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        Those projects/activities which specifically relate to the provision of inpatient care

include:

                  1. Revised the format/templates of defendants’ census, waitlist, and trends
                     reports to the court.

                  2. Revised and updated CDCR/DSH MOU.

                  3. Revised /developed policies and procedures related to Lift and Shift prior to
                     July 1, 2017.

                  4. Developed training material for Lift and Shift.

                  5. Conducted focused monitoring tours regarding the application of LRH in the
                     PIPs after Lift and Shift.

                  6. Activated temporary intermediate care beds at CMF L1-PIP.

                  7. Modified and activated medical isolation rooms into safe intermediate care
                     beds at CHCF-PIP.

Id. at 144-145.

        The work continues—a list of ongoing activities/projects in various stages of progress

was also detailed in the Special Master’s Twenty-Seventh Round Monitoring Report.21 Ongoing


21
   1) Insert “pocket parts” into the Program Guide; 2) Reach agreement regarding exceptions to Program Guide
timelines for transfers to inpatient program and develop proposed addendum to the Program Guide; 3) Reach
agreement regarding exceptions to Program Guide timelines for transfers to MHCB and develop proposed
addendum to the Program Guide; 4) Finalize CDCR’s CQI report writing template and format; 5) Complete
development and implementation of uniform level systems for DSH/CDCR; 6) Develop MHCB and EOP clustering
plans; 7) Evaluate and provide feedback regarding the ongoing EOP review study and its outcomes; attend and
provide feedback at scheduled institutional implementation and training; 8) Evaluate and provide feedback regarding
the ongoing 3CMS study and its outcomes; attend and provide feedback at scheduled institutional implementation
and training; 9) Attend to ongoing MHSDS bed activations; 10) Attend to CDCR’s proposal to activate 100-person
EOP dormitory at San Quentin; 11) Attend to CDCR’s proposal to activate a non-designated Level IV EOP facility
at CSP/LAC; 12) Attend to EOP Program issues: lengths of stay in segregation, transfer delays, tracking and
reporting of 150-day case-by-case reviews, modified programming, and treatment refusals; 13) Complete CDCR and
DSH staffing plans pursuant to court orders; 14) Complete and implement DSH’s CQI process; 15) Implement
Custody and Mental Health Partnership Plan in CDCR’s institutions; 16) Attend scheduled collaborative culture
training and provide feedback; 17) Attend to ongoing cultural issues and MHSDS delivery problems at CSP/Sac; 18)
Attend to CDCR’s proposal to activate an indecent exposure (IEX) Pilot Program at CSP/Corcoran; and 19) Attend
to proposed “Family Intervention Behavior Management Plan” for IEX behavior. ECF No. 5779 at 145-146.


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activities of the All-Parties Workgroup relating to the provision of inpatient care include

continued discussions of defendants’ progress towards compliance with the staffing ratios in

their 2009 staffing plan and the requirements of the court’s October 10, 2017 order,

consideration of defendants’ plans to activate temporary MHCBs at CIW and increase utilization

of double-celling in the MHCB at CCWF, and ongoing monitoring of compliance with inpatient

care transfer timelines and their exceptions.

            Current and ongoing activities of the DSH defendants include the court-ordered

implementation of their staffing plan, finalization and implementation of the CQI process

developed for use in the DSH programs that treat Coleman class members, and finalization and

implementation of the uniform patient level system policy for DSH Coleman class member

patients. Additionally, DSH defendants report that they have already begun efforts to address

certain of the issues highlighted in the preliminary findings provided by the Special Master’s

team during the DSH-Atascadero and DSH-Coalinga exit conferences.22

           In addition to those already mentioned in relation to the All-Parties Workgroup above,

CDCR defendants’ ongoing tasks also include developing and implementing a uniform

behavioral incentive program for its PIPs, developing performance measures to be used in CMF

L1-PIP quality management audits, addressing the obstacles to achieving compliance with the

court-ordered provision of 12 hours per week out-of-cell time for Coleman class members

housed in CMF L1-PIP, and attending to the focus areas presented in Part II (B) and Part II (C)

of this report.

           The Special Master will monitor and report on each of the projects/activities outlined

above as part of his regular monitoring duties.

22
     Letter dated May 15, 2018 from Pam Ahlin, DSH Director to Matthew A. Lopes, Jr., Esq., Special Master.


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        As mentioned above and listed in further detail in the Special Master’s Twenty-Seventh

Round Monitoring Report, defendants are presently engaged in nearly 20 court-ordered projects

and activities designed to advance them towards compliance. ECF No. 5779 at 145-146. Much

of the work being performed by defendants is occurring simultaneously, which—as previous

experience dictates—requires the full engagement of all of defendants’ circumscribed resources.

Any additions to the work currently underway could have a negative impact on the progress

being achieved; at this juncture, defendants’ resources should not be diverted from full

completion of the current projects.

        In view of the all of the aforementioned, the Special Master offers no recommendations

for further orders of the court at this time.



                                                     Respectfully Submitted,


                                                            /s/
                                                     Matthew A. Lopes, Jr., Esq.
                                                     Special Master




August 30, 2018




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                           APPENDIX A1
                           DSH-Atascadero




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                                         DSH-Atascadero
                                 January 9, 2018 – January 11, 2018

I.       SUMMARY OF THE FINDINGS

        At the time of the site visit, Program V, which included an admissions unit and five
         intermediate care units for Coleman patients, housed 89 percent of DSH-Atascadero’s
         Coleman patients.

        Approximately one quarter of Coleman patients housed in an admissions unit were
         housed in Program V. Overall, 30 percent of Program V patients were non-Coleman
         patients.

        There was a 25-percent functional vacancy rate for psychiatry and nursing positions.

        There was a 13-percent functional vacancy rate for social work positions.

        Staff-to-patient ratios for psychiatry, psychology, social work, and rehabilitation therapy
         were unmet in Program V’s admissions unit and five intermediate care units.

        Required staff regularly attended scheduled IDTTs.

        All initial IDTTs were not completed within seven calendar days as required.

        Assigned treatment groups and group attendance were included in treatment plans;
         however, the corrected number of treatment group hours was not consistently
         documented in treatment plans.

        Treatment plans contained focus statements for each identified area of treatment with an
         objective that was measurable.

        Objectives with at least one approved intervention were usually in treatment plans.

        Treatment outcome expectations were documented in treatment plans.

        Discharge planning that included coping skills for return to CDCR was not completed for
         all patients.

        Observed IDTTs revealed appropriate interdisciplinary input.

        Patients received approximately 13 weekly hours of group.

        Individual therapy was not typically available, but patients reported good access to
         individual clinical contacts through self-referrals.



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         No behavioral plans were initiated, or in use during the review period or at the time of the
          site visit.

         The facility continued to monitor and regulate patient privileges, movement, and
          supervision through the Hospital Access System.

         DSH-Atascadero reported compliance for patients’ timely transfer to the facility.

         Seclusion and restraint audits generally revealed compliance with policy and procedures.

         DSH-Atascadero had a quality improvement process with numerous subcommittees that
          reported to the quality council.

         Patient survey audits conducted between January and April 2017 revealed overall patient
          satisfaction with Program V.

         With limited exception, Coleman postings were posted in English and Spanish in
          Program V housing units.

         During the latter part of the review period, patient visitation was restricted to non-contact
          visits following a contraband incident involving Coleman patients.

         Patients reported good law library access, but difficulty using the computers.

II.       CENSUS

          On January 9, 2018, DSH-Atascadero reported a total patient census of 1,155. On that

date, 196 CDCR patients were at the institution pursuant to California Penal Code (PC)

commitment number 2684 (Coleman class member patients or Coleman class members). DSH-

Atascadero was required to designate 256 beds for Coleman class members, making the census

77 percent of capacity.

          Coleman class member patients were typically housed in Program V, which had an

admissions unit (Unit 13) and five intermediate care treatment units (Units 30, 31, 32, 33, and

34). Program V housed 175, or 89 percent of DSH-Atascadero’s 196 Coleman class members,

seven of whom were housed in Unit 13, and 168 were in one of the five intermediate care units.




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          Twenty-one Coleman class members were not housed in Program V. Twenty were in

admissions units that were not within Program V and one was in the medical unit. Staff reported

that newly-admitted patients were housed in particular admissions units based on bed

availability; the lack of beds in Unit 13 led to the housing of Coleman class members in non-

Program V admissions units. Moreover, once a patient was housed in a certain admissions unit,

the placement was not changed until the patient was transferred to an intermediate care unit. As

a result, during the site visit, only seven of 27 or 26 percent of Coleman class member patients

housed in admissions units were housed in Program V’s admissions unit.

          In addition to housing 175 Coleman class member patients, Program V also housed 76

non-Coleman class members, for a total of 251 patients. Program V beds occupied by non-

Coleman class members included patients who were not guilty by reason of insanity (PC 1026)

or who were incompetent to stand trial (PC 1370) and mentally disordered offenders (MDOs, PC

2962). During the site visit, these patients accounted for 30 percent of Program V’s patients.

          No Coleman class members were placed in administrative isolation during the review

period.

          There were no LRH concerns for Program V as the intermediate care beds were unlocked

dorms.

III.      STAFFING

          1. Administrative, Clinical, and Correctional Staffing

          Permanent staff filled all five of DSH-Atascadero’s executive positions: executive

director, clinical administrator, hospital administrator, nurse administrator, and medical director.

The chief psychiatrist position was filled. Permanent staff also filled Program V’s three

management positions of program director, program assistant, and nursing coordinator.



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       Senior Psychiatrist: The senior psychiatrist position had been vacant since 2011.

       Psychiatrists: Three of eight of Program V’s full-time psychiatrist positions were filled

by permanent staff, reflecting a 63-percent vacancy rate. Contract staff decreased the number of

vacancies to two, leaving a functional vacancy rate of 25 percent. The institution did not use

telepsychiatry.

       Supervising Psychologist: The supervising psychologist position was filled.

       Psychologists: Positions for all eight psychologists were filled.

       Supervising Social Worker: The supervising social worker position was filled.

       Social Workers: Six of eight social work positions were filled, leaving a 25-percent

vacancy rate. Contract staff reduced vacancies by one, resulting in a functional vacancy rate of

13 percent.

       Supervising Rehabilitation Therapist: The supervising rehabilitation therapist position

was filled.

       Rehabilitation Therapists: All eight rehabilitation therapy positions were filled.

       RNs: For RN positions, 35 of 48 were filled, for a 27-percent vacancy rate. The use of

one contractor reduced the number of vacancies to 12, decreasing the functional vacancy rate to

25 percent.

       Senior Psych Techs: Of 18 senior psych tech positions, 14 were filled, for a 22-percent

vacancy rate.

       Psych Techs: Of the 94 psych tech positions, 82 were filled, leaving a functional

vacancy rate of 13 percent.

       Unit Supervisors: All six unit supervisor positions were filled.

       Other: Both positions for health service specialists were filled.



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       Correctional Staff: DSH-Atascadero used Department of Police Services staff for

security. The Department of Police Services chief was under the supervision of both DSH and

DSH-Atascadero and reported directly to the hospital administrator.

       2. Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

       At DSH-Atascadero, the designated clinician-to-patient ratio was 1:15 in the admissions

unit and 1:35 in the intermediate care units. These ratios covered psychiatrists, psychologists,

social workers, and rehabilitation therapists.

       During the site visit, Program V’s admissions unit had a census of 31 patients. Clinical

staffing included one contract psychiatrist, two psychologists, two social workers, and two

rehabilitation therapists. The established psychiatry clinician-to-patient ratio was unmet at 1:31.

The clinician-to-patient ratios for psychology, social work and rehabilitation therapy were all at

1:15.5, slightly exceeding the established ratios for these disciplines.

       In all five of Program V’s intermediate care treatment units, the clinician-to-patient ratios

for psychiatry, psychology, social work, and rehabilitation therapy all exceeded the designated

1:35 clinician-to-patient ratio. DSH-Atascadero assigned either one or 1.2 of each of these four

clinical disciplines to each of the five intermediate care units, which respectively had a

population of 43 or 46 patients. For these total 20 positions (five each for psychiatry,

psychology, social work and rehabilitation therapy) and based on whether there were one or 1.2

assigned clinicians and a patient census of 43 or 46, clinician-to-patient ratios ranged from 1:35.8

to 1:46; all exceeded the established 1:35 ratio.

       3. Staff Training

       DSH-Atascadero provided staff training data for September 2017 that reflected the

percentage of Program V mental health staff who were compliant with required trainings. The



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data indicated more than 90-percent compliance for all required trainings, including

Cardiopulmonary Resuscitation (CPR), Cultural Awareness, First Aid, Infection Control,

Medication Certification, Patient’s Rights, Elder Abuse/Neglect, Pain Management, and

Therapeutic Strategies and Interventions (TSI), among others.

        The institution also reported providing all new employees with a 90-minute suicide

prevention training.

IV.     TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

        1.   Interdisciplinary Treatment Teams (IDTTs)

        DSH-Atascadero presented treatment plan performance improvement audits for the

review period.

        The audits indicated that psychiatrists and psychologists attended 98 percent of scheduled

treatment team meetings, while social workers and rehabilitation therapists attended all

scheduled IDTTs.

        DSH-Atascadero reported compliance with completion of initial IDTTs within seven

calendar days of admissions at 81 percent. Although current groups were listed as interventions

in the audited treatment plans at a rate of 95-percent compliance, the correct number of treatment

hours was 83-percent compliant. The percentage of group attendance was included in 92 percent

of audited treatment plans.

        The audit data showed that 92 percent of treatment plans contained focus statements

related to each identified area of treatment, and 98 percent of treatment plans included a focus

statement that had a written treatment objective. Objectives were deemed measurable in 93

percent of the audited treatment plans, and 89 percent of audited treatment plans had at least one

approved intervention. In 93 percent of audited treatment plans, treatment outcome expectations



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were found to be listed. Discharge planning for a patient’s return to CDCR that included coping

skills for the next setting were found in 87 percent of audited treatment plans.

       Observed IDTT meetings on Unit 32 revealed attendance by the psychiatrist,

psychologist, social worker, rehabilitation therapist, psych tech, and unit supervisor. The

psychiatrist facilitated the IDTT and most treatment team members and patients participated in

the discussion. IDTT meetings included discussion of treatment goals and progress, medication-

related concerns, and current symptomatology. An overhead projector displayed treatment plans,

which allowed visualization by the patient and participants.

       Observed IDTT meetings on Unit 30 reflected appropriate multidisciplinary input.

Patients were present. Unit 30’s treatment team reported meeting with patients on a monthly

basis, although the quarterly IDTT meetings were more comprehensive than the monthly IDTTs.

       2. Group Therapy

       Patients reported that groups were substantive in content, therapeutic, and beneficial.

Institutional data reflected that patients received a weekly average of 6.3 hours of group therapy

and an additional 7.04 weekly hours of recreational groups, for a total weekly average of 13.34

hours during the review period.

       Groups included core groups, which were facilitated by patients’ treatment teams and

held on patients’ treatment units. There were also centralized groups, which were open to PC

2684 patients and other patients, and were facilitated by a variety of hospital staff. Centralized

groups were conducted in other areas of the institution, including the music center, treatment

mall, gymnasium, and outdoor courtyards.

       The monitor’s expert observed a DBT group that two psychologists facilitated. This

centralized group had eight participants and was conducted in the treatment mall. All patients



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actively participated and were provided with a workbook. Interviewed patients expressed

significant satisfaction with the group and reported clinical benefits from the provided material.

       In general, patient satisfaction with the program at DSH-Atascadero was high. Based on

discussions with staff, the number of groups offered to patients in Program V was driven more

by staffing resources in contrast to individual treatment planning.

       3. Individual Treatment

       Patients reported that individual treatment was not routinely available; this was

confirmed by a review of the data provided. Patients averaged 0.1 weekly hours of individual

therapy.

       Most patients stated that they did not have monthly individual clinical contacts with

either a psychiatrist, psychologist, social worker, or rehabilitation therapist. However, they

reported good access to these clinicians via the self-referral process. Patients also described very

good access to one-on-one contacts with social workers and rehabilitation specialists on an as

needed basis.

       4. Psychiatric Services

       Most patients reported having initial weekly psychiatry contacts during the first one to

two months following admission. Patients denied problems receiving medications. During the

review period, an average of 12 patients received non-formulary psychotropic medications on a

monthly basis.

       5. Other Treatment Issues

                 A. Involuntary Medications (PC 2602)

       Fifty-six patients were administered involuntary psychotropic medications on at least one

occasion during the reporting period.



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               B. Behavioral Management

        An administrative directive regarding behavioral plan guidelines was completed in June

2017. No behavioral plans were initiated or in use during the review period. At the time of the

site visit, no Coleman class member patients had behavioral treatment plans.

               C. Morning and End of Shift Meetings

        During the site visit, the monitor’s expert observed a morning “check-in” meeting with

the patients in Unit 30. Following the meeting, the patients were interviewed in a community-

like setting. With few exceptions, patients expressed satisfaction with DSH-Atascadero’s

treatment program, which they described as providing more programming than other CDCR

inpatient units and as having better access to clinicians as compared to EOP programs.

V.      PATIENT ACCESS TO TREATMENT

        Patient Orientation, Discretionary Program Status (DPS), and Stages: Standards
        and Procedures

        DSH-Atascadero regulated patient privileges, movement, and supervision through the

HAS, which oversaw patient advancement through five separate access levels. No changes

had been made to the HAS since the June 2015 site visit.

        The treatment team determined a patient’s level, which indicated the places where the

patient could go within the institution and the amount of supervision. Although improper

behavior by a patient could result in a reduction in the patient’s level, a reduction was not

supposed to be punitive.

        All patients were admitted to DSH-Atascadero at Level 1, the most restrictive level, and

stayed there for a minimum of seven days. Level 1 patients were viewed to be at a high risk for

self-harm, violence, escape, criminal activity, and/or were recognized as lacking the ability to



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take care of themselves due to their mental illness. Level 1 patients required a staff escort to

leave their assigned unit.

         Level 2 patients were able to follow their own unit’s rules, but required supervision when

on another unit. Neither Level 1 nor Level 2 patients were permitted to go to canteen, but they

were permitted to access it by way of “store orders.” Level 2 patients could go to group on their

own, but required an escort to go to the main courtyard or to the movies, as well as to the gym or

to activities requiring a “leisure referral.”

         Patients at Level 3 continually exhibited appropriate behavior; they were thus allowed to

go to three different locations within the institution without checking back in with their unit.

Patients at Level 3 for a minimum of 30 days were eligible for employment. After 90 days at

Level 3, the patient could advance to Level 4.

         Patients at Level 4 were eligible for special destinations and privileges. Patients who

were recommended for community placement were at Level 5. At Level 5, additional privileges

included priority consideration for employment and a monthly free breakfast. Level 3, 4 and 5

patients could access any area identified on the approved hospital destination list; this included

many areas within the institution.

         At DSH-Atascadero, patients’ access to property and privileges such as quarterly/annual

packages, canteen, and patient funds, were not contingent on the patient's level.

VI.      REFERRALS AND TRANSFERS

         During the review period, CDCR referred 156 Coleman class member patients to DSH-

Atascadero. DSH-Atascadero accepted 154 of 156, or 99 percent of referred Coleman class

member patients. Two referrals were rejected for non-clinical reasons.




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       The institution complied with Program Guide requirements in 125 of 154, or 81 percent

of cases for timely decisions regarding the acceptance or rejection of patients. For referrals

where a decision to accept or reject was not made within three days, timeframes ranged from

four to 15 days. DSH-Atascadero met the Program Guide requirement in 88 of 154, or 57

percent of cases for timely bed assignment following acceptance.

       Compliance with the 30-day transfer timeframe for the 154 Coleman class member

patients who were transferred to DSH-Atascadero was completed based on the time period

between the “referral date” and the “date of admission” to DSH-Atascadero. This resulted in 137

of 154, or 89 percent of Coleman class member patients transferring to DSH-Atascadero within

the required Program Guide timeframe. The average length of time from patient referral to

admission to DSH-Atascadero was 12 days, with a range of two to 33 days. DSH headquarters

staff reported the 30-day transfer time period was counted from the day the facility received the

completed referral packet and not from the IDTT referral date.

       One of the patients admitted to DSH-Atascadero had complex medical needs. None were

admitted from the SHU. There were no delays in the referral process or with timely patient

admissions due to either an involuntary medication issue or a Vitek hearing.

VII.   ADMISSIONS AND DISCHARGES

       1. Admissions

       DSH-Atascadero leadership reported that it was no longer admitting patients referred to

the acute level of care, which was a change from the preceding review period.

       DSH-Atascadero leadership also reported that it followed the referral and admission

process in the MOU between CDCR and DSH regarding patients needing intermediate care.

CDCR uploaded completed referral packets to SharePoint, which were then printed and



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reviewed, and a decision to accept or reject the patient was made. Staff reported that the use of

SharePoint increased the availability of information and facilitated communication for

admissions and discharges. But staff voiced concern as to a lack of access to mental health

assessments, RVRs, and any documentation that was indicative of behaviors that generated

disciplinary actions in CDCR. DSH staff no longer had access to CDCR electronic health

records and also lacked access to the Strategic Offender Management System (SOMS) to

obtain information. It was further reported that DSH-Atascadero now clinically accepted all

patients, which reviewed data affirmed, although patients could still be rejected for

security reasons.

       During the week of the site visit, the DSH-Atascadero waitlist indicated that 16

accepted patients were awaiting admission. The institution reported timely admitting nine of

those patients during that same week. Although the remaining seven patients were scheduled

for admission, the institution did not provide admissions dates for those patients upon request.

       2. Discharges

       DSH-Atascadero discharged 137 patients during the review period. The average length

of stay was 344 days, with a range of seven to 1,064 days. There was 100-percent compliance

with clinician-to-clinician contact following patient discharge to CDCR. There was one patient

who was discharged to a community hospital and subsequently returned to CDCR; following his

return, CDCR contacted the DSH-Atascadero medical director for discharge information.

       At the time of the site visit, DSH-Atascadero housed 16 patients who had been clinically

discharged but physically remained at the institution. Of those 16 patients, 11 had a scheduled

discharge date; discharge dates for the remaining five were pending at the time of the site visit.




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       Staff reported that DSH-Atascadero initiated parole planning for patients who arrived

at the institution within one year of their scheduled release. Patients pending parole also had

threshold dates of 120 and 60 days for discharge planning. At the time of the site visit, 12

patients were within 120 days of institutional release and five were within 90 days. During

the review period, there were 14 patients who at the time of their admission to DSH-

Atascadero had 90 days or less until parole.

       For patients who would be returning to CDCR, discharge planning began following

admission to DSH-Atascadero. Discharge planning was addressed during quarterly IDTT

meetings and through individual sessions with the social worker. Staff reported that the

discharge process was improving due to SharePoint and increased clinician-to-clinician contact.

DSH-Atascadero staff were contacting CDCR mental health supervisors to share case

information that was subsequently passed along to CDCR clinicians. It was further reported

that CDCR case managers followed up with DSH-Atascadero staff on several occasions when

they needed additional information.

VIII. PATIENT DISCIPLINARY PROCESS

       There were 18 RVRs issued during the review period. Of those, ten or 56 percent

resulted in a guilty finding, five were postponed pending district attorney review, two were

pending additional reports, and one was screened out. All ten of the RVRs that resulted in a

guilty finding were due to drug-related incidents.

       DSH-Atascadero clinicians completed the mental health assessments. It was reported

that only one of 18 mental health assessments recommended mitigation.




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DSH-Atascadero collaborated with California Men’s Colony (CMC) staff to conduct RVR

hearings. As RVR hearings were not held at DSH-Atascadero, documentation concerning RVR

dispositions was unavailable for review.

IX.      USE OF FORCE

         During the review period, there were no use of force incidents or cell extractions at DSH-

Atascadero and no changes were made to the use of force policy.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS

         During the review period, there were a total of 268 special incident reports. Of these, 104

or 39 percent were for acts of aggression, 42 or 16 percent were for medical reasons, 81 or 30

percent were for suicidal ideation/threat of self-harm and 41 or 15 percent were classified as

other.

XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         There were 11 patients involved in 12 seclusion incidents during the review period. The

duration of seclusion ranged from 2.2 to 73.3 hours, with an average duration of 22.4 hours.

There were also 56 episodes of restraint, involving 28 patients. The length of time patients were

kept in restraints ranged from 1.3 to 38.8 hours and averaged 8.5 hours.

         Facility audits relevant to the use of restraint and seclusion generally demonstrated

compliance with policies and procedures. Areas that were noncompliant in one month

significantly improved during the following months.

XII.     SUICIDE PREVENTION

         There were no completed suicides at DSH-Atascadero during the review period.

         DSH-Atascadero’s suicide prevention process remained within the standard of care.

There was also a new focus of suicide prevention that emphasized trauma informed care. As a



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history of trauma has been associated with increased suicidal ideation and behavior, DSH had

increased staff training and there were plans to implement trauma informed care at other

institutions. At DSH-Atascadero, these efforts included formation of a trauma consultation

group that included psychologists, social workers, rehabilitation therapists, and nursing staff.

There were also several groups for Coleman class member patients that focused on trauma-

related issues.

        The SPC met monthly and maintained meeting minutes. Reviewed minutes reflected

several suicide prevention efforts. Among them, an ongoing pilot in Program V’s Unit 31 sought

to replace current bedding with tear-resistant bedding. Additional foci of the SPC included

modifications to certain physical structures and matters, including stairwells, handicap grab rails,

and toilet paper holders and rolls. An additional issue of consideration was an amended suicide

risk assessment to inform clinical staff when to discontinue observation and seclusion of patients

at acute risk for suicide/self-harm. The issue was discussed in the SPC, but was later determined

to not be indicated.

        The Joint Commission conducted a survey during July 2017, and several issues with the

performance of the suicide risk assessment were noted. These hospital-wide issues included the

lack of an annual assessment, lack of inclusion of protective factors in the Suicide Risk

Assessment (SRA) and individualization of protective factors, and the failure to include

identification of individual factors that increased risk and factors that mitigated the risk. The

supervisory staff indicated that these omissions had been addressed, and healthcare records

reviews did not identify these omissions during the site visit.




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XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

       1. Emergency Response

       The DSH-Atascadero emergency response was unchanged since the last visit. All staff

who had patient contact received basic first aid training. All nursing and medical staff also

received American Heart Association basic life support training. The facility continued to have a

comprehensive performance improvement structure, which included hospital-wide emergency

response drills. A schedule of the emergency drills was provided for the review period; areas of

deficiency had been identified and corrective action implemented.

       2. Death Review Process

       There were no deaths at DSH-Atascadero since the preceding site visit. The Mortality

Incident Review Committee was responsible for conducting a systematic, interdisciplinary

review of any patient death at DSH-Atascadero.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

       DSH-Atascadero had a complex quality improvement process involving multiple

subcommittees that reported to the quality council. The most significant issue with the

institution’s quality improvement process was the format of audit reports. Although the reports

indicated results, they did not describe the audit’s purpose or methodology or assess the results

and/or any planned actions based on the assessment; quality improvement audit reports should

include all of these matters.

       The quality council met weekly and had overall responsibility and ultimate accountability

for the quality management program. The executive director determined membership on the

quality council. Minutes from the August 1, 2017 meeting documented its review process,

which included status updates of specific quality improvement items.



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       An organizational chart indicated the reporting structure from DSH-Atascadero

departments and committees to the quality council. The committees that reported to the quality

council included, but were not limited to, risk management/utilization review, violence

prevention, quality improvement, medication management, emergency care, standards

compliance, and program review.

       The utilization management committee met monthly. It reviewed all patients once they

had been hospitalized for 180 and 240 days and thereafter, every 30 days.

       The risk management/utilization review committee also met monthly. Medical risk

management, treatment support, suicide prevention, facility review, violence prevention and

intense case/preventative case analysis all either reported to or provided reports to this

committee. Meeting minutes provided adequate summaries of reviewed items.

       During 2017, there were over 63 separate audits performed on at least an annual basis.

Topics included, but were not limited to, hypertension, medical emergency response, nursing

reassessments, nutrition care monitoring tools, measurable objectives for treatment plans,

psychiatry discharge summaries, medication consents, hand hygiene, restraint and seclusion,

treatment group observation forms and assessments for social worker admissions, suicide risk,

violence risk, and rehabilitation therapy.

       Audits were reviewed relevant to treatment planning. However, these audits only

demonstrated the results and did not include a description of the problem being reviewed,

methodology used, assessment of the results, or plans in the context of the assessment.

       The monitor’s expert also reviewed audits specific to the use of restraint and seclusion

during the review period. Similar to the previously referenced treatment planning audits, these




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audits only demonstrated compliance results and lacked the other elements (e.g., methodology,

assessment of results, etc.) of a stand-alone report.

       The WaRMSS continued to track various treatment-related activities. It included key

indicator data, which produced morning "trigger" reports that identified patients who might

require additional attention and/or interventions. The Incident Management System, which

tracked all “special” incidents that adversely effected the safety, care, treatment and

rehabilitation of patients, was unchanged from previous site visits.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       Patients’ rights advocates reported a procedure that allowed patients to file complaints

and appeal the outcome of any findings. All housing units reportedly contained forms to initiate

a complaint, but complaints were accepted in many ways, including by voicemail and from

family members. It was reported that complaints were acknowledged within 48 hours and

investigations completed within 30 days.

       During the review period, a total of 318 patients made 774 complaints. Of these, 57

Coleman class member patients made 136 or 18 percent of the complaints. Of the total 774

complaints, the largest number were for staff attitudes and behavior (145), daily living issues

(86), involuntary medications (79), legal concerns (75) and medical care and treatment (73).

Patients described the grievance process to be slow and problematic.

       DSH-Atascadero conducted patient survey audits twice annually; the report provided for

Program V covered January through April 2017. Overall, patient satisfaction exceeded 90

percent for 11 of 13 questions. Among them, patients reported feeling safe and that staff treated

them with respect and helped them when they were sick. Patient satisfaction was below 90




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percent in relation to having their rights explained to them while residing at the hospital and

being educated about their medications.

       Attendance at a community meeting on Unit 32 found patients to be very positive as

to DSH-Atascadero’s treatment environment and programming, especially in comparison to

CDCR. They spoke positively regarding staff, reported very good access to clinicians, including

the psychiatrist, and denied problems receiving medications. Patients reported that groups

were therapeutic and substantive in content and offered variety. They indicated being out of

their rooms during the day and having very good access to the dayroom, yard, gymnasium, and

law library, as well as visitation. Approximately one third reported having jobs. They stated that

there were no politics on the units or in the program, which they liked.

       In addition to these positive comments, patients expressed some concerns. Among them,

they reported insufficient access to correctional counselors and timely committee meetings.

They expressed an interest in more individual therapy sessions and access to educational

opportunities other than GED programs. They also complained about limited access to books

and music and expressed significant concern with their ability to earn credits under Proposition

57 while at DSH-Atascadero.

XVI. COLEMAN POSTINGS

       With two exceptions, all Program V housing units contained current Coleman postings in

English and Spanish; one unit only contained the English version of the posting and another had

an outdated version. All but one non-Program V admissions unit that housed Coleman patients

had Coleman postings.




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XVII. LAUNDRY AND SUPPLY ISSUES

        Observed laundry and supply areas were clean and well kept. All units contained a

sufficient stock of toiletries, including shampoo, soap, toilet paper, and toothpaste and many had

an overflow storage area for necessary supplies. The amount of available surplus clothing or

linens varied by unit, particularly as to available sizes and certain items, such as blankets and

jackets. It was also reported that in the rare instance when limited clothing was available on a

particular unit, such as during a weekend or holiday, stock was available from elsewhere in the

institution.

        Laundry was cleaned off-site. Laundry deliveries were typically twice weekly, but

admissions units could receive laundry deliveries as often as four times weekly.

        Some patients indicated concern with laundry services and reported that clothing items

were occasionally missing from their laundry and that they received incorrect sizes.

XVIII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

        Visitation was available for all DSH-Atascadero patients, absent safety or security

concerns, daily from 8:15 a.m. to 1:45 p.m. There was one large room for contact visitation,

another for non-contact visitation, and two contact visitation rooms for attorney-client meetings.

Visitation had been limited to non-contact visits for several months beginning in late September

2017 due to contraband issues involving Coleman patients. Contact visits had been reinstated in

late December 2017.

        All units contained telephones. Staff reported that patients typically had access to

telephones from 6:00 a.m. to 11:00 p.m. Some patients complained about the cost of telephone

use.




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XIX. LAW LIBRARY ACCESS

       Administrative Directive 602.2, which addressed law library access, among other issues,

was updated effective September 2017.

       The DSH-Atascadero law library was open from Monday to Friday, except holidays,

from 8:30 a.m. to 11:30 a.m. and from 1:15 p.m. to 4:15 p.m., during which it was accessible to

Coleman patients. The library had a capacity of 15 patients and, providing other patients were

not waiting, had no restrictions on the length of time that a patient could spend in the library.

Two law library computers equipped with Lexis/Nexis enabled patients to access multiple legal

publications and reference materials and case law. Patients could check out books and other

reading materials from the library and there was a typewriter for patient use. Patients reported

good access to the law library, but difficulty using its computers.

XX.    EDUCATION

       During the reporting period, a weekly average of 35 patients were scheduled for 80

weekly educational classes, which were typically limited to GED classes. Of these scheduled

classes, patients attended a weekly average of 44 sessions. Classes typically met for two hours

weekly. However, only four patients were scheduled for five or more weekly hours of education,

with only two of four attending any of these sessions; both attended between one and two weekly

hours of educational programming.

       DSH-Atascadero reported that from July through October 2017, it was reorganizing its

educational programming and that only GED classes were being offered. Following this

reorganization, the institution would be able to provide more classes on math, reading, writing,

and other subjects.




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                            APPENDIX A2
                            DSH-Coalinga




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                                          DSH-Coalinga
                                 January 4, 2018 – January 5, 2018

I.       SUMMARY OF THE FINDINGS

        All staff-to-patient clinical ratios were within established requirements.

        A review of a random sample of records revealed significant issues with IDTTs and the
         treatment planning process.

        Patients were offered about 7.37 hours per week of core group therapy with an average of
         4.68 hours attended per week.

        Core groups represented 38 percent of the treatment offered to patients with 62 percent of
         the treatment being provided via supplemental groups.

        Primary treatment concerns included a high no-show rate for core therapies and the
         limited number of structured therapeutic activities being offered to patients.

        Of the structured treatment groups provided, 58 percent were co-facilitated by
         rehabilitation therapists and/or behavior specialists.

        Individual psychotherapy represented 0.3 percent of the treatment attended.

        Patients conveyed general satisfaction with the telepsychiatry process.

        The average length of stay from patient admission to physical discharge was 201 days,
         with a range of stay of 23 to 756 days.

        The RVR log was not accurately maintained.

        None of the clinicians completing the mental health assessments, nor their supervisor had
         been trained to complete the mental health assessment.

        There were no cell extractions or use of force incidents during the review period.

        No class member suicides occurred at DSH-Coalinga during the review period; there
         were no serious or significant suicide attempts.

        Although the structure of the quality improvement process was robust, quality
         improvement audits did not explicitly state their purpose, methodology, assessment of the
         result, or a plan, if any.


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          Patients were complementary of the program offered to them at DSH-Coalinga.

          Coleman postings in English and Spanish were posted in a patient-accessible showcase.

          Patients did not indicate any problems with laundry or with obtaining clean clothing or
           supplies.

          Patients reported typically having no issues with receiving their property upon arrival at
           DSH-Coalinga.

          Patients reported the law library computer was difficult to use without extensive librarian
           assistance, which was typically not available.

          DSH-Coalinga did not provide educational programming to patients.
II.        CENSUS

           DSH-Coalinga operated a 50-bed intermediate care unit that treated Coleman class

members. On January 4, 2018, DSH-Coalinga reported a census of 50 patients. During the

review period, the program’s census averaged 48 patients weekly.

III.       STAFFING

           1.      Administrative, Clinical, and Correctional Staffing

           As of January 3, 2018, DSH-Coalinga’s executive director, clinical administrator,

hospital administrator, medical director, program director, program assistant, and nursing

coordinator positions were filled.

           Senior Psychiatrists: The two senior supervising psychiatrist positions were filled.

           Psychiatrists: The on-site psychiatry position and both telepsychiatry positions were

filled.

           Supervising Psychologist: The supervising psychologist position was filled.

           Psychologists: All three psychologist positions were filled.

           Supervising Social Worker: The supervising social worker position was filled.



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          Social Workers: Two of three social worker positions were filled. A registry social

worker provided additional coverage, reducing the functional vacancy rate to zero.

          Supervising Rehabilitation Therapist: The supervising rehabilitation therapist position

was filled.

          Rehabilitation Therapist: Two of three rehabilitation therapist positions were filled for a

33-percent vacancy rate; a registry employee provided additional coverage, reducing the

functional vacancy rate to zero.

          Nursing Coordinator: The nursing coordinator’s position was filled.

          Registered Nurses (RNs): All seven RN positions were filled.

          Senior Psych Techs: All three senior psych tech positions were filled.

          Psych Techs: Of 31 psych tech positions, 29 were filled and two were vacant, for a six-

percent vacancy rate.

          Custody Staff: The sergeant’s position and all 11 police officer positions were filled.

          2.     Staff-to-Patient Ratios and Adequacy of Clinical Staffing

          All DSH-Coalinga staff-to-patient clinical ratios were within established requirements.

Specifically, the staff-to-patient ratios for psychiatry, psychology, social work, and rehabilitation

therapy were all 1:17, which were within the established 1:35 staff-to-patient ratios for these

disciplines. Senior psych techs, psych techs, and RN positions were all staffed at ratios of 1:6,

which were within the established staffing ratios of 1:8 for these disciplines.

          3.     Staff Training

          DSH-Coalinga did not provide reports on attendance at staff training during the review

period.




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IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         1.     Interdisciplinary Treatment Teams (IDTTs)

         A review of a random sample of records revealed significant issues with IDTTs and the

treatment planning process. Noteworthy concerns included: inadequate treatment plans due to

inaccurate and/or inconsistent diagnoses; relevant sections of the treatment plan were often

incomplete; treatment plans were often vague in relation to the patient’s presenting symptoms;

treatment planning meetings were often not attended by all required disciplines; admission notes

by the psychiatrists, psychologists, and social workers were not always present in the record, and

monthly progress notes by all required disciplines were often not present in the record. In the

records reviewed, nursing staff and rehabilitation therapists were the most consistent in

documenting their clinical activities.

         DSH-Coalinga used the Positive Reinforcement Program. It was commonly referred to

as the “by choice” system. According to policy, this program was intended to support the

recovery and wellness of patients through the planned use of reinforcing activities and items.

Points were given to patients who exhibited positive behaviors identified by the patient and his

treatment team as important in the patient’s recovery. Those points may then be redeemed for

activities or items at the incentive store. According to policy, this was done in an individualized

manner through the treatment planning process. This process did not occur in any of the

treatment teams observed during the site visit.

         2.     Group Therapy

         At the time of the site visit, DSH-Coalinga offered core and supplemental treatment

activities. Core treatment included any scheduled treatment activity that a patient was enrolled

in as part of his treatment plan, or My Activity Participation Plan (MAPP). Examples of core



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treatment included groups such as, dialectical behavioral skills, breaking barriers, and cognitive

enhancement. Also included were groups not considered to be core treatment activities, such as

creative writing, karaoke, and pet social therapy. The amount of treatment hours presented were

inclusive of all these groups. Core group activities were scheduled for a total of four hours per

day, Monday through Friday. Supplemental treatment included voluntary activities that a patient

could participate in at will. Examples of supplementary activities included open gym time, yard

time, movie night, and bingo. Supplemental activities were offered on evenings and weekends.

       On average, patients were offered approximately 7.37 hours per week of core group

therapy with an average of 4.68 hours per week attended by each patient. When queried, patients

responded with multiple reasons for their lack of attendance, including over-sedation due to

medications, conflicting appointments with medical, and not finding the group to be personally

meaningful. Patients also reported that groups were frequently cancelled.

       Core groups represented 38 percent of the treatment offered to patients with 62 percent of

the treatment being provided via supplemental groups. Twenty-nine percent (or 16 of 55) of the

groups had at least one facilitator who was identified as a clinician (e.g., licensed clinical social

worker, psychologist). Of the structured treatment groups provided, 58 percent were co-

facilitated by rehabilitation therapists and/or behavior specialists.

       During the site visit, a treatment group utilizing DBT was observed. DBT is complex

and technique-specific, requiring specialized training. The minimum qualifications for this

position include a bachelor’s degree in any human services field and one year of experience

implementing behavioral services. The group was facilitated by two behavior specialists. DSH-

Coalinga supervisors could not verify that either facilitator had been trained in DBT techniques




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or purpose. Appropriate training in DBT techniques and purpose is essential to provide adequate

DBT services to patients who need them.

        Co-facilitating a treatment group requires specialized training and enhanced facilitation

skills. Two new staff that DSH-Coalinga could not verify had been trained in DBT techniques or

purpose facilitating a clinical group with little clinical supervision was concerning; it would be

more appropriate to have a licensed clinician as a co-facilitator with one behavioral specialist.

This would allow for proper mentoring and clinical supervision to develop the group facilitation

skills of each behavior specialist. DSH headquarters staff and the monitor’s experts spoke with

facility staff regarding the need for ongoing clinical supervision for the group.

        Patients reported that it would be useful if there were more groups specific to their

diagnoses. Treatment groups facilitated by clinicians that focused on skill building within

diagnostic categories and coping with symptoms would be clinically indicated and likely reduce

future decompensation for most patients reviewed and/or observed.

        3.      Individual Treatment

        DSH-Coalinga reported that patients attended various treatment activities during the

reporting period that included core group, supplemental group, work, and individual therapy, of

which 0.3 percent of the total hours attended were classified as individual therapy.

        4.      Psychiatric Services

        DSH-Coalinga reported newly-admitted patients were seen on a weekly basis by a

psychiatrist for the first eight weeks of their hospitalization.

        Patients were interviewed specific to their experience with telepsychiatry being offered at

DSH-Coalinga. There were no complaints regarding its use. Patients conveyed general

satisfaction with the telepsychiatry process.



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        During the review period, the number of non-formulary medications prescribed ranged

from two to nine per month. Only two patients were receiving non-formulary psychotropic

medications at the time of the site visit. Patients did not report any continuity of medications

issues during patient interviews. It was indicated that all newly-admitted patients were seen on a

weekly basis by a psychiatrist for the first eight weeks of their hospitalization. However, weekly

progress notes by the psychiatrist for the first eight weeks of hospitalization were frequently

absent from the record.

        5. Other Treatment Issues

                 A. Involuntary Medications (PC 2602)

        During the review period, the number of episodes of patients receiving involuntary

medications on either an emergency or non-emergency basis ranged from two to ten per month.

At the time of the site visit, three patients were receiving psychotropic medications on an

involuntary non-emergency basis. One newly-admitted patient was receiving medications per a

PC 2602 order. There were no PC 2602 petitions initiated or renewed by DSH-Coalinga during

the review period.

                 B. Behavioral Management

        DSH-Coalinga reported that no patients were on individual behavioral plans during the

review period.

V.      PATIENT ACCESS TO TREATMENT

        Patient, Orientation, Discretionary Program Status (DPS), and Stages: Standards
        and Procedures

        During the reporting period and at the time of the site visit, DSH-Coalinga utilized

the HAS to provide “adequate treatment in a safe and secure manner.” The policy,

Administrative Directive No. 558 (A.D. No. 558), was updated on November 14, 2017. The

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HAS outlined the criteria for patients’ hospital access, which covered access to treatment

services. The treatment plan team was required to decide patient’s access based on his safety

and security and ability to traverse the hospital environment. The treatment plan team had to

evaluate a patient’s status and progress in determining if it was appropriate for him to have

hospital access. In the event the treatment plan team failed to reach consensus, it was the

responsibility of the unit supervisor to determine if the patient could have hospital access. The

HAS was designed to be non-punitive. Implementation and monitoring the system, and

reporting, was the responsibility of the program director. The unit supervisor or their designee

issued badges and destination cards to patients.

       In considering hospital access, the treatment plan team was required to evaluate each

patient’s “safety and security, institutional violence, pathology and degree of risk to safety and

security” of the hospital before assigning hospital access. An initial assessment by the treatment

plan team was required to permit hospital access following admission. A.D. No. 558 specified

behaviors and activities that could lead to the denial of an access badge while a patient was on

admissions. Exceptions were required to be reviewed by the program director and clinical

administrator.

       In its assessment prior to assigning a hospital access badge, the treatment plan team must

evaluate and document in the treatment plan the patient’s “current ability to follow rules, control

behavior, maintain therapeutic relationships, and navigate safely to a destination.”

       The treatment plan team was required to make specific determinations regarding each

patient’s level of functioning and cognitive ability, recognizing that some patients might require

prompting to obtain and maintain compliance, but were able to without incidents or resistance.

The treatment plan team assessed whether since arrival the patient had followed staff direction,



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hospital policy, and unit rules, and behaved in a manner that respected safety and security, as

well as demonstrated his ability to be socially appropriate. A patient’s personal hygiene and

room care had to be at least “fair.” If a newly-admitted patient was assessed not to be a risk to

safety and security, he must be assigned hospital access within seven days after that

determination.

       For patients who were not expected to be out of the hospital before clinical discharge

(e.g. out to court) for more than 90 days, the treatment plan team was mandated to consider the

patient’s hospital access prior to discharge. For these patients returning to the hospital, A.D. No.

558 provided for the reinstatement of their hospital access, unless there was a specific rationale

for not allowing it; for example, there was a significant change in the patient’s clinical condition.

       Patients who were capable of safely navigating the hospital and did not pose a threat to

themselves or others were granted hospital access. As part of the HAS, each patient had to agree

to follow the rules of his unit as well as the off-unit rules. The patient also had to agree to follow

staff direction and to refrain from physical or verbal assaults and adhere to a standard of non-

violence. The HAS also had “Therapeutic Rules” that patients were required to agree to

including not participating in acts of over familiarity with staff, nor staring or making

inappropriate eye contact, or stalking staff.

       Other criteria for hospital access included, but were not limited to, not possessing

contraband, not leaving the unit without authorization, not inciting others to misbehave, not

impeding staff as they carried out their duties, and not blocking the passage of others. In

addition, patients had to maintain public health and not engage in unsanitary behavior. The

patient also had to consent to respect the rights of others that included prohibiting verbal abuse;

not engaging in provocative or intimidating behavior; refraining from theft or property damage;



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not engaging in sexual contact or stalking others; and not using racial, sexual, or other slurs. A

patient was also required to agree not to disrupt group meetings as well as not to extort money or

property from others.

          The hospital access of any patient observed violating any provision of A.D. No. 558

could be restricted. A patient’s movement could also be restricted for medical reasons, and his

hospital access would be placed on a “Medical Restriction.”

          The treatment plan team was required to review all incidents that resulted in the

restriction of a patient’s hospital access and document its findings and the status of the patient’s

level in his treatment plan and other specified hospital documents. The review was required to

be completed by the next business day or sooner if appropriate, with or without the patient as

clinically indicated. In its documentation, the treatment plan team was required to explain the

reason for imposing the restriction and what the patient needed to do to regain his hospital

access.

          Where a patient declined to participate in the treatment plan team assessment of his

hospital access, the treatment team and nursing staff were directed to continue to assess the

patient’s behavior regarding his safety and security risk and document the rationale to continue

to restrict hospital access. A.D. No. 558 provided that under exceptional circumstances, the unit

supervisor could direct the return of the patient’s hospital access to him prior to review by the

treatment plan team, which decision the unit supervisor must discuss with the treatment plan

team the next business day.

          In the event there was an exceptional risk to safety and security, such as an attempted

escape, the commission of the crime, or a serious assault, staff could conduct extended periods of




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observation. In such cases, the treatment plan team was required to consult with program

management.

VI.      REFERRALS AND TRANSFERS

         During the review period, all 35 patients who were referred to DSH-Coalinga were

admitted. The average time from CDCR’s referral of the patient to admission to DSH-Coalinga

was 22 days, with a range of nine to 63 days.

VII.     ADMISSIONS AND DISCHARGES

         1.     Admissions

         During the review period, all 35 patients who were referred to DSH-Coalinga were

admitted. Of those 35 admitted patients, additional admissions data was provided for 27. The

average time from receipt of the completed referral by the Patient Management Unit to patient

admission was 13 days, with a range of four to 28 days, and an outlier at 55 days. The average

time from acceptance of a patient to admission was 9.6 days, with a range of two to 22 days, and

an outlier at 50 days. There were seven direct admissions from CDCR facilities, as well as ten

admissions from the CHCF-PIP, seven admissions from the CMF-PIP, and three admissions

from the SVSP PIP.

         During the review period, DSH-Coalinga admitted two patients who were within 90 days

of parole at the time of admission, and one patient with complex medical needs who was

subsequently discharged to an Outpatient Housing Unit bed.

         2.     Discharges

         During the review period DSH-Coalinga discharged 38 patients. The average length of

stay from patient admission to physical discharge was 201 days, with a range of stay from 23 to

756 days. The average length of stay from admission to clinical discharge was 196 days, with a



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range of stay from 14 to 754 days. Twenty-eight of the discharged patients went to EOP

programs, four were discharged to acute care programs, two were discharged to other

intermediate care programs, one was discharged to the CTC, one was discharged to the MDO

program at DSH-Atascadero, and two patients were paroled. The dates of clinician-to-clinician

contact were reported for three discharged patients.

       During the review period, nine of ten patients who were within 90 days of parole received

pre-release planning, while seven of ten received TCMP services.

       On January 3, 2018, DSH-Coalinga housed one patient who had been clinically

discharged on January 2, 2018, but physically remained at the institution.

VIII. PATIENT DISCIPLINARY PROCESS

       There were 13 RVRs according to the RVR log. Of the 13, one did not have a mental

health assessment completed while the patient was at DSH-Coalinga; it was requested 17 days

after the incident and was ultimately completed at a CDCR facility. Of the 12 mental health

assessments available for review, mental illness was found to be a contributing factor for the

behavior in two cases, or 17 percent. None found that any mental health factors should be

considered in the disposition if the patient was found guilty and none of the offenses were

eligible for SHU terms. Not all of the hearing officers’ reports were available to determine

consistency with the mental health assessments in the disposition of the RVRs. DSH-Coalinga

reported they had not kept copies of RVR packets until very recently; therefore, only seven

completed RVR packets were available for review.

       The RVR log was not accurately maintained. For instance, the log indicated none of the

patients’ mental health had been a contributing factor to the behavior underlying the RVR. Yet,

as stated above, it was determined that in two instances mental health was determined to be a



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factor. The facility did not track any other items in the RVR process, such as whether the

patient’s mental illness should be considered in the disposition of the case to mitigate any

penalties if found guilty.

         None of the clinicians completing the mental health assessments, nor their supervisor,

had been trained to complete the mental health assessment. An explanation offered by the DSH-

Coalinga supervisor was the high turnover of clinical staff and the frequency with which the

training would be required.

IX.      USE OF FORCE

         There were no cell extractions or use of force incidents during the review period.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         DSH-Coalinga reported a total of 95 serious incidents during the review period. Of this

number, 46 were reported to be aggressive acts. They included aggressive acts towards other

patients and staff. In addition, there were 24 acts of self-harm, including threats of suicide and

suicide ideation. Reports also included indecent exposure, failure to follow policy, rule

violations, and accidental falls, among others.

         One allegation of patient neglect and one allegation of patient abuse was reported during

the review period. The alleged incident of abuse occurred during August 2017. The patient

informed the Prison Rights Advocate that he was physically assaulted by staff after he signed out

a game system from the nursing station and was told not to return with it for two hours. The

patient alleged that when he attempted to return the game ten minutes later, an altercation took

place between he and the staff member. The alleged incident of neglect, which occurred during

July 2017, was a report by a patient alleging he was assaulted by his peers, while staff members




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watched. This matter was referred to the Department of Police Services and the Department of

Special Investigations.

XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         During the review period, nine patients were placed in seclusion with all but one of the

seclusion episodes lasting less than three hours. One outlier lasted 24.42 hours.

         There were 11 episodes of restraint use, with one inmate involved in four restraint

episodes, and another inmate involved in two restraint episodes. The duration of restraint ranged

from .37 hours to 5.88 hours, with all but two restraint episodes lasting less than two hours.

         An audit specific to the use of restraints during the review period was reviewed, which

indicated 80-percent compliance during July 2017 and 100-percent compliance during each of

the next four months. Only one episode of restraint was reflected in July 2017.

XII.     SUICIDE PREVENTION

         No class member suicides occurred at DSH-Coalinga during the review period. The sole

suicide attempt (scratch/cut to forearm with staple) reported occurred in October 2017 and

required that the wound be cleaned and bandaged, no sutures necessary. The institution

determined this incident was handled appropriately by unit staff, therefore no Suicide Risk and

Prevention Committee Review was deemed necessary or corrective action plan created. Based

on the local governing body report, no policies or procedures were modified because of the

attempt. The serious incident report indicated that staff addressed it appropriately.

         DSH-Coalinga’s Suicide Risk and Prevention Committee met two times during the

reporting period, during August and October 2017. Minutes for the August 24, 2017 meeting

indicated that seven of the nine members were present. According to the minutes, agenda items

included the hospital’s suicidal data for the prior 12 months and the risk and various other factors



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that one might exhibit related to suicidal gestures and behaviors. The committee also reviewed

an article, “Recent Advances in Differentiating Suicide Attempters from Suicidal Ideators” dated

December 2016.

       The October 26, 2017 minutes reported that five of the nine members were present.

Agenda items included training on suicide prevention and assessment for psychology staff,

collaboration regarding suicide prevention between psychiatry and psychology, and the article

referenced above. As occurred during the August 2017 meeting, the committee discussed risk

and other factors that a patient might exhibit related to suicidal gestures and behaviors. Listed

tasks included training psychology staff and other disciplines regarding identifying suicide

behaviors and triggers. The committee also indicated that it would continue to discuss the

relevance and applicability of these issues to patients in a forensic hospital.

       It was observed that the minutes for both months were one pagers that did not document

the deliberations that occurred during the meetings.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

       During the reporting period, there were no serious or significant suicide attempts, or self-

injuries that required emergency response, or deaths that required implementation of the death

review process.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

       The quality improvement system at DSH-Coalinga was known as the performance

improvement program. The organizational structure for performance improvement consisted of

an executive committee, which had overall responsibility and ultimate accountability for

performance improvement. Membership was determined by the executive director and may

include, but not be limited to the following positions: executive director, hospital administrator,



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clinical administrator, medical director, nurse administrator, and director of quality

improvement.

       The quality improvement department was responsible for collecting data, reviewing, and

working with department managers/supervisors in developing ideas to facilitate change in areas

that have been identified as requiring improvement. The quality improvement department

provided oversight to ensure that all risk management data was entered (e.g., incidents, triggers,

high risk indicators) into a facility-wide database, which was then used for quality improvement

purposes.

       A utilization review committee met on a regular basis to oversee the review of the

medical necessity for admissions, extended stays, and services rendered. The committee

addressed bed utilization, inefficient scheduling, and use of resources including radiology,

laboratory, and referrals to external providers and hospitals. Patterns of care were identified and

reviewed as appropriate. The utilization management committee was very active in reviewing

issues specific to Coleman patients and almost always made specific recommendations as a

result of such reviews.

       The enhanced trigger review committee reviewed issues specific to Coleman patients

although it was extremely common that “no recommendations” were made by the committee as a

result of such reviews.

       The structure of the quality improvement process was robust, although the actual quality

improvement studies specific to the Coleman population were problematic. For example, the

quality improvement studies specific to Coleman patients included the following: treatment

hours being offered to and used by the patients, the use of seclusion, the quality of the groups

being provided, and appropriate treatment planning. The problems with these studies were that



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reports were not stand-alone documents and they did not explicitly state the purpose,

methodology, assessment of the result, or a plan, if any.

       The studies did state the results, but without explanation of the methodology used, it was

not possible to accurately understand the findings. For example, the treatment group observation

audit discussed below demonstrated almost 100-percent compliance with all measures audited,

however it lacked information regarding the sample size used and whether the sample size was

large enough to be statistically significant.

       For the audit on treatment groups, discipline chiefs/supervisors (e.g., the chief of

psychology, supervising psychiatric social worker) observed an unknown number of treatment

groups for 17 audit items. The audit included items such as “timely start” to “facilitators’

engagement of all group members” and “facilitator identifies and utilizes participant’s strengths.”

Audits occurred monthly and results were always 100 percent, except for timeliness in July 2017

(80 percent).

       It was observed that the factors measured in the audits were limited. Also, as stated

above, it was problematic that there was no information regarding the methodology of the audits.

For example, it was unknown how the observed treatment groups were selected, the sample size,

which disciplines were observed, or any limitations to the audits, or other relevant information.

       Analysis of the audit documents indicated that it would very likely benefit DSH-Coalinga

to revise the audit tool to measure clinically meaningful items that addressed how the facilitator

established, maintained, and achieved a goal(s) for the group session; how the facilitator

maintained a consistent theoretical orientation throughout the group session; if the facilitator

adhered to the session group materials and structure, deviating only when clinically indicated to




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facilitate learning or group cohesion; and if participants spontaneously engaged with each other

in a meaningful manner.

       Revising the audit instrument was discussed with DSH-Coalinga’s management team;

they were receptive to feedback regarding the need to include sufficient information for all

audits, data, and reports presented.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       Of the 38 patients that DSH-Coalinga discharged during the reporting period, 16 or 42

percent participated in the patient satisfaction of care survey following discharge. Of the

remaining 22 patients, eight refused to participate, ten were clinically contraindicated to

participate, one was discharged while out to medical, and three were emergently discharged.

       In response to the survey, 94 percent of patients strongly agreed that they felt safe while

at DSH-Coalinga, that staff spent enough time with them, that they learned coping skills at the

institution that would help in their next placement setting, that staff provided them with

information concerning the rules and expectations of the unit and program, and that they

understood the benefits of their medications. Further, 88 percent of patients reported strongly

agreeing that they were appropriately referred to DSH-Coalinga, that staff encouraged them to

participate in treatment planning, that they felt their preferences and input were incorporated into

their treatment, and that they had enough time out of their room.

       During the review period, there were a total of five patient complaints, involving three

patients. DSH-Coalinga reported resolving all five patient complaints and that two of the three

patients had returned to CDCR. At a community meeting held during the site visit, patients were

very complementary of the program offered to them at DSH-Coalinga. In general, they

described the staff as being accessible, caring, and helpful, but reported that the assigned



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correctional counselor was not. Most of the patients described the core groups as being helpful

to them. The patients had no complaints about having access to the gymnasium and outdoor

yards. Patients spoke very highly of the food quality at DSH-Coalinga.

XVI. COLEMAN POSTINGS

        Coleman postings in English and Spanish were posted in a patient-accessible showcase in

the unit.

XVII. LAUNDRY AND SUPPLY ISSUES

        Patients did not indicate any problems with laundry or with obtaining clean clothing or

supplies. DSH-Coalinga provided a copy of its guidelines for the proper handling of clean,

infectious, or soiled linen and clothing. It was reported that during the review period, there had

not been any modifications or changes to practices, policies or procedures regarding patient

laundry. The institution also reported that it had khaki muumuus, and a variety of undergarments

available for patients with a diagnosis of gender dysphoria.

XVIII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

        DSH-Coalinga provided its policy concerning patient visitation, which had been revised

in December 2017. Absent safety or security concerns, patients were entitled to daily visitation,

including holidays for up to five hours each day. Patients did not indicate any problems with

visitation. Patients reported typically having no issues with receiving their property upon arrival

at DSH-Coalinga.

XIX. LAW LIBRARY ACCESS

        The law library at DSH-Coalinga had a legal collection of books and legal computers for

patients’ use. DSH-Coalinga provided a copy of its policy regarding law library access. This

policy allowed patients to be escorted to the law library three times weekly for a one-hour



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session, for a total of three weekly hours of library use. Patients who had been granted Priority

Legal User status to the law library reportedly received a minimum of four weekly hours of

library access. Interviewed patients reported typically receiving 45 minutes of law library use,

three times weekly, but did not indicate any problems with access. They reported, however, that

the law library computer was difficult to use without extensive librarian assistance, which was

typically not available.

XX.    EDUCATION

       DSH-Coalinga did not provide educational programming to patients.




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                            APPENDIX A3
                              SVSP-PIP




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                                           SVSP-PIP
                             December 19, 2017 – December 21, 2017

I.       SUMMARY OF THE FINDINGS

        During the site visit, SVSP-PIP’s census represented 89 percent of its operational
         capacity.

        Although most administrative positions were filled, SVSP-PIP reported notable staffing
         vacancies for psychiatrists, social workers, RNs, SMTAs, MTAs, psych techs, and
         clerical staff.

        At the time of the site visit, all four SVSP-PIP units were not meeting required clinical
         staffing ratios for psychiatry, psychology, social work, or rehabilitation therapy.

        Staff did not track IDTT meeting attendance by discipline.

        The lack of correctional counselor attendance at IDTTs, which was required, was a cause
         for major concern.

        SVSP-PIP did not provide accurate information regarding the average number of hours
         SVSP-PIP patients were offered and/or participated in weekly structured or unstructured
         out-of-cell activities. Patients reported, and staff confirmed, that SVSP-PIP did not
         provide sufficient out-of-cell structured and unstructured therapeutic activities.

        Observed groups ranged from excellent, with the active engagement of group
         participants, to lacking in structure and organization.

        Patients’ individual clinical contacts were limited, averaging one hour or less monthly
         and generally occurred at cell-front.

        There were problems with medication administration including the crushing of all
         psychotropic medications and administering hora somni (HS) medications before 8:00
         p.m.

        There was no unified leadership across disciplines on each unit, which made it difficult to
         address unit-wide issues with mental health treatment services. There was no assigned
         supervisor in each unit with the authority and responsibility to address and direct
         corrective actions across disciplines.

        SVSP-PIP did not track the length of time that each patient spent at each STEP.

        During the review period, 29 percent of admissions exceeded the applicable 30-day
         transfer timeline.



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         The compliance rate for timely sending RVRs to clinicians for completion of a mental
          health assessment was 13 percent; 96 percent of mental health assessments were timely
          completed and returned to custody staff.

         Reviewed RVR mental health assessments typically did not indicate that mental health
          factors contributed to the behaviors charged. Custody usually documented consideration
          of the mental health assessment and in more than half of reviewed cases charges against
          patients were dismissed, reduced and/or there was penalty mitigation.

         All ten reviewed use of force incidents indicated compliance with use of force policy.

         SVSP-PIP did not have a SPRFIT coordinator position, a position that was necessary to
          adequately address ongoing suicide prevention matters.

         Patient council meeting minutes revealed numerous continuing but unresolved issues.

         All toured housing units contained Coleman postings displayed in patient-accessible
          areas.

         Patients expressed various complaints with laundry services, food, and receiving
          property, which staff typically confirmed.

         Patients did not indicate any concerns with the visitation policy.

         Although patients had online library access, they reported difficulty using this system
          without further assistance, which typically was unavailable.

II.       CENSUS

          SVSP-PIP’s 246-bed intermediate care facility comprised two stand-alone units, TC1 and

TC2 that had single and multi-person cells and two 180 housing units on C Yard. TC1 had 32

single cells and 24 multi-person cells. TC2 had 54 single cells and 20 multi-person cells. C5

and C6 each had 58 single cells.

          On December 19, 2017, the SVSP-PIP intermediate care program had a census of 219

patients, representing 89 percent of its operational capacity of 246 patients. There were 207 PC

2684 patients, ten PC 1370 patients and two patients had conservatorships.

          The number of patients who were not appropriately placed in their LRH included 16 who

had an LRH of unlocked dorms and 21 patients who had an LRH of locked dorms.

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III.   STAFFING

       1. Administrative, Clinical, and Correctional Staffing

       As of December 19, 2017, the executive director and clinical administrator positions were

both vacant, with staff serving in acting capacities. Positions for the hospital administrator,

assistant hospital administrator, chief psychiatrist, three program directors, and two program

assistants were all filled. Both nursing coordinator positions and five unit supervisor positions

were also filled. One of two chief psychologist positions was vacant.

       Senior Psychiatrist: The senior psychiatrist position was vacant.

       Psychiatrists: Four of ten staff psychiatrist positions were filled, leaving a 60-percent

vacancy rate. Additional coverage provided by three full-time equivalent (FTE) psychiatrists

and one FTE telepsychiatrist reduced the psychiatry functional vacancy rate to 20 percent.

       Senior Psychologist: The senior psychologist position was vacant.

       Psychologists: All ten psychologist positions were filled.

       Social Workers: Seven of ten social worker positions were filled, for a 30-percent

vacancy rate. Registry provided one FTE social worker, reducing the functional vacancy rate to

20 percent.

       Rehabilitation Therapists: All ten rehabilitation therapist positions were filled.

       Supervising Registered Nurses (SRNs): Nine of 22 SRN positions were filled, for a 59-

percent vacancy rate. Two SRNs were on long term leave, resulting in a functional vacancy rate

of 68 percent.

       Registered Nurses (RNs): Thirty of 50 allocated mental health RN positions were filled,

leaving a 40-percent vacancy rate. Additional coverage provided by one FTE RN reduced the

functional vacancy rate to 38 percent.



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       Senior Medical Technical Assistants (SMTAs): Eighteen of 30 SMTA positions were

filled, for a 40-percent vacancy rate. Two SMTAs were on long term leave, resulting in a 47-

percent functional vacancy rate.

       Medical Technical Assistants (MTAs):

        A total of 136 of 164.7 MTA positions were filled, leaving a 17-percent vacancy rate.

Eleven MTAs were on long-term leave, resulting in a functional vacancy rate of 24 percent.

       Senior Psych Techs: Both senior psych tech positions were filled.

       Psych Techs: Twelve of 29 psych tech positions were filled, leaving a 59-percent

vacancy rate. Additional coverage provided by one FTE psych tech resulted in a functional

vacancy rate of 55 percent.

       Other Staff: Twenty-three of 27 clerical positions were filled, for a 15-percent vacancy

rate. Three clerical staff on long-term leave resulted in a functional vacancy rate of 26 percent.

       Additional coverage provided by registry staff included one FTE position for a licensed

vocational nurse, certified nurse assistant, and medical assistant.

       2. Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

       The SVSP-PIP had an established ratio of 1:25 for psychiatrists, psychologists, social

workers, and rehabilitation therapists. At the time of the site visit, SVSP-PIP did not meet

treatment ratios for any of the disciplines.

       In TC1, the staff-to-patient ratios for the two psychiatrists, which included one

telepsychiatrist, were 1:28 and 1:17. SVSP-PIP reported that it was gradually increasing the

telepsychiatrist’s caseload. The two psychologists had caseloads of 1:26 and 1:19. The social

worker had a caseload of 1:45, as the second social worker position was vacant. Two

rehabilitation therapists had caseloads of 1:27 and 1:18.



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         In TC2, the staff-to-patient ratios for the two psychiatrists were 1:31 and 1:30. However,

it was reported that the recent hiring of another psychiatrist would allow for the re-distribution of

patients among psychiatry consistent with established ratios. Each of the three psychologists,

social workers and rehabilitation therapists had a caseload of 1:22, 1:20, and 1:19, respectively.

         In C5, the staff-to-patient ratios for the two psychiatrists were 1:29 and 1:27. Both

psychologists also had caseloads of 1:29 and 1:27. The recent hiring of a second social worker

would result in both social workers having caseloads of 1:28. Both rehabilitation therapists each

had caseloads of 1:28.

         In C6, the staff psychiatrist had a caseload of 39 patients, while the registry psychiatrist

who worked three days weekly had a caseload of 17. The staff-to-patient ratios for each of the

two psychologists, social workers and rehabilitation therapists were 1:29 and 1:27.

         One psychologist and one rehabilitation therapist were assigned to provide back-up

coverage for several units.

         3. Staff Training

         SVSP-PIP reported offering non-custody new employee orientation, EHRS staff training,

SMTA/MTA annual off post training, and social work department training. Monthly training

schedules were provided for review; however, data on the percentage of mental health and

custody staff who attended training was not provided.

IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         1. Interdisciplinary Treatment Teams (IDTTs)

         IDTT attendance of the various disciplines was not tracked. Staff reported that

correctional counselors were not yet consistently attending IDTTs. None of the IDTTs observed

during the site visit comprised all required disciplines.



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         The lack of a correctional counselor presence at IDTT meetings had been a cause for

concern. In response, IDTTs were rescheduled to occur on Wednesdays in order to better

facilitate correctional counselor attendance. However, despite this recent effort, a correctional

counselor was not present at observed IDTTs held on the Wednesday during the site visit.

Patients were generally present at IDTT meetings, but did not receive a copy of their treatment

plans.

         During the site visit, observed IDTTs for patients housed on TC1 revealed the attendance

of all appropriate disciplines except for the correctional counselor. The IDTTs discussed

patients’ LRH and treatment plans. The MTAs present provided minimal input.

         Several observed IDTT meetings held on TC2 reflected the attendance of all appropriate

disciplines except for the psychologist and correctional counselor. Rehabilitation therapists,

MTAs, and nurses provided appropriate feedback without prompting from the psychiatrist or

social worker. The nurse also asked about medical issues and discussed appointments and

follow-ups.

         Other IDTTs that were observed on TC2 included a pre-meeting prior to patients’ arrival,

where the psychiatrist outlined his previous session with the patient covering his mood, behavior,

medication, and other pertinent treatment information without indicating that it was clinically

contraindicated to discuss these vital treatment issues outside the presence of the patient. These

matters were not discussed further in the presence of the patients, who were asked to outline any

concerns they had, and to rate their medications and treatment groups. Each patient’s LRH was

also discussed and he was asked to provide a reason for wanting to stay or be discharged. The

treatment team did not discuss with the patients the purpose of the IDTT and their role in it, nor

did they discuss the reasons for referral and how their treatment plans would address them. No



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correctional counselors attended the IDTTs; the psychiatrist and social worker indicated that they

would “look into” the multiple custody issues raised by patients during the IDTTs.

       IDTTs observed on C5 showed appropriate clinical interaction between the treatment

team and the patient and reasonable discussion of treatment goals and the reasons for not placing

patients at their LRH. However, one of the psychiatrists incorporated medication management

activities into the team meeting, which should have occurred in a separate, private individual

session. Treatment teams on C5 would have benefited from the presence of a correctional

counselor, who could have provided information and clarification as to LRH issues. The MTAs

who were present provided minimal input during one of the meetings.

       2. Group Therapy

       SVSP-PIP did not accurately track data on the average number of hours that patients were

offered and/or participated in weekly structured or unstructured out-of-cell activities. Patient and

staff interviews indicated that SVSP-PIP did not provide sufficient hours of out-of-cell structured

and unstructured therapeutic activities to patients, indicating that the hours offered were

significantly lower than what was offered at the EOP level of care in prisons.

         SVSP-PIP reported no data regarding refusals for July and August 2017. In September

2017, 64 patients refused 50 percent or more of offered treatment, and in October 2017, 54

patients refused 50 percent or more of offered treatment. Patient refusal rates for groups offered

during November and December 2017 ranged from approximately 30 to 50 percent.

       Staffing shortages affecting nursing, psych techs, and MTAs resulted in lack of coverage

for the provision of group therapy. The severe lack of out-of-cell time afforded patients on C5

and C6 resulted in poor treatment planning due to the lack of treatment options available. To

mitigate against this lack of out-of-cell time, staff offered puzzles and games at cell-front



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approximately three to four times per week, which, while beneficial to patients, was not a

substitute for the provision of adequate mental health care.

       Unstructured out-of-cell time had not been tracked since the implementation of the

EHRS. The facility was awaiting the implementation of a new tracking system to address this

area of deficiency.

       A music therapy group was observed in housing unit TC1. The music therapist was

excellent and all nine of the patients were actively engaged in the 75-minute session. Patients

indicated however, that about 20 percent of their groups were relevant to their specific issues.

       A problem-solving group conducted by a practicum student was observed on TC2. The

group was attended by 15 patients and the majority were engaged the entire time. The discussion

was thought-provoking and all patients were able to voice their opinions without judgment and

looked forward to attending again. The clinician was well-prepared and professional. The group

lasted one hour.

       Two groups held in C5 were also observed. One, conducted by a music therapist,

consisted of the therapist showing music videos requested by patients. The second group was

also essentially unstructured and involved the rehabilitation therapist reading affirmations, with

patients subsequently participating in an unrelated art project. Both groups would benefit from

increased structure, supervision and organization.

       3. Individual Treatment

       Since the implementation of the EHRS, SVSP-PIP patients had been assigned to a

primary clinician who was either a social worker or psychologist. These clinicians were

supposed to meet with their patients at least once weekly in an out-of-cell setting. MTAs were

not present during the sessions unless there was a clinical indication for them to be.



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       Patients’ individual clinical contacts were extremely limited and only averaged 0.2 to 1.0

hours monthly. Staff indicated that in housing unit TC1 individual clinical contacts occurred on

a weekly basis, usually at cell-front due to correctional escort issues, and generally lasted ten to

15 minutes per session. Individual contacts in C5 and C6 were variable in frequency and at

times also occurred at cell-front due to escort issues. Individual clinical contacts provided to

patients in SVSP-PIP were inadequate.

       4. Psychiatric Services

       Patients were usually seen monthly by their psychiatrists, although some were seen more

frequently in individual sessions. Documentation of psychiatric contacts was generally

consistent, substantive and comprehensive.

       As reported above, a psychiatrist incorporated a patient’s medication management during

the IDTTs rather than in a private, individual setting, which was not appropriate for the IDTT or

patient medication management consultations.

       5. Other Treatment Issues

       The lack of a unified leadership across disciplines on each unit led to structural and chain

of command issues in the various units. The unit supervisor was administratively in charge of

the unit. The mental health clinical staff did not have unit supervisors; each of the mental health

disciplines was supervised by the program-wide chief of their specific discipline. The SRN

provided clinical supervision for nursing and reported to a chief nurse supervisor outside the

SVSP-PIP and to two nurse coordinators. SMTAs supervised MTAs and some unit activities.

Staff indicated that there were also different supervisors for different duties within nursing.

Custody staff, such as correctional counselors assigned to the SVSP-PIP, also had their own

supervisor and reporting hierarchy.



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       Multiple supervisors of the various providers made it difficult to address problem areas

regarding unit-wide mental health treatment services. There was no designated person with the

authority and responsibility in a unit to address and direct corrective actions across disciplines.

Interviewed staff confirmed a convoluted reporting and supervision structure in the unit. These

organizational issues were reviewed with key leadership members, as they clearly hampered the

capacity to deliver adequate care in the various units at SVSP-PIP.

       Staff reported that all psychotropic medications were crushed prior to being administered.

The only rationale offered for this procedure appeared to be that it had always been the practice.

Nursing staff estimated that the pill line took approximately twice as long as it would take to

administer non-crushed psychotropic medications. Patients also voiced unhappiness about

having their psychotropic medications always crushed. Psychotropic medications should be

crushed only for administration purposes when clinically indicated, and must be individually

ordered by psychiatry.

               A. Involuntary Medications (PC 2602)

       On December 14, 2017, 57 patients had PC 2602 orders; all had been initiated or renewed

and granted except for one, which had been extended pending a hearing. Reasons for the PC

2602 orders included 16 for grave disability, nine for danger to self, 19 for danger to others and

13 for multiple reasons. PC 2602 orders were initiated at SVSP for 27 patients, six were initiated

at CHCF, three were initiated at CMF, and one each was initiated at CMC, California

Rehabilitation Center, California State Prison, Los Angeles County (CSP/LAC), California State

Prison, Sacramento (CSP/Sac), Kern Valley State Prison (KVSP), and Mule Creek State Prison

(MCSP); 15 were left blank.




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         Refused PC 2602 medications were ordered for daytime administration only, rather than

at HS. This practice resulted from a lack of sufficient staff during evening hours and reported

increased difficulties for patient resistance because of their awareness of decreased evening staff.

Regional staff agreed to work with local staff to identify alternative measures to address this

issue.

                B. Behavioral Management

         As was found and reported during the last tour of inpatient facilities, the PIP at SVSP

continued to underutilize behavioral plans and interventions when indicated. There were

instances where a patient’s identified problematic behavior did not change during the course of

treatment, however, there were no documented modifications observed in the health records

regarding treatment plans, treatment modalities, goals, or objectives to address the concerning

behavior. Even where a patient’s disruptive or agitative behavior prohibited their placement in

their LRH, health care records did not consistently include documented behavioral interventions

designed to address the problems that were identified and aid transfer to a patient’s LRH.

Documentation of core functioning and stated behavioral interventions were not consistently

found in health records.

V.       PATIENT ACCESS TO TREATMENT

         Patient Orientation, Discretionary Program Status (DPS), and Stages: Standards
         and Procedures

         At the time of the site visit, SVSP-PIP was using the STEP program that had been

instituted by DSH prior to Lift and Shift on July 1, 2017. CDCR was in the process of

developing and implementing a uniform behavioral incentive program for its PIPs, including

SVSP-PIP, which had not been approved at the time of the site visit.




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       The STEP program at SVSP-PIP included a DPS, which policy described as an

“individualized temporary status” where a patient was placed “following a serious behavioral

infraction requiring heightened security measures that allows the patient access to care and

treatment in a safe and controlled environment.” A patient could be placed at DPS for clinical or

safety reasons at any point in the program. There was also a Maximum Custody Status that

required the patient to remain “under the direct supervision and control of the custody staff.

Patients on Maximum Custody can only program in mechanical restraints or in the therapeutic

treatment module.”

       Patients in SVSP-PIP began with Assessment and Orientation during which period they

were closely observed and clinically evaluated by the IDTT. Patients remained at this level until

classified by the ICC/UCC. In Assessment and Orientation, the patient was oriented to program

rules and treatment expectations, as well as assessed and evaluated. Treatment planning was also

completed at this time in the Master Treatment Conference. Patients could participate in solo

and/or small group treatment activities, and were provided in-cell recreation activities, as

approved by the IDTT. Property was allowed as provided for by Title 15 as clinically indicated.

Assessment and Orientation status could not extend beyond the ICC and the Master Treatment

Conference.

       Prior to ICC/UCC action, non-Maximum Custody patients were permitted to participate

in individual or small group activities without handcuffs for purposes of socialization,

orientation, and evaluation. Where clinically indicated, the patient could be placed in a treatment

module for these activities. In the Assessment and Orientation period, only patients admitted at

Maximum Custody were placed in handcuffs pending review by the ICC to decide the patient’s

custody level, after which they could be released or retained at Maximum Custody.



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       At STEP 1, a patient was permitted to participate in treatment activities including solo

and/or group programming according to their individualized treatment plan. In STEP 1, the

IDTT identified the number and type of group activities according to the treatment outcome

expectations based on the referral of the patient. The patient was expected to understand their

targeted problems and to focus on them, as well as to become integrated into the treatment

community, abide by the rules, safely participate in treatment activities, develop socialization

skills, and interact appropriately with other patients and staff. Property was allowed as provided

for by Title 15 as clinically indicated. STEP 1 patients were also provided specified incentives

that included in-cell recreation activities and participation in game tournaments.

       To advance to STEP 2, patients were required to participate in 50 percent of treatment

activities and maintain the requirements of STEP 1. Treatment expectations also included

participation in treatment activities outlined by the IDTT and maintenance of personal hygiene

and room with minimal prompting, while respecting the properties of staff and other patients.

Patients were also required to continue to maintain medication adherence and demonstrate

progress toward achieving treatment objectives, while interacting and socializing appropriately

with others and following community rules. Property was allowed as provided for by Title 15 as

clinically indicated. In addition, the patient was expected to meet any other patient specific

criteria required by the IDTT and documented in the patient’s treatment plan. STEP 2 patients

were also provided with specific incentives including handheld games and were eligible for

holding the position of secretary in patient government.

       For a patient to advance to STEP 3, he must attend 80 percent of treatment activities.

The IDTT also considered the patient’s adherence to the STEP 2 requirements discussed above,

and whether he had met all the specific criteria for advancement designated by the IDTT.



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       At STEP 3, patients were required to be actively engaged in their treatment to understand

their mental illness, develop additional coping skills and aftercare plans. To maintain STEP 3,

the patient was required to attend 90 to 100 percent of their treatment activities and have no

disciplinary issues. In addition to sustaining the requirements that were met to advance to STEP

3, the patient was required to have the skills to recover “from lapses in judgment/behavior

without serious disruption,” demonstrate motivation for treatment, and show positive leadership

skills. The patient must also meet any specific criteria set by the IDTT. STEP 3 patients were

provided incentives that included being eligible to co-facilitate groups with clinical staff and

participate in weekly games and movie activities. Patients at STEP 3 who were placed on DPS

could not return directly to STEP 3.

       STEP 3 patients were also eligible to hold the position of president or vice president in

patient government. Property was allowed as provided for by Title 15 as clinically indicated.

A loaner television, one of the incentives in STEP 3, was not available at SVSP-PIP because it

was not a dormitory setting.

       Under the STEP program, the IDTT determined when a STEP adjustment was necessary

in cases where the patient was not maintaining the criteria defined for his STEP. The IDTT was

required to meet with the patient to discuss the reasons for the STEP adjustment and the criteria

the patient would need to meet to return to their previously earned STEP. The discussion with

the patient, the criteria to return to the earned STEP, and the decision of the IDTT must be

documented in the medical record. The treatment plan must also be updated if necessary.

       Minimally, the IDTT must review the patient’s STEP level at each meeting and discuss

any requirement for advancement, which would include any additional or modified requirements

approved by the IDTT. When considering whether a patient might be ready to transition to a less



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restrictive housing, level of care, or to be discharged to CDCR, a “patient’s STEP level is not the

sole determining factor.”

         Under the STEP program, in the event a patient was transferred to the same level of care

at another inpatient program, the patient must retain the same STEP level previously earned

following an assessment by the receiving IDTT, if there were no custody or behavioral reasons

for placement at a different level. Where the IDTT determined that a patient must be placed at a

different STEP level, the IDTT must document “the rationale for adjusting the STEP level at the

criteria to progress through STEPs in the initial IDTT conference.”

         Under the STEP program, a STEP level report was required to be provided weekly

following IDTTs to program management. During the review period, SVSP-PIP did not track

the length of time that each patient was at a particular STEP. SVSP-PIP reported that due to

EHRS transition, staff who had previously been tasked with tracking each patient’s duration at

each STEP was redirected to perform rounding functions. The institution reported

implementation of a new process for patient tracking that would be in place in January 2018.

The new procedure required all primary clinicians to report weekly to the program office such

data for each patient on his/her assigned caseload.

         During the site visit, there were no patients on Orientation and six patients on DPS.

There were 17 patients on STEP 1 solo, 102 on STEP 1, 48 on STEP 2 and 43 on STEP 3. Three

PC 1370 patients were on MAX custody status.

VI.      REFERRALS AND TRANSFERS

         During the review period, there were 242 referrals to the SVSP-PIP. Three patients were

rejected; one of the rejections was subsequently referred to acute care. Eighteen other referred




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patients were not admitted; 12 were rescinded, two patients were referred to acute care, and four

others were re-endorsed to other PIPs.

VII.   ADMISSIONS AND DISCHARGES

       During the review period, there were 221 admissions. Nine patients had two or more

admissions and 33 were admitted through the Vitek process. Following admission, the ten-day

timeline for holding ICCs was met in 216 of 221 instances, reflecting 98-percent compliance.

SVSP-PIP discharged 128 patients during the review period; the average length of stay was

165.74 days. Tracking data on clinical contacts between SVSP-PIP and CDCR’s prisons was not

available for the review period following Lift and Shift. SVSP-PIP reported that corrective

measures were implemented effective December 11, 2017, where clinical contacts following

discharge would be documented in a specific note labeled “clinician-to-clinician” contacts and

tracked through EHRS.

VIII. PATIENT DISCIPLINARY PROCESS

       There were 119 RVRs issued to SVSP-PIP patients during the review period. During

July 2017, 23 RVRs were issued, 37 were issued in August 2017, and 42 issued in September

2017. Although data was provided for October 2017, it appeared incomplete, as it did not reflect

RVRs after October 19. Additional requested RVR data for October was not provided.

According to the data provided, 17 RVRs were issued during October 2017.

       Of the 119 RVRs, 111 were issued to patients while housed in the SVSP-PIP; 19 patients

were housed in TC1, 35 in TC2, 40 in C5 and 17 in C6. According to the data provided, 15 of

119 or 13 percent of RVRs were sent to mental health within two calendar days for completion

of the mental health assessment as required by policy. The data also indicated that 114 of 119 or




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96 percent of mental health assessments were completed by clinicians and returned to custody

staff within eight calendar days as required by policy.

       The monitor reviewed 18 RVRs and mental health assessments. Of these, only one

recommended documenting the behavior in an alternate manner. Two of 18 or 11 percent of

mental health assessments indicated that patients’ mental health symptoms contributed to the

behaviors charged. Only one of 18 or six percent indicated any factors that the hearing officer

should consider when assessing the penalty; 14 of the remaining 17 stated that the patient did not

have any known mental health factors or developmental or adaptive functioning deficits that

would have an adverse impact on assessing a penalty or affecting his stability; the remaining

three assessments did not address this issue.

       Custody documented consideration of the mental health assessment in 17 of 18 cases, or

94 percent of the time. Charges were dismissed, reduced and/or there was penalty mitigation in

ten of 18 or 56 percent of cases, with five specifically citing mental health factors. There was no

mitigation in eight cases.

       Effective November 2017, CDCR discontinued using the paper mental health assessment

process, replacing it with completion of the mental health assessment through EHRS; once

complete, mental health assessment information was automatically transferred to SOMS. SVSP-

PIP reported that all eligible clinicians received EHRS training on the new RVR process, as did

100 percent of correctional administrators and captains, 90 percent of lieutenants, and 81 percent

of sergeants.

       SVSP-PIP did not provide data on clinical staff receiving annual inmate disciplinary

process mental health assessment training. SVSP-PIP reported that 100 percent of correctional




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administrators and captains received the annual inmate disciplinary process mental health

assessment training, as well as 93 percent of lieutenants and 95 percent of sergeants.

IX.      USE OF FORCE

         There were ten use of force incidents during the review period; one was controlled and

nine were immediate. The one controlled use of force incident took place in July 2017, while

there was one immediate use of force incident in July, two in August 2017 and six in September

2017.

         The controlled use of force incident occurred following a patient’s cell extraction to

administer PC 2602 medications and during which the patient committed a battery on a peace

officer. Review of the use of force incident packet indicated that staff’s actions were in

compliance with use of force policy, procedure and training, and that relevant procedures were

followed.

         SVSP-PIP reported 100-percent compliance for completion of annual use of force

training by the warden, chief deputy warden, correctional administrators and captains. Ninety-

three percent of lieutenants received the training, as did 97 percent of sergeants and correctional

officers, and 83 percent of MTAs. No data was provided on annual use of force training for

clinicians.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS

         SVSP-PIP reported a total of 305 serious incidents and unusual occurrences for the

review period. There were 49 incidents in July 2017, of which 22 were aggressive patient

behaviors, six were suicide/self-harm behaviors and 21 were “other” incidents. For August

2017, the PIP reported 21 aggressive behaviors, 15 medical incidents, 19 suicide/self-harm

behaviors and 30 “other” incidents, for a total of 85 incidents. There were 95 incidents during



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September 2017, but their nature was not further explained. The institution reported 76 incidents

in October 2017, of which there were 25 aggressive behaviors, ten medical incidents, 24

suicide/self-harm behaviors and 17 “other” incidents.

         All serious incidents and unusual occurrences were to be reported to the Quality and

Performance Improvement Program through the Standards and Compliance Committee;

however, the program was new and not yet fully implemented.

XI.      USE OF SECLUSION AND RESTRAINT

         During the review period, there was one incident of restraint in August 2017, which

lasted seven hours and five minutes. There were also 77 episodes of seclusion involving 51

patients, ranging from 52 minutes to just over 228 hours.

         In July 2017, there were nine seclusion incidents involving eight patients. The length of

time in seclusion ranged from 52 minutes to just over 48 hours. In August 2017, there were 19

episodes of seclusion, involving ten patients. The length of time in seclusion ranged from four

hours and forty minutes to 87 hours and five minutes.

         There were 24 episodes of seclusion involving 16 patients during September 2017, with

the length of time in seclusion ranging from two hours and thirty minutes to 142 hours and 15

minutes. During October 2017, there were 25 seclusion episodes involving 17 patients; the

length of time ranged from three hours and 35 minutes to just over 228 hours.

         The most recent seclusion and restraint policies and procedures were dated 2013 and

2014. Due to changes resulting from lift and shift and the implementation of EHRS, paper data

on patients in seclusion was difficult to find. However, nursing staff reported that SVSP-PIP

followed seclusion policies and there were no adverse patient outcomes while in seclusion.




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XII.       SUICIDE PREVENTION

           There were no suicides during the review period; there were four suicide attempts and

eleven aggressive acts to self.23

           Historically, the SVSP-PIP worked collaboratively with SVSP on suicide prevention

efforts. However, the SVSP-PIP did not have a position for a SPRFIT coordinator and indicated

that this position was necessary to adequately provide ongoing suicide prevention training,

monthly reports, audits, and corrective action plans. It was further reported that SVSP’s SPRFIT

coordinator could not effectively perform these tasks for the SVSP-PIP.

           The seven-hour suicide prevention training was received by 40 percent of psychology

staff. The training was provided by the SVSP SPRFIT coordinator between September and

December 2017. Remaining staff were scheduled to receive the training by March 2018.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

           There were no reported deaths during the review period. There were four emergency

responses related to a kitchen fire, a fire in a patient’s cell, a chemical smell, and a false fire

alarm. All incidents were handled timely.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

           On July 1, 2017, the SVSP-PIP transitioned from DSH operation to being operated by

CDCR. Among other matters, this resulted in a transition issue regarding the migration of

various information technology programs, which impacted the ability to collect and use data for

audits and program evaluation. Another major transition occurred on September 12, 2017, with

the activation of EHRS, which had a significant negative impact on patient care in SVSP-PIP,

notably, out-of-cell treatment hours. The preparation for EHRS included training of disciplines

23
     “Aggressive acts to self” is the terminology used by SVSP-PIP.


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prior to the launch, often necessitating the removal of line staff from direct patient care, as well

as the removal of multiple staff in all disciplines to provide training. Between June and August

2017, when EHRS training occurred, programs modification resulted in significantly lower out-

of-cell treatment time for patients.

       SVSP-PIP’s Standards and Compliance Office was in the process of drafting a local

operating procedure for the Quality and Performance Improvement Program, which was

expected to be completed by the end of January 2018; training would follow.

       The role of the quality council committee and its policies and procedures would also be

revised; it would now collect and review monthly reports from SVSP-PIP’s clinical and

administrative departments and review performance goals and objectives. The process would

also include elevating relevant reports to the local quality management committee.

       The PIP’s quality council committee essentially functioned as a mental health

subcommittee and reported directly to SVSP’s quality management committee. During the

review period, the quality council committee’s usual activities did not occur due to lift and shift

and implementation of EHRS, but it nonetheless continued to monitor various incident reports.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       During the reporting period, there were 112 health care appeals, of which 29 were mental

health appeals and three could have either been medical or mental health appeals. Mental health

appeals belonged to the following categories: medication changes, removal from PC 2602 orders,

complaints against MTAs and psych techs, requesting a lower level of care, and mental health

treatment being stopped due to staff shortages. There were 24 appeals in July 2017, 24 in

August 2017, 34 in September 2017, and 30 in October 2017.




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       SVSP-PIP had patient councils in its various units. All patient council meetings at

SVSP-PIP were cancelled during September 2017 due to the implementation of EHRS. The

patient councils in TC1 and TC2 met monthly during the review period, except for September

2017. The patient council in C5 did not meet at any time during the review period and the

patient council for C6 met in August 2017 during the review period.

       Provided minutes from patient council meetings showed that patient councils served as a

forum to provide information to the patients through their representatives on the council. Patient

councils also attended to a variety of questions and concerns raised by patients seeking resolution

from staff. Patient councils raised a wide variety of treatment and non-treatment issues.

Treatment issues included concerns regarding access to psychiatry and medical doctors to which

staff provided instructions on how to seek appointments. Non-treatment issues covered by the

patient council included canteen, entertainment, recreation, use of personal appliances, access to

religious services, facility problems, property, delays crediting money orders to patients’

accounts, food issues, and library books. The responses provided by staff varied. In some cases

staff offered resolution, in other instances patients were provided the necessary information or

instructed on how to obtain the information. In still other cases, staff responded that the matter

was currently under review or would be reviewed.

XVI. COLEMAN POSTINGS

       All toured housing units in TC1, TC2, C5, and C6 contained Coleman postings in English

and Spanish, displayed in several patient-accessible areas.

XVII. LAUNDRY AND SUPPLY ISSUES

       A tour of housing units TC1 and TC2 revealed adequate amounts of folded laundry,

including patient clothing and bed sheets, and other items, such as shoes and soap. However,



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some interviewed patients complained that their laundered clothing did not smell clean, of

receiving an insufficient amount of laundry items, and/or that they often received the wrong size

of clothing. Some patients reported washing clothing in the sink of their cell or in the shower.

XVIII. VISITATION/PRIVILEGES/TELEPHONE

       In July 2016, visitation was expanded to include both contact and non-contact visits.

Patient visitation occurred on Thursday and Friday between 8:30 a.m. and 3:00 p.m. Visitation

was held within the Facility D visiting room, which consisted of a large room for contact visits

and smaller rooms for non-contact visits.

       The process for visitation required an IDTT recommendation for a visit, including which

type, contact or non-contact. There was also a custody review as to whether the visit should be

contact or non-contact. The health care administrator reviewed the IDTT and custody

recommendations and submitted a memorandum to the visitation department directing either

contact or non-contact visitation.

       Staff reported that typically between three and five patients had weekly visitors, so

accommodating patient visitation was not difficult. Interviewed patients did not report any

problems or concerns with visitation.

       Interviewed patients did not indicate any problems with telephone use.

Loaner televisions were no longer provided to patients; however, crank radios were provided as

available.

XIX. LAW LIBRARY ACCESS

       SVSP-PIP had six computers that provided access to an online law library in the various

housing units; two computers in C6 provided access to patients housed in C5 and C6, while TC1

had three computers and TC2 had one computer. However, patients reported that the system was



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extremely difficult to use without further assistance from a librarian or library technical assistant,

and there was very limited help available for patients to navigate the computers.

         Housing tours also revealed the presence of various book carts which patients could read

in the dayroom or take to their room.

         Interviewed patients requested updated law library computers and more updated library

books.




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                            APPENDIX A4
                              CMF-PIP




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                                           CMF-PIP
                             November 28, 2017 – November 30, 2017

I.       SUMMARY OF THE FINDINGS

        There were ongoing significant functional vacancies among treating staff at CMF-PIP.

        CMF-PIP did not meet required staff-to-patient ratios in all units.

        Clinical staff at CMF-PIP was not compliant with required use of force and suicide
         prevention training, which was attributed to conflicting mandatory training related to
         EHRS.

        Institutional culture issues, physical plant limitations, and staffing allocation and/or
         vacancies severely limited the ability of CMF-PIP to deliver adequate treatment, clinical
         services, and programming to patients.

        CMF-PIP did not consistently have all required attendees at IDTTs primarily because
         correctional counselors were not attending regularly.

        No data was provided regarding compliance with due dates for the completion of IDTTs
         and ICCs.

        IDTTs in the acute care program did not adequately focus on treatment plans and in
         several observed IDTT there was very little discussion regarding treatment plans.

        In some instances where least restrictive housing was addressed in IDTT, it was not
         documented in the medical records.

        Observed IDTTs in the high custody intermediate care program displayed significant
         deficiencies, including offering no justifiable rationale for not completing individual
         assessments prior to the IDTT, and not addressing release planning for a patient who had
         a known parole date.

        Treatment teams in the intermediate care program consistently completed master
         treatment plans but did not develop individual plans of care for their patients.

        Record reviews showed that treatment teams would likely benefit from more training
         regarding the development and documentation of appropriate individual treatment plans.

        Multiple interviewed patients reported that they received more structured therapeutic
         activities in EOP programs in the prisons than in the acute care program at CMF-PIP.

        The amount of out-of-cell structured therapeutic activities offered to acute care patients

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    were inadequate.

   The lack of adequate physical plant space in the acute care program and insufficient
    escort officers to accompany patients to available treatment space on another unit, was a
    major limiting factor in access to adequate hours of out-of-cell structured therapeutic
    activities.

   Out-of-cell time provided to Maximum Custody patients was inadequate.

   Unstructured activities provided the bulk of out-of-cell activities for intermediate care
    patients during the review period.

   CMF-PIP acknowledged that the intermediate care program was not providing adequate
    group treatment hours and not meeting the full treatment needs of all its patients.

   Required initial assessments of patients were not consistently completed timely.

   Patients were regularly seen by psychiatrists.

   Most behavior plans developed and reviewed at CMF-PIP were inadequate because the
    reason for referral was not clearly documented, there was no evidence that a functional
    analysis had been completed, nor had individualized salient reinforcers for patients been
    identified.

   The prevalent use of “cutting and pasting” in progress notes made it difficult to assess the
    clinical progress being made by patients during their course of treatment in the acute care
    program.

   CMF-PIP did not track patients’ length of stay on solo programming status.

   CMF-PIP did not provide referral and transfer or admissions data for the review period.

   Clinical staff at CMF-PIP was not compliant with required use of force training, which
    was attributed to conflicting mandatory training related to EHRS.

   Custody staff was compliant with use of force training.

   CMF-PIP did not use observation or seclusion rooms.

   Presented audits demonstrated compliance with relevant elements of the restraint and
    seclusion policy in two of the four cases in the acute care program.

   There were no incidents of restraint reported in the intermediate care program during the

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           review period.

          There were no suicides reported in the CMF-PIP during the review period.

          CMF-PIP reported no deaths during the review period.

          There were no quality improvement studies and/or audits performed regarding the
           treatment programs within CMF-PIP during the review period.

          The recommendations of IDTTs at CMF-PIP and its utilization management committee
           differed significantly regarding the patients who were appropriate to be discharged from
           both acute and intermediate care.

II.        CENSUS

           On November 29, 2017, the CMF-PIP operated 396 beds: 218 in the acute care program,

and 178 in the intermediate care program. Of the 218 acute care beds, 184 or 84 percent were

filled; 26 beds were unassigned and available; six beds were on hold; one bed was redlined; and

one bed was held for a patient receiving treatment at an outside hospital. In the intermediate care

program, 91.5 percent, or 163 of 178 intermediate care beds were filled; 15 beds were

unassigned and available.

           During the review period, the average occupancy rate was approximately 90 percent.

           As of December 4, 2017, 24 patients were housed above their LRH; 15 patients with

lower LRHs were housed in single cells and nine patients with lower LRHs were housed in

locked-dorm settings. Documentation of the reasons for the housing placements were reviewed

and found to be appropriate.

III.       STAFFING

           1.     Administrative, Clinical, and Correctional Staffing

           On November 27, 2017, the executive director, chief psychiatrist, chief psychologist,

hospital administrator, and nurse administrator positions were filled. Four of the five program

director positions, three of the four program assistant positions, and one of the two nursing

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coordinator positions were filled. The vacant program director, program assistant, and nursing

coordinator positions were covered by staff in “acting” positions. The clinical administrator

position and the two health services specialist positions were vacant.

       Senior Psychiatrists: The two senior psychiatrist supervisor positions were filled.

       Psychiatrists: Sixteen of 28.1 staff established psychiatrist positions were filled for a

vacancy rate of 43 percent. Three on-site contractors and one telepsychiatrist were utilized

resulting in a 29-percent functional vacancy rate in psychiatry.

       During September 2017, CMF-PIP began using telepsychiatry in two units of the high

custody intermediate care program. Telepsychiatry was not used in the acute care program.

       Senior Psychologists: The two senior psychologist supervisor and three senior

psychologist specialist positions were filled.

       Psychologists: Twenty of the 27.1 established staff psychologist positions were filled,

leaving a 26-percent vacancy rate. With the use of one FTE contractor, the functional vacancy

rate was 22.5 percent. The two psychology intern positions were filled.

       Supervising Social Workers: The two supervising psychiatric social worker positions

were filled; however, one was covering as the acting program director.

       Social Workers: Twenty of the 27.1 clinical social workers were filled, resulting in a

vacancy rate of 26 percent. Two contract social workers provided additional coverage, resulting

in a 19-percent functional vacancy rate.

       Rehabilitation Therapists: Twenty-five of the 27.1 rehabilitation therapist positions were

filled, for a seven-percent vacancy rate. No contractors were used. The two student intern

positions in this discipline were vacant.

       Nurse Practitioners: Two of the four established nurse practitioner positions were filled,



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for a 50-percent vacancy rate.

       Supervising Registered Nurses (SRNs): Twenty of the 25.6 established SRN positions

were filled; one was acting as the nurse coordinator and one retired annuitant covered an FTE

position, for a functional vacancy rate of 22 percent.

       Registered Nurses (RNs): Sixty-seven of 76.2 established RN positions were filled; five

contract RNs and one retired annuitant provided additional coverage, resulting in a functional

vacancy rate of four percent.

       Senior Medical Technical Assistants (SMTAs): For SMTAs, 28 of 40.1 established

positions were filled; however, one SMTA was providing services as the acting program

assistant. Three retired annuitants provided additional coverage, reducing the functional vacancy

rate for SMTAs to 25 percent.

       At the time of the site visit, no candidates had applied for vacant senior MTA positions.

       Medical Technical Assistants (MTAs): Of the 217.1 established MTA positions; 166

were filled, yielding a vacancy rate of 24 percent. One contract certified nursing assistant and

five LVNs provided coverage for vacant MTA positions. Additionally, three retired annuitant

MTAs provided additional coverage, resulting in a 19-percent functional vacancy rate for MTAs.

       At the time of the site visit, 38 MTA candidates had applied for employment, and

interviews were scheduled.

       Psych Techs: Six of the 33 psych tech positions were vacant, for a functional vacancy

rate of 18 percent.

       Correctional Staff: CMF-PIP reported that all of its allocated correctional staff positions

were filled.




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2.       Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

         CMF-PIP met the required ratio of 1:15 in its acute care program for psychiatrists and

psychologists except in Unit P2. For social workers, the program did not meet the required

staffing ratio in Units P2 and Q3 and did not meet the required ratio for rehabilitation therapists

in Units P2 and S1.

         In the intermediate care program, CMF-PIP met the staffing ratios of 1:35 for all

disciplines in its several units except Unit A3 where both the psychiatrist and psychologist ratios

were 1:38, and in A2, where the psychiatry ratio was 1:42.

3.       Staff Training

         Post lift and shift, staff previously employed through DSH attended CDCR’s annual

block training. Newly-hired staff were required to attend new employee orientation as a

requisite to working in the CMF-PIP. Staff reported that there was no specific training provided

regarding the July 2017 revised suicide PIP policies including Referral and Admission,

Discharge, Pre-Release Planning and Housing Review.

IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         CMF-PIP continued to face significant problems in both its acute and intermediate care

programs related to institutional cultural issues, physical plant issues, and staff—including

custody, MTA, and mental health staff allocation and/or vacancy issues that severely limited its

ability to deliver adequate treatment, clinical services, and programming to its patients.

         1.     Interdisciplinary Treatment Teams (IDTTs)

         Data on IDTT attendance by the various health care disciplines was not available. Staff

reported that correctional counselors did not regularly attend IDTTs, reportedly due to

scheduling and/or allocation issues.



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       CMF-PIP was unable to produce on-demand reports for patients currently in the CMF-

PIP that included initial and most recent IDTT and ICC dates, or provide audit data relative to

timeliness of IDTTs and ICCs.

       Acute Care Program

       In the acute care program, IDTT conferences were held every seven days for each patient.

IDTTs in the acute care program did not adequately focus on treatment plans.

       The monitor’s expert observed IDTTs on units P2 and Q2. In the unit P2 IDTT, a

Correctional Counselor I (CC I) was not present, although all other members of the

multidisciplinary team were in attendance. Both patients who appeared for the IDTT complained

of very little out-of-cell time. One patient indicated that he had more out-of-cell time when he

was in the SHU as compared to the acute care program. During the IDTT, a suicide risk

assessment was performed; the psychiatrist also completed a medication review. Treatment

plans were not discussed.

       In the unit Q2 IDTT, all members of the IDTT, including a CC I, were present. There

was very little discussion regarding the actual treatment plans.

       Intermediate Care Program

       CMF-PIP did not provide reliable data regarding IDTT attendance by required staff in its

intermediate care program. A CC I covered all four units in the high custody building, rotating

amongst the team.

       Intermediate care program IDTTs were observed in the DBT unit (A3). LRH was

addressed by the treatment teams; however, it was inconsistently documented in the medical

records of patients in the unit that were reviewed. The IDTTs in A3 also employed several

strategies to engage patients in the treatment team process. Staff printed out forms in large text



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that patients would have in front of them at the table during IDTTs to aid their understanding.

The A3 treatment teams were engaging with the patients and appropriately addressed their

treatment issues.

        In contrast, the IDTTs observed in the high custody unit displayed significant

deficiencies on the part of clinical staff. No one on the team had seen any patient prior to IDTT

as should have occurred. There was no justifiable clinical rationale offered for not meeting with

patients prior to treatment team to complete individual assessments. The psychiatrist was not

engaged in the IDTT process during the treatment team meeting. Release planning was not

addressed in the IDTT for a patient who had a known parole date.

       In general, treatment teams in the intermediate care program completed master treatment

plans, but not individual plans of care. As a result, it was unclear what interventions were to be

used to address the individual care of patients. Goals were not always appropriate to the

patient’s most immediate problematic behavior and were often not operationalized to address

behavior. It was clear that treatment teams would likely benefit from more training on EHRS

regarding the development and documentation of appropriate individual treatment plans.

       2.      Group Therapy

       Staff reported that there were no formalized group therapy audits within the CMF-PIP

during the review period.

       Acute Care Program

       CMF-PIP reported that since the transition to the statewide EHRS on September 12, 2017

through the time of the site visit, the program had not been able to produce accurate data

demonstrating the number of treatment hours offered to and received by acute care patients.




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Staff reported that the number of treatment hours provided to acute care patients during the

review period were very limited and were lower than the clinical needs of multiple patients.

       Prior to September 2017, CMF-PIP utilized the Psychiatric and Wellness Support System

(PaWSS) to document and report treatment hours. The data showed that from July 1, 2017

through August 31, 2017, the average hours offered per patient per week was 1.19 hours with an

average of 0.62 hours per week delivered.

       Each housing unit in the acute care program had a dayroom that functioned as a

multipurpose room for treatment purposes, IDTTs, and unstructured dayroom time. Group

therapies in the acute care program, which were provided in the dayrooms, were generally

limited to six to eight patients due to a combination of clinical and security concerns. During the

site visit, the monitor’s expert visited six of the seven acute care program housing units when

they were scheduled to provide group therapy. Three of the units had a structured therapeutic

activity in the dayroom that involved six to eight patients occurring as scheduled. Two of the

three groups were directed by a music therapist. The third group focused on the “ABCs of

problem-solving”. Inmates in all three groups were actively participating and appeared to be

clearly benefiting.

       One of the six dayrooms visited by the monitor’s expert was being used for a new

admission and was not available for group activity. On another unit, four patients were in the

dayroom without the group leader due to his diversion to the unit with a “man down” alarm; no

structured activity was occurring. There were no patients present and no activity occurring in the

sixth dayroom listed on the schedule for group activity that the monitor’s expert visited.

       The monitor’s expert interviewed four patients in a group setting who indicated that

while they thought the acute care program was helpful, they received more structured therapeutic



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activities in an EOP program in the prisons than in the acute care program. These patients

indicated that it took many weeks after admission to the acute care program before they were

eligible for more than one hour per day of out-of-cell time.

       Analysis of all the information provided during the site visit indicated that the two major

limiting factors for providing adequate hours of out-of-cell structured therapeutic activities in the

acute care program were physical plant limitations (i.e., lack of adequate programming space

within the housing units) and lack of escort officers to accompany patients to available treatment

space within O-Wing on the prison side. In addition, staff reported that cancellation of groups

was frequently related to staffing issues and other unexpected events.

       Due to the very limited number of group hours offered to the average acute care patient

per week, the monitor’s expert did not assess issues related to patient refusals and/or cancelled

groups. However, staff acknowledged that group therapy cancellations were not uncommon.

       As reported above, the amount of out-of-cell structured therapeutic activities offered to

acute care patients was woefully inadequate; which was exacerbated for patients with a

Maximum Custody classification.

       At the time of the site visit, there were 22 patients with Maximum Custody classification

in the acute care program. Since the lift and shift was implemented on July 1, 2017, Maximum

Custody patients had not been allowed out of their cells without being handcuffed. Maximum

Custody patients had also not been allowed to participate in group therapies, which CMF-PIP

indicated could be addressed by access to therapeutic modules; however, CMF-PIP had none.

According to staff, therapeutic modules in CMF prison could only be used by CMF-PIP during

evening hours because they were restricted to administrative segregation use during the daytime.




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        During the six weeks preceding the site visit, Maximum Custody patients had access to

yard for two hours on a once per week basis. Non-Maximum Custody acute care program

patients had access to yard for one hour per day. Depending on their privilege level, non-

Maximum Custody acute care program patients were also allowed access to the dayroom for an

hour per day. A much smaller number of acute care patients had access to out-of-cell time on a

three-hour per day basis.

        Intermediate Care Program

        In the intermediate care program, treatment groups included those that were

psychoeducational in nature, which were aimed at addressing core functional deficits in the

patient population, and unstructured enrichment activities that had no structured objective or plan

and included unstructured yard.

        The group schedule was based on a 12-week cycle with one-week breaks between cycles;

there was an occasional two-week break for holidays. Master group schedules were reassessed

during those break periods and revised as necessary.

        CMF-PIP provided complete PaWSS data for July and August 2017. The intermediate

care program averaged the following hours per week with structured and unstructured activity

combined: for July 2017: 4.68 scheduled, 4.21 offered and 1.85 delivered, for a refusal rate of 56

percent. For August 2017, the intermediate care program averaged the following hours of

structured and unstructured activity per week: 5.08 scheduled, 4.39 offered, and 2.00 delivered,

for a refusal rate of 54 percent.

        Analysis of the data showed that structured treatment group and enrichment hours

averaged the following per patient per week: July 2017 was 1.37 scheduled, .86 offered, and .69

delivered. August 2017 had 1.14 scheduled, .58 offered, and .55 delivered. These low hours



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were reportedly due to staff training in preparation for EHRS; however, CMF-PIP did not

produce information to demonstrate that structured therapeutic hours had significantly improved

since that time. Unstructured activities clearly provided the bulk of out-of-cell activity for

intermediate care patients during July and August 2017.

        Document reviews showed that rehabilitation therapists in the intermediate care program

were employing motivational interviewing techniques for those patients who were not engaging

in treatment to assist them with finding motivation to attend treatment. This form of intervention

had been shown to be more effective with some patients, compared to mere “encouragement” to

attend groups.

        CMF-PIP acknowledged that the intermediate care program was not providing adequate

group treatment hours and not meeting the treatment needs of all its patients; however, it did not

have any concrete plans for improving services in the acute or intermediate care programs at the

time of the site visit.

        Patients reported that they had inadequate access to recreation yard in the intermediate

care program. Patients in the DBT unit wanted to have the same amount of yard as they would

receive in prison.

        3.       Individual Treatment

        Records review indicated that initial assessments were not always completed timely.

This varied across disciplines, although the psychiatrist typically completed an initial

assessment. Weekly individual psychology or social work contacts were uncommon, although

they were provided in some cases.




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       4.      Psychiatric Services

       Psychiatrists saw patients regularly as scheduled in the acute and intermediate care

programs.

       Due to psychiatry shortages, telepsychiatry was used in one unit in the stand-alone high

security intermediate care program. CMF-PIP reported that it had no plan to expand or make

telepsychiatry permanent in its program. At the time of the site visit, CMF-PIP reported that the

use of telepsychiatry was a pilot; however, staff did not provide the specific objectives that

would be measured beyond meeting contact mandates (e.g., initial assessments, presence at

treatment team) as would be expected in a pilot process. Staff also indicated that the psychiatrist

was present via telepsychiatry at IDTT.

       5. Other Treatment Issues

               A. Involuntary Medications (PC 2602)

       During the review period, 24 PC 2602 petitions were initiated, including 16 emergent and

eight non-emergent. Fourteen petitions were renewed and three were denied; no reasons were

given for the denials.

       Four patients were not compliant with the PC 2602 process during the review period and

force was used to gain compliance.

               B. Behavioral Management

               Dialectical Behavior Therapy Unit

       As reported above, CMF also maintained a DBT unit on A3, although some non-DBT

patients were also housed there. Observation and document reviews indicated that treatment

provided on A3 adhered to the DBT model.




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                 Individual Behavior Plans

         Compared to previous site visits, there was an increased use of individual behavior plans

at CMF-PIP. During the review period, there were 13 requests for behavioral consultations or

plans; 12 of the 13 resulted in a plan. Since November 1, 2017, there had been an additional 12

requests; three of those remained pending, two resulted in consults only, and eight resulted in

plans.

         Although there was an increased use of individual behavior plans as stated above, most of

the behavior plans reviewed showed that the reason for referral was unclear. Similarly, for most

of the plans, there was also no evidence that a functional analysis had been completed. The

functional analysis provides the foundation for a behavior plan, as it identifies points of possible

intervention.

         The absence of key elements necessary to useful behavior plans led to plans that did not

consistently state behavioral goals in behavioral terms. Moreover, to be effective, the behavior

plans reviewed needed to focus on fewer behaviors to achieve patient success. Effective

behavior plans require objective, descriptive, observable, and measurable goals. Basic

behavioral treatment would include a plan that should focus on one target at a time until behavior

or skill acquisition occurs.

         It was very concerning that multiple behavior plans reviewed used punishment (such as

restricting the patient to his room, denial of privilege or suspension from participation in unit

activities) rather than positive reinforcement (i.e. specified salient reinforcers developed in the

behavioral plan) to respond to the targeted behavior.

         At the time of the site visit, it was observed that outside expertise in behavior therapy and

individual behavior plans would be helpful in assisting the CMF-PIP to remedy the multiple



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deficiencies described above. CMF-PIP’s management and CDCR’s regional and headquarters

staff were advised accordingly.

               C. Morning and End-of-Shift Meetings

        Structured daily shift report meetings were implemented on October 12, 2017. The

purpose of structured shift report was to plan the daily schedule to ensure as many unit activities

were completed during the day as practicable. The meetings were to be led by the SRN or

designee with the SMTA and members of the unit treatment team. Team members included

psychiatrist, psychologist, social worker, rehabilitation therapist, registered nurse, psych tech,

and MTAs.

        The monitor’s expert attended the afternoon shift report meeting on Unit P1, which was

appropriately attended and involved a brief review of various patients on the unit. A shift report

was also observed on unit A3. All unit staff at work that day were present. It was an effective,

concise meeting. Attendees addressed new admissions, status updates, staffing absences or

program interruptions, and also problem-solved regarding any treatment challenges identified.

               D. Clinical Progress Notes

        Documentation issues in clinical notes persisted predominantly related to the introduction

of the EHRS. There was also significant reliance on “cutting and pasting” from prior

assessments and notes, which resulted in difficulty in determining the clinical progress being

made by patients during their course of treatment in the acute care program.

V.      PATIENT ACCESS TO TREATMENT

        Patient Orientation, Discretionary Program Status (DPS), and Stages:
        Standards and Procedures

        At the time of the site visit, CMF-PIP was using the STEP program that had been

instituted by DSH prior to Lift and Shift on July 1, 2017. CDCR was in the process of

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developing and implementing a uniform behavioral incentive program for its PIPs, including

CMF-PIP which had not been implemented at the time of the site visit.

       Under CMF-PIP’s STEP policy, the goal was to put in place a treatment progression

system that enrolled all patients in the STEP program and was consistently applied to patients.

Patients had to demonstrate progress in their treatment to advance clinically through the various

STEP levels. On admission, patients were provided an orientation packet or handbook. The

STEP policy required staff to participate in the program “by providing necessary observation,

assessment, evaluation, guidance, counseling and documentation of the patient’s progress to the

STEP Program.”

       Acute Care Program

       In the acute care program, newly admitted patients began with Assessment and

Orientation, during which time clinical evaluation was completed by the IDTT, and custody

evaluation by the ICC and/or UCC occurred. These evaluations were required to be done prior

to the Initial Master Treatment Conference. During Assessment and Orientation, the patient was

oriented to program rules and the expectations of his treatment program. The patient participated

in solo and/or small group treatment activities, which were determined by the IDTT. After the

patient was elevated to a STEP, he could be returned to Assessment and Orientation if he

decompensated. Following Assessment and Orientation, the patient could transition to either

STEP 1 or STEP 2 as decided by the IDTT.

       After Assessment and Orientation, if the IDTT determined that clinical and custodial

factors indicated the patient required solo programming, he was placed in STEP 1. Relatedly,

the IDTT had to determine based on its evaluation if the patient needed to program with or

without mechanical restraints or that the use of other security measures were required. In STEP



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1, the IDTT was also required to design and document an individualized solo treatment program

documented in each patient’s treatment plan along with the criteria for advancement to STEP 2.

       For advancement to STEP 2 from STEP 1, each patient had to demonstrate successfully

participating in their solo treatment program as well as resolve any clinical and/or custodial

factors that precluded programming with others as had been determined by the IDTT at the time

of Assessment and Orientation.

       During Assessment and Orientation, if the IDTT determined that its evaluation of the

patient’s clinical and custodial factors showed that he was ready to program with others, the

patient was moved directly to STEP 2. In STEP 2, the IDTT was required to develop an

individualized group treatment program documented in the patient’s treatment plan. The IDTT

also had to determine based on its evaluation if the patient needed to program with or without

mechanical restraints or the use of other security measures.

       The acute care STEP Program did not have specific incentives. As part of a patient’s

individualized treatment plan, the IDTT could determine what incentives, if any, would be

appropriate for each patient.

       Intermediate Care Program

       Patients in CMF-PIP’s intermediate care program also began with Assessment and

Orientation, during which period they were closely observed and clinically evaluated by the

IDTT. Patients remained at this level on orientation status until they were classified by the

ICC/UCC. In Assessment and Orientation, the patient was oriented to program rules and

treatment expectations, as well as assessed and evaluated. Treatment planning was also

completed at this time in the Master Treatment Conference. Patients could participate in solo

and/or small group treatment activities and were provided in-cell recreation activities as



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approved by the IDTT. Assessment and Orientation status did not extend beyond the ICC/UCC

and the Master Treatment Conference.

       Patients with Maximum Custody status were included in the STEP and were eligible for

STEP incentives as indicated in their individual treatment plan.

       At STEP 1, a patient was expected to participate in treatment activities including solo

and/or group programming according to their individualized treatment plan. The goal for

patients in STEP 1 was to transition them into socialization and full implementation of their

treatment plans. STEP 1 patients were provided specified incentives that included in-cell

recreation activities and participation in game tournaments, among others.

       To advance to STEP 2, the patient was required to participate in 50 percent of his

treatment activities. Treatment expectations also included meeting patient-specific criteria for

advancement to STEP 2 developed by the IDTT, as well as maintenance of personal hygiene and

room cleanliness, while respecting the properties of staff and other patients. The patient was also

required to continue to maintain medication adherence as applicable and demonstrate progress

toward achieving treatment objectives, while interacting and socializing appropriately with

others and following community rules.

       For a patient to advance to STEP 3, the patient must attend 80 percent of treatment

activities and respect the rights and property of others. At STEP 3, patients were required to be

actively engaged in their treatment to understand their mental illness, and to develop additional

coping skills and aftercare plans. Incentives at STEP 3 included all incentives in STEP 1 and

STEP 2, in addition, but not limited to, a state issued TV, check-out CD player, eligibility to

participate in weekly games and in movie/treat activity, as well as eligibility to hold the position




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of president and vice president on the patient council. To maintain STEP 3, the patient was

required to attend 90 to 100 percent of their treatment activities and have no disciplinary issues.

       The STEP Program required that in the event a patient was transferred to the same level

of care at another inpatient program, the patient must retain the same STEP level previously

earned following an assessment by the receiving IDTT, if there were no custody or behavioral

reasons for placement at a different level. Where the IDTT determined that a patient must be

placed at a different STEP level, the IDTT must document “the rationale for adjusting the STEP

level and the criteria to progress through STEPs in the initial IDTT conference.”

       CMF-PIP presented STEP data for November 17, 2017 for the intermediate care

program. This data did not reflect patient census at the time of the site visit. According to the

STEP data, on that date, there were seven patients in Assessment and Orientation. Six patients

had been in Assessment and Orientation for an average of four days. There was one outlier who

had been in Assessment and Orientation since October 11, 2017. Staff indicated that the

extended stay was because he had stopped cooperating with the assessment process soon after

admission.

       On November 17, 2017, there were 18 patients in STEP 1, the longest having remained in

that STEP for 76 days (range 0 to 76 days; average of 15 days). Forty-eight patients were in

STEP 2, with the longest patient on that STEP having remained for 92 days. Finally, there were

76 patients at STEP 3.

       Analysis of the data indicated that this represented a reasonable distribution across the

STEPs; the data analysis also indicated that most patients did not spend a significant amount of

time at the lower STEP levels.




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         One limitation to the data provided was that it did not indicate for those patients at STEP

1 whether the patient had access to group treatment or was on solo programming. As this was an

important piece related to access to care and was a clinical decision that could potentially affect

advancement to STEP 2, tracking the number of patients and their length of stay on solo

programing status would enable supervisors to monitor the use of solo programming and

complete quality improvement action as necessary. This would also create capacity to utilize an

objective indicator of progress because once a patient had progressed to group treatment in STEP

1, it could trigger the IDTT to specifically address his readiness for STEP 2.

VI.      REFERRALS AND TRANSFERS

         CMF-PIP did not provide referral and transfer data. CMF-PIP staff reported that prior to

Lift and Shift, DSH’s admission discharge unit tracked referral, admission, and transfer data.

CDCR assumed responsibility for the referral and transfer data at lift and shift, which was not

available for the review period.

         CMF-PIP reported that the intermediate care program rejected one patient referred from

the acute care program due to his lack of stability and refusal of treatment for three foreign

bodies. The referral was subsequently rescinded, and the patient remained in the acute care

program.

VII.     ADMISSIONS AND DISCHARGES

         1. Admissions

         CMF-PIP did not provide admission data for the similar reasons as its failure to provide

referral and transfer data.

         The average length of stay for patients in acute care at the CMF-PIP at the time of the site

visit was 56 days for non-Maximum Custody patients and 54 days for Maximum Custody



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patients. During the two months preceding the site visit, the occupancy rate in the acute

psychiatric program decreased meaningfully, resulting in approximately 30 unoccupied beds at

the time of the site visit.

        2. Discharges

         During the review period, 336 patients discharged from CMF-PIP acute care, with an

average length of stay of 77 days. The average number of administrative days after clinical

discharge was four days (excluding five outliers ranging from 21 to 49 days). Reasons for

administrative delays were not provided by CMF-PIP. Twenty-eight percent were discharged to

an intermediate care program.

        CMF-PIP’s intermediate care program discharged 192 patients during the review period

with an average length of stay of 142 days. The average number of administrative days after

clinical discharge was 3.4 days (2.6 days average from dorms and 3.8 days average from high

custody).

        Clinician-to-clinician contact responsibilities changed during the review period to require

the discharging institution to send an order to the receiving institution to initiate the contact. It

became the responsibility of the receiving institution to initiate the clinician contact. Moving

forward, the discharging institution must track compliance with sending the order and the

receiving institution will be tasked with tracking the clinician contact. Staff reported that it was

intended that the information flow would be documented and tracked in EHRS.

VIII. PATIENT DISCIPLINARY PROCESS

        During the review period, 95 RVRs were issued, including 85 in the acute care program

and ten in the intermediate care program. The monitor reviewed a sample of ten percent.

Timely requests by custody staff and completion and return of the mental health assessment were



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compliant 90 percent of the time. There were no instances where an alternate manner of

documentation was recommended, and clinicians made appropriate recommendations for

consideration regarding penalties in multiple instances.

        Senior hearing officers noted consideration of the mental health input in all except one

case. Senior hearing officers also documented mitigation where it occurred. Where mitigation

was noted, it was most often limited to not taking away privileges; however, significant credit

forfeitures were imposed. It was very concerning that several senior hearing officers

inappropriately referred to the patient’s mental health status during the hearing itself, as opposed

to his mental status at the time of the infraction, which was the required standard.

        According to the data presented, 24 of the 26 psychologists in the CMF-PIP completed

the four-hour mandatory RVR training. The remaining two were new employees scheduled to

receive training in January 2018. Additionally, 20 of the 26 psychologists completed a one-hour

webinar on completion of the mental health assessment through SOMS in November 2017. The

six remaining psychologists were expected to complete training once it was uploaded onto the

Lifeline intranet.

        Ninety-three percent of required custody staff completed mandatory training on the

disciplinary process. Further, 94 percent of hearing officers, senior hearing officers and chief

disciplinary officers received the required on-the-job training pursuant to the October 9, 2017

memorandum regarding changes to the rules violation report mental health assessment process

for strategic offender management system.

        MTAs’ RVR disciplinary process training was reported to have started during October

2017. CMF-PIP did not provide data documenting RVR disciplinary process training for MTAs.




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IX.      USE OF FORCE

         CMF-PIP reported ten immediate and eight controlled use of force incidents during the

review period. These use of force incidents were not reviewed.

         Forty percent of CMF-PIP clinical staff were compliant with use of force training. Low

compliance was attributed to mandatory attendance at EHRS training and the EHRS transition

process.

         Use of force training was completed by 97.3 percent of custody staff.

         MTAs’ use of force training was reported to have started during October 2017. CMF-PIP

did not provide data documenting use of force training for MTAs.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         CMF-PIP reported that there were a total of 353 incidents that occurred in the CMF-PIP

for an average of 88 incidents per month over the four-month period. There were nine incidents

involving patient allegations of sexual abuse against another individual; seven of those originated

from acute care and two from intermediate care. Additionally, there was one incident of a

patient alleging neglect against a transportation staff member over reckless driving. None of the

incidents resulted in patient injury and none required treatment related to the incident.

         There were four incidents documented as suicide attempts, three did not require any

treatment, while one required medical treatment (sutures). In addition, there were two fall

incidents in the intermediate care program resulting in patient injuries requiring medical

treatment.

         The data indicated that there were multiple incidents that required medical intervention at

CMF. A total of 23 incidents involved patients whose injury severities required medical

treatment, with the majority of them requiring medical intervention as a result of complaints of

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chest pain. Six of those occurred in intermediate care, while the remainder took place in the

acute care program. There was also one seizure incident that occurred in the intermediate care

program that resulted in the patient being hospitalized.

         Patients’ acts of self-harm continued to be a common occurrence in the CMF-PIP. All

these incidents occurred in acute care with three of them resulting in patients sustaining injury

requiring medical treatment. In addition, patients covering windows while attempting to self-

harm was a frequent occurrence. Four were occurrences of foreign body insertions and

ingestions that resulted in patient injuries requiring medical treatment. Two incidents occurred

in the intermediate care program and two in the acute care program.

XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         CMF-PIP did not use observation or seclusion rooms.

         During the review period, four patients housed in the acute care program required

restraints for mental health purposes. Audits demonstrated compliance with relevant elements of

the restraint and seclusion policy and procedure ranging from 50 percent to 100 percent. The

wide range was due to the small sample. The duration of time in restraints ranged from 3.45

hours to 15.20 hours, with three of the patients being restrained for less than 5.35 hours.

         There were no incidents of restraint reported in the intermediate care program.

XII.     SUICIDE PREVENTION

         There were no suicides reported in the CMF-PIP during the review period.

         At the time of the site visit, CMF-PIP reported it no longer had access to data generated

through DSH’s integrated suicide risk assessment forms that had been used until September

2017. Staff reported that since the activation of EHRS on September 12, 2017, CMF-PIP had




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completed SRASHEs within ten days of admission and upon discharge but was unable to

generate compliance reports at the time of the site visit.

            CMF-PIP reported that 58 percent of clinical staff were current with suicide prevention

training. Low compliance was attributed to mandatory attendance at EHRS training and the

EHRS transition process.

          Certified Nursing Assistant suicide prevention training classes started in November 2017

and were scheduled to run until the end of December 2017.

          At the time of the site visit, 67 percent of MTAs had completed suicide prevention

training.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

          1. Emergency Response

          CMF-PIP participated in the CMF mass casualty drill held in October 2017.

          There were no emergency responses that resulted in serious harm during the review

period.

          2. Death Review Process

          CMF-PIP reported that there were no deaths during the reporting period. CMF-PIP

collaborated with CMF on death reviews.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

          CMF-PIP’s quality management steering committee met weekly during the review

period.

          There were no quality improvement studies and/or audits regarding treatment programs

performed within the acute or intermediate care programs during the review period.




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        There were no audits of IDTTs or treatment plans conducted during the review period.

According to reports from CMF-PIP, this was due to training for lift and shift as well as

preparation for and transition to the EHRS. Resources had been dedicated to data migration and

focusing on correcting data flags or errors in the EHRS rather than quality improvement.

        CMF-PIP reported that utilization management prospective reviews were conducted for

all patients prior to acceptance into the CMF-PIP by the admission discharge unit.

        For the period of July 1st to October 31, 2017, the CMF-PIP utilization management

committee completed continued stay reviews for patients with a length of stay of 30 days or

greater at the acute level of care, which comprised 205 patients, and 180 days or greater for the

intermediate level of care comprising 42 patients.

        Regarding the cases of acute care patients reviewed by the UMC, the UMC

recommended discharge in nearly 80 percent of the cases, while the IDTT recommended

discharge in just over 50 percent of the same cases. For intermediate care patient reviews, the

UMC recommended discharge for approximately 67 percent of the cases reviewed, while the

IDTT’s recommended discharge rate was approximately 43 percent. CMF-PIP found that

considering the significantly divergent results in recommendations between the IDTTs and the

UMC, additional dialog and training would be beneficial. Additionally, CMF-PIP concluded

that it would be very beneficial for leadership to distinctly define the missions of both the acute

care and the intermediate care programs and to clearly communicate the mission statements to

line staff. Staff reported that this was in process at the time of the site visit.

        CMF-PIP reported that there were ongoing difficulties in completing the continued stay

review forms, which were vital to a meaningful UMC review. During the review period this

problem had been exacerbated by training, preparation and “go-live” activities related to CMF-



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PIP's migration to the EHRS. To enhance accountability in this process, shortly before the site

visit, CMF-PIP implemented new expectations for completion. Mental health primary clinicians

were assigned the responsibility for completion of continued stay review forms for patients

assigned to their caseloads.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       During the review period, CMF-PIP processed 137 CDCR 602 appeals, which were not

analyzed during the site visit.

       Forty-two patients in the acute care program completed patient satisfaction surveys

during the review period. Eighty percent of the patients responding reported feeling safe in their

units and 20 percent did not. Twenty-nine percent of patients were satisfied with the current

amount of treatment groups provided and 71 percent were not. Patients’ responses indicated that

they were very dissatisfied with the amount of treatment groups provided, leisure activities

offered, and skills learned in preparation for their next placement setting after leaving the

program.

       In the intermediate care program, 103 patients completed surveys. Patients’ responses

were predominantly favorable regarding treatment at 62 percent, while the remaining 38 percent

were dissatisfied with the amount of treatment groups offered. As to whether treatment groups

addressed their emotional or mental health issues, 72 percent believed they did and 38 percent

responded they did not.

       In patient interviews conducted during the site visit, patients reported that they had

inadequate access to recreation yard in the intermediate care program and received very little

treatment, except for patients in the DBT unit, who were much more positive about their




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treatment. As reported above, DBT patients expressed a desire for more yard time; they wanted

to have the same amount of yard as they would receive in prison.

       The acute care program did not have a formal patient council. In the intermediate care

program, patient council meetings occurred monthly. Minutes of the patient council meetings

were not reviewed.

XVI. COLEMAN POSTINGS

       Coleman notices in both English and Spanish were posted in areas accessible by patients

in all CMF-PIP units.

XVII. LAUNDRY AND SUPPLY ISSUES

       There were no laundry or supply issues reported in the intermediate care program during

the review period. In the acute care program, there were intermittent issues with laundry

supplies because of delayed deliveries from the offsite laundry facility. CMF-PIP was

addressing the issue and staff reported that a formal inventory and accountability system was

developed.

XVIII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

       CMF-PIP continued to use the DSH policy and procedures for visitation. Maximum

Custody patients were only allowed non-contact visits. Access to visitation was determined by

IDTT and the team must complete a visitation memorandum to be provided to the visiting

sergeant, housing unit officer, and placed in the unit health record. A correctional counselor

must screen for enemy concerns as well. Length of visits were limited to one hour for local

visitors and two hours for visitors that traveled 250 miles or further.

       Patients on one-to-one observation or suicide precautions were not allowed to participate

in visitation. All patients were mandated to submit to an unclothed body search in the patient’s



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cell upon return to the unit. No issues regarding visitation were evident during the review period

or at the time of the site visit.

        Privileges, including personal property of patients, were governed by California

Regulation Title 15 and decisions of the IDTT as clinically indicated. No issues regarding

privileges were evident during the review period or at the time of the site visit.

        On January 13, 2017, the CMF-PIP acute care program updated the patient telephone

procedures to indicate that telephone access should be available seven days a week. Patient

access must be approved by the treatment team; all legal calls were to be allowed.

        Access to the telephone for the intermediate care program was described in the

intermediate care program patient orientation program rules and expectations. To make phone

calls, patients must sign up the night prior to the phone call. Phone calls were not allowed during

patients’ scheduled group times; calls were limited to 15 minutes. No issues regarding telephone

access were evident during the review period or at the time of the site visit.

XIX.     LAW LIBRARY ACCESS

        There were no issues raised regarding access to the law library during the review period

or at the time of the site visit.




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                            APPENDIX A5
                             CMF L1-PIP




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                                          CMF L1-PIP
                              November 28, 2017 – November 30, 2017

I.       SUMMARY OF THE FINDINGS

        At the time of the site visit, the census was at 91 percent of capacity.

        There were significant vacancies in psychiatry and social work at CMF L1-PIP.

        CMF L1-PIP met staffing ratios for psychologists, social workers, and rehabilitation
         therapists, but not for psychiatry.

        LRH, group placement, and discharge planning were appropriately discussed in observed
         IDTTs.

        Space limitations impacted CMF L1-PIP’s ability to provide the court-ordered 12 hours
         of out-of-cell activities.

        Manual tracking methods indicated that CMF L1-PIP provided nine to eleven hours of
         out-of-cell activities per day.

        Staff reported a plan to implement a statewide electronic tracking program to track and
         report unstructured activities in the CMF L1-PIP.

        Patients reported satisfaction with the amount of out-of-cell time provided at CMF L1-
         PIP but indicated the need for more individualized group therapy sessions.

        Psychiatrists, psychologists, and social workers provided individual therapy to patients in
         CMF L1-PIP.

        Medication passes negatively impacted the provision of out-of-cell activities to all
         patients.

        No behavioral plans were implemented at CMF L1-PIP during the review period or at the
         time of the site visit.

        The program reported that it was unable to provide 12 hours of out-of-cell time to
         Maximum Custody patients.

        Due to its impact on the program, Maximum Custody patients were no longer admitted to
         CMF L1-PIP at the time of the site visit.

        Patients who were referred to the CMF L1-PIP were timely transferred into the program.

        Mental health assessments following RVRs were timely requested.

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         Completed mental health assessments were not returned to custody within mandated time
          frames.

         Clinical recommendation regarding mitigation of punishment was limited to no loss of
          privileges.

         Significant loss of credit earnings was imposed on patients found guilty of rules
          violations.

         A total of five use of force incidents occurred in the CMF L1-PIP during the review
          period.

         CMF L1-PIP had not used medical restraints since activation.

         The CMF L1-PIP was not compliant with completing SRASHEs within ten days of
          admission as required.

         There were no significant emergency responses resulting in serious harm during the
          review period.

         No deaths had occurred in the CMF L1-PIP since activation.

         The primary utilization review forum at CMF L1-PIP was a weekly case consultation
          meeting that included all disciplines, which reviewed patients’ treatment, including their
          lengths of stay.

         No audits had been conducted in the CMF L1-PIP since its activation.

         Nearly half of the patients in the CMF L1-PIP did not have their personal property
          because CDCR did not require transfer of property on admission into inpatient care.

II.       CENSUS

          On November 28, 2017, there were 64 patients in the CMF L1-PIP, which represented 91

percent of its capacity.

          At the time of the site visit, seven patients were out of LRH for clinical reasons; three

patients were out of LRH due to bed unavailability; and five patients were out of LRH for

custody reasons. Reviews indicated that each placement out of LRH was justifiable.



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III.   STAFFING

       1. Administrative, Clinical, and Correctional Staffing

       The executive director, clinical director/chief psychiatrist, chief psychologist,

program director, and program assistant positions were filled. The one established senior

psychiatrist supervisor position was vacant.

       All established clerical positions were filled.

       Psychiatrists: All 2.5 established psychiatrist positions were vacant. A total of 1.75 FTE

contractors provided services, resulting in a 30-percent functional vacancy rate.

       Psychologists: The 2.5 established psychologist positions were filled.

       Social Workers: Two of the 2.5 established social worker positions were filled, for a 20-

percent functional vacancy rate.

       Rehabilitation Therapists: All 2.5 established rehabilitation therapist positions

were filled.

       Supervising Registered Nurses (SRNs): All four of the established SRN positions

were filled.

       Registered Nurses (RNs): Of the 14 established RN positions, a total of eight state staff

and seven FTE contractors provided services in the CMF L1-PIP, resulting in a functional

vacancy rate of zero.

       Senior Psych Techs: One of 5.3 established senior psych tech positions were filled,

resulting in an 81-percent functional vacancy rate.

       Psych Techs: Of 31.7 established psych tech positions, 18 were filled; two FTE

contractors also provided services, resulting in a 37-percent functional vacancy rate.

       Licensed Vocational Nurses (LVNs): None of the six established LVN positions was



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filled; two FTE contractor LVNs provided services in the CMF L1-PIP, resulting in a 66-percent

functional vacancy rate.

         Correctional Staff: CMF L1-PIP reported that all of its allocated correctional staff

positions were filled.

         2. Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

         The CMF L1-PIP program met the staff to patient ratio of 1:35 for psychologists, social

workers, and rehabilitation therapists, but did not meet the ratio for psychiatry.

         3. Staff Training

         CMF L1-PIP reported that prior to activation, it provided PIP Orientation with

TSI Training to all incoming administrators, clinicians, and custody staff.

         During the review period, CMF L1-PIP provided additional TSI training to staff on

September 20, 2017 and September 21, 2017.

IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         1. Interdisciplinary Treatment Teams (IDTTs)

         The monitor’s expert attended several IDTT meetings during the site visit. The necessary

participants were present at the meeting and used computers to access patients’ healthcare

records. LRH was discussed for each patient during their IDTT. One of the four patients

discussed was not housed at his LRH; there was clinical justification provided for not placing

him at his LRH. There was also appropriate discussion regarding placement into groups based

upon clinical indication. Discharge planning was appropriately discussed for several of the

individuals for whom discharge was approaching.




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        2. Group Therapy

        Space limitations in the CMF L1-PIP resulted in nearly all structured treatment occurring

on the CMF O-wing, which required escort and supervision of patients to and from treatment.

        CMF L1-PIP’s supervisory staff acknowledged difficulty in providing and tracking the

court ordered 12 hours of out-of-cell activities required in the program. The most recent manual

tracking method indicated that patients were offered between nine to 11 hours of out-of-cell

activities per day.

        Staff reported that CDCR’s EHRS—which had been implemented in the CMF L1-PIP—

would be used to track and report scheduled, offered, received, refused, and cancelled

therapeutic activities weekly, for each patient. In addition, headquarters staff reported that plans

were in place to implement a statewide electronic tracking program known as Non-Clinical

Activity Tracking (NCAT) to track and report unstructured activities in the CMF L1-PIP.

        CMF L1-PIP provided structured and semi-structured therapeutic activities, as well as

nontherapeutic activities to patients. Group therapy was provided by nurses, psychiatric

technicians, social workers, and psychologists. The expert attended several L-1 groups,

including an activities of daily living (ADL) group, a self-care group, and a lifers group. Group

sizes ranged from eight to 12 participants.

        During the site visit, the monitor’s expert attended group therapy sessions and

interviewed patients and staff. Patients routinely reported that they were out-of-cell from

approximately 6:00 a.m. to 9:00 p.m., and programming included yard, group therapy, individual

sessions, and medication. They indicated that they were pleased with the amount of out-of-cell

time, which compared favorably to other inpatient programs; however, there were some

complaints regarding the need for more individualized group therapy sessions. The staff and



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patients reported that there were recent changes and improvements in the group therapy

offerings; a new group session had begun approximately two weeks prior to the site visit.

Changes in group offerings were made at that time, allowing for more individualized therapy

including a trauma group, lifers group, and stress management. Group sessions were also

reported to have improved with greater organization, structure, and handouts. Despite this recent

improvement, some patients reported that group therapy offerings were not sufficiently

individualized, and group assignment was based upon their housing location and not clinical

need.

        All structured therapeutic groups were offered in CMF’s O-1 unit, semi-structured groups

and nontherapeutic activities were offered on the L-1 unit, which included recreation therapy

yard and ADL group, as well unstructured out-of-cell time, such as open yard, open day room,

and dining hall.

        At the time of the site visit, groups were not provided to Maximum Custody patients in

CMF L1-PIP.

        3. Individual Treatment

        Individual treatment sessions were provided by psychologists and social workers in

offices in the CMF’s O-1 unit.

        No data was provided regarding the number of hours of individual treatment provided to

CMF L1-PIP patients.

        4. Psychiatric Services

        Psychiatrists in the CMF L1-PIP provided appropriate direct patient services including

assessments, evaluations and diagnoses of symptoms, as well as offered opportunities for

patients to discuss their individual psychiatric issues in regular one-to-one interviews. They also



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prescribed medications and medication management as needed to help re-stabilize patients’

psychiatric conditions. Psychiatrists saw patients either in L-1 or in CMF’s O-1.

        5. Other Treatment Issues

                A. Involuntary Medications (PC 2602)

        There were no involuntary medication petitions initiated during the review period. Two

renewals were processed, one was granted, and one was denied. The unit had no use of force

incidents related to involuntary medications during the review period.

                B. Behavioral Plans

        At the time of the visit, no behavioral plans were implemented at CMF L1-PIP. Staff

reported that plans were underway to utilize a staffing vacancy to hire a behavioral psychologist

for the unit.

                C. Morning and End of Shift Meetings

        During the site visit, the monitor’s expert observed a shift change meeting attended by

the incoming and exiting clinical and custody staff. There were appropriate discussions

regarding patients who had been placed into seclusion/time-out, admissions, discharges, and bed

holds, as well as incidents that had occurred on the unit.

                D. Medication Management

        Staff reported that medication passes in CMF L1-PIP negatively impacted the provision

of out-of-cell activities to all patients, observing that medication passes lasted approximately 30

minutes to one hour four times per day.

        During the site visit, noon medication pass was observed; this medication pass lasted for

approximately 30 minutes. Staff reported that the morning and evening medication passes

generally lasted for approximately one hour. Observations of the noon medication passes



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revealed that patients were released one to two rooms at a time. An officer was present at the

medication room to observe direct observation therapy. While patients were out of their cells for

medications, all other activities were discontinued due to the small size of the unit and for safety

reasons. The supervisory staff also reported that an additional medication pass was performed

briefly from the dayroom, in addition to the one from the medication window, to minimize the

disruption of a single medication window pass. The staff reported that this trial resulted in a

chaotic and unsafe environment on the unit due to the increased movement and inability to

monitor patient activities. For this reason, the second medication dispensing site was

discontinued.

                E. Maximum Custody Patients

       CMF L1-PIP reported that when it opened, several Maximum Custody patients, as well

as patients not cleared by ICC to program without handcuffs had been transferred into the unit.

A total of 24 patients arrived at the institution during the review period with Maximum Custody

status. Documentation indicated that of the 24 cases, 21 or 88 percent of admitted patients

appeared before the ICC within the ten days as mandated by departmental policy. In all cases

reviewed, the decision to either continue Maximum Custody or reduce the patient’s custody

status were appropriate.

       Maximum Custody patients were unable to double cell; the unit was also unable to

provide 12 hours of out-of-cell time for these patients. Programming for Maximum Custody

patients was limited to solo yard and/or dayroom. Staff reported that they initially attempted to

provide programming in therapeutic modules as an interim measure; however, this did not

ameliorate the problems created by the presence of Maximum Custody patients, which

negatively affected the programming of non-Maximum Custody patients in the unit.



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        CDCR subsequently decided that Maximum Custody patients would no longer be placed

in the CMF L1-PIP. Patients who were Maximum Custody and already in CMF L1-PIP or

became Maximum Custody during their hospitalization in CMF L1-PIP would be seen in

treatment team to evaluate whether they continued to require intermediate care, and if so, would

be referred to intermediate care programs with single cells.

        Staff reported that patients who were changed to Maximum Custody status were

transferred to the appropriate housing, either by expedited transfer on the same day (emergent

cases), or through the normal Health Care Placement Oversight Process (HCPOP). Staff

indicated that CMF L1-PIP also had an agreement with CMF-PIP for emergency transfers of

Maximum Custody patients when indicated. For those patients who did not need emergent

transfers, staff reported transfer generally occurred within one week.

V.      PATIENT ACCESS TO CARE

        Patient Orientation, Discretionary Program Status (DPS), and Stages:
        Standards and Procedures

        CMF L1-PIP’s STEP program was a treatment progression program used to support and

encourage patients in advancing through their treatment program. The STEP program permitted

advancement clinically as a patient demonstrated progress in their treatment plan. Consistent

with their treatment goals, the STEP provided a structured guideline system to patients that was

expected to be fairly applied. The STEP program governed patients’ behavioral expectations and

treatment involvement and included specific requirements for moving through achievable

STEPs. Central to the STEP program, it recognized and promoted “the responsible functioning

of each patient.”

        All patients admitted to CMF L1-PIP were enrolled in the STEP level system. Staff was

required to educate patients, and as appropriate family members, about the STEP Program. Each

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patient was provided with the patient orientation packet or handbook that included the STEP

Placement and Incentive Chart. Patients were required to be educated about the specific

requirements for advancement through the STEP Program. Staff participation in the STEP

program included patient observation, assessment, evaluation, guidance, counseling, and

documenting patients’ progress.

       Patients admitted to CMF L1-PIP began with Assessment and Orientation during which

period the IDTT was required to assess each patient’s individual patient factors and interests,

upon which his treatment was based. Patients remained on Orientation Status until their initial

IDTT review. Patients admitted from an acute care program were expected to be immediately

eligible for STEP 1 following their orientation to the program. Property was provided consistent

with CDCR’s regulatory requirements as approved by the IDTT.

       At STEP 1, a patient was expected to participate in treatment activities including solo

and/or group programming according to their individualized treatment plan. The goal for

patients in STEP 1 was to transition them into socialization and full implementation of their

treatment plans. STEP 1 patients’ incentives and allowable property was provided according to

the guidelines in the STEP Placement and Incentive Chart.

       To advance to STEP 2, the patient was required to participate in 50 percent of his

treatment activities for a duration of time that was determined by the IDTT, not to exceed 30

days. Treatment expectations also included meeting patient-specific criteria for advancement to

STEP 2, developed by the IDTT and documented in the patient’s treatment plan, as well as

maintenance of personal hygiene and room cleanliness, while respecting the properties of staff

and other patients. The patient was also required to continue to maintain medication adherence

as applicable, and demonstrate progress toward achieving treatment objectives, while interacting



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and socializing appropriately with others, and following community rules. Patients who

demonstrated that they were ready to assume greater responsibility and who met the patient

specific criteria developed by IDTT would advance to STEP 2. STEP 2 patients’ incentives and

allowable property was provided according to the guidelines in the STEP Placement and

Incentive Chart.

       For a patient to advance to STEP 3, the patient must attend 80 percent of treatment

activities and respect the rights and property of others. The IDTT was required to develop

patient-specific criteria documented in the patient’s treatment plan that the patient must meet to

advance. The IDTT could also consider the patient’s maintenance of his personal hygiene and

the cleanliness of his room, as well as his respect for the rights and property of both his peers and

staff. Other considerations by the IDTT included medication adherence, the patient’s

demonstrated progress towards attaining his treatment objectives, and his attendance and

participation in community meetings. Other factors to be considered by the IDTT included the

patient’s ability to interact and socialize appropriately with peers and staff, follow community

rules, demonstrate motivation for treatment, as well as demonstrate the capacity to recover “from

lapses in judgment/behavior without serious disruption.”

       At STEP 3, patients were required to be actively engaged in their treatment to understand

their mental illness, and to develop additional coping skills and aftercare plans.

       To maintain STEP 3, the patient was required to attend 90 to 100 percent of their

treatment activities and have no disciplinary issues. The IDTT was required to develop patient-

specific criteria documented in the patient’s treatment plan that the patient must meet. When

developing the patient-specific criteria, the IDTT may consider the patient’s medication

adherence, his personal hygiene, and the cleanliness of his room. The patient also had to show



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respect for the rights and properties of peers and staff, demonstrate progress towards attaining his

treatment objectives, and participate in community meetings. Other factors to be considered by

the IDTT included the patient’s ability to interact and socialize appropriately with peers and

staff, follow the community rules, demonstrate motivation for treatment, show capacity to

recover “from lapses in judgment/behavior without serious disruption,” and demonstrate positive

leadership skills among his peers.

       STEP 3 patients’ incentives and allowable property was provided according to the

guidelines in the STEP Placement and Incentive Chart.

       Under the STEP Program, the IDTT could determine that a STEP adjustment was

necessary in cases where the patient was not maintaining the criteria defined for his STEP. The

IDTT was required to meet with the patient to discuss the reasons for the STEP adjustment and

the criteria the patient would need to meet to return to their previously earned step. The

discussion with the patient, the criteria to return to the earned STEP, and the decision of the

IDTT must be documented in the medical record. The treatment plan must also be updated if

necessary.

       Minimally, the IDTT had to review the patient’s STEP level at each meeting and discuss

any requirement for advancement, which would include any additional or modified requirements

approved by the IDTT. When considering whether a patient might be ready to transition to a less

restrictive housing, level of care, or to be discharged to CDCR, a “patient’s STEP level was not

the sole determining factor.”

       In the event a patient was transferred to the same level of care at another inpatient

program, the patient must retain the same STEP level previously earned following an assessment

by the receiving IDTT, if there were no custody or behavioral reasons for placement at a



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different level. Where the IDTT determined that a patient must be placed at a different STEP

level, the IDTT must document “the rationale for adjusting the STEP level and the criteria to

progress through STEPs in the initial IDTT conference.” For patients whose STEP levels had

decreased, the IDTT had a responsibility for determining and providing them “with enhanced

patient safety measures.”

         The STEP program mandated the IDTT to review each patient’s STEP at their IDTT

meeting, in addition to providing a STEP level report—at least weekly—to program

management, which included the names and CDCR numbers of all patients, their current STEP,

and length of time at that STEP. The IDTT was also required to provide information regarding

risk to the ICC/UCC to help inform any custody assessment and decision related to the use of

custodial safety measures such as mechanical restraints.

VI.      REFERRALS AND TRANSFERS

         During the review period, 104 patients were referred to the CMF L1-PIP, of which 92

patients or 88 percent were accepted and transferred. The data indicated that 91 of the 92

patients or 99 percent were transferred within 30 days of referral as required. Twelve referred

patients were rejected; nine because they were deemed clinically inappropriate for multi-cells or

were Maximum Custody, and three patients were rejected due to issues of accessibility because

of their disabilities. The referrals of three other patients were subsequently rescinded.

VII.     ADMISSIONS AND DISCHARGES

         1. Admissions

         There were 92 patients admitted into the CMF L1-PIP during the review period.




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         2. Discharges

         Twenty-nine patients were discharged during the review period. Fifteen of them were

discharged to single cells at the CMF-PIP, two patients were discharged to unlocked dorms at

DSH-Atascadero, and two patients were discharged to locked dorms at the CMF-PIP. The

remaining ten patients were discharged for multiple reasons including parole, assessment for

crisis bed admission, and transfer to an EOP program, among others.

VIII. PATIENT DISCIPLINARY PROCESS

         CMF L1-PIP reported 18 RVRs during the review period. Seven or 39 percent of the 18

RVRs were issued to a single patient. A review of a sample of completed RVRs indicated that

assessments were requested within time requirements by custody; however, none of the mental

health assessments were returned to custody within established time requirements. Senior

hearing officers noted the mental health input in the reviewed RVRs. In those cases where

mitigation was requested by the clinician, loss of privileges was imposed; however, significant

loss of credit earnings was also administered as a penalty in dispositions where the patient was

found guilty.

IX.      USE OF FORCE

         During the review period the institution reported five use of force incidents in CMF L1-

PIP. All of the incidents were immediate uses of force, with no controlled use of force incidents

reported. An analysis of each of the five incident reports indicated that all the incidents were

compliant with the departmental use of force policy.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         CMF L1-PIP did not report any unusual occurrences, serious incidents, near misses, or

sentinel events during the review period.

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XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         CMF L1-PIP had two observations rooms, which included a restraint bed in each room.

Supervisory staff discussed their request to convert one of the patient rooms to an additional

restraint and seclusion room. There was no documented usage of medical restraints in the CMF

L1-PIP since its activation.

         Staff stated that while there had not been any use of restraints since the opening of the

unit, the rooms had been used for seclusion, suicide monitoring, and “time-out” due to the need

for some patients to have time away from their cells and roommates.

         There were six seclusion placements during July 2017, of which three involved one-to-

one suicide monitoring, and the remaining three were for other reasons. There were 11 episodes

during August 2017; all involved one-to-one suicide monitoring. During September 2017, there

were eight episodes of seclusion, four involved one-to-one suicide monitoring, with the

remaining four for other reasons. In October 2017, there were five seclusion episodes, four of

which involved one-to-one suicide monitoring, and one for other reasons. Many of the

placements involved the same individuals.

         The longest duration of seclusion placement was for eight days. It was difficult to clearly

determine the basis for the seclusion from review of the handwritten log; however, it appeared

that this episode of seclusion was not suicide-related but appeared to be due to the need for time-

out by the patient.

XII. SUICIDE PREVENTION

         Document reviews showed that CMF L1-PIP was not compliant with the completion of

SRASHEs within ten days of admission as required.




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        As reported above, CMF L1-PIP used its seclusion rooms for one-to-one suicide

monitoring. For all patients not on suicide monitoring, nurses conducted unit rounds every 30

minutes.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

        1. Emergency Response

        There were no significant emergency responses resulting in serious harm during the

review period. CMF L1-PIP participated in the CMF Mass Casualty Drill held in October 2017.

        2. Death Review Process

        There were no deaths in the CMF L1-PIP during the reporting period. In the event of a

death, CMF L1-PIP would collaborate with CMF regarding the death review.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

        It was reported that the quality management for mental health services committee, which

covered both the CMF L1-PIP and the CMF-PIP, met monthly. Staff further reported that in

addition, the CMF L1-PIP management team which met daily, and its executive management

team which met monthly, addressed issues of quality improvement that might arise.

        CMF L1-PIP’s primary utilization review forum was a weekly case consultation meeting

that included all disciplines, which was charged with reviewing patients’ treatment, including

their lengths of stay.

        In addition, all admissions and discharges required approval by the program director and

the executive director. The IDTT was also required to consider patients’ continued stay in the

program, level of care, and least restrictive housing status at each meeting as part of its

utilization review.




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        No audits had been conducted in the CMF L1-PIP since its activation through the time of

the site visit. Staff reported that performance measures for the CMF L1-PIP would be developed

and the resulting data would be displayed on the CDCR dashboard.

XV.     PATIENT COMPLAINTS/PATIENT SATISFACTION

        One of the major concerns identified by patients and staff during the site visit was the

absence of suitable infrastructure to provide televisions to patients who achieved STEP 3.

Management staff indicated that televisions had been acquired for use in the CMF L1-PIP;

however, the location of the cable outlet and electrical outlets required the procurement of

additional cables and extension cords to allow for the televisions to be used. The staff stated that

the cords had been ordered, were anticipated to be delivered within the two weeks after the site

visit, and would be installed in the unit.

        Another major concern expressed by patients and confirmed by staff was related to the

delivery of patients’ personal property after their admission. At the time of the site visit,

approximately 50 percent of the patients had had their personal property delivered to them. CMF

L1-PIP staff reported that they were not always successful getting patients’ properties delivered

from the sending institutions because current CDCR policy did not require a referring institution

to send a patient’s property following transfer to inpatient care as “Psych and Return” or

“Medical and Return.” Staff indicated that CDCR was reconsidering this policy.

XVI. COLEMAN POSTINGS

        Coleman postings in both English and Spanish were posted in areas accessible by

patients.




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XVII. LAUNDRY AND SUPPLY ISSUES

        Patients and staff reported multiple problems with laundry since the activation of the

CMF L1-PIP, which were addressed and remedied by headquarters staff during the site visit. A

new laundry bag exchange system was implemented through which each patient received a full

complement of clothing and bedding on admission, with one-to-one exchanges on laundry days

throughout their stay.

XVIII. VISITATION/PRIVILEGES/TELEPHONE

        CMF L1-PIP reported that visitation privileges were provided to the patients based on

their privilege group and based on the evaluation and approval of their treatment team.

Interviews with patients did not indicate any issues with visitation.

        Patients’ privileges in the CMF L1-PIP were also governed by their custody privilege

group and based on their evaluation and decision of their treatment teams. No issues with

privileges were reported or observed during interviews with patients.

        There were no issues regarding patients’ access to telephone reported or observed in the

CMF L1-PIP.

XIX.     LAW LIBRARY ACCESS

        The CMF L1-PIP provided law library access utilizing a paging system. Under the

paging system, patients were required to submit a request via institutional mail and the library

staff would deliver the requested materials to their rooms.

        There were no issues raised regarding access to the law library during the review period

or at the time of the site visit.




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                            APPENDIX A6
                              CHCF-PIP




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                                       CHCF-PIP
                           November 7, 2017 - November 9, 2017


I.       SUMMARY OF THE FINDINGS

        Psychiatry vacancies at CHCF-PIP were significant.

        Functional vacancies for psychologists and social workers were ten percent.

        Functional vacancies for other clinical staff ranged between nine percent and 13
         percent.

        CHCF-PIP met the clinical staff-to-patient ratios for its census during the time of the
         site visit but would not at full capacity.

        Observed IDTTs in the acute care program noticeably varied.

        Attention to LRH was not consistent in IDTTs across programs at CHCF-PIP.

        Treatment goals were not regularly discussed in IDTTs in the acute care program.

        The quality of IDTTs in the intermediate care program varied.

        Current treatment plan, treatment progress, behavior necessary to attain new privileges,
         or the types of treatment planned before the next IDTT were not consistently discussed
         with patients in the acute units.

        In the intermediate care program, collaborative treatment planning between clinical
         staff and patients was lacking.

        The absence of correctional counselors at IDTTs posed significant problems for
         CHCF-PIP.

        Tracking structured and unstructured therapeutic activities was problematic.

        CHCF-PIP provided fewer structured and unstructured therapeutic activities than a
         typical EOP in CDCR.

        Patients in both the acute and intermediate care programs did not have access to out-
         of-cell activities for significant periods of time.

        CHCF-PIP did not accurately track individual therapy sessions; however, multiple
         interviewed patients reported limited 1:1 contacts.


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             Staff on some units apparently did not have a clear understanding of how to
              effectively utilize 1:1 contacts.

             CHCF-PIP had a multi-disciplinary PBST; however, there was clearly a need for
              further training, development, and implementation of behavioral plans.

             CHCF-PIP was utilizing the STEP Program of DSH until CDCR developed and
              implemented a uniform system-wide program for the PIPs.

             Patients admitted to the acute care program were transferred timely; however, no
              usable data was provided regarding transfers to the intermediate care program.

             CHCF-PIP did not meet timeframe for initial IDTTs following admission.

             No data was provided regarding compliance with timely ICCs.

             Multiple patients remained in beds following clinical discharge.

II.      CENSUS

         The CHCF-PIP operated 496 beds (excluding 18 isolation rooms); 235 acute care beds

and 261 intermediate care beds. Included in the 235 acute care beds were 87 beds converted

from intermediate care to acute care beginning in July 2017. On November 7, 2017, 199, or 85

percent of acute care beds were filled and 177, or 68 percent of intermediate beds were filled.

Fifty-eight percent, or 102 patients were housed above their least restrictive housing

designations, and there were 88 patients under PC 2602 involuntary medication orders.

III.     STAFFING

         1.      Administrative, Clinical, and Correctional Staffing

         The executive management team included the executive director, hospital administrator,

chief psychiatrist/medical director, clinical administrator, and the coordinator of nursing

services. While previously filled with staffing in acting roles, the executive director position

was filled effective September 25, 2017, and the clinical administrator position was expected to

be advertised by the end of November 2017. The hospital administrator and the coordinator of

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nursing services positions were filled. The chief psychiatrist and chief psychologist positions

were filled. The chief psychiatrist started work six days prior to the site visit.

          Senior Psychiatrists: One of the two senior psychiatrist positions were filled. No

contractors covered the position leaving a 50-percent vacancy rate.

          Psychiatrists: Of the 33 staff psychiatrist positions, 17.65 were filled. Contractor

psychiatrists provided 5.25 FTE coverage and telepsychiatry provided an additional 2.0 FTE

coverage resulting in 8.1 functional vacancies or a 24.6-percent functional vacancy rate.

Telepsychiatry was not utilized on the acute units.

          Senior Psychologist Supervisors: The 3.0 senior psychologist supervisor positions were

filled.

          Senior Psychologist Specialists: The 2.0 senior psychologist specialist positions were

filled.

          Psychologists: Twenty-six, or 89.6 percent, of the 29 psychologist positions were filled.

No contractors provided coverage for the vacancies.

          Supervising Social Workers: The two established supervising social worker positions

were filled.

          Social Workers: Twenty-nine or 87.8 percent of the 33 social worker positions were

filled. Social worker contractors provided 0.75 FTE coverage during the review period for a

functional vacancy rate of ten percent.

          Supervising Rehabilitation Therapists: Two of the three supervising rehabilitation

therapist positions were filled. No contractor coverage was utilized resulting in a vacancy rate of

33.3 percent.




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       Rehabilitation Therapists: Twenty-seven of the 32 rehabilitation therapist positions were

filled. One FTE position was covered by contractor services for a functional vacancy rate of

12.5 percent.

       Supervising Registered Nurses (SRNs): Nineteen, or 87 percent, of the 23 supervising

registered nurse positions were filled. Registry was not used for this class.

       Registered Nurses (RNs): Of the 174 registered nurse positions, 153 were filled. Three

FTE positions were covered by registry staff, for a functional vacancy rate of 10.4 percent.

       Senior Psych Techs: Thirty-three of the 37 senior psych tech positions were filled,

resulting in a vacancy rate of 10.9 percent.

       Psych Techs: Of the 379 psych tech positions, 344, or 90.7 percent, were filled.

       Pre-Licensed Psych Techs: All of the 14 pre-licensed psych tech positions were filled.

The pre-licensed psych techs were in the process of completing school and had been hired in

psych tech positions while they finished their hours and took their board examinations. Upon

successful completion, they would be shifted into licensed psych tech positions. CHCF-PIP used

this program as part of staff recruitment.

       Medical Assistants (MAs): Pursuant to a memorandum dated September 25, 2017,

CHCF-PIP was authorized to fill 30 medical assistant positions on a limited term basis to support

the psychiatrists. There were no hires as of November 7, 2017.

       Correctional Staff: CHCF-PIP reported that there were not sufficient correctional

counselors to attend required IDTTs. The facility reported all other budgeted correctional

positions were filled, but did not provide details.




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       2.      Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

       Due to the swift flipping of units from intermediate care to acute care during the review

period, CHCF-PIP staff reported that they staffed all disciplines for 1:15 in all units. Staffing

ratios for clinical positions by discipline across all units, both intermediate and acute were, 1:14

for psychiatrists, 1:13 for psychologists, 1:12 for social workers, and 1:13 for rehabilitation

therapists. It was observed however, that if CHCF-PIP was operating at full capacity of 496

beds, psychiatry ratios would not be compliant.

       3.      Staff Training

       Clinical, and administrative staff working in the CHCF-PIP completed TSI training prior

to working in the CHCF-PIP. Additionally, all staff completed the five-day new employee

orientation specific to the CHCF-PIP within 60 days of employment.

       Annual block training was also required, specifically including suicide prevention. As of

November 7, 2017, over 90 percent of rehabilitation therapists, social workers, SRNs, and unit

supervisors completed annual block training. Seventy percent of RNs completed block training.

Fifty percent of psychiatrists, psychologists, senior psych techs, psych techs, and administrative

staff were scheduled for completion within three months. Over 90 percent of CHCF-PIP staff

were current with CPR training.

       Additionally, 100 percent of clinical staff assigned to units converted from intermediate

care to acute care received a one-hour conversion training including intermediate care versus

acute care differences, STEP changes, acute unit programming, leisure/enrichment activities,

acute unit patient room allowances, laundry/clothing/linen, ADL/grooming allowed items, dining

room, and forms. Training included techniques dealing with a faster pace of service, including

the heightened need for teamwork and patient communication.



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IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         1.     Interdisciplinary Treatment Teams (IDTTs)

         CHCF-PIP did not meet timeframes for initial IDTTs within 72 hours of admission

during the review period. Data revealed an average of 12.3 days for initial IDTT completion in

the acute care program; dates were missing for 30 patients and were not included in the average.

         In the intermediate care program, on average, initial IDTTs were completed in 6.4 days.

This average however, included outliers of 114 days, 74 days, and 62 days. Also, improvement

was noted during the end of October 2017 and beginning of November 2017 with initial IDTTs

completed within one to three days of admission.

         In the acute care units, observed IDTTs showed variability; some were adequately

conducted while others were characterized by a series of patient assessments conducted by the

various disciplines during the IDTTs and limited team discussion. While reportedly ordered,

computer equipment was not always available in IDTTs. Correctional counselor staff were not

present during any of the observed IDTTs.

         Also, in the acute care program, treatment goals were not regularly discussed and current

treatment plan, progress toward reaching treatment goals, behavior necessary to attain new

privileges, or the types of treatment which would occur until the time of the next scheduled

IDTT were not discussed with patients. Some IDTTs included discussion of a patient’s

movement to his LRH upon transfer to intermediate care; however, the discussion was cursory

and the reasons for decisions were unclear.

         In the intermediate care program, collaborative treatment planning between clinical staff

and patients was lacking. While quality of IDTTs varied, many lacked staff introductions,

explanation of the IDTT to the patient in language that was useful to him, progress in treatment



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since the previous IDTT, changes in symptoms and functioning since the last treatment plan as

well as current symptoms/functioning, LRH, STEPS, patient referral to group including clinical

appropriateness, and clinical preparation for discharge or transfer to another PIP.

       There was little or no discussion of patient progress in groups during IDTTs.

       It was observed that additional training and close supervision of IDTTs by supervising

clinical staff in both the acute and intermediate care programs would be beneficial in remedying

the problems discussed above.

       2.      Group Therapy

       Reliable data concerning the provision of treatment hours to patients in the acute units

was not available.

       The facility provided the preliminary results of a new tracking system to monitor the

provision of non-clinical hours such as yard, religious activities, communal dining, and library in

acute care units. This preliminary data for November 1 through November 6, 2017 showed that

groups were offered an average of 4.80 hours per patient; 28.6 percent were refused. This data

suggested uneven provision of non-clinical activities across units as well as significant variation

in the rate of refusal reported for these activities. The average number of hours delivered ranged

from 2.27 hours average per patient (unit B2B) to 7.07 hours average per patient (unit A2A).

Refusal rates ranged from 0.1 percent (Unit A2A) to 57.6 percent for unit B2A.

       The monitor’s experts observed a group led by a recreation therapist on the acute unit

A2A. It was appropriately conducted with excellent engagement of the patients who clearly

benefited from the group. At the end of the group, the patients expressed appreciation of the

group, noting that the overall “calming” environment of the unit in general was helpful.




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         While CHCF-PIP tracked and provided data relative to average treatment hours per

patient in the intermediate care program, they did not aggregate or separate the data between

acute and intermediate care programs. Further, they did not have a formal audit process of

groups or other structured activities. During the review period, a sample of 200 patients in

intermediate care, or 32 percent of the population, revealed only an average of 2.87 treatment

hours scheduled per week and only six, or three percent of those patients had ten or more hours

scheduled.

         The health care records indicated that multiple patients in the intermediate care program

were assigned to groups without sufficient documentation of consideration of patients’ treatment

needs and current mental health status as well.

         There was vast variability of activity offerings among units in intermediate care. Open

leisure groups were offered Monday through Friday. Depending on the unit, the frequency

ranged from one to five days weekly, and from once to twice a day depending on the unit. On

the weekends, open leisure was offered on every unit several times on both days except B5B,

where it was not on the schedule at all. During interviews, patients expressed many concerns

regarding the variability of the unit schedule and resultant confusion and frustration.

         Nursing staff facilitated interactive medically relevant groups during the weekends.

Nurses who facilitated groups were provided with guidelines on content. The nursing group,

however, was not documented by mental health staff on the activity schedule for all units. It was

unclear if this was an oversight or if there was variability in the provision of these groups on the

various units. The inclusion of these nursing groups on each unit’s activity schedule would be

beneficial by clearly showing the extent of therapeutic activities offered to patients in the various

units.



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          START NOW groups, an evidence-informed group treatment model, were offered on all

intermediate care units. This 32-session, psychologist-facilitated group integrated cognitive

behavior therapy, motivational interviewing, dialectical behavior therapy, and trauma sensitive

care. The monitor’s expert observed a START NOW group attended by seven patients on B4A.

While the group leader appropriately initiated interaction, overall, patients were minimally

engaged. Further, the group leader discussed content in a manner that may have been too

complex for the patients in attendance; a more basic method of discussion would have been more

useful.

          The monitor’s expert also observed an overcoming trauma group attended by eight

patients on intermediate care unit B6A. The group was not facilitated by the regular group

leader who was delayed due to IDTT. The group started 15 minutes late, which was reportedly

not unusual. Patients were engaged and attentive in the group and the facilitator provided

appropriate group management; however, improvement was needed as there was little patient

interaction.

          The appropriate placement of patients in group therapy was an important function of the

IDTT. During both of the observed groups, it was noted that some patients in attendance would

have benefitted from alternative group therapy placement. Due to the functional level of some

patients, they presented with disruptive behaviors that would have been better addressed in a

group of similarly functioning patients or in other structured activities, such as recreational

activities, until their level of functioning improved.

          The monitor’s expert also noted an additional staff member (a psych tech) present in both

observed groups; a DSH directive required a secondary facilitator to maintain observation of the

group (for example, through the window from the hallway), but was not required to remain in the



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group room. Staff reported that the psych tech’s primary role was to observe and intervene if a

patient engaged in problematic behavior. A psych tech and a social worker attended the

observed groups. While neither participated, midway through the group, the social worker exited

the room and shouted for a psych tech to cover the group. This was very disruptive to the group

therapy process. Institutional management staff should clarify the appropriate role of the second

staff member in the group therapy process.

       Despite documentation of a full activity schedule, intermediate care patients on B4A

reported they were out-of-cell for an hour each weekday and one to two hours during the

weekends. Patients reported that they were provided with yard access when specifically

requested rather than through a regular schedule. At the time of the site visit, patients reported

that they had been provided yard “a few days ago;” however, the unit schedule indicated yard

should have been offered at three different times the day prior.

       CHCF-PIP did not utilize treatment modules, restart chairs, or treatment tables during the

review period.

       Issues requiring follow-up by facility and headquarters staff included the development of

mechanisms to ensure the accurate reporting of clinical contacts, possible disparities across units

in the frequency of clinician contacts, possible disparities among units with regard to the

provision of non-clinical contacts, and an overall low level of reported clinical contacts.

Additionally, scheduling and offering of adequate therapeutic activities with accompanying

tracking and monitoring needed to be addressed.

       3.        Individual Treatment

       The provision of individual therapy at CHCF-PIP was unclear and inadequate.

Interviewed staff did not have a clear understanding of when to utilize individual contacts.



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Interviewed patients reported limited individual contact, some not having been seen from two to

four weeks. One patient group indicated they were told staff did not have “time” for 1:1

sessions. Regional staff present during the site visit conducted targeted record review of some

patients receiving acute care during that week-long period. This record review, which was

shared with the monitor’s expert, indicated that while there appeared to be more individual

primary clinician contacts than originally reported, they tended to cluster around IDTT dates.

This clustering of contacts was consistent with patient reports.

       CHCF-PIP did not provide data relative to timeliness and frequency of primary clinician

or psychiatric contacts in the intermediate care program during the review period. Staff reported

that pursuant to DSH administrative directive (Delivery of Treatment Groups) dated March 8,

2017, individual therapy incorporates “any therapeutic session where one clinician meets with

one patient for more than fifteen (15) minutes.” Individual therapy sessions were “recurring and

part of the patient’s treatment plan” but there was no specific frequency required. Individual

therapy was distinguished from an individual clinical contact which was defined as a “brief

unscheduled clinical contact where one clinician meets with one patient to address emergent

issues.” The minimum number of individual sessions for patients in intermediate care was not

provided except for psychiatry, who must provide weekly direct patient contact which may

include group or individual sessions. The expectations for individual therapy for CHCF-PIP

intermediate care patients should be clearly delineated.

       According to the intermediate care program activity schedule, social workers designated

two to three hours of 1:1 time during the week for each unit. There was large variability in 1:1

psychology time offered, ranging from one one-hour increment to ten one-hour increments

across the work week. Staff reported that psychologists provided 1:1 as needed and thus varied



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by patient. It was reported that some patients were seen several times a week, while others were

not seen at all. Staff reported that the decision to offer 1:1 was made during IDTT. However,

there was no discussion of the provision of 1:1 in observed IDTTs during the site visit, and

during one IDTT, a patient asked when he could meet with a psychologist and was told

“sometime next week.”

         It was clear that individual treatment at CHCF-PIP needed significant improvement

which could be accomplished through the development of meaningful guidelines for clinical

staff.

         4.     Psychiatric Services

         CHCF-PIP required psychiatrists to provide weekly direct patient contact which may

include group or individual sessions. According to staff and patient reports, psychiatry staff

shortages negatively affected the provision of care in the CHCF-PIP. Psychiatry contacts varied

across units, ranging from no scheduled time on four units (B5B, B6A, B7A, and B8B) to 12

one-hour increments on others. Of note, the two units that offered the most psychiatry contacts

were offered by tele-psychiatry. All ten hours of psychiatry services offered on B4B were

offered by tele-psychiatry, and ten of twelve hours on B3B were offered by tele-psychiatry.

         5.     Other Treatment Issues

                    A. Involuntary Medications (PC 2602)

         There were 88 patients under PC 2602 involuntary medication orders at the time of the

review. CHCF-PIP did not report any further information regarding PC 2602 patients.

                    B. Behavioral Management

         CHCF-PIP had a multi-disciplinary PBST that assisted treatment teams in developing and

monitoring behavioral guidelines for patients who engaged in behaviors that posed a high risk of



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violence or suicide or were not responsive to treatment. Behavioral guidelines were developed

for patients by the PBST or the unit psychologist for acute or intermediate care patients. The

unit psychologist was responsible for coordinating the behavioral guidelines with unit staff.

           From July 2017 through October 2017, an average of 28 patients had behavioral

guidelines at CHCF-PIP. During that same period, an average of 9.25 behavioral guidelines

were discontinued or were for patients who were discharged from the CHCF-PIP. PBST

provided an average of 16 new or ongoing consultations between August 2017 and October 2017

which resulted in an average of ten new behavioral guidelines for the same timeframe. It was

observed that there were no plans for continuing behavioral guidelines developed in the CHCF-

PIP upon discharge to CDCR, even where continuation would be clinically beneficial to the

patient.

           At the time of the site visit, there were six active behavioral guidelines for patients

receiving acute level of care and 21 for patients on intermediate care units. Documentation on

all but one indicated “Do not allow the patient to see a copy of this plan.” While it was not clear

from the documentation, staff reported that patients were made aware of the behavioral

guideline. It was observed that collaboration with the patient should be clearly documented in

the patient’s healthcare record. Staff should re-consider applying “Do not allow the patient to

see a copy of this plan,” across the board and consider providing patients with a copy of their

behavioral guideline unless justiciable clinical or safety concerns indicated otherwise.

           Overall, the behavioral guidelines focused on staff interventions, which suggested a need

for further staff training. It is generally accepted that a well-trained staff that consistently

responded to problematic behavior in a therapeutic manner could decrease problematic behavior

and ultimately the need for behavior guidelines. An important component of any treatment



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intervention with a patient is that the intervention be individualized. Many of the behavioral

guidelines reviewed were not individualized and generally had similar components with no clear

rationale for why specific interventions were chosen for each patient. Of concern, two patients

had nearly identical behavioral guidelines showing no signs of an individualized approach to

each patient’s particular needs.

       A critical component to address behavior change is a comprehensive functional

behavioral analysis that assesses the events in the environment that predict and maintain problem

behavior. It is important to gather data from all available sources including record review, and

sources of data should be identified in the report and conceptualized as a whole when developing

the clinical opinion for the hypothesis of the function of the behavior. A key component is to

obtain the baseline frequency of the behavior to facilitate the development of reasonable and

measurable goals, which allows for ongoing assessment and ultimately discontinuation.

       Of the 27 behavioral guidelines, only six had rewards or incentives included for positive

behavior. However, for each of these, it was unclear if rewards were meaningful to the patient.

Rewards are a critical component to behavior change and are based on the learning principle that

behaviors that are rewarded are more likely to be repeated. The required behavior should be

clearly defined, observable, and measurable; additionally, the reward must be contingent on the

desired behavior. Another concerning reward was therapeutic treatment sessions with a PBST

psychologist to address coping skills and frustration tolerance. This type of reward is not

typically salient to psychiatric patients and there was no documentation to support that it was

meaningful to this patient.

       The PBST at CHCF-PIP provided a solid foundation for behavioral interventions.

However, behavioral guidelines at CHCF-PIP were staff-focused as opposed to patient-focused.



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Traditional behavior plans are designed to teach and reward positive behavior by including

interventions that reinforce desired behaviors with rewards that are meaningful to the patient.

        Staff reported that documentation and monitoring of the behavioral guideline was a

challenge with EHRS.

                   C. Morning and End of Shift Meetings

        Change of shift meetings between custody, clinical nursing, and ancillary healthcare staff

were conducted at every shift change in all acute and intermediate care units.

        In the acute care program, a useful and well-conducted change of shift meeting was

observed by one of the monitor’s experts on unit 2B. Patients were discussed concisely with

pertinent information transmitted to the incoming shift.

V.      PATIENT ACCESS TO CARE

        Patient, Orientation, Discretionary Program Status (DPS), and Stages:
        Standards and Procedures

        At the time of the site visit, CHCF-PIP was using the STEP program that had been

instituted by DSH prior to lift and shift on July 1, 2017. CDCR was in the process of developing

and implementing a uniform behavioral incentive program for its PIPs.

        The STEP program at CHCF-PIP included a DPS level, which was described as an

“individualized temporary status” where an inmate was placed “following a serious behavioral

infraction requiring heightened security measures that allows the patient access to care and

treatment in a safe and controlled environment.” This status was used in both the acute and

intermediate levels of care. There was also a Maximum Custody Status that required the patient

to remain “under the direct supervision and control of the custody staff. Patients on Maximum

Custody can only program in mechanical restraints or in the therapeutic treatment module.”




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       In the acute care program, Assessment and Orientation was an evaluation stage that

occurred upon admission and prior to the seven-day master treatment program. During this

stage, clinical evaluation by the IDTT and custody evaluation by the ICC/UCC occurred,

following which the patient transitioned to either STEP 1 or STEP 2.

       Acute care patients were placed in STEP 1 following Assessment and Orientation if the

IDTT determined that based on clinical and custodial factors, the patient required a solo

treatment program. The IDTT was required to design an individualized treatment plan and

document the patient’s progress and criteria for advancement to STEP 2. Based on clinical and

custodial risk factors, the IDTT determined if solo programming would occur with or without

mechanical restraints.

       A patient progressed to STEP 2 from either Assessment and Orientation or STEP 1.

Movement to STEP 2 was determined based on clinical evaluation and custodial factors that

indicated the patient was appropriate to program with others. The IDTT was required to develop

an individualized group treatment program, as well as determine if group treatment would occur

with or without mechanical restraints.

       Patients in the intermediate care program begin on Assessment and Orientation during

which they were closely observed and clinically evaluated by the IDTT and remained at this

level until classified. During Assessment and Orientation, the patient was oriented to program

rules and treatment expectations, could participate in solo and/or small group treatment activities,

and were provided in-cell recreation activities, as approved by the IDTT. A patient may be

returned to Assessment and Orientation if he decompensated. From Assessment and Orientation,

a patient transitioned to either STEP 1 or STEP 2.




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       At STEP 1, a patient could participate in treatment activities that may include solo and/or

group programming according to their individualized treatment plan. STEP 1 patients were also

provided specific incentives. To advance to STEP 2, the patient must attend 50 percent of

treatment activities, and meet any other patient-specific criteria required by the IDTT. STEP 2

patients were also provided with specific incentives including the state issued radio.

       For a patient to advance to STEP 3, he must attend 80 percent of treatment activities and

meet all specific criteria for advancement designated by his IDTT. At STEP 3, patients were

required to be actively engaged in their treatment so as to understand their mental illness,

develop additional coping skills and aftercare plans. To maintain STEP 3, the patient was

required to attend 90 to 100 percent of his treatment activities and have no disciplinary issues.

The patient also had to meet any specific criteria set by the IDTT. STEP 3 patients were

provided incentives including a state issued television.

       The IDTT was required to provide weekly STEP level reports. Monthly STEP level

audits were required to be completed and reviewed in the clinical operations committee

meetings.

       According to the data provided regarding the STEP levels, Program I included units

A2A, B7A, B7B, B8A, and B8B. On unit A2A, three patients were on Orientation/Assessment

status; six patients were on cuff status, and 22 were on non-cuff status. On B7A, one patient was

on DPS, six patients were on STEP 1, five patients were on STEP 2, and five were on STEP 3.

On B7B, one patient was on DPS, one patient was Maximum Custody, one patient was on Solo,

four patients were on STEP 1, three patients were on STEP 2, and nine patients were on STEP 3.

On B8A, six patients were on Orientation/Assessment, six were on cuff status, and 16 were on




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non-cuff status. On B8B, eleven patients were on Orientation/Assessment, one was on cuff

status, and 17 were on non-cuff status.

         Program II data included units 302A, 302B, 303B, 304A, and 304B. Unit 302A had one

patient on DPS, two patients on STEP 1, four patients on STEP 2, and 13 patients on STEP 3.

Unit 302B had four patients on Orientation/Assessment and 18 patients on non-cuff status. On

Unit 303B, there was one patient on DPS, two patients on STEP 1, four patients on STEP 2, and

13 patients on STEP 3. On Unit 304A, there was one patient on DPS, two patients on

Orientation/Assessment, five patients on STEP 1, and 13 patients on STEP 3. On Unit 304B,

there was one patient on DPS, one patient on Orientation/Assessment, seven patients on STEP 1,

one patient on STEP 2, and six patients on STEP 3.

         Program III data for units B301B, B305A, B305B, B306A, and B306B was presented in

a manner that did not allow for reliable calculation of the number of patients at each STEP level.

VI.      REFERRALS AND TRANSFERS

         Data provided by CHCF-PIP indicated that 311 patients were referred and 310 admitted.

There was one patient rejected due to medical reasons, specifically bed sores. Referrals to acute

care were timely admitted. Data for intermediate care was not presented in a format to facilitate

accurate calculation of timelines for intermediate care transfers.

VII.     ADMISSIONS AND DISCHARGES

         1. Admissions

         CHCF-PIP reported that 263 patients were admitted to acute care and 47 to intermediate

care during the review period.




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         2. Discharges

         CHCF-PIP discharged 356 patients; full data was provided for 355 patients. Patients

waited an average of 5.32 days after clinical discharge before leaving the inpatient bed. Fifty of

the discharges, or 14 percent, took longer than ten days after clinical discharge to leave the

inpatient bed. CHCF-PIP did not provide reasons for these administrative days. These delays

were concerning, considering patients could be awaiting inpatient beds.

VIII. PATIENT DISCIPLINARY PROCESS

         Staff reported no changes to the patient disciplinary process policy and procedures during

the review period. CHCF-PIP reported greater than 90-percent compliance for mental health

staff receiving training on the new mental health assessment process using EHRS, but only 85.7-

percent compliance for custody staff receiving this training. Staff reported that any outstanding

training was due to staff who had yet to complete their annual block training.

         Documentation revealed 92 RVRs were adjudicated for patients in CHCF-PIP from July

1, 2017 through November 6, 2017. Mental health assessments were referred, completed, and

returned timely. One of the reviewed samples noted alternate manner for resolution and was

properly reviewed by the captain. Senior hearing officers noted consideration, and mitigation

was also noted. On several assessments, the mental health clinicians continued to note that

patients should be provided with mental health treatment and services, indicating that they were

unclear of the penalties that could be assessed.

IX.      USE OF FORCE

         There were no controlled use of force incidents from July 1, 2017 through September

2017. Data for October 2017 was not reported. There were 20 immediate uses of force during

that same period, six in July, seven in August, and seven in September. There were no instances



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reported where no force was used. A review of the use of force CDCR Form 837s and

Institutional Executive Review Committee documents revealed incidents largely involved

resistive inmates during escorts. The managerial reviews were comprehensive and in one

example, the associate warden documented that particular staff members were not in compliance

prior to and during the use of force. Progressive discipline action was initiated for three officers.

RVRs were issued for each use of force the monitor reviewed.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         There were 107 serious incident reports (SIRs) completed during the review period for

aggressive acts for behaviors including swallowing objects, cutting/scratching themselves, and

head banging.

XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         With the implementation of EHRS, SRNs performed seclusion and restraint audits. An

audit tool was developed as well as a procedure and schedule for auditing which was scheduled

to begin after the monitoring visit, during November 2017.

         According to the restraint log, there were three incidents of restraint use during the

review period. All the incidents occurred during July 2017. The longest duration of restraint

lasted for approximately four hours and eleven minutes, and appropriate documentation

regarding nursing monitoring was present for all incidents.

         Information was provided in quality management documentation regarding 1:1

observation for July and August 2017. There were 24 incidents of one-to-one observation that

occurred for each month (July and August 2017). No additional information was provided to

determine the duration of observation, release criteria, or the reasons for monitoring. The policy




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regarding the use of observation cells, seclusion and restraints was provided, and it appeared to

be clinically appropriate.

XII.    SUICIDE PREVENTION

        There were no completed suicides during the review period. A log of unusual

occurrences/serious incidents for the period noted 16 incidents of suicidal behavior and 57

incidents of aggressive acts (some to self and some to others) for the months of August and

September 2017. CHCF-PIP did not conduct audits regarding suicide prevention efforts, and

there were no quality improvement teams chartered. CHCF-PIP did not track SRASHEs.

According to policy, SRASHEs were completed at time of admission, discharge, and following

an act of self-harm or a suicide attempt.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

        1. Emergency Response

        Minutes were provided for the EMRRC. The minutes reflected that the committee met

consistently, and discussion included detailed evaluation of specific patient related emergency

response.

        2. Death Review Process

        CHCF-PIP had policies and procedures regarding the death of a patient, death records,

and medical services as it related to the death review process, and emergency response.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

        CHCF-PIP had an active quality management program and continued to use DSH’s

model at the time of the site visit.

        The CHCF-PIP used a Risk Management Program whose function was the tracking of

deficiencies and corrective action plans, the tracking and monitoring of all SIRs, and the



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reporting of unusual occurrences to the appropriate oversight agencies. This also involved

participation in weekly program review committee (PRC) meetings, bi-weekly psychology

specialist services committee (PSSC) meetings, quarterly ad-hoc facility review committee

(FRC) meetings, as well as participation in various patient safety and review committees.

Review of minutes indicated that the FRC met twice during the review period, the PSSC met at

least monthly, and the PRCs met on an almost monthly basis.

       No information was provided regarding the local governing body; however, the quality

council committee functioned as the overall quality management committee at the facility. This

committee met monthly; and the various committees, including the PRC, PSSC, risk

management committees, FRC, utilization management, violence risk reduction, and suicide

prevention committees all reported to this committee. Minutes were maintained and included

information such as discussion of SIRs, one-to-one observation, staff injury, suicide

attempts/threats and ideation, Joint Commission corrective action items, therapy delivered, LRH,

access to care, and other pertinent clinical issues.

       Minutes were also provided regarding the violence reduction/suicide prevention

committee. There was documentation of a meeting that occurred on July 5, 2017 only. The

minutes reflected discussion of EHRS roll-out, SIR reporting data, suicide in corrections

training, and a SPRFIT update, which was tabled until the next meeting. No minutes of the local

SPRFIT were located.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       Patient satisfaction surveys were completed quarterly. Common themes among patients

included issues with staff, lack of adequate out of room time, and insufficient treatment.




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       Acute care patients in Unit A2A who were interviewed by the monitor’s expert following

a group session, expressed significant frustration with the lack of out-of-cell time, as well as

concerns about what they were issued at CHCF-PIP and their property left at the CDCR prisons.

They noted that low staffing levels combined with the time-consuming nature of IDTTs limited

the amount of time staff could spend with patients individually or in groups. They particularly

complained about not being issued a toothbrush. They reported that a plastic comb was provided

to each patient.

       During the review period, patients filed 98 appeals. Forty-nine percent or 48 appeals

were staff complaints; 35 were screened out/denied/cancelled.

XVI. COLEMAN POSTINGS

       Coleman posters were present in all units at CHCF-PIP.

XVII. LAUNDRY AND SUPPLY ISSUES

       There were no audits, reports, or logs for laundry and supplies during the review period.

There were no appeals filed regarding laundry; however, when interviewed, patients on

intermediate care unit B6A specifically focused on laundry services. Patients reported that

laundry was returned to them dirty and malodorous (“smells like urine”) and that their boxers

were stained.

XVIII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

       Visitation was determined by IDTT and was not related to a patient’s STEP level in the

acute or intermediate care programs. Each week, the program director forwarded a combined

updated list of CHCF-PIP patients clinically eligible for contact visits to the Correctional

Counselor II supervisor.




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       Telephone access was outlined in the Patient Orientation Handbook. Psych techs on the

units provided daily sign-up logs to all patients, except Maximum Custody patients. Maximum

Custody telephone access must be approved by IDTT and the facility captain. Telephone access

increased during the review period with five extra slots available during weekdays and seven

extra slots available during the weekends.

       The statewide STEP policy and procedures were under review during the site visit and

once implemented, both visitation and telephone access would be included.

XIX.    LAW LIBRARY ACCESS

       No issues were raised by patients during the site visit, and there was one appeal filed

during the review period regarding access to law library.




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                            APPENDIX A7
                              CIW-PIP




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                                           CIW-PIP
                              November 1, 2017 – November 2, 2017

I.       SUMMARY OF THE FINDINGS

        In October 2017, the CIW-PIP overall staffing functional vacancy rate was ten percent.

        CIW-PIP met the intermediate and acute care staff-to-patient ratios for psychologists,
         clinical social workers, and recreation therapists.

        CIW-PIP met the intermediate care staff-to-patient ratio for psychiatrists but was not
         compliant with that ratio at the acute care level.

        Treatment provided at the CIW-PIP did not clearly distinguish between acute and
         intermediate levels of care.

        CIW-PIP was compliant with timelines for initial and follow-up IDTTs.

        Correctional counselors were not consistently present at IDTTs.

        SRASHEs were appropriately completed.

        LRH was discussed at 75 percent of IDTTs beginning in September 2017.

        Provided group therapy data did not track structured and unstructured activities offered,
         received, or refused for each patient.

        CIW-PIP reported that structured therapeutic activities provided to patients were
         individualized to meet clinical needs.

        Patients in intermediate and acute care had access to individualized weekly counseling
         sessions.

        CIW-PIP offered behavioral management support plans to its DPS patients and patients
         placed on suicide watch and/or suicide precaution status.

        Long stays on DPS did not occur at CIW-PIP during the review period.

        CIW-PIP did not report timeliness of transfers into its program.

        When required, ICCs were conducted timely.

        Appropriate procedures were followed in the single controlled use of force incident.

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          CIW-PIP had a functional quality improvement system in place.

          There were no appeals (CDCR Form 602) filed during the review period.

          There were no laundry exchange problems reported for the review period; however,
           patients did raise issue with clothing supplies.

          Patients had access to the law library.

          Education was provided to CIW-PIP patients on request with approval of their IDTT.


II.        CENSUS

           On November 1, 2017, the CIW-PIP census was 45 patients, including 18 acute care

patients and 27 intermediate care patients.

           The average daily census between July and September 2017 was 42 patients. There were

42 patients in the CIW-PIP during July with an average length of stay of 247.4.days. In August,

there were 44 patients with an average length of stay of 253.5 days, and in September, there were

41 patients with an average length of stay of 253 days.

III.       STAFFING

           1.     Administrative, Clinical, and Correctional Staffing

           As of October 2017, the overall functional vacancy rate for the CIW-PIP was ten percent.

The executive director and program director positions were filled; however, the program

assistant position was vacant; other staff acted in this position.

           Senior Psychiatrist: The senior psychiatrist supervisor position was vacant. A staff

psychiatrist covered the senior psychiatrist supervisor duties, in addition to her assigned duties as

a staff psychiatrist.

           Psychiatrists: The two staff psychiatrist positions were filled.



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       Senior Psychologist: One FTE senior psychologist filled the 0.5 senior

psychologist supervisor position.

       Psychologists: The two psychologist positions were filled.

       Social Workers: The four clinical social worker positions were filled.

       Recreation Therapists: All four recreation therapist positions were filled.

       Nursing: CIW-PIP reported that all its nursing positions were filled, but did not

provide details.

       Senior Psych Techs: All six senior psych tech positions were filled.

       Psych Techs: All 32 psych tech positions were filled.

       Correctional Staff: CIW-PIP reported that all correctional positions were filled,

but did not provide details.

       2.        Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

       Staffing ratios for clinical positions by discipline were, 1:22 for psychiatrists, 1:15 for

psychologists, 1:11 for social workers, and 1:11 for recreation therapists. Psychiatry was within

the intermediate care ratio of 1:35 but exceeded the 1:15 ratio for acute care.

       Pre-doctoral psychology interns also provided care under the supervision of licensed

psychologists.

       3.          Staff Training

       Over 90 percent of CIW-PIP staff completed the PIP orientation training, the mental

health custody staff collaboration training, and the use of force training. Additionally, 73 percent

of the staff completed the two-day TSI training. The four-hour TSI refresher class was

completed by 62 percent of staff. Several custody and mental health staff supervisors were




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scheduled to attend “train the trainer” training which would facilitate the remainder of the line

staff receiving training.

IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         Reviewed medical records did not clearly distinguish between patients receiving an acute

level of care from those receiving an intermediate level of care. However, it appeared that a

patient receiving an acute level of care generally had a higher security level, with their treatment

focused on stabilization via medication management, in contrast to intermediate patients, whose

treatment included medications, but focused more on psychosocial interventions.

         1.     Interdisciplinary Treatment Teams (IDTTs)

         CIW-PIP remained compliant with timeliness of initial and follow-up IDTTs. During the

review period, correctional counselors had an attendance rate of 90 percent, except in July when

attendance was at 77 percent. Since September 2017, when the indicator was added, LRH had

been discussed in 75 percent of IDTTs.

         2.     Group Therapy

         Groups were provided in 11-week cycles and ranged from six to ten patients per group.

Group therapy data provided by CIW-PIP did not distill individual hours of group therapy

offered, received and refused. Staff reported that they did not have the ability to track the

number of out-of-cell structured and unstructured activities offered to CIW-PIP patients on an

average basis. However, they stated that the new EHRS would afford them the ability to track

such data. Staff reported that a significant number of patients were unable to tolerate

participation in groups on a daily basis and preferred to isolate in their cell.

         Staff indicated that structured therapeutic activities offered to patients were based on an

individualized treatment plan, not the minimum number of hours to be offered to them. Group



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cancellation was not an issue at CIW-PIP; nine percent of groups were cancelled during the

review period.

       During the site visit, 19 patients were interviewed in a community therapy setting. In

general, patients described the groups as helpful; however, they indicated a desire for access to

additional groups on a daily basis. The master group offering list demonstrated a wide range of

groups. In addition, nursing staff facilitated enrichment group offerings.

       The monitor’s expert observed portions of three different groups. Four to eight inmates

attended each group. The groups were conducted by co-therapists in a competent manner and

inmate participation was good.

       The list of inmates refusing 50 percent or more of all treatment groups were reviewed,

which included 11 patients during July 2017, ten patients during August 2017, and 11 patients

during September 2017. Less than half of such patients were on the refusal list for two

consecutive months. Staff described many of the patients as disorganized and clinically

unstable.

       3.        Individual Treatment

       The treatment programs at CIW-PIP were not significantly different for acute care versus

intermediate care patients. Both acute care and intermediate care patients had weekly access to

individual counseling sessions with primary clinicians. Acute care patients were seen

individually by a psychiatrist three times per week. Patients in the intermediate care program

were seen individually by a psychiatrist at least monthly.

       4.        Psychiatric Services

       As reported above, psychiatry staffing did not meet the acute care patient ratio of 1:15.

One of the two staff psychiatrists was also assigned to perform the duties of a senior psychiatrist.



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Record reviews did not reveal any issues with psychiatric services. CIW-PIP did not use

telepsychiatry.

          5.      Other Treatment Issues

                     A. Involuntary Medications (PC 2602)

          Fifteen to 22 inmates per month received involuntary medications during the three

months prior to the site visit. At the time of the site visit, 35.5 percent, or 16 patients, were

under PC 2602 medication orders. CIW-PIP did not provide data relative to the number of

petitions initiated, renewed, or pending during the review period. Further, CIW-PIP did not

provide a list of patients who had been noncompliant with the PC 2602 process during the review

period.

                     B. Behavioral Management

          No formal tracking mechanism existed at the CIW-PIP specific to which patients were

receiving behavioral support plans. However, behavioral support plans were typically developed

with patients who were placed on DPS, suicide watch and/or suicide precaution status. Such

plans were formulated and reviewed through the IDTTs process. Staff reported that beginning in

October 2017, a formal review and standardization of statewide PIP policy was initiated that

would include behavioral support plan issues.

                     C. Morning and End of Shift Meetings

          Daily meetings were conducted in the CIW-PIP between custody, clinical, nursing, and

ancillary healthcare staff during the morning and through the end of shift report process. Issues

addressed during meetings included patients’ behaviors, injuries, medical issues, relevant

medication issues, and special statuses and special unit activities.




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V.      PATIENT ACCESS TO TREATMENT

        Patient, Orientation, Discretionary Program Status (DPS), and Stages:
        Standards and Procedures

        All new admissions into the CIW-PIP were required to be placed on DPS until

evaluations were completed and the patient was approved to program by the IDTT. In addition,

a patient admitted from a secured housing unit/administrative segregation, psychiatric services

unit, or an institution other than CIW, must also receive clearance from the ICC before DPS

could be discontinued.

        Patients on DPS programmed individually in restraints. It was not uncommon for

approximately 20 percent of patients at CIW-PIP to be on DPS, which generally lasted about 11

days. Long-term DPS was not an issue at CIW-PIP during the review period.

        During July 2017, 31 patients were on DPS at some point during the month with an

average duration on such status of 15 days. During August 2017, 33 patients were on DPS for

some period of time with an average duration of 13 days. Twenty-eight patients were on DPS

during September 2017, with an average duration of 11.9 days. At the time of the site visit, 11

patients were on DPS.

        The STAGE program was integral to treatment in the CIW-PIP. The STAGE program

consisted of several levels through which a patient was expected to advance during the course of

her treatment. There were also specific reasons provided for which a patient STAGE level could

be reduced by the IDTT, which was generally related to the behavior of a patient. The IDTT was

expected to discuss the criteria for advancement in the progress of each patient during scheduled

team conferences. In the event a patient did not meet the criteria for advancement, the IDTT was

required to explain the reasons and directly inform the patient of the action necessary for

approval to advance to the next STAGE level.

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         As reported above, all patients admitted to the CIW-PIP were placed on DPS during

orientation. In addition to the solo programming and use of restraints as discussed above, DPS

patients had limited possessions and received their meals in their cells. Telephone privileges

were subject to approval by the IDTT if clinically indicated.

         At Stage I, the patient was approved to attend treatment groups identified by the IDTT,

granted telephone privileges, could attend dining room and group yard, and participate in unit

activities, as well as receive visitors according to CIW’s visitation policy. Stage II patients

received property, canteen, and quarterly package privileges. Each Stage II patient also received

a PIP issued radio and had access to the unit’s washer and dryer for her personal clothing. At

Stage III patients were allowed a PIP-issued television.

VI.      REFERRALS AND TRANSFERS

         During the review period, there were 34 referrals to CIW, of which 18 were to the acute

care program and ten to the intermediate care program. In addition, four patients initially

referred to the CIW-PIP acute care program, were subsequently admitted to the intermediate care

program. CIW-PIP did not provide data regarding timeliness of transfers. There was one

rescission due to patient stabilization prior to admission, and one rejection due to the patient’s

continued assaults on staff and other patients.

         Eleven patients were transferred to PSH during the review period. During the site visit,

two patients with LRH suitable for transfer to PSH were housed out of their assigned LRH. One

patient remained out of LRH due to swallowing objects and the other patient had a history of

assaultive behavior over the past year and did not feel she could control her assaultive behavior.




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VII.   ADMISSIONS AND DISCHARGES

       1. Admissions

       During the review period, there were 32 admissions to the CIW-PIP. The 32 admissions

included eight to acute care and four to intermediate care in July 2017; three to acute care and

seven to intermediate care during August 2017; and, seven to acute care and three to intermediate

care in September 2017.

       Where required, ICCs occurred timely.

       2. Discharges

       During the review period, there were 34 discharges from the CIW-PIP including 13

patients to PSH, seven patients to CIW EOP, 11 patients to CCWF, two paroled and one

discharged to Ventura Youth Correctional Facility. The average length of stay was 112.2 days.

CIW-PIP did not provide data relative to any administrative days beyond clinical discharge.

Following the review period and prior to the site visit, CIW discharged two patients to PSH in

October 2017, which continued access to PSH for some CIW-PIP patients.

       Additionally, three patients were discharged to CIW EOP, one to CIW PSU, one to CIW

CTC Skilled Nursing Facility (SNF), two to CCWF, and one patient paroled. Reasons for

discharge included one patient transferred to her LRH, seven patients received maximum benefit,

one patient MDO/paroled and one patient paroled.

       CIW-PIP was 100-percent compliant with clinician-to-clinician contact upon discharge.

VIII. PATIENT DISCIPLINARY PROCESS

       There were six RVRs issued to CIW-PIP patients during the review period. Two of the

six, or 33 percent were sent for completion of a mental health assessment within two calendar




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days as required. Four, or 66 percent were completed by mental health clinicians and returned to

custody staff within eight calendar days as required.

          None of the mental health assessments recommended documenting the behavior in an

alternate manner. Five of the mental health assessments noted that the patients’ mental health

symptoms contributed to the behaviors charged, and specific examples were provided. Further,

clinicians provided specific recommendations and rationales regarding assessment of penalties in

each case.

          Custody staff documented consideration of the mental health assessment in 100 percent

of cases. One case was dismissed due to mental health considerations, and in two additional

cases the charges were reduced based on mental health considerations.

          One patient received an RVR for battery on a peace officer due to spitting on an officer

during the administration of a “medical” injection. The clinician noted that the patient was

experiencing auditory hallucinations and was “confused-evidence poor impulse control.” The

senior hearing officer noted consideration of the mental health assessment; however, the patient

was found guilty, assessed 121 days loss of credit, referred to the district attorney for felony

prosecution and referred to ICC for a SHU term assessment.

          In another case, the senior hearing officer noted consideration of the mental health

assessment and the patient was assessed the lower end of the credit forfeiture schedule as a

result.

IX.       USE OF FORCE

          There were ten use of force incidents during the review period, one controlled and nine

immediate. The monitor reviewed the controlled use of force incident packet and video. All

procedures were followed including implementation of a cool down period, cell-front



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intervention by the psychiatrist, and medical staff review of any contraindications to chemical

agent usage.

X.       UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         CIW-PIP did not use SIRs, instead using the unusual occurrence log. There were 33

incidents documented in the unusual occurrence log during the review period. Incidents included

administration of involuntary medication, possible medication overdose, head banging, uses of

force and self-injurious behaviors.

         There were 30 incidents included in the self-harm log, including three suicide attempts.

If an incident of self-harm required more treatment than an RN assessment, it was also included

in the unusual occurrence log and appropriate reports were completed.

XI.      USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         There were no patients placed in seclusion during the review period. One patient was

placed in restraints for a total nine hours and 15 minutes. CIW-PIP reported that the

documentation regarding the use of restraint was appropriately completed.

XII.     SUICIDE PREVENTION

         A review of the suicide prevention program within the CIW-PIP demonstrated

compliance with Program Guide requirements. Suicide risk evaluations were completed timely

for all patients in the CIW-PIP who required them during the review period.

         The suicide prevention program at CIW-PIP was part of the institutional CIW suicide

prevention program, which was reviewed by the monitor’s suicide prevention expert during his

last site visit. An internal process within the CIW-PIP was also established to review self-

harming behaviors and/or suicide attempts by CIW-PIP patients, which averaged approximately

11 per month. Serious suicide attempts were also reviewed through CIW’s SPRFIT.

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       A review of monthly minutes of the SPRFIT revealed agenda items including Suicide

Prevention Outreach Committee, staff training, SRASHE review by supervisors, self-injury log,

wellness checks, Crisis Intervention Team log, alternative housing, corrective action plan items,

and suicide attempt reviews. All CIW-PIP staff received yearly training specific to completion

of suicide risk assessments.

XIII. EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

       1. Emergency Response

       CIW’s patient safety committee was responsible for reviewing all emergency responses

at the CIW-PIP. Review of provided documents indicated that emergency drills were required to

be done by nursing staff quarterly. No documentation was provided regarding the occurrence of

emergency drills in the CIW-PIP during the review period.

       2. Death Review Process

       The patient safety committee also reviewed all death reviews. There were no deaths

reported in the CIW-PIP during the review period.

XIV. QUALITY MANAGEMENT AND UTILIZATION REVIEW

       A review of the minutes of monthly utilization review committee meetings revealed

agenda items including, but not limited to, PIP utilization, least restrictive housing, wait list data,

length of stay data, transfers to PSH, barriers to discharge, and admission/discharge data.

       CIW-PIP had a performance improvement system in place at the time of the site visit.

The CIW-PIP’s performance improvement subcommittee was a multidisciplinary team that

included key clinical and custody administrators and supervisors. The subcommittee met

monthly and reviewed relevant data including incident reports, root cause analysis reports,




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various audits, and quality improvement projects, as well as survey activities such as patient and

staff satisfaction surveys specific to offered services.

XV.    PATIENT COMPLAINTS/PATIENT SATISFACTION

       CIW-PIP reported that there were no CDCR Form 602 inmate appeals filed by patients

during the review period.

XVI. COLEMAN POSTINGS

       Coleman notices were posted in the appropriate areas throughout the CIW-PIP.

XVII. LAUNDRY AND SUPPLY ISSUES

       There were no changes to the laundry policy since the last review. There were no

problems reported with scheduled laundry exchange in the CIW-PIP. Review of the minutes of

the Patient Council meetings revealed that issues reported regarding clothing and bedlinens

during the review period were documented as subsequently resolved in the minutes of October

2017. CIW-PIP maintained a laundry count only for exchange in and out of the institution.

XVIII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

       Except for patients on DPS, CIW-PIP followed the same visitation policy as CIW.

       During patient interviews, there were no complaints regarding privileges other than food

choices at the canteen and quarterly packages.

       There were no revisions of the telephone access policy during the review period and

telephone access in the CIW-PIP was directly related to the patient’s stage level. While on DPS,

telephone usage was allowed only through IDTT approval. Stage I patients had access to one

telephone call per week and additional access per IDTT approval. Stage II patients were allowed

access to telephone usage three times per week and additional access per IDTT approval. Stage




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III patients had open access to telephone usage per CDCR policy. All patients, regardless of

STAGE level, had access to call the appeals coordinator/patients’ rights advocate.

XIX.    LAW LIBRARY ACCESS

       No patients complained of law library access problems during the site visit. Patients

were afforded access to law library services pursuant to Title 15 and the CDCR Department

Operations Manual. Patients were provided with instructions on how to access law library

services through the patient orientation handbook provided to each patient upon admission to the

CIW-PIP.

XX.     EDUCATION

       Education was provided upon patient request and IDTT approval during the review

period. Education hours were tracked manually as tracking was not possible through EHRS. A

new web application, (NCAT) was being developed and was in labor negotiations stage at the

time of the site visit. This program would reportedly capture education data.

       Six patients participated in education during July and August 2017, and 11 patients

participated in September 2017. Education hours were minimal, totaling 1.5 hours for all

patients during July, 3.63 hours in August, and 5.95 hours during September. There were no

cell-front or in-cell materials provided; the instructor was not allowed on the units. DPS inmates

were not offered education services.

       A GED preparation course was offered once a week in the dining room in the CIW-PIP.

There was no blackboard, consequently, the instructor utilized papers on the wall. Patient

participation was voluntary, and while the instructor was present for one hour, many patients

reportedly left the class within minutes of arrival. Escort issues also decreased the amount of

time with the patients. Interpreters were provided as necessary.



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                            APPENDIX A8
                               SQ-PIP




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                                             SQ-PIP
                               January 30, 2018 - February 1, 2018

I.      SUMMARY OF THE FINDINGS

           At the time of the site visit, the SQ-PIP census was 25, or 62 percent of capacity, and
            all patients were at the intermediate level of care.

           Treatment plans reviewed did not reflect the same high quality of care observed in the
            IDTTs.

           Interventions and treatment targets were not always documented in treatment plans
            with associated treatment goals.

           The average intermediate care patient was offered 12.66 hours of structured
            therapeutic activities on a weekly basis and attended 8.78 hours.

           Thirty-six percent of intermediate care patients attended greater than ten hours per
            week of structured therapeutic activities and 68 percent attended greater than five
            hours per week of structured therapeutic activities.

           The average acute care patient during the review period was offered 4.57 to 26.83
            hours per week of individualized out of cell structured therapeutic activities with the
            average patient attending 0.29 to 12.64 hours per week.

           The average length of stay for acute care patients were 17.41 days as compared to the
            average length of stay of 750.88 days for intermediate care patients.

           Significant improvements were made in the development of positive support behavior
            plans since the last monitoring visit.

           SQ-PIP staff noted meaningful clinical improvements in their patients following the
            implementation of behavior plans.

           Mental health was found to be a factor in the behavior underlying the RVRs for PIP
            patients. Notwithstanding, evaluators did not recommend that the behavior be
            documented in an alternate manner, even in lower level offenses.

           The privileges a patient had at the time he entered the PIP continued to be available to
            him, unless otherwise restricted.

           The policy allowing access to the law library was not well known by either staff or
            patients in the SQ-PIP.



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II.      CENSUS

         The SQ-PIP served the condemned population. There were 40 flexible beds, which could

be used interchangeably for acute, intermediate care, and MHCB patients. At the time of the site

visit the census was 25, or 62 percent of capacity. All patients were at the intermediate level of

care. The average length of stay was 750.88 days with a range of 20 to 1,208 days.

III.     STAFFING

         1. Administrative, Clinical, and Correctional Staffing

         The executive director, medical director, program director, and clinical director positions

were filled, as was the program assistant position. The clinical director was also functioning as a

senior staff psychologist (acting) and as the behavior specialist. The clinical director had been

assigned these additional roles in August 2017 and had not carried a caseload since that time.

         The chief psychiatrist position was filled. SQ had three established chief psychologist

positions, of which two were filled; the third position remained vacant at the direction of CDCR

headquarters.

         At the time of the visit, it was reported that one psychiatrist, one psychologist, and one

social worker from SQ-PIP were temporarily reassigned to the EOP H Unit during its activation,

due to the low census in the SQ-PIP. This staff was to return to the SQ-PIP following the H Unit

activation.

         Senior Psychiatrist: The senior psychiatrist position was filled.

         Psychiatrists: All three established staff psychiatrist positions were filled.

         Supervising Senior Psychologist Specialists: All three supervising senior psychologist

positions were filled.




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       Senior Psychologist Specialists: Six of seven senior psychologist specialist positions

were filled, resulting in a 14-percent vacancy rate.

       Psychologists: All three established psychologist positions were filled.

       Supervising Social Worker: The supervising social worker position was vacant.

       Social Workers: Three of four established social worker positions were filled for a 25-

percent vacancy rate.

       Recreation Therapists: Three of four established recreation therapist positions were filled

for a 25-percent vacancy rate.

       Registered Nurses (RNs): All six established registered nurse positions were filled.

       Licensed Vocational Nurse Positions (LVNs): The five established licensed vocational

nurse positions were filled.

       Senior Psych Techs: The seven established senior psych tech positions were filled.

       Psych Techs: All 18 established psych tech positions were filled.

       Correctional Staff: SQ-PIP had an assigned correctional counselor. Two sergeant

positions and all 38 custody officer positions were filled.

       2. Staff-to-Patient Ratios and the Adequacy of Clinical Staffing

       The established maximum ratio in the SQ-PIP was 1:15 for treatment staff. The staff-to-

patient ratio in the SQ-PIP at the time of the site visit for psychiatry, psychology, social work,

and recreation therapy were all within established ratios.

       3. Staff Training

       SQ-PIP data indicated the following initial training was provided to staff during the

review period: CTC and TSI initial training and PIP orientation. Annual CTC and TSI training

was also provided.



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IV.      TREATMENT, CLINICAL SERVICES, AND PROGRAMMING

         1. Interdisciplinary Treatment Teams (IDTTs)

         Compliance for routine IDTTs in the SQ-PIP, which did not separate acute and

intermediate levels of care, was 88 percent for July and August, 91 percent for September and

October, and 92 percent for November 2017. Data on initial IDTTs in the SQ-PIP was

inconsistent, often pertained only to MHCB patients, and did not always indicate the level of

care for patients.

         Timeliness compliance rates were artificially low – some of the untimely IDTTs noted in

the reports had SQ-PIP patients labeled as MHCB patients and were tracking compliance based

on MHCB timelines not PIP timelines. Noncompliance with initial IDTT timeframes occurred

during August and November 2017, but the results were skewed by a small number of

admissions during each of those months.

         In two IDTTs observed, the patients chose not to attend, however all required staff

attendees were present and contributed meaningfully. The patient was discussed at length as was

his progress in treatment. The treatment plan was discussed as were treatment goals. Specific

treatment group assignments were not discussed, but in the patient’s absence, this was

appropriate. Each treatment team was able to answer questions regarding the specific treatment

groups when queried. Treatment team members knew the patients well, were able to discuss the

patients’ participation in treatment and functioning in the unit, as well as articulate goals for the

next treatment period. The treatment team members were also receptive to feedback. The

psychiatrist, correctional counselor, and senior psych tech all actively utilized available

electronic databases.




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        When the patient did attend the IDTT there was very good interdisciplinary discussion

prior to the patient arriving and while the patient was present. The treatment plan was discussed

with the patient during the IDTT.

        Inconsistent with observations at IDTTs, many of the treatment plans reviewed did not

reflect the same high quality of care represented at observed IDTTs. There were times when the

clinical interventions were not specified, and targets for treatment problems and goals were not

stated in objective behavioral terms. Primary treatment obstacles and functional deficits were

not identified as problem areas in the treatment plan. Treatment plans were not modified at

times when patients were not responsive to therapeutic efforts.

        In some cases where treatment plans suggested little treatment was occurring, review of

progress notes indicated that substantial therapeutic intervention was occurring during individual

sessions, particularly with the treating psychologist and psychiatrist. Some progress notes were

quite detailed and documented methodical implementation of multiple therapeutic interventions.

Those interventions and treatment targets needed to be documented in the treatment plan with

associated treatment goals. Patient interviews provided support that individual sessions with

treatment team members included specific treatment interventions that were beneficial to

patients.

        2. Group Therapy

        Acute care patients were not offered group therapies, but were instead provided treatment

in an individual setting. During the review period, the average acute care patient was offered

between 4.57 and 26.83 hours per week of individualized out-of-cell structured therapeutic

activities, with the average patient attendance between 0.29 and 12.64 hours per week.




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       During the site visit, many of the scheduled intermediate care treatment groups were

canceled due to lack of attendance, or were attended by just one or two patients. One treatment

activity observed had just one participant. The patient indicated that his treatment cohort had

originally included eight patients but had been reduced to four patients. His group size was

never larger than two patients, which was insufficient to form an actual clinical group.

       Discussions with SQ-PIP clinical staff revealed that as the patient population decreased,

it became more difficult to place patients into appropriate groups. In part this was exacerbated

because the PIP continued to use a fixed cohort system. Patients continued to be assigned to

cohort groups based on their clinical presentation and functional level.

       The cohort assignment process allowed SQ-PIP to schedule increased amounts of

treatment when the population was high, while still meeting the individual needs of the patient.

As the population in the SQ-PIP decreased, the fixed clinical cohort system seemed no longer

viable. A review of the assignment of cohorts may need to occur to allow for larger group sizes

to continue. During the site visit, the monitor’s expert discussed with staff the current process

for assigning patients to group treatment and how to ensure group size was sufficient while

accounting for refusals, with the goal that groups rarely fell below three patients. The monitor’s

expert also discussed with staff a process for reviewing groups following discharges to determine

if the remaining patients needed to be reassigned to continue to meet clinical expectations

regarding group sizes.

       Statistics for the reporting period pertinent to group treatment hours were reviewed. On a

weekly basis, the average intermediate care patient was offered 12.66 hours of structured

therapeutic activities and attended 8.78 hours. Thirty-six percent of the intermediate care




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patients attended greater than ten hours per week of structured therapeutic activities and 68

percent attended greater than five hours per week of structured therapeutic activities.

       There were nine patients identified as “high refusers” at the time of the site visit. These

patients were participating in less than 50 percent of their treatment. Four, or 44 percent of the

high refuser patient records were reviewed and were typically found to be participating in less

than 25 percent of their treatment, with at least two participating in five percent or less. Despite

that, treatment plans for these patients had not been modified for long periods of time and not all

had positive support behavior plans, though such plans were indicated. During a discussion with

the program director and clinical director, they indicated their intention that all patients identified

as “high refusers” would be evaluated as to appropriateness for behavior plans; however, they

reported that the lack of resources limited the use of this time-consuming process.

       Documentation was an area in need of improvement. Group progress notes included a

generic statement at the beginning that was the same whether the patient attended the group or

not. They were typically phrased as though the patient attended and participated. The lower

portion of the group treatment form then contained additional information that would indicate if

the patient had actually attended and participated. If the patient had not attended, the progress

note was internally inconsistent. Since the primary modality of treatment at the SQ-PIP was

group therapy, those progress notes were valuable sources of clinical information regarding

patients’ progress or lack thereof. The monitor’s expert observed that providing tablets to each

group facilitator would enable them to enter group progress notes contemporaneously with the

group activities. This would allow for timely completion of required documentation and provide

capability for entering clinically meaningful data. It was also observed that multiple staff cut and

pasted information or used the auto-populate function to generate the identical phrase in the top



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portion of the form, which raised questions regarding their accuracy. These issues were

discussed with supervisory staff who indicated they would be addressed.

       3. Individual Treatment

       SQ-PIP provided data regarding all forms of individual treatment offered and attended

during the review period including individual therapy, psychiatric contacts, and primary clinician

contacts without distilling the number of hours in each category and by patients. Of the 216.4

hours of individual treatment offered to patients during the review period, acute patients attended

97 percent and intermediate patients attended 77 percent.

       4. Psychiatric Services

       Acute care patients were required to be assessed within 24 hours of admission by

psychiatry and thereafter seen daily by his psychiatrist throughout his stay. SQ-PIP did not

provide particular data regarding compliance with this requirement, noting that it was included

within the individual treatment data discussed above.

       SQ-PIP did not provide information regarding psychiatric service requirements for

intermediate care patients or data regarding compliance with this requirement, noting that it was

also included within the individual treatment data discussed above.

       5. Other Treatment Issues

               A. Involuntary Medications (PC 2602)

       One PC 2602 petition was initiated during the reporting period. Fourteen PC 2602

petitions were renewed during the reporting period; of this number 12 were in the SQ-PIP at the

time of the renewal hearing and two were previous SQ-PIP patients that were discharged prior to

the hearing. No PC 2602 petitions were denied during the reporting period and one was

withdrawn (a planned non-renewal). There were two patients on the involuntary medication



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non-compliance list. Involuntary medications at SQ-PIP were managed appropriately during the

review period.

                 B. Behavioral Management

       Beginning in August 2017, the clinical director also served as the behavioral specialist for

the SQ-PIP. During the reporting period, there were nine referrals for behavioral consultation,

11 referrals for behavior plans, and four completed behavior plans. At the time of the site visit,

there were four active behavior plans. The behavioral specialist regularly reported to the mental

health program PIP subcommittee, providing information on referrals, behavior plans, and

completed analyses.

       The behavioral assessment process had dramatically improved since the preceding site

visit, beginning with a structured, data-driven referral process. Structured assessments were

utilized throughout the behavioral assessment process. Patient input was regularly sought when

the need for a behavioral plan was identified. While the assessment process was generally

referred to as a functional assessment, it was actually a combination of indirect assessment and

descriptive analyses. The assessment process was generally referred to as a functional

assessment, although it was actually a combination of indirect assessment and descriptive

analysis. In several individual cases, functional analyses were utilized. Each type of functional

behavioral assessment has advantages and disadvantages; a combined process is generally

recommended, so the SQ-PIP should continue to utilize a combination of methods, incorporating

functional analysis when feasible.

       Positive support behavior plans were written from the patient perspective at a level that

would be appropriate for staff from any discipline to comprehend. They identified hypothesized

precursors as well as the possible function of the behavior for the patient, in clear terms for staff.



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Primary and secondary prevention methods were included with the behaviors postulated to

increase and decrease. While behavior plans should not exceed one to two target behaviors,

none of the SQ-PIP plans exceeded three target behaviors as the primary focus.

        One of the challenges identified with behavior plans was obtaining individualized

reinforcers for patients. There were numerous reasons for this, but one challenge was the state

purchasing system. The items that a given patient finds especially reinforcing cannot always be

purchased through the state purchasing process. That process can also be time-consuming which

can be at odds with the need for timely implementation of an immediate reinforcement schedule.

        Positive support behavior plans had made tremendous improvements since the last

monitoring visit. These changes were in their infancy as SQ-PIP staff adjusted to a new referral

process during the reporting period and the very recent implementation of behavior plans.

Despite this, SQ-PIP staff noted meaningful clinical improvements in their patients following the

implementation of behavior plans.

V.      PATIENT ACCESS TO TREATMENT

        Patient Orientation, Discretionary Program Status (DPS), and Stages: Standards
        and Procedures

        The SQ-PIP continued to utilize the STAGE level system during the review period. The

STAGE system remained virtually unchanged from the preceding monitoring period.

        There remained four levels within the STAGE system: DPS, a non-punitive level with no

program-wide restrictions which could last up to ten days and would allow for assessment of a

new patient and STAGEs 1, 2, and 3 through which each patient could advance within the range

of his own capabilities. While the policy allowed for treatment teams to individualize

expectations to allow for functional impairment limitations, the treatment program also placed

some parameters on STAGE levels 1 through 3 to establish standardization and structure.

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Specifically, a percentage of treatment participation was incorporated into the STAGE levels

(STAGE 1: zero to 35 percent, STAGE 2: 36 to 66 percent, STAGE 3: 67 to 100 percent) and the

required percentage must be maintained for at least 30 days to demonstrate stable participation.

Patients on DPS would be placed on STAGE 1 at the completion of the ten-day treatment team

meeting. However, they may have been placed into some treatment activities as early as 72

hours after admission according to the program director. There were no property restrictions and

patients would be provided with walk-alone yard until cleared by the ICC and treatment team for

group yard. According to the program director, patients did not return to DPS.

         The STAGE level system utilized incentives. These were not detailed in the policy, but

reportedly included objects such as colored pencils, erasers, and other types of materials that a

patient could use to manage stress and anxiety. According to program management, the

treatment team determined the incentives that would be used for each patient.

VI.      ADMISSIONS AND DISCHARGES

         1. Admissions

         At the time of the site visit, all patients in the SQ-PIP were timely admitted. All referred

patients were accepted. Most admissions to the acute care program were transferred from the

intermediate care program and subsequently returned to the intermediate care program. The

acute care census generally ranged from zero to three patients with the last acute care patient

having been discharged two to three weeks prior to the site visit. The SQ-PIP referral review

committee provided a multidisciplinary process for review of referrals to the SQ-PIP.

         2. Discharges

         During the review period, nine patients were discharged. Clinician-to-clinician contacts

occurred on the day of discharge.



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       During the review period, the average length of stay for acute care patients was 17.41

days. At the time of the site visit, the average length of stay for intermediate care patients was

750.88 days.

VII.   PATIENT DISCIPLINARY PROCESS

       Of seven RVRs issued to SQ-PIP patients during the review period, all were referred for

a mental health assessment and mental health was determined to be a factor in the behavior

underlying the RVRs. Although six, or 86 percent of the mental health assessments

recommended mitigation, clinicians did not recommend that the behavior be documented in an

alternate manner, even in lower level offenses. Clinicians did typically list factors for the

hearing officer to consider in assessing a penalty. However, if found guilty of an offense that

could result in a SHU term, clinicians only recommended that patients retain access to treatment.

The senior hearing officer documented consideration of the clinical recommendations in all

instances. All RVRs were adjudicated guilty and sanctions imposed, including a SHU term, loss

of privileges, program review and loss of credit.

VIII. USE OF FORCE

       There were no reports of controlled use of force in the SQ-PIP during the reporting

period. There were three immediate use of force incidents. Of the three immediate use of force

incidents, one was a cell extraction, necessary to intervene while a patient was cutting himself

with a broken CD. All three incidents of immediate use of force, resulted in RVRs against the

patients for battery/assault or obstruction on a peace officer which occurred during the

intervention.




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IX.      UNUSUAL OCCURRENCES/SERIOUS INCIDENTS/NEAR MISSES/SENTINEL
         EVENTS

         The 89 unusual occurrences that impacted patients during the review period, included

self-injurious behaviors, acts or threats of violence towards others, assaults between patients, and

unusual behaviors, such as boarding (covering up cell windows to obstruct view inside) or

suspected substance abuse.

X.       USE OF OBSERVATION CELLS/ROOMS, SECLUSION, AND RESTRAINT

         There were no incidences of seclusion or restraint during the review period.

XI.      SUICIDE PREVENTION

         There were no suicides at the SQ-PIP during the reporting period.

         The SPRFIT’s suicide prevention efforts addressed all San Quentin State Prison (SQ)

facility programs, including the SQ-PIP. Data provided specific to the SQ-PIP focused on

training and audits. All staff were reported to have completed the facility in-service annual

suicide prevention training, the seven-hour class, suicide risk assessment training for CDCR

mental health clinicians, and safety planning. SQ-PIP staff attended SQ’s mental health

department SPRFIT events. During the review period, one statewide video-teleconference was

conducted.

         A facility chart audit of SRASHEs completed for the period July 1, 2017 through

September 30, 2017 included four providers from the SQ-PIP. The performance indicator

showed that 100 percent of the SQ-PIP SRASHEs met compliance for all audit criteria.

         During the reporting period, there were nine incidents of self-harm in the SQ-PIP of

which four involved the same patient. Six incidents resulted in minor or no apparent injury and

three resulted in moderate injury (lacerations). Of the moderate incidents, one resulted in

evaluation at an outside hospital.

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       Reports indicated 100-percent compliance with SRASHEs at the time of admission to the

SQ-PIP. The monitor’s expert discussed with staff tracking the completion of SRASHEs at all

clinically indicated times (e.g., when patients express suicidal ideation, placement on or removal

from suicide precautions) to monitor compliance at all points in time completion of SRASHEs

where required.

XII.   EMERGENCY RESPONSE AND THE DEATH REVIEW PROCESS

       1. Emergency Response

       The EMRRC met at least monthly during the review period and had a quorum at each

meeting. Emergency drills occurred in accordance with policy based on a review of the minutes

from EMRRC; appropriate topics were reviewed during meetings. One patient was fittingly

taken from the SQ-PIP to an outside medical facility due to self-injury and was returned post-

treatment. The EMRRC appeared to function appropriately in relation to the SQ-PIP.

       SQ had a facility-wide patient safety committee that met at least monthly during the

reporting period. In July 2017, the committee focused on determining and formalizing its scope

and purpose. The committee determined its function was to provide a standardized process for

adverse/sentinel events and a structured process for evaluating and reporting emergency medical

response incidents. No significant events were noted in the safety committee minutes except for

a question regarding the ability to take patients to the treatment and triage area (TTA) for

suturing or other procedures that could not occur in the SQ-PIP without first discharging

patients, since it was not licensed for such procedures..

       2. Death Review Process

       No patients from the SQ-PIP died during the review period. SQ-PIP was subject to the

death review process of SQ.



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XIII. QUALITY MANAGEMENT AND UTILIZATION REVIEW

       Quality management was monitored through the SQ-PIP subcommittee meetings which

were held bi-weekly. During the review period, the SQ-PIP subcommittee chartered three

quality improvement teams (QITs). The seclusion and restraint QIT reviewed documentation

issues related to the new electronic healthcare record. The personality disorders QIT was

chartered to establish a clinical curriculum for the more personality disordered patients. The

nursing observation levels QIT addressed the frequency of rounding on intermediate care

patients. The seclusion and restraint and nursing observation level QITs were completed with

the final recommendations documented in a report.

       In addition, the subcommittee chartered two work groups to address staff orientation,

treatment planning, and communications. There was also a root cause analysis, which addressed

multiple incidences of self-harm that occurred simultaneously in the SQ-PIP, and one completed

tracer survey for Joint Commission purposes that followed an incident of self-harm inflicted by a

SQ-PIP patient. The workgroup regarding treatment planning and communications completed its

task and documented its findings in a report.

       Interventions, treatment plans, and programmatic issues related to patient care were

discussed weekly in the SQ-PIP by all available mental health, nursing, and custody staff.

       SQ-PIP issues were also regularly discussed in other committee meetings including

quality management committee, local governing body, patient care policy committee, mental

health program subcommittee, and patient safety committee.

       Committee meeting minutes of the SQ-PIP subcommittee, quality management

committee, the local governing body, patient safety committee and the bed utilization

management committee were reviewed. Quorums were present and the minutes provided useful



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summaries of the meetings that met on a regular basis. These committees all met on a monthly

basis except for the SQ-PIP subcommittee, which met biweekly.

       Audits focused on the following areas: admission/discharge assessments & evaluation

audit, and included attention to; behavior plans, employee performance appraisals and probation

reports, IDTT content goal/services provided reconciliation, IDTT timeliness compliance, length

of stay, medication errors, pharmacy storage, licensing – plans of correction, staff injuries, time

in stage, Title 22 compliance, unusual occurrences, and suicide risk evaluation. Audits were not

necessarily held monthly, although verbal reports were provided monthly to the appropriate

committee regarding the various areas. Key indicator reports were conceptualized but not yet

successfully implemented due to various issues being worked out at the central office level.

XIV. PATIENT COMPLAINTS/PATIENT SATISFACTION

       There were thirteen grievances filed by patients in the SQ-PIP. Of the 13, four were filed

by the same patient and two were filed by MHCB patients. Grievances related to the lack of

access to the law library, requests for property or incentives, seeking new treatment team

members, and objections to prescribed medications.

       The patient surveys were completed once a year and included a period between March

and September 2017. Of the 20 areas surveyed, three areas achieved a score of 85 percent or

better; these included patients who indicated awareness of the medications they were taking,

patients were encouraged to participate in treatment planning, and staff explained things in a way

patients understood. Sixty percent or fewer patients endorsed the following two categories:

receiving the treatment they needed in the PIP and staff listened carefully to their concerns.

Findings in the satisfaction surveys were followed up in the SQ-PIP team meetings, SQ-PIP




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mental health team meetings, SQ-PIP collaboration team meetings, and finally through improved

results in subsequent surveys.

       There were patient officers who met on a weekly basis in the SQ-PIP to discuss

information/concerns and agenda items for monthly community meetings. All patients were

invited to the community meetings to share information or issues with patient officers. On a

quarterly basis the patient officers prepared an agenda to present at a multi-disciplinary meeting.

The quarterly meeting often included the warden, mental health staff, nursing, medical, and

custody. The patient group, with the assistance of staff, produced the minutes of the meeting.

       The SQ-PIP had a patient advocate available. The advocate’s role was to investigate

complaints of abuse, unreasonable denial or punitive withholding of a guaranteed right.

Advocates acted on behalf of patients who were unable to register a complaint because of their

mental or physical condition.

XV.    COLEMAN POSTINGS

       Coleman postings were found in English and Spanish in the SQ-PIP. Placement of the

posters in an area more widely traveled by the patient population would be useful to Coleman

class members.

XVI. LAUNDRY AND SUPPLY ISSUES

       The laundry service was managed by a private contractor throughout the institution,

though it was actually laundered at California State Prison/Solano. The SQ-PIP generally had a

sufficient supply of laundry, including linens, smocks, jackets, blues, and whites. A fresh set of

whites were available to patients three times a week consistent with their shower schedule.

Blues and linens were refreshed once a week. Generally extra articles of clothing were available

in various sizes for emergencies, however, staff reported rare occasions when the patient had to



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remain in their wet or soiled clothing until an appropriately sized replacement was located.

During the site visit, several clothing carts with limited selections were out on the unit, however,

the supply closets had sufficient supply. Laundry services were also provided for patients with

personal articles of clothing through the canteen, yet patients rarely availed themselves of this

service as personal articles of clothing often went missing. An ongoing issue was that clothing

that left SQ in good condition was often replaced with torn and tattered pieces when returned.

       The SQ-PIP had sufficient supplies of personal grooming items on psych tech carts, along

with additional inventory in a stock room. Nursing and psych techs were primarily responsible

for the distribution of personal grooming items. Most patients used electric razors, either a

personal razor or one loaned to them by the facility. Staff reported a barber came to the unit to

provide haircuts two to four times per month.

XVII. VISITATION/PRIVILEGES/TELEPHONE ACCESS

       Absent clinical or security concerns, contact visits were available to all residents of the

SQ-PIP. Similar to the rest of the institution, visits were allowed four days a week and lasted

between four and five hours. No patients were restricted from contact visits at the time of the

site visit. Attorney or legal visits were available every day of the week.

       The privileges a patient had at the time he entered the SQ-PIP continued to be available

to him, unless otherwise restricted. Daily phone access, use of the day room, and personal

electronic devices, such as TVs and headphones were available to patients. Other incentives

included upgraded grooming supplies, art supplies, books and other reading materials, CD

players, and CDs.




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XVIII. LAW LIBRARY ACCESS

       Based upon staff and patient interviews, it was clear that policy allowing access to the

law library was not well known by either staff or patients at the time of the site visit. The

procedure for accessing the law library was the same throughout the institution, but a policy

specific to the SQ-PIP was issued in December 2017. Each patient was allowed one request per

week to visit the law library. In addition, a legal kiosk was available in the day room for use by

patients. The kiosk was often broken for weeks at a time, therefore it was not reliable. The

library available to SQ-PIP patients was shared with the condemned unit and the alternative

housing unit. The law library was the non-contact visiting area re-purposed for library space

upon conclusion of visits each day. There was one desk at this location available for the

librarian. Patients were placed in therapeutic modules and provided materials by the librarian.

XIX. EDUCATION

       The San Quentin education unit staff were available to assist SQ-PIP patients, though at

the time of the visit, no one was utilizing the service. It was unclear that patients were aware that

the use of educational services was an option for them. However, staff reported that educational

services were not being sought at the time, due to the acuity of the mental health issues and the

lower level functioning in the current patient group.




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                              APPENDIX B-1
                              DSH-Atascadero
                     January 9, 2018 – January 11, 2018




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Patient A

This patient was admitted to DSH-Atascadero on October 24, 2017. The patient also had a
history of inpatient treatment at CMF-PIP acute care from July 7, 2017 to October 24, 2017; he
was subsequently transferred to DSH-Atascadero for intermediate care. He was provided with a
diagnosis of Schizophrenia. He was prescribed aripiprazole, paroxetine and hydroxyzine.

The patient was originally transferred from the Substance Abuse Treatment Facility (SATF)
MHCB to CMF acute care on July 7, 2017 due to psychotic symptoms, including response to
auditory hallucinations, depressed mood, command auditory hallucinations, thought blocking
and guardedness. He reportedly reached maximum clinical benefit in the acute care program,
with medication adherence, good ADLs and group participation; subsequently, he was
transferred to DSH-Atascadero for intermediate care.

A SRA was completed on October 31, 2017. Based upon the SRA, the patient was assessed with
low risk for suicide and self-harm. He reportedly had no history of suicide attempts or extensive
self-injurious behaviors. The assessment included an assessment of protective factors that may
decrease the risk of suicide; this was an issue noted during the July 2017 DSH-Atascadero Joint
Commission survey. The Security/Escape Risk Assessment was also assessed as low.

The seven-day initial treatment plan dated October 31, 2017 was reviewed. The plan noted that
the patient was enrolled in eight hours of core treatment groups on the unit. Treatment outcome
expectations included medication adherence, decrease in psychotic symptoms, 75- to 80-percent
group attendance, improved insight regarding his mental illness and developing coping skills to
deal with depression and mood swings.

The subsequent monthly treatment plan was dated November 7, 2017. The plan included the
same treatment outcome expectations with little update regarding current functioning.

Nursing Weekly Progress Notes were reviewed. The patient was transferred from the admission
Unit 6 to treatment unit 30 on November 29, 2017. Documentation indicated that the patient was
adherent with prescribed medications and was involved in unit activities. His behavior was
described as calm and cooperative.

Weekly Psychiatric Progress Notes were also reviewed. It was noted that the patient had
significant weight gain in a short period of time, which was probably medication-related. He
was referred to the Taking Responsibility for Eating and Exercise Program. He required no as
needed (prn) or stat medications administered during the review period. His medications were
adjusted to address his weight gain.

There was documentation of social work contact on the day after admission and a 30-day
Psychosocial Assessment on November 17, 2017.



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Findings

The care provided to this patient appeared to be appropriate. He was followed weekly by the
psychiatrist, and treatment goals appeared to be individualized; however, many portions of the
treatment plan were repetitious. There was documentation of weekly nursing progress notes.
There was also documentation of at least weekly clinical contacts with the psychiatrist. Initial
assessments were completed by the necessary disciplines, and these evaluations were
comprehensive and clinically relevant. Appropriate laboratory testing was conducted.

Patient B

This patient was admitted to DSH-Atascadero on November 6, 2017. He was provided with
diagnoses of PTSD, Unspecified Depressive Disorder, Antisocial Personality Disorder,
Amphetamine-type Substance Use Disorder, Opioid Use Disorder, and Cannabis Use Disorder.
He was prescribed Abilify, Prozac, Cardura and Vistaril.

According to the initial psychiatric assessment, this patient had a history of treatment at the EOP
and Correctional Clinical Case Management System (3CMS) levels of care in CDCR. He was
admitted to the MHCB after swallowing razors and cutting his arm during May 2016. He
returned to the MHCB during October 2017 when his daughter experienced mental health issues
and was suicidal. He threatened to hang himself when told that he would be returned to KVSP.
He was subsequently admitted to DSH-Atascadero for intermediate care.

An initial SRA was completed on December 13, 2017, which determined that the patient had
moderate risk for suicide or self-harm at DSH-Atascadero. The SRA noted that past CDCR risk
assessments deemed the patient with moderate acute and chronic suicide risk. The assessment
included an assessment of protective factors that may decrease the risk of suicide; this was an
issue noted during the DSH-Atascadero July 2017 Joint Commission survey. The
Security/Escape Risk Assessment was also assessed as low.

Initial assessments were also completed by the rehabilitation therapist, social worker,
psychologist and nursing staff. These assessments were comprehensive and clinically relevant.

The patient transferred from the admissions unit to treatment unit 32 on December 6, 2017.
Progress notes indicated that he followed unit rules and routines; however, he was suspected of
engaging in bartering and trading behaviors that were against unit and hospital rules. He actively
participated in group activities.

The initial treatment plan dated November 14, 2017 noted the patient’s history as well as his
enrollment in six hours of treatment groups per week. Treatment outcome expectations included
no suicidal ideation/behavior for at least 45 days, decrease in depression and anxiety and the
development of new skills for coping with PTSD symptoms to allow functioning in the EOP.
Subsequent plans included the same treatment outcome expectations, but also noted the patient’s
good functioning on the unit and his treatment participation. The most recent treatment plan

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dated December 11, 2017 indicated that the patient was enrolled in 12 hours of treatment groups
per week.

Progress notes by the psychologists indicated that the patient was seen weekly “due to moderate
suicide risk”. During these “check-ins” he was described as extremely motivated for treatment.
He denied suicidal ideation and exhibited normal mood. On December 13, 2017, his SRA was
updated, and his risk level was decreased to low. No documentation of this updated assessment
was located in the healthcare record.

There was documentation of weekly psychiatric contact. Progress notes indicated that the patient
had been stable since his admission and was actively involved in treatment.

Findings

The care provided to this patient appeared to be appropriate. He was followed weekly by the
psychiatrist, and treatment goals appeared to be individualized; however, many portions of the
plan were repetitious. There was documentation of weekly nursing progress notes. There was
also documentation of at least weekly clinical contacts with the psychiatrist. Initial assessments
were completed by the necessary disciplines, and these evaluations were comprehensive and
clinically relevant. Appropriate laboratory testing was conducted.

Patient C

This patient was admitted to DSH-Atascadero on November 13, 2017 from SATF. He was
admitted after exhibiting decompensation in the EOP unit with chronic depression, daily auditory
hallucinations and inability to function in the EOP. He was provided with diagnoses of
Schizoaffective Disorder, depressive type, Amphetamine-type Substance Use Disorder, Alcohol
Use Disorder, Opioid Use Disorder, Cannabis Use Disorder and Antisocial Personality Disorder.
He was prescribed mirtazapine, olanzapine, citalopram and hydroxyzine.

Progress notes indicated that the patient was isolative and withdrawn since his admission to
DSH-Atascadero with lack of motivation to participate in treatment and clinical activities. He
continued to have depressive symptoms. He gradually began engaging more in the milieu with
improved interaction with staff and peers and attending groups. According to the monthly
treatment plan, the patient was enrolled in ten hours of core treatment groups on the unit on
December 13, 2017. Treatment outcome expectations in that treatment plan included decreasing
depressive symptoms, not sleeping more than eight hours per day, finding the correct medication
regime, attending groups consistently, attending yard and leisure activities. These treatment
outcome expectations were unchanged from those outlined in the initial treatment plan dated
November 22, 2017.

A SRA completed on November 20, 2017 assessed the patient with low risk for suicide while
housed at DSH-Atascadero.


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An Admission Psychological Assessment for Free-Standing Hospitals was completed by the
psychologist on November 20, 2017. The Admission Psychiatric Assessment was completed by
the psychiatrist on November 13, 2017. Initial assessments were also completed by the
rehabilitation therapists, nursing and the social worker.

The patient was transferred from the admission unit to treatment Unit 32 on December 18, 2017.
Documentation indicated that the patient attended groups without prompting. The most recent
progress notes indicated that the patient remained with depressed mood, with some improvement
in his auditory hallucinations. He reported that he learned that his mother had breast cancer.
Although the patient requested an increase in his antidepressant medication, the psychiatrist
noted the patient’s propensity to request polypharmacy and a recent increase in antidepressant
medication.

Findings

The care provided to this patient appeared to be appropriate. He was followed consistently by
clinical staff with appropriate medication management. Treatment goals were individualized,
but portions of the treatment plan were repetitious. There was documentation of weekly nursing
progress notes. Initial assessments were completed by the necessary disciplines, and these
evaluations were comprehensive and clinically relevant. Appropriate laboratory testing was
conducted.

Patient D

This patient was admitted to DSH-Atascadero on October 31, 2017. He had a history of prior
EOP treatment. He was initially referred to an MHCB, and then CHCF-PIP following a suicide
attempt by cutting his wrist during August 2017.

The patient was provided with diagnoses of Schizoaffective Disorder, depressive type, Alcohol
Use Disorder, Cannabis Use Disorder and Antisocial Personality Disorder. He was prescribed
Prozac, Cogentin, mirtazapine, olanzapine, propranolol, valproic acid and perphenazine with
intramuscular injections ordered in the event of medication refusal. The patient received his
psychotropic medications by PC 2602 order due to dangerousness to self, which would expire on
May 3, 2018.

A DSH Admission Psychiatric Evaluation was completed on October 31, 2017. At the time of
this evaluation, his suicide and self-injurious risk was assessed as low. He was subsequently
seen by the psychiatrist on the following dates: November 9, 2017, November 13, 2017,
November 17, 2017, and November 30, 2017.

Initial assessments were completed by the rehabilitation therapist, nursing and the social worker.
There was also documentation of weekly nursing contacts.



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The seven-day initial treatment plan was dated November 9, 2017. It noted that the patient was
enrolled in seven hours of treatment groups. Treatment outcome expectations included decrease
in depression and suicidal ideation from daily to no more than weekly, decrease in daily auditory
hallucinations and abstaining from self-injurious behavior, decrease in mood lability, increase in
impulse control and increase in distress tolerance. Psychiatric treatment goals included decrease
in auditory hallucinations and depression while minimizing polypharmacy and side
effects/adverse reactions.

The patient transferred to the treatment Unit 32 on December 21, 2017. He reportedly followed
unit rules, routine and milieu. He was offered a minimum of ten hours per week of supplemental
leisure activity hours, and the staff continued to encourage his participation.

Findings

The care provided to this patient appeared to be appropriate. Initial evaluations were completed,
and he was followed consistently by clinical staff. Treatment goals were individualized. There
was, however, no documentation of psychiatric contact after the patient was transferred from the
admissions to the treatment unit. The appropriate laboratory testing was conducted, except for a
valproic acid level which was not obtained; however, documentation by the psychiatrist
explained this omission.

Patient E

This patient was admitted to DSH-Atascadero on September 18, 2017 from SVSP-PIP. He was
initially admitted to an MHCB on October 5, 2016 after cutting himself; this eventually led to
admissions at DSH-Stockton24 and subsequent transfer to Salinas Valley Psychiatric Program25
(SVPP) on April 3, 2017. The patient also had a prior history of treatment at DSH-Atascadero
under PC1370 (incompetent to stand trial) from November 21, 2013 to March 26, 2014.

The patient had a significant history of five suicide attempts by cutting (neck and wrist) and by
overdose on Seroquel; there was also mention in the healthcare record of a suicide attempt by
hanging. He was provided with diagnoses of Bipolar I Disorder, current or most recent episode
depressed with psychotic features and Amphetamine-type Substance Use Disorder. He was
prescribed lithium, mirtazapine, amantadine and ziprasidone.

The Initial DSH treatment plan dated September 26, 2017 noted the reason for referral and
treatment outcome expectations as expecting the patient to take 90 percent of prescribed
psychotropic medications and to participate in at least 90 percent of mental health services, to
decrease thoughts/urges to engage in self-injurious behavior to less than monthly and to obtain

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     Prior to Lift and Shift, CHCF-PIP was known as DSH-Stockton.

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     Prior to Lift and Shift, SVSP-PIP was known as SVPP.


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75 percent improvement in self-reported depression and anxiety and observable agitation. His
suicide/self-harm risk was assessed as low while at DSH-Atascadero, as was his violence risk.

The patient was seen by the psychiatrist on the following dates: September 28, 2017, October 2,
2017, October 18, 2017, November 7, 2017, November 14, 2017, and December 18, 2017.
Progress notes indicated that the patient had some mild mood fluctuation while housed on the
admissions unit; however, he generally remained stable and he was transferred to the treatment
Unit 30 on or about November 7, 2017.

Treatment plans were completed monthly. An October 19, 2017 treatment plan noted that the
patient was adherent with treatment on the admissions unit with good group attendance and
“seldom” reported suicidal ideation. At that time, he was enrolled in six hours of treatment
groups with 100-percent attendance. The subsequent treatment plan dated November 17, 2017,
after the patient was transferred to the treatment unit, was essentially unchanged from the prior
treatment plan, including the description of the patient’s current functioning on the unit. The
most recent treatment plan was also essentially unchanged; it did note that the patient was
enrolled in eight hours of treatment groups and that his group attendance was at 95 percent. It
appeared that the patient was doing well, but with some continued depressive symptoms.

Findings

The care provided to this patient appeared to be appropriate. He was followed consistently by
clinical staff with appropriate medication management. Treatment goals were individualized;
however, it should be noted that most of the plans contained essentially the same, repetitious
information. There was documentation of weekly nursing progress notes. Initial assessments
were completed by the necessary disciplines, and these evaluations were comprehensive and
clinically relevant. Appropriate laboratory testing was conducted.

Patient F

This patient was admitted to DSH-Atascadero from CHCF-PIP acute care program on October
10, 2017. He was admitted due to psychotic symptoms including auditory hallucinations,
persistent homicidal ideation and thoughts of self-harm with worsening depression and anger.
He was provided with the following diagnoses: Borderline Personality Disorder, Alcohol Use
Disorder, Amphetamine Use Disorder and Phencyclidine Use Disorder. He was prescribed
mirtazapine, hydroxyzine, olanzapine, and Depakote.

The initial treatment plan dated October 17, 2017 documented treatment outcome expectations
that included discontinuation of self-harm incidents, complete medication adherence and
decrease in the intensity of suicidal and homicidal ideation to four out of ten for the next 180
days. An initial SRA determined that the patient posed moderate risk for self-harm/suicide while
at DSH-Atascadero. His violence risk was assessed at low. He was enrolled in six hours of
treatment groups.


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The patient transferred from the admissions Unit 13 to treatment Unit 33 on November 22, 2017.
At that time, he was enrolled in eight hours of treatment with two hours pending. The most
recent treatment plan was dated November 28, 2017. The plan noted that the patient generally
followed unit routine and adhered to rules, but that he required prompts to attend core treatment
groups conducted on the unit.
The most recent progress notes indicated that the patient reported a recent increase in auditory
hallucinations; he did not express suicidal or homicidal ideation. The psychiatrist noted on
January 9, 2018 that the patient’s depression and anxiety had increased compared to the previous
month. At that time, Abilify was discontinued due to the side effect of akathisia, and olanzapine
was prescribed.

Findings

The care provided to this patient was appropriate. He was followed consistently by clinical staff.
He was followed at least monthly by the psychiatrist with appropriate medication management.
Treatment goals were individualized; however, it was noted that most of the plans contained
essentially the same, repetitious information. There was documentation of weekly nursing
progress notes. Initial assessments were completed by the necessary disciplines, and these
evaluations were comprehensive and clinically relevant. Appropriate laboratory testing was
conducted.

Patient G

This 31-year-old male was transferred from the CMF-PIP to DSH-Atascadero on October 5,
2017. His history of present illness began around age 11, when he initially began experiencing
visual hallucinations. He also reported the presence of chronic auditory hallucinations.

The DSH admission psychiatric evaluation was comprehensive. It appeared that the patient was
transferred to DSH-Atascadero for treatment at his LRH and for intermediate level of care. The
initial psychiatric assessment included a SRA. He was provided with admission diagnoses of
Major Depressive Disorder, recurrent, severe with psychotic features, PTSD, and Alcohol Use
Disorder, severe, in a controlled environment. A reasonable initial treatment plan was included
in the initial psychiatric admission note.

Abnormal Involuntary Movement Scale (AIMS) testing was performed upon admission.

Weekly psychiatric progress notes were dated October 9, 2017, October 16, 2017, November 6,
2017 and November 16, 2017. Quarterly physician notes were dated November 16, 2017 and
January 4, 2018. Monthly psychiatric contacts were also documented; the initial psychiatric
progress note was dated December 6, 2017. The quality of these progress notes was good.

Nursing progress notes were present consistently. A 30-day psychosocial assessment was
completed by the social worker, which was also comprehensive. The initial five-day
psychosocial assessment was completed on October 9, 2017. The rehabilitation therapy

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assessment, which was also comprehensive and clinically relevant, was completed on October
17, 2017. Subsequent rehabilitation therapy progress notes were dated November 6, 2017 and
November 13, 2017. The admission psychological assessment, which was also comprehensive
in nature, was completed on October 9, 2017. Psychology progress notes were dated December
27, 2017 and January 5, 2018.
The initial treatment plan was finalized on October 20, 2017. Diagnoses included in the
treatment plan were consistent with the psychiatric admission assessment. All the appropriate
disciplines were present at the treatment planning meeting. A November 29, 2017 updated
treatment plan was reviewed. This treatment plan did not include revised interventions for
elements of the treatment plan for which the status of the objective was listed as “not met.” A
progress note by the rehabilitation therapist addressed the patient’s participation in assigned
group treatments.

Findings

The mental health care provided to this patient was appropriate. All the relevant disciplines
documented timely initial comprehensive assessments. Progress notes were most consistently
written by the psychiatrist, rehabilitation therapist and nursing staff.

Patient H

This 25-year-old man was admitted to DSH-Atascadero on September 13, 2017 after transfer
from DSH-Stockton, where he was provided with diagnoses of Major Depressive Disorder with
psychotic features and Posttraumatic Stress Disorder. He was transferred from the acute
treatment program at DSH-Stockton following an assessment that he had reached maximum
medical benefit from the acute care program. The initial psychiatric examination and
documentation were comprehensive and included a SRA, AIMS testing and a self-injurious
behavior assessment.

Admission diagnoses included Major Depressive Disorder, recurrent with psychotic features,
Posttraumatic Stress Disorder, Cannabis Use Disorder, moderate, in a controlled environment,
Amphetamine-type Substance Use Disorder, severe, in a controlled environment and Alcohol
Use Disorder, severe, in a controlled environment. The psychiatric admission diagnostic
formulation and initial treatment plan were clinically appropriate.

Weekly psychiatric progress notes were dated September 20, 2017, September 25, 2017, October
11, 2017, October 18, 2017 and November 14, 2017 (this was a monthly/transfer psychiatric
progress note). The September 20, 2017 psychiatric progress note documented the reasons for
changing this patient’s diagnosis from Major Depressive Disorder to Borderline Personality
Disorder. Unfortunately, the content of the weekly progress notes was mainly cut and pasted
from the previous weekly progress note.

Monthly psychiatry progress notes were also documented on October 18, 2017 and November
14, 2017. Psychiatric progress notes were not located in the healthcare record after November

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14, 2017.

A 30-day psychosocial assessment was completed on October 2, 2017 by the social worker.
Other social worker’s notes were dated December 7, 2017 and December 14, 2017. Subsequent
progress notes by the rehabilitation therapist were dated September 29, 2017, October 6, 2017,
October 13, 2017, October 20, 2017, October 26, 2017 and December 18, 2017. These notes
generally addressed treatment attendance. The diagnoses listed in these notes were not
consistent with the change in diagnosis to Borderline Personality Disorder.

A vocational rehabilitation assessment was completed on December 14, 2017.

In the attendance tab of the healthcare record, there were finalized mall facilitator monthly
progress notes present via a form, but some of these forms were incomplete.

RN progress notes were completed consistently.

The initial psychological assessment was completed on September 18, 2017. Subsequent
progress notes by the psychologist were dated September 20, 2017, October 11, 2017, October
19, 2017, November 2, 2017, November 8, 2017, November 29, 2017, December 13, 2017 and
January 4, 2018. The initial psychological assessment included very specific treatment
recommendations, which appeared to have been implemented.

The seven-day initial treatment plan, which was dated October 2, 2017, was reviewed. The
treatment plan included appropriate problems to be addressed with specific interventions. All
members of the treatment team were present during the initial treatment plan meeting.
Subsequent treatment plans were dated October 20, 2017 and November 1, 2017. They were
essentially unchanged from previous treatment plans.

Findings

In general, this patient appeared to be receiving adequate treatment; however, there were
documentation issues noted. Review of this healthcare record demonstrated concerns.
Diagnoses among the disciplines were inconsistent. There was a lack of documentation of
psychiatric contact since November 14, 2017. Additionally, weekly notes by the psychiatrist
were commonly cut and pasted, almost in entirety, from the previous weekly note.

The patient was receiving individual therapy from the psychologist.

Patient I

This man was admitted to DSH-Atascadero on November 7, 2017. On October 18, 2017, he
reportedly had recently become increasingly confused and disorganized. He began to
demonstrate improvement after treatment with Zyprexa and Depakote. Despite this treatment; he


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continued to be symptomatic, which resulted in transfer to DSH-Atascadero for continued
evaluation, stabilization and treatment.

The admitting psychiatric examination report was comprehensive. He was provided with
admission diagnoses of Schizoaffective Disorder, current episode manic and Alcohol Use
Disorder, severe, in a controlled setting. The initial treatment plan included
psychopharmacological interventions.

AIMS testing was completed upon admission.

Weekly psychiatric progress notes were present in the healthcare record for November 14, 2017,
November 20, 2017 and December 5, 2017. These notes were, however, essentially cut and
pasted from the initial weekly progress note.

A 30-day psychosocial assessment was completed by the social worker on November 22, 2017.
Other social worker notes were dated November 8, 2017 and January 8, 2018.

The DSH admission nursing assessment was completed on November 7, 2017. Nursing progress
notes were present in the healthcare record on at least a weekly basis. The acute/admission
rehabilitation therapy progress note was completed on that same date. The admission
psychological assessment form was completed on November 9, 2017.

The attendance record tab did not contain any documentation.

A December 6, 2017 finalized treatment plan was reviewed. The current status in the treatment
plan indicated that this patient had been determined to meet MDO criteria. He was reportedly
enrolled in six hours of treatment groups per week, and he attended 100 percent of the scheduled
groups. The treatment plan was appropriate for this patient’s clinical presentation.

Findings

This patient was receiving mental health services at the appropriate level of care in the
intermediate care program. He would benefit from receiving more than six hours per week of
structured therapeutic activity.

Patient J

This 30-year-old man was admitted to DSH-Atascadero on September 27, 2017. His chief
complaint was “I think I’m here because of my paranoia.” Previous hospitalizations included
DSH-Vacaville and DSH-Atascadero (2016). The psychiatric examination report was
comprehensive; although it was vague regarding the events leading to his current hospitalization.

The patient was provided with diagnoses of Schizophrenia, Cannabis Use Disorder, severe, in a
controlled setting and Amphetamine Use Disorder, severe, in a controlled setting. The initial

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psychopharmacological treatment plan included continuation of Haldol Decanoate and
olanzapine.

Psychiatric progress notes indicated that the patient was seen by the psychiatrist on the following
dates: October 3, 2017, October 4, 2017, October 13, 2017, October 17, 2017, October 24, 2017,
October 26, 2017, November 7, 2017, and December 1, 2017. In general, these notes were more
individualized as compared to notes by psychiatrists reviewed in other DSH-Atascadero
healthcare records, but significant cutting and pasting was apparent in the notes using the
monthly/transfer psychiatric progress note forms.

Weekly nursing progress notes were generally present in the healthcare record, in addition to
more frequent nursing notes.

The admission psychological assessment form was completed on September 29, 2017.
Subsequent notes by the psychologist were dated December 26, 2017 and December 28, 2017.
This assessment was comprehensive.

The 30-day psychosocial assessment was completed on October 12, 2017. Other notes by the
social worker indicated contacts on September 28, 2017, November 7, 2017, and December 21,
2017.

The 30-day rehabilitation therapy assessment was completed on October 2, 2017. Other notes by
the rehabilitation therapist were dated October 12, 2017, October 19, 2017, November 2, 2017,
and November 21, 2017.

The attendance record tab in the healthcare record contained no documentation.

An October 11, 2017 finalized treatment plan was reviewed. The psychiatrist was not in
attendance at this treatment team meeting. A November 16, 2017 treatment plan was reviewed,
which was almost identical to previous treatment plans. One problem in the earlier treatment
plan was no longer present on the current treatment plan, without any explanation being
provided. The psychologist and nurse practitioner were also not present at the treatment team
meeting.

The treatment plan indicated that this patient was enrolled in six hours of treatment groups. For
the period from September 10, 2017 to October 14, 2017, he attended 100 percent (one of one) of
his enrolled treatment groups, which was inconsistent with the treatment plan statement that he
was enrolled in six hours of treatment groups.

Findings

The mental health care provided to this patient appeared to be appropriate. Initial assessments
were completed timely and were comprehensive. The content in the various psychiatrists’
progress note forms and treatment planning forms was difficult to distinguish, because cutting

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and pasting was widely used. It was difficult to determine the patient’s level of participation in
structured activities based upon the information available.

Patient K

This 24-year-old man was admitted to DSH-Atascadero on September 6, 2017 from the CHCF-
PIP with the chief complaint that he was “having a rough time when I showed up at Tehachapi.”
The reason for admission was to facilitate his out of cell time for at least two weeks and to
decrease his agitation and impulsivity for a similar period of time. His diagnoses included
Schizophrenia and Alcohol Use Disorder. A clinically appropriate psychopharmacological
treatment plan was summarized.

Subsequent psychiatric progress notes were dated September 14, 2017, September 22, 2017,
October 5, 2017, October 13, 2017, October 16, 2017, November 6, 2017, December 5, 2017,
and January 1, 2018. There was minimal use of cutting and pasting within these notes.

Nursing notes were written on a timely and consistent basis.

The admission psychological assessment was completed on September 13, 2017, which was
comprehensive in nature. Diagnoses were consistent with the psychiatric admission note.
Treatment recommendations were present, which were appropriately based on the diagnostic
assessment. Follow-up notes by the psychologist were dated September 14, 2017, October 5,
2017, October 17, 2017, and December 5, 2017.

The acute/admission rehabilitation therapy note was dated September 6, 2017 with follow-up
notes documented on September 13, 2017, October 10, 2017, November 13, 2017, and
December 4, 2017. The December 2017 note indicated that this patient had been participating in
11 hours per week of supplemental activities during the past 90 days.

A vocational rehabilitation assessment was completed on December 11, 2017. The patient was
recommended for work placement in housekeeping up to 20 hours per week.

A 30-day psychosocial assessment was completed on September 14, 2017. Other social worker
notes were dated September 6, 2017, October 12, 2017, and December 7, 2017. The psychiatrist
and nursing staff were not present at the team meeting. Treatment plan updates were dated
October 5, 2017, October 20, 2017, and December 12, 2017. All members of the treatment team
were present at these meetings. In general, these treatment plans were identical, even when the
target dates for various objectives were not met. Under such circumstances, the target date was
changed, but there was no change in the treatment interventions.

Findings

The mental health care provided to this patient appeared to be appropriate. The admission notes
by the various disciplines were completed timely and were comprehensive. The use of “cut and

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pasting” only minimally occurred in psychiatric progress notes. The initial treatment plan was
appropriate in content, but subsequent treatment plan reviews were little changed despite target
dates not being met.

Patient L

This 49-year-old man was admitted to DSH-Atascadero on August 16, 2017 with the chief
complaint of needing help with depression and anxiety. He had been transferred from DSH-
Stockton where he had been provided with a diagnosis of Schizoaffective Disorder, depressed
type and treated with psychotropic medications. His diagnosis on admission was the same, with
the addition of Alcohol Use Disorder, Amphetamine-type Substance Use Disorder and Cannabis
Use Disorder being added. The initial psychopharmacological treatment plan included
continuation of Risperdal, changing Effexor from the extended release formulation to immediate
release formulation, continuing Vistaril and adding Thorazine on an as needed basis.

Subsequent notes by the psychiatrist were dated August 24, 2017, August 31, 2017, September
14, 2017, September 29, 2017, October 2, 2017, October 3, 2017, October 10, 2017, November
15, 2017, December 12, 2017, and January 10, 2018. The amount of cutting and pasting used in
these progress notes ranged significantly from note to note.

Nursing notes were present on a consistent and timely basis.

Admission notes by the psychologist, social worker, and rehabilitation therapist were
comprehensive and timely. Other notes by the psychologist were not located in the healthcare
record. Follow-up notes by the rehabilitation therapist were dated August 31, 2017, September
7, 2017, September 13, 2017, September 21, 2017, September 28, 2017, October 11, 2017, and
November 15, 2017. The November 15, 2017 note indicated that this patient had been
participating in about 6.5 hours per week of supplemental activities during the previous 90 days.

Clinical social work progress notes were dated August 17, 2017, September 29, 2017, and
December 1, 2017.

The attendance record tab in the healthcare record included monthly PSR mall facilitator
monthly progress notes.

The August 30, 2017 treatment plan was clinically appropriate. The team meeting was attended
by all of the core treatment members. Few changes were noted in subsequent treatment plans.

Findings

The mental health care provided to this patient appeared to be appropriate. The admission notes
by the various disciplines were completed timely and were comprehensive. The initial treatment
plan was appropriate in content; but subsequent treatment plan reviews were little changed,
despite target dates not being met.

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                             APPENDIX B-2
                              DSH-Coalinga
                     January 4, 2018 – January 5, 2018




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Patient A

This healthcare record was reviewed to evaluate the provision of intermediate care treatment at
DSH-Coalinga. The patient was admitted to DSH-Coalinga from CDCR on December 19, 2017,
due to paranoia and lack of program participation. He was provided with diagnoses of
Schizophrenia, Alcohol Use Disorder, moderate, in a controlled setting, Cannabis Use Disorder,
severe, in a controlled setting and Amphetamine-type Substance Use Disorder, in a controlled
setting. He was prescribed Haldol. The patient had an extensive mental health history in the
community and in prison and had a prior DSH admission in 2015 for approximately four and
one-half months. Treatment goals included exhibiting less paranoia and having more
spontaneous social interactions and increasing insight regarding the need for continued mental
health treatment. The SRA, completed on December 20, 2017, determined the suicide risk to be
low.

On December 21, 2017 the psychology admission assessment noted that the patient had refused
to leave his cell while at CDCR and reported anxiety around people. The patient reported
auditory and visual hallucinations. On December 27, 2017 during the admission evaluation, the
psychiatrist noted that the patient was responding to internal stimuli.

Interdisciplinary progress notes indicated that the patient had poor hygiene and required
prompting to complete activities of daily living. He was described as occasionally disheveled,
but was without negative behavioral issues. No information was available regarding group
activity. This was likely due to the fact that the patient was admitted during the therapy group
break week and documentation was printed and placed in the healthcare record monthly.

The seven-day treatment team document dated December 27, 2017 contained minimal
information regarding treatment; instead, it stated that groups would be determined as more
information was collected. The provision of treatment beyond medication management at the
time of the monitoring visit was not documented in the treatment plan. No individual treatment
was provided, in spite of the known lack of group treatment availability.

Findings

There was minimal documentation regarding treatment beyond medication management located
in the healthcare record. It was inappropriate for the patient to have been admitted for 16 days
without a clear plan of treatment beyond medication management. Although some of this was
attributable to the work holidays and scheduled treatment break, individual therapy should have
been at least temporarily provided to assist in the patient’s transition while there was no
scheduled group therapy and staff absences due to the holidays. Brief behavioral interventions
could be effective with specific functional deficits and supportive therapy could have been
initiated while a psychologist completed a functional assessment to identify antecedents to
treatment refusal. This was particularly indicated, in light of the patient’s clinical presentation
and reason for referral. Based on the lack of available documentation, and failure to provide


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individual therapy to assist the patient in adjusting to the hospital environment, care was
inadequate.

Patient B

This healthcare record was reviewed to evaluate the provision of intermediate care treatment at
DSH-Coalinga. The patient was admitted to DSH-Coalinga on May 24, 2017 from SVSP. All
initial assessments were completed timely. He was provided with diagnoses of Major
Depressive Disorder, single episode, moderate, without psychosis, Generalized Anxiety Disorder
and Cannabis Use Disorder, moderate, in a controlled environment. The patient was prescribed
hydroxyzine, oxcarbazepine, Vistaril and Trileptal. He was generally adherent with prescribed
medications.

The patient was seen weekly by psychology for individual therapy during August and September
2017; however, documentation did not always correlate with the treatment plan. Additionally,
the documentation indicated that the contacts may have been clinical check-ins, rather than
therapeutic clinical sessions. The last individual therapy contact was dated September 13, 2017.
No further contacts were documented, including required monthly psychology contacts, until
December 6, 2017, when a termination of individual therapy note was written. It was unclear
whether this reflected a healthcare records filing issue or missed clinical contacts. Management
staff was unable to identify the cause of the lack of documentation during the monitoring visit.

The initial seven-day treatment plan was not fully completed in all areas, but it did include focus
areas and specific treatment groups that were related to the reason for referral. The patient was
referred because he could not function within the EOP setting, as exhibited by poor program
adherence, severe anxiety and depression. The most recent treatment plan on December 19,
2017 noted treatment outcome expectations that were a combination of subjective and objective
goals. Only some goals were related to the reason for referral. The psychiatric and
psychological focus area contained old progress update information from September 2017 that
had not been updated. The November 21, 2017 treatment plan was identical in areas of
deficiency (e.g., outdated areas were exactly the same), and the previously strong areas contained
the same information, suggesting that cut and pasting had occurred. There were multiple pages
missing from several treatment plans in the healthcare record; October 2017 was missing the last
page, while September 2017 had only one page filed.

The patient was not seen timely by psychiatry in accordance with policy. The patient was
generally seen every three to four weeks by psychiatry.

Group therapy notes were reviewed for July, August, October, and December 2017. These group
treatment notes all appeared to have been cut and pasted, as the narrative portions were identical
across reporting periods, rendering the information uninformative. It should be noted that
nursing and rehabilitation notes contained valuable information related to the patient’s
functioning and progress.


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Findings

The documentation for this patient’s care was incomplete, and when present, was frequently
generic and repetitive. As a result, overall the documentation was not insightful as to the
patient’s progress beyond the medication issues being addressed monthly by the psychiatrist,
daily matters with nursing, and areas noted by the rehabilitation therapist. Because there was no
cohesive summary of the patient’s care, progress, and plan, it could not be determined what the
team had identified as current treatment targets based on the patient’s current status and
treatment progress. As a result of the documentation deficiencies, this patient’s care appeared to
be inadequate.

Patient C

This healthcare record was reviewed to evaluate the provision of intermediate care treatment at
DSH-Coalinga. The patient was admitted to DSH-Coalinga on November 9, 2017 from the
CMF-PIP acute care program. The patient was provided with diagnoses of Schizophrenia,
Borderline Personality Disorder, Gender Dysphoria and Schizoaffective Disorder. The DSH-
Coalinga admitting psychiatrist changed the diagnoses to Other Specified Schizophrenia
Spectrum and Other Psychotic Disorder and Cannabis Use Disorder, mild, in controlled
environment. No rationale was provided for eliminating the diagnosis of Gender Dysphoria at
that time; however, subsequently this diagnosis was restored.

The patient was prescribed clozapine, olanzapine and venlafaxine. She was also prescribed oral
estrogen. The patient had an extensive mental health history with multiple inpatient placements
in the community and while incarcerated. The psychiatrist saw the patient weekly for seven
weeks. Documentation was not located to verify that the patient was seen for the eighth week.
Psychiatry notes addressed the patient’s symptoms, concerns regarding her transgender status,
psychiatric symptoms and medication side effects.

The initial SRA by the psychologist was unsigned and not completed timely; the admission
evaluation and violence risk assessment were not completed at all or were not properly
completed. All other admission assessments were completed timely. The patient had an
extensive suicide history with multiple attempts secondary to delusions and repeated incidents of
suicidal ideation. The SRA identified the patient as transgendered, despite the psychiatrist
removing that diagnosis and not addressing this important issue.

The seven-day treatment plan on November 16, 2017 was not completed in entirety. It listed
treatment groups such as beyond current events, walk and talk, and civility now; although
beneficial, they were not clinically significant groups. The monthly treatment plan on December
7, 2017 indicated that the patient was not enrolled in many of his groups until November 17,
2017. There was no progress information provided at the December treatment team meeting
regarding those groups. The patient had reportedly not attended any of his social skills groups,
and his leisure and recreation (focus 10) had been cut and pasted from the initial treatment plan.
Only the rehabilitation therapist had updated the progress notes appropriately.

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There was a lack of documentation that the patient was seen monthly by psychology. The
patient was seen at least monthly by the rehabilitation therapist and documentation of provided
treatment was correlated with the treatment plan. The nursing documentation was
comprehensive.

This patient was also observed during a treatment team during the monitoring visit. The
treatment team discussed multiple treatment groups with the patient; the patient was apparently
enrolled in and attended a significant number of treatment groups not reflected in the treatment
plan or the healthcare record due to the lack of progress update notes in the December 2017
treatment plan. The treatment team was quite attentive to the patient’s concerns regarding her
unique needs and any safety concerns. While there was insufficient discussion in the treatment
team regarding actual treatment beyond medications, it appeared that more treatment was
provided than was reflected in the healthcare record.

Findings

The patient’s treatment was not adequate based upon documentation prior to the January 2018
observed treatment team meeting. It appeared that the patient’s Gender Dysphoria was not
appropriately addressed upon admission and the treatment plans were not adequately developed.
While it appeared that treatment improved, this patient would have benefitted from a
comprehensive psychological evaluation including psychological testing for diagnostic
clarification. Following completion of testing and diagnostic clarification, a comprehensive
treatment plan should be developed that incorporated the patient’s transgender status and needs.
Once these elements of care have been provided, treatment for this patient would be adequate;
however, at the time of the monitoring visit, she was not receiving adequate care based upon the
documentation in the healthcare record.

Patient D

A November 16, 2017 mental health consult inpatient report was reviewed. The patient was
housed in the CHCF MHCB. This consultation was requested due to repeated acts of self-
injurious behavior and chronic suicidal thinking. The clinical team recommended transfer to the
intermediate level of care.

This transgender (male to female) patient was admitted to DSH-Coalinga on December 22, 2017.
Her chief complaint was “severe anxiety. Anxiety around people, around crowds. Feeling
paranoid.”

The history of present illness indicated that this patient reported severe flashbacks, insomnia,
racing thoughts, mood lability, irritability, anxiety, paranoia and multiple hallucinations.
Treatment with Invega was described as beneficial. Her history was significant for severe
physical, sexual and emotional abuse by her mother and related family members. There was a
history of 32 suicide attempts.

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A comprehensive initial psychiatric assessment was documented. The diagnostic formulation
and differential diagnosis included PTSD and Gender Dysphoria. The initial treatment plan
included the use of Invega Sustenna, with Haldol and Ativan ordered on an as needed basis; in
addition, supportive educational therapy groups and leisure activities were also included.

AIMS testing was performed upon admission.

On December 20, 2017, this patient’s initial seven-day team meeting occurred.

A DSH SRA form was completed on December 26, 2017. Recommendations included update of
the SRA monthly and/or as clinically indicated, regular treatment team meetings with the patient
(i.e., possibly weekly for the subsequent month), identification of specific groups, treatment team
assistance to the patient to structure her time, and scheduling groups and other activities when
she could actively participate.

An admitting psychological admission note was not located in the healthcare record.

A December 28, 2017 treatment plan was reviewed. This treatment plan addressed issues
relevant to her self-injurious behaviors and suicidal thinking, as well as her history of psychotic
symptoms. It did not address issues related to her reported Gender Dysphoria or PTSD. The
listed diagnosis in the treatment plan was Schizophrenia. The psychiatrist was not present at the
treatment team meeting, but a covering psychologist was present.

Findings

The treatment plan was very problematic for the following reasons: The diagnosis of
Schizophrenia was provided in contrast to the diagnoses of PTSD and Gender Dysphoria, which
were the listed diagnoses in the DSH-Coalinga referral and the DSH-Coalinga admitting
psychiatric diagnoses. No explanation was documented relevant to this discrepancy. The initial
treatment team meeting was conducted without the team psychiatrist or psychologist present.
The psychiatric admission note apparently was not reviewed. Lastly, the treatment plan did not
address several issues specific to the reasons for this inmate’s referral to DSH-Coalinga.

Patient E

This patient was admitted to DSH-Coalinga on November 22, 2017. He had a chronic history of
self-injurious behaviors (over 200 incidents were noted), which were predominantly preceded by
time on an EOP yard. The patient never exceeded 17 days on an EOP yard before engaging in
cutting behaviors. The cutting behaviors were described by the patient as addictive.

A November 22, 2017 psychiatric admission evaluation report was reviewed. A history of three
lethal suicide attempts was reported. The diagnostic formulation indicated that the patient’s
chronic self-injurious behavior occurred due to impulsivity related to poor coping and frustration

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tolerance. He was provided with diagnoses of Borderline Personality Disorder and Impulse
Control Disorder NOS. This patient may have benefitted from dialectical behavioral therapy.

A November 27, 2017 social work admission note was reviewed; no other social work progress
notes were located in the healthcare record.

The November 29, 2017 report by the unit psychologist indicated that the patient’s presentation
was consistent with Borderline Personality Disorder and Impulse Control Disorder Not
Otherwise Specified (NOS). A cognitive behavioral approach was recommended. No other
notes written by a psychologist were located in the healthcare record.

A December 21, 2017 treatment plan was reviewed. The November 29, 2017 SRA was
summarized in this treatment plan. Treatment plan interventions focused on cognitive behavioral
interventions. The sections in the treatment plan entitled psychiatric and psychological,
dangerousness and impulsivity and substance abuse were all blank except for the notation
“TBD.”

On December 30, 2017, the patient was observed by DPS staff violating a no contact order by
attempting to place a collect call to his ex-wife. He was subsequently placed on an increased
observation status that resulted in progress notes being written every two hours. He previously
was on enhanced observation status shortly following admission due to potential dangerousness
to self.

Follow-up notes by the psychiatrist were dated weekly during December 2017.

Findings

The treatment plan was incomplete and, as a result, inadequate. Notes by the social worker and
psychologist were not present in the healthcare record since their initial admission notes.
Documentation by other clinical disciplines was timely and indicated frequent contacts.

Patient F

This patient was admitted to DSH-Coalinga on November 17, 2017. A November 22, 2017
admission psychological assessment report was reviewed; it indicated that the patient was
referred for treatment of ongoing auditory hallucinations that led to suicidal thinking. During a
past CMF hospitalization, the patient was provided with a diagnosis of Schizoaffective Disorder.
A history of past substance abuse was also noted. Diagnoses included Schizoaffective Disorder,
depressed type, Stimulant Use Disorder and Alcohol Dependence, moderate, in a controlled
environment.

An admission note by a psychiatrist was not located in the healthcare record.



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A December 13, 2017 treatment plan was reviewed; it was very problematic for the following
reasons. Diagnoses in the treatment plan were inconsistent. Major Depressive Disorder was
listed as a reason for psychotropic medication prescription; however, a nursing note immediately
below this diagnosis indicated that the patient was prescribed psychiatric medications for
Schizophrenia. Significant sections of the “focus” elements were missing with specific reference
to focus 1 (psychiatric and psychological). The psychiatrist and social worker were not present
at the treatment team meeting.

A November 22, 2017 DSH SRA form was completed by the psychologist. No other
psychologist’s notes since that time were located in the healthcare record.

No psychiatric notes were located in the healthcare record, with the exception of a January 3,
2018 note related to reassessment after an increase in Prozac.

Admission notes and other progress notes written by the rehabilitation therapist, nursing staff and
social worker were reviewed. No follow-up progress notes by the social worker were located in
the healthcare record.

Findings

Significant problems were present in the treatment plan as summarized above. Documentation
by the social worker, psychologist and psychiatrist was problematic due to the lack of consistent
documentation of clinical contact. The healthcare record did not document that adequate
treatment was provided to this patient.

Patient G

This patient was admitted to DSH-Coalinga on November 16, 2017. The admission psychiatric
evaluation indicated that his chief complaint was “I was sent here to be stabilized.”

His history of present illness indicated that symptoms included irritability, pacing, decreased
need for sleep, anxiety, psychomotor agitation, paranoia, and preoccupation with auditory
hallucinations. The diagnostic formulation indicated that he met criteria for a diagnosis of
Schizoaffective Disorder. The initial treatment plan included treatment with Depakote, Zyprexa
and Haldol.

Psychiatry progress notes were reviewed for November 22 and November 30, 2017.

An admission note from a psychologist was not located in the healthcare record. A DSH SRA
form was present, but was not completed.

A December 14, 2017 treatment plan was reviewed. The element of the treatment plan entitled
psychiatric and psychological indicated that the objective was “to be determined.” The treatment
plan did indicate appropriate medications specific to the diagnosis of Schizoaffective Disorder,

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bipolar type. The psychologist was not present at the treatment team meeting.

Notes written by nursing staff and the rehabilitation therapist were consistently present; no
documentation by the social worker was located in the healthcare record.

Findings

The treatment plan was incomplete and inadequate. Admission notes and progress notes by the
psychologist and social worker were not located in the healthcare record. The healthcare record
did not document that adequate treatment was provided to this patient.

Patient H

This patient was admitted to DSH-Coalinga on June 26, 2007. The psychiatric admission note
indicated that his presentation was consistent with the diagnoses of Major Depressive Disorder
with anxious distress, Antisocial Personality Disorder, possible Intermittent Explosive Disorder
and history of Attention Deficit Hyperactivity Disorder.

His healthcare was reviewed. The most recent treatment plan was dated December 26, 2017.
Diagnoses listed were Major Depressive Disorder, recurrent episode, severe and Antisocial
Personality Disorder. Focus 1 (psychiatric and psychological) of his treatment plan indicated
that the patient “will increase insight into mental illness and current experiences and remain
treatment compliant evidenced by attending over 70% of his groups and remaining on all
medications until discharge.” Regarding managing his mental illness, individual psychotherapy
and medication education, the treatment plan indicated that “current progress is not available.”

Regarding the above issues, another section of the treatment plan stated the following: “patient
will be able to identify challenges to participating in over 85% of his groups and understand
benefits of medication compliance in order to gain insight into his mental illness and current
experiences that have affected depressive symptoms including suicidal ideation. Progress will be
documented in monthly progress notes over the next 90 days.” The above was directly cut and
pasted from the November 22, 2017 treatment plan, which listed the target date for this objective
being met on December 20, 2017. The most recent treatment plan did not address issues related
to that target date not being met.

A DSH SRA form was completed by a psychologist on December 26, 2017. The previous SRA
was completed on June 28, 2017. No other notes by the psychologist were located in the
healthcare record.

The patient was followed consistently by the psychiatrist. Progress notes were also written by
the social worker, nursing staff, and rehabilitation therapist.




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Findings

The most recent treatment plan contained inconsistent objectives. It was also vague regarding
the patient’s presenting problems.

Notes by the psychiatrist, social worker and rehabilitation therapists were written consistently;
this was in contrast to documentation by the psychologist, which was deficient in the
documentation of contacts. The healthcare record did not document that adequate treatment was
provided to this patient.




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                            APPENDIX B-3
                                SVSP-PIP
                  December 19, 2017 – December 21, 2017




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Patient A

This patient was housed in the C5 housing unit. His healthcare record was reviewed to evaluate
the mental health services provided and to determine why he was not housed at his LRH. His
LRH was locked dorm.

This patient was admitted to the SVSP-PIP on August 5, 2017 from SVSP. He was provided
with a diagnosis of Bipolar Affective Disorder; an additional diagnosis of Borderline Personality
Disorder was also present in the healthcare record. He was prescribed hydroxyzine, Tegretol and
Lithium.

A treatment plan dated September 19, 2017 included the Mental Health Inpatient Housing
Review; it noted that the LRH was locked dorm and that transfer to his LRH was deferred due to
a documented pattern of agitation, disruptive and difficult to redirect behavior. It also stated that
the patient reported that when he was not taking his medications, he experienced mania, anxiety
and anger. The treatment plan noted that the primary focus of treatment was the patient’s mood
instability.

A subsequent treatment plan dated October 20, 2017 noted that the patient was involved in a
fight with another patient, resulting in his placement on DPS. There was no mention of LRH in
this treatment plan. The following treatment plan dated November 14, 2017 (after the review
period) included a discussion of the LRH that was duplicative of the September 19, 2017 Mental
Health Inpatient Housing Review.

Progress notes indicated that the patient agreed to take selected medications, but refused to take
antipsychotic medications. He advanced through the Step program to Step 3 and his attendance
in groups was above 90 percent. The healthcare record also indicated that the patient requested
discharge to EOP, as it offered more programming, groups and yard time. A psychiatric
discharge note dated December 19, 2017 indicated plans for discharge to an EOP.

Findings

The care provided to this patient was inadequate. There was documentation that the provision of
group and individual therapy was severely inadequate. Discussion of LRH and the reason for not
moving to LRH was also inadequate, as there was no documentation of efforts or interventions to
address the problems identified. Sadly, the treatment team indicated plans for discharge to an
EOP, due to better provision of treatment in an EOP as compared to SVSP-PIP, an inpatient unit.

There was documentation of the appropriate laboratory testing for treatment with mood
stabilizing medication. A review of the healthcare record indicated the discontinuation of HS
medication administration during September 2017 by the chief psychiatrist, reportedly due to
nursing staffing limitations. This was an issue of concern that was discussed with local and
regional staff.

Additionally, as with other healthcare records reviewed, treatment plans included poor
documentation of individualized treatment planning and repetitive documentation that did not

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adequately document the patient’s current functioning and interventions, making it difficult to
discern whether appropriate treatment planning occurred.

Patient B

This patient was housed in the C5 housing unit. His healthcare record was reviewed to evaluate
the mental health services provided and to determine why he was not housed at his LRH of
locked dorm.

This patient transferred to the SVSP-PIP for intermediate care after he was transferred from
CHCF-PIP acute care on October 27, 2017. The patient had a long history of psychosis, suicidal
ideation and depression, with command auditory hallucinations and paranoid delusional thinking.
He had multiple inpatient treatments at DSH, and multiple MHCB admissions. He had a history
of numerous suicide attempts.

The patient was provided with a diagnosis of Schizoaffective Disorder, bipolar type. He was
prescribed the following psychotropic medications: Risperdal Consta injection, Prozac, oral
Risperdal, amitriptyline and Remeron. He received his psychotropic medications by PC 2602
order. The patient also had significant medical concerns, including liver cirrhosis, ascites,
hypertension, diabetes and coronary artery disease. He utilized a walker for ambulation.

There was documentation that the patient was followed consistently by the psychiatrist and at
least monthly for individual sessions by the psychologist. On October 29, 2017, he was placed
into the observation room due to suicidal ideation with plans to cut himself. This observation
was discontinued on the following day.

An initial SRASHE dated October 30, 2017 assessed the patient with high chronic and moderate
acute risk for suicide.

A treatment plan dated November 7, 2017 noted the patient’s history and his reluctance to
program at SVSP-PIP or to take psychotropic medications. The treatment plan identified
depression as the only mental health treatment intervention. A Mental Health Inpatient Housing
Review noted the IDTT recommendation for unlocked dorm, but there was no discussion
regarding preparation or transfer to the LRH.

Findings

The care provided to this patient was inadequate. There was insufficient group and individual
therapy provided. Discussion of LRH and the reason for not moving to LRH was also
inadequate, as there was no documentation of efforts or interventions to address the problems
identified. Treatment planning also required improvement.

Additionally, as with other healthcare records reviewed, treatment plans included poor
documentation of individualized treatment planning and repetitive documentation that did not
adequately document the patient’s current functioning and interventions, making it difficult to
discern whether appropriate treatment planning occurred.

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Patient C

This patient was housed in the C5 housing unit. His healthcare record was reviewed to evaluate
the mental health services provided and why he was not housed at his LRH, which was unlocked
dorm.

The patient was discharged from the CHCF-PIP acute care program on October 7, 2107 to CMF;
however, he immediately was admitted to the CMF MHCB where he remained until October 31,
2017. The patient was admitted to the SVSP-PIP on October 31, 2017. He reportedly had three
MHCB referrals in the past six months, due to intransigent depression with auditory
hallucinations and suicidal ideation.

The patient was provided with diagnoses of Major Depressive Disorder, severe and Bereavement
Reaction. He was prescribed atomoxetine, olanzapine, mirtazapine, and lithium. His medical
history was significant for diabetes mellitus.

The treatment plan dated November 1, 2017 included the Mental Health Inpatient Housing
Review, which indicated that the IDTT recommendation was for single cell. The reason for
deferment of transfer to LRH was concern regarding victimization; the patient was noted to be
depressed. Treatment goals focused on symptoms of depression.

The patient was released from orientation status on November 9, 2017 and was placed at Step 1.
He was seen by the social worker at cell front on the same date, when he was reportedly
anticipating participation in treatment activities. Subsequent progress notes indicated that he was
actively involved in group therapy. He also participated in yard and dayroom.

He was seen by the psychiatrist on November 29, 2017, when he reported feeling better, but with
continued intrusive auditory hallucinations and racing thoughts. At that time, his lithium and
olanzapine were increased.

The most recent treatment plan was dated November 29, 2017; this plan was essentially identical
to the prior treatment plan. It noted that the IDTT recommendation was for unlocked dorm, but
there was no reason provided for deferment of transfer to the LRH.

Findings

The care provided to this patient was inadequate. He was provided with insufficient group and
individual therapy. Additionally, as with other healthcare records reviewed, treatment plans
included poor documentation of individualized treatment planning and repetitive documentation
that did not adequately document the patient’s current functioning and interventions, making it
difficult to discern whether appropriate treatment planning occurred. There was also poor
documentation of LRH transfer considerations and treatment interventions.

Patient D

This patient received mental health treatment at the 3CMS, EOP and MHCB levels of

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care; he had seven MHCB admissions. He also had a history of DSH treatment. At his
last MHCB admission during 2016, the patient presented with manic symptoms. He was
subsequently referred for intermediate inpatient care.

Psychiatric notes were written at least twice per month. The patient was prescribed divalproex
and lithium. Due to potential kidney problems, he was closely followed by the psychiatrist. He
was provided with a diagnosis of Bipolar I Disorder, current or most recent episode manic, with
mood-congruent psychotic features.

Progress notes were written at least weekly by the primary clinician. On November 8, 2017, the
patient was described as participating in full programming. On November 15, 2017, he reported
an interest in attending more groups and possibly having some visits. He reported that his
symptoms, specifically his impulsivity, had reduced significantly. He denied other concerns,
including suicidal or homicidal ideation.

The December 20, 2017 treatment plan included, as a goal, improved coping skills. It noted the
patient’s improved insight. The plan was for transfer to the LRH of unlocked dorms at DSH-
Atascadero or DSH-Coalinga. The Mental Health Inpatient Housing Review documented the
IDTT recommendation of single cell. The reason for deferment of transfer to LRH was the
multiple incidents of assault on peers and staff. The treatment team indicated the need for the
patient to further integrate into the program before consideration of multi-cell placement.

During the IDTT on December 20, 2017, the treatment team discussed transfer to DSH-
Atascadero or DSH-Coalinga with the patient as a result of his LRH.

Findings

This patient was being seen by his primary mental health clinician and psychiatrist timely;
however, his treatment was inadequate due to the limited out-of-cell time offered. He appeared
to be appropriate for transfer to his LRH at either DSH-Atascadero or DSH-Coalinga.

Patient E

This patient was apparently admitted to SVSP-PIP intermediate care during June 2017 and was
later transferred out to court for a period of time. The monitor’s expert attended his IDTT during
the monitoring visit.

There was documentation of psychiatric contact on at least a monthly basis. The most recent
psychiatric progress note on December 19, 2017 indicated the renewal of the PC 2602 order
during the previous week. The patient reported a history of treatment with clozapine, but he
discontinued the medication due to perceived side effects. He was described as treatment
resistant with a diagnosis of Schizophrenia. The psychiatrist indicated that the patient would be
a good candidate for treatment with clozapine; however, he required a long acting injectable
medication due to medication nonadherence.

Primary clinician contacts were documented on November 9, 2017, November 17, 2017 and

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December 8, 2017. It appeared that the patient was out to court during October 2017. The most
recent progress note indicated that the patient was doing well; he exhibited word finding and
slow speech, but his mood was euthymic and he denied suicidal or homicidal ideation. His
insight and judgment were described as poor.

Findings

It was very difficult to adequately assess this patient’s course of treatment due to the structure of
the healthcare record (electronic) and his apparent out to court time. The expert attended his
IDTT; the patient strongly stated that he wanted to continue solo programming and attend groups
only while in a module due to his safety concerns. Psychotic thinking was not grossly apparent.
His limited out of cell time was problematic from a treatment perspective and resulted in
inadequate care.

Patient F

The healthcare record of this patient was reviewed to evaluate the care provided. The patient
was admitted to the SVSP-PIP on August 24, 2017 due to mood instability and psychosis.
Although the patient denied symptoms, he continued to exhibit symptoms of decompensation
with poor participation in mental health services. He was observed with catatonic and ritualistic
behaviors, including placing his hands under water. He also slept during the day and had
difficulty with socialization. He exhibited flat affect and poverty of thought.

The patient was provided with a diagnosis of Schizophrenia, catatonic type. He was prescribed
Haldol, Zyprexa, Zoloft and Remeron. He had a history of head trauma after a fall from a ladder.
There was also documentation of a previous DSH referral for grave disability and catatonic-like
behavior.

The seclusion and restraint log indicated that the patient was placed in seclusion on August 29,
2017 and August 31, 2017, and from September 6, 2017 to September 10, 2017. The seclusion
documentation for August and September 2017 was unavailable in the electronic healthcare
record.

The master treatment team met monthly. The patient had increased agitation due to his mother’s
impending surgery. He was also reportedly nonadherent with Remeron treatment and requested
other medication for insomnia. He reportedly had increased attendance in yard and groups and
had not experienced auditory hallucinations during the past six months; he also had no recurrent
catatonia.

Documentation of primary clinician contacts did not occur weekly; in some instances, they
occurred at greater than two-week intervals. Documentation of psychiatric contacts was
consistent and comprehensive.

The treatment team determined the appropriate LRH was single cell due to a history of
aggression. The LRH recommendation was changed during November 2017 to a multi-person
cell.

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Findings

The clinical care provided to this patient appeared adequate; however, new treatment goals were
not introduced, even after goals were met monthly. There were no documented discussions of
the need to change or increase groups based on the patient’s clinical presentation. Primary
clinician contacts were not timely.

Patient G

The healthcare record of this patient was reviewed to evaluate the care provided. The patient
was admitted to the SVSP-PIP on April 3, 2017. The patient was referred from North Kern State
Prison (NKSP) due to the inability to function at the EOP level of care. The patient presented
with chronic symptoms of psychosis and preoccupation with internal stimuli, auditory and visual
hallucinations, paranoia and poor hygiene. He had a significant history of suicide attempts,
including wrist cutting in 2013, attempted hanging in 2015, attempted shooting and an overdose
in 2016.

The patient was provided with a diagnosis of Psychotic Disorder NOS. He was prescribed
Remeron, Abilify, and amantadine.

Since admission to the SVSP-PIP, the patient attended all groups and had no behavioral
problems. Treatment goals included reduction of suicidal ideation and anger management.

The December 20, 2017 IDTT note indicated that the patient was encouraged to attend cognitive
behavioral therapy for psychosis and to test coping skills by attending group and yard and
through socialization. The team also indicated that the patient would benefit from assertiveness
and social skills, relaxation and reality testing.

The IDTT determined the LRH was locked dorms due to lack of the patient’s functional
capabilities. The reason provided for deferment of transfer to the LRH was the “IP is still
learning to manage symptoms via CBT [cognitive behavior therapy] for psychosis. Current
treatment plan in action concerning hypervigilance.” During the December 2017 IDTT, the team
discussed transfer to a multi-person cell in TC1; the patient was agreeable with this transfer.

Findings

The mental health care provided to this patient appeared adequate. The primary clinician notes
lacked clinical substance, but psychiatric notes were timely and substantive.

Patient H

The healthcare record of this patient was reviewed as the patient was included in a list of patients
on PC 2602 orders. This patient spoke very limited English, as this was his secondary language.
He was provided with a diagnosis of Schizophrenia. He was prescribed olanzapine, Clozaril,
Haldol, amantadine, benztropine, and Ativan.

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The patient was referred from CMF to the SVSP-PIP on June 2, 2017 due to persistent psychotic
symptoms. He had a history of multiple DSH referrals and an extensive history of violence,
including multiple staff and psychiatric assaults. He had poor insight regarding his mental
illness and a preoccupation with discontinuance of medications. The patient’s symptoms,
however, reportedly did not interfere with his activities of daily living. He was described as an
unreliable historian.

The patient was heard singing loudly and yelling at night due to delusional thinking regarding his
belief that a peer planned to murder him. During the September 2017 IDTT, these behaviors
were discussed and the patient stated that he would attempt to refrain from this behavior;
however, he remained afraid, especially at night.

The SRASHE, which was conducted on August 23, 2017, assessed the patient with moderate
acute and chronic risk of suicide.

Treatment plan goals included decreasing delusional thinking. The safety plan stated that the
patient had assaulted a peer twice, due to the belief that the peer would murder him; however, the
plan did not note as risk factors/behavioral alert this history of assaultive behavior.

Another safety plan indicated that language interpretation services would be obtained to assist in
assessment and diagnostic clarity.

The patient denied mental health issues and requested an interpreter. He was on solo
programming due to his paranoia. On October 4, 2017 the patient removed another patient’s
glasses and attempted to stab him in his eye with a plastic spoon because he believed the patient
would murder him. The note also stated that the patient believed that his Haldol dosage was too
high and he cursed the psychiatrist. The patient was placed on DPS due to his assaultive
behavior.

The treatment team recommended an LRH of single cell due to possible victimization.

During September and October 2017, psychiatric progress notes stated that the patient was
programming fully and attending group, day room and yard. The psychiatrist also noted the
patient’s nightly fear of harm from other patients, which interfered with sleep. Amantadine was
added for medication side effects. It was also noted that the patient attended few groups during
November 2017.

On December 12, 2017, the patient continued to state that his medication was too strong. He
remained with paranoid delusional thinking with disheveled appearance and an inability to
effectively communicate with staff and other patients due to language barriers.

Findings

The care provided to this patient was inadequate. Documentation indicated that the patient had a
worsening of his psychotic symptoms with poor attendance in groups during November and

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December 2017 and deterioration in his self-care. Although there was mention of obtaining an
interpreter, the healthcare documentation did not indicate that this occurred.

Patient I

The healthcare record of this patient was reviewed to evaluate the care provided. This patient
was admitted to the SVSP-PIP on March 3, 2017; his presenting symptoms included social
isolation and mood instability. He had previous inpatient care; he was hospitalized at DSH-
Stockton from October 2013 to August 2014 and was hospitalized at SVPP from December 2014
to September 2015. The two previous DSH admissions were due to the patient’s inability to
program and to care of himself.

The patient was provided with a diagnosis of Schizophrenia Spectrum Disorder. He was
prescribed olanzapine. He received his psychotropic medications by PC 2602 order; this order
was reviewed and granted on September 27, 2017 due to grave disability. He was classified as
DD2.26

The patient had a history of violence, substance abuse, and poor insight regarding his mental
illness. No history of suicidal ideation or attempts were documented. The patient expressed
feelings of depression and anxiety regarding his incarceration, which affected his ability to
socialize with peers.

The patient refused all out of cell activities with the exception of breakfast and lunch.
Documentation indicated that the patient spent most of his day sleeping or watching television in
his cell. He did not shower and he performed grooming in his cell. The patient reported
headaches; however, he refused to be seen for a medical evaluation. He also appeared to be
losing weight, but clinicians were unable to verify this as the patient refused a medical
evaluation. He also presented with anxiety, paranoia, poor socialization, and command auditory
hallucinations.

A SRASHE conducted on September 6, 2017 assessed the patient with moderate chronic and low
acute risk for suicide.

The safety plan included as safety measures the following: monitoring for safety, medication
management, group therapy, social skill building, increased clinical contact, fostering therapeutic
relationships, and the development of coping skills to monitor and regulate moods.

During September, October, November, and portions of December 2017, the patient attended
few groups, but no IDTT meetings. The psychiatrist increased the dosage of olanzapine.

The November 2017 IDTT note was unchanged from the prior two months. The treatment team
discussed the patient’s discharge due to his lack of treatment participation; however, the team
agreed to continue his hospitalization.
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  DD2 (Developmental Disability 2) is a CDCR Adaptive Support Services category used to denote a patient’s level
of functioning and determine housing placement and services to be provided.


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Findings

The mental health care provided to this patient was inadequate. The patient’s behavior,
treatment participation, and mood remained unchanged. Despite the lack of improvement, no
change was documented in treatment, treatment modalities or IDTT goals. There also was no
mention of solo programming or ways to reduce modified programming or to increase yard,
showering or participation in therapeutic activities.

Patient J

The healthcare record of this transgender patient was reviewed as her IDTT was observed during
the site visit. She was admitted to the SVSP-PIP on February 7, 2017 due to grave disability
with poor ADLs. The patient also reported auditory hallucinations.

The patient was provided with a diagnosis of Schizophrenia. She was prescribed olanzapine,
mirtazapine, and hydroxyzine.

The patient had a significant history of suicidal behavior, with five suicide attempts by overdose
and inhaling natural gas; the most recent attempt occurred by overdose of keep-on-person
medications on February 21, 2016. The patient also had a history of childhood sexual assault,
hepatitis C, poor impulse control, violence, substance abuse, and a long prison sentence for a
sexual offense.

Documentation in the healthcare record noted the patient’s family support and her positive
outlook regarding future transition surgery and programming. The patient was described as
developmentally disabled.

Safety plan interventions included medication management, relaxation techniques, visualization
of pleasant imagery and groups to assist in managing psychotic symptoms. The patient was also
provided substance abuse counseling with dialectal behavioral therapy to increase emotional
regulation. A treatment goal was the management of hallucinations.

The patient had an LRH of single cell; the treatment team provided this LRH as the patient was
believed to be at risk for victimization due to her age and transgender status.

The patient attended most groups during the review period. The patient participated in the IDTT
that occurred on December 20, 2017. She reported that she wanted to complete her term in the
county jail and had submitted an appeal. She reported continued auditory hallucinations but
reported beneficial effect from medication treatment. It was decided that hospitalization would
continue to address the ongoing auditory hallucinations.

Findings

The clinical care provided to this patient was inadequate. There was a lack of documentation
that individual sessions occurred in a confidential setting and not at cell front. There was a lack

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of documentation that important issues were addressed by the IDTT or in individual sessions.
There was also a lack of documentation that the patient was provided treatment regarding
minimizing victimization concerns.

Patient K

The healthcare record of this patient was reviewed to evaluate the care provided. He was
admitted to the SVSP-PIP on March 28, 2017. He was referred for intermediate care due to
impulsivity, depressed mood and suicide ideation.

The patient had a significant history of suicide attempts; he reportedly had 30 to 40 attempts by
various means, including cutting, head banging, overdose, and swallowing razors and foreign
objects. It appeared that the death of his mother in 2011 resulted in anniversary-related
depression and suicidal ideation. The patient was previously hospitalized at
DSH-Atascadero and SVSP-PIP.

The patient was provided with a diagnosis of Schizophrenia. He was initially prescribed Haldol,
ziprasidone, divalproex, benztropine, and diphenhydramine.

The patient was also described with developmental disability, poor coping skills, and
impulsivity.

A master treatment team meeting was conducted on September 26, 2017. Treatment goals
included decreased feelings of distress and hallucinations; interventions included rehabilitation
therapy to improve anger management.

The patient had an LRH of multi-person cell provided by HCPOP. Prior to the December 2017
IDTT, the treatment team deferred transfer to the LRH due to the patient’s inability to navigate a
lower LRH due to functional capacity. During the December 2017 IDTT, the treatment team
discussed the patient’s placement in a multi-person cell and informed the patient to begin looking
for a compatible cellmate.

The patient received his psychotropic medications by PC 2602 order. He requested treatment
with Clozaril; however, he refused to allow laboratory studies, which eliminated treatment with
this medication. This behavior was described as “self-sabotage” in the healthcare record.

During October 2017, the patient was placed on DPS as he was involved in a fight on the yard.
The patient also reported suicidal ideation during a group session the same month. There was a
lack of documentation of timely clinical follow-up after this incident.

The November and December 2017 clinical notes mirrored the October 2017 documentation in
which the patient was preoccupied with the lack of family contact, upcoming holidays, the recent
death of family members and money.

At the December 20, 2017 IDTT, the patient reported thoughts of harming an unspecified person.
There was no discussion or documentation of change in goals or treatment interventions.

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Findings

The mental health care provided to this patient was inadequate. Treatment goals and
interventions were unchanged, despite lack of treatment progress. It appeared that individual
contacts primarily occurred at cell front and were not timely. The documentation of group
therapy did not indicate therapeutic benefit. A December 2017 note discussed possible referral
to the CMF-PIP; however, there was no further documentation regarding this issue.

Patient L

The healthcare record of this patient was reviewed to evaluate the care provided. The patient
was admitted to the SVSP-PIP on July 31, 2017. He was referred for intermediate care due to
depression, paranoid delusional thinking, suicidal ideation and self-injurious behaviors.

The patient was provided with a diagnosis of Schizoaffective Disorder, depressive type. He was
prescribed olanzapine, paroxetine, haloperidol, benztropine, hydroxyzine, and diphenhydramine.
The patient’s history was significant for a head injury by stabbing during 2001; he required
extensive rehabilitative therapy after this injury. He reportedly used PCP at age eight, was
provided alcohol as an infant and had a severe history of childhood abuse and trauma. He
reportedly had possible cognitive impairment, poor self-image, and psychotic symptoms after the
stabbing.

The patient’s most recent MHCB admission was triggered by a testicular cancer diagnosis, his
daughter’s suicide, and a pending RVR for fighting.

The IDTT recommended an LRH of single cell due to the patient’s inability to navigate his
environment due to low functioning capacity. The UCC was conducted during October 2017,
when a recommendation for unlocked dorm was provided; this was consistent with the HCPOP
recommendation.

During the interval from September to November 2017, the patient reported inconsistent clinical
contacts with his primary clinician. He also expressed concern that he had not received
information regarding the status of his property. Documentation also indicated that the patient
was monitored on one-to-one suicide observation on six occasions. During this period, he also
reportedly exhibited self-injurious behavior with cutting on several occasions, was found hiding
under his bed and received an RVR for indecent exposure. He also expressed concern that he
had lost a photograph of his daughter and he feared for the safety of his brother, who was housed
in another housing unit at the facility.

The monitor’s expert attended the December 2017 IDTT. During this meeting, the patient shared
a poem that he wrote to his daughter who committed suicide. The patient’s guilt regarding this
incident was discussed, as was the cathartic benefit of writing the poem. The patient had been
removed from DPS. The team, including the patient, agreed with continued intermediate care
and existing goals.



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Findings

The clinical care provided to this patient was inadequate. There were no documented goals or
interventions for the patient to transfer to his LRH. Additionally, there was a lack of
documentation of the assessment of current coping strategies to determine whether treatment
changes were indicated.




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                            APPENDIX B-4
                                CMF-PIP
                  November 28, 2018 – November 30, 2018




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Patient A

The plaintiffs’ attorneys reported that this patient was admitted to an intermediate care single cell
on June 5, 2017, despite a multi-person cell LRH, and was discharged on October 30, 2017 after
a 147-day stay in a single cell. The patient’s healthcare record was reviewed at the request of
plaintiffs’ attorneys to determine whether the treatment team had properly and regularly re-
evaluated and documented the justification for continuing to house this patient out of his LRH
designation.

Review of this patient’s healthcare record indicated that he was admitted to the high
custody intermediate treatment center (HCITC) on June 5, 2017 after a suicide attempt
and suicidal ideation in which he swallowed part of his eye glasses. The patient reported
that he was sent to an outside hospital where the object was surgically removed. He
reported that his last suicide attempt occurred during March 2016. The patient reported
that he was informed that he was being sent to the HCITC for further treatment.

The patient was admitted to CMF-PIP, acute S-2 on March 30, 2017 from the KVSP MHCB unit
after swallowing a foreign body. He had a significant pattern of this behavior. On March 15,
2017, he underwent a procedure to remove three foreign bodies from his stomach using a snare.
The ingested items were two toothbrushes, a paper clip and an ink pen; some of these items
passed without surgery, but the hospital report stated that three items remained in his stomach.
He told staff at the MHCB that this was a “suicide attempt to cause internal organ damage.” The
patient had a very long history of admissions to CDCR MHCB units and community hospitals
because of similar behaviors. He was placed on a PC 2602 order due to danger to self, which
expired on December 14, 2017. He was reportedly adherent with prescribed medications.

The patient was serving a 12-year term for robbery with the use of a firearm. This was his first
prison term, but the patient reported that he was placed in juvenile hall at age ten for burglary.
He was also placed in the California Youth Authority at age 14 for assault, where he remained
for several years until he was 20 years old.

Although the patient denied membership in a gang, his offender information indicated that he
was gang affiliated with the Bloods. He was classified as maximum custody and Level IV
security level with 116 points. He had an RVR for an intentional IEX on March 4, 2016 to the
person who was observing him for safety.

A September 7, 2017 violent risk assessment noted that the patient’s history may have
increased his impulsivity and risk of harming himself and others. He was described as
lacking empathy toward others and as having difficulty with authority figures.

On September 27, 2017, the patient was seen by the treatment team for a mini treatment
team conference following his return from an outside hospitalization related to
swallowing a plastic fork on September 23, 2017. It should be noted that this was the
second incident of verified foreign body ingestion, as the patient also swallowed the ear

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pieces of his glasses on September 8, 2017. The patient denied this behavior being
related to any desire to commit suicide. Due to his recent ingestion of a foreign body, the
treatment team was evaluating the patient’s treatment needs and plan and a discharge to
the EOP level of care was contemplated. His current treatment included the use of
cognitive behavioral therapy coping skills, including identifying challenging cognitive
distortions and focusing/maintaining positive outlook/future orientation in order to
decrease depression and suicidal ideation. He was encouraged to attend daily yard and
psychoeducational groups, communicate with clinical, medical and custody staff, and
consult with the treating psychiatrist when necessary for changes and modifications to
medications.

An October 3, 2017 mini treatment plan note documented the patient’s history of self-
injurious behaviors and that he would be discharged if his swallowing behaviors
continued. An October 26, 2017 discharge summary noted that the patient would be
continued on the medications from S-2, which included Abilify Maintena 400 mg
intramuscular injection every four weeks, Effexor ER 225 mg daily and lamotrigine 200
mg daily. The patient was adherent with prescribed medications and indicated that they
were beneficial to him. The PC 2602 order remained in place.

The patient was provided with diagnoses that included Borderline Personality Disorder and
Major Depressive Disorder, recurrent.

A LRH clinical review form was completed on July 11, 2017 and September 5, 2017. The
assessment indicated that it was inappropriate for the patient to be moved to his LRH due to a
documented pattern of agitation, disruption and difficulty redirecting his behavior.

Findings

The mental health care provided to this patient was appropriate and his LRH was
appropriately assessed.

Patient B

The plaintiffs’ attorneys reported that this patient was admitted to an intermediate care single cell
on April 13, 2017, despite a multi-person cell LRH, and was discharged on October 3, 2017 after
a 173-day stay in a single cell. This patient’s healthcare record was reviewed at the request of
the plaintiffs’ attorneys to determine whether the treatment team had properly and regularly
reevaluated and documented the justification for continuing to house him out of his LRH
designation.




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The patient was transferred to CMF-Vacaville Psychiatric Program (VPP)27 (intermediate care)
due to his continued decompensating state despite attempts for stabilization and increased
medication adherence at the sending facility. There was a history of over 30 suicide attempts,
with the last attempt occurring over a year earlier. Auditory hallucinations and paranoid thinking
were present.

A September 29, 2017 IDTT note indicated that the patient was concerned that his sexual
orientation was a topic of discussion among his peers resulting in harassment, bullying
and fears for his safety. He reported continuous, low level auditory and visual
hallucinations that he managed well with medication and coping skills. He had no
behavioral incidents during the past several months. He indicated that one of the
important parts of his treatment, in addition to medications and groups, had been the
increased socialization that had since become problematic for him. The note further
stated that the patient had achieved his treatment goals and appeared prepared to
discharge to a lower level of care.

A September 29, 2017 psychiatric note indicated that the patient felt depressed; this was
triggered by the other patients calling him, “transgender, homosexual ... as if I am
something like a prostitute.” This reportedly resulted in depression, low self-esteem,
isolation, paranoia and the feeling of being unsafe around his peers on the tier. He
requested discharge to MCSP where he felt supported by a transgender friend. He
continued to report auditory and visual hallucinations, which were less bothersome and
more easily distracted by reading or singing.

A September 29, 2017 discharge note indicated that since his admission, the patient had been
medication adherent and had participated in groups and the therapeutic milieu. Approximately
one month prior, the patient had exhibited decompensation with a worsening of his auditory
hallucinations, which commanded him to harm himself. At that time, he was able to tell the staff
about his issues and he asked them to remove his belongings as a safety precaution. Since then,
he remained on DPS due to feeling unsafe to program without mechanical restraints, even though
he reported that the command hallucinations were less bothersome. The patient had refused to
program during the past two weeks due to harassment by another patient regarding his sexual
orientation. The patient requested discharge to another intermediate care program or the EOP.

The note further stated that the patient’s hallucinations remained unchanged; however, he was
less bothered by them and utilized singing, reading and walking as coping skills. He had been
taking care of his activities of daily living and no behavioral issues were reported.

The treatment team agreed that the patient would benefit more from being discharged to another
facility where he felt safe and could continue receiving treatment.


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     Prior to Lift and Shift, the CMF-PIP was known as CMF-VPP.


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The patient was followed by the PBST and was provided with information regarding treatment
adherence and appropriate behavior.

A September 29, 2017 SRASHE provided a comprehensive history of the patient’s suicide
history. He was assessed with moderate chronic and low acute risk at that time.

The patient had 75-percent attendance at recreational therapy groups when on Step 3, but
regressed back to DPS at his request due to safety concerns. He stated that he would go
to groups at the new institution, as there were other transgender patients there, and he
would feel more comfortable.

He was provided with a diagnosis of Schizoaffective Disorder. His prescribed
medications during his course of hospitalization included Clozaril, olanzapine,
divalproex, Haldol, and Prolixin Decanoate.

An assessment relevant to LRH was not located in the healthcare record; however, the unit staff
provided the following information. An April 18, 2017 chrono indicated that “today’s ICC
concludes that single cells are least restrictive housing appropriate” for this patient. Therefore, at
that time, the P3 treatment team was under the impression that this patient was ineligible for
placement in a multi-person or dorm setting. The P3 team continued to discuss at each monthly
treatment team conference how the patient would clinically feel if housed in a dorm setting and
the patient reported that he identified as transgender and felt safer in a single cell.

Subsequent to the CMF L-1 PIP multi-person cell program opening in July 2017, the P3 team
was informed that this patient was actually multi-person cell eligible and was being considered
for transfer. However, as of August 5, 2017, the patient had broken his television and swallowed
four plastic pieces after reportedly hearing voices that were bothersome and telling him to “come
home,” which the patient interpreted to mean “death.” On August 25, 2017, he reported feeling
suicidal. The P3 treatment team subsequently assessed that he was not clinically appropriate for
multi-person cell intermediate care transfer, as he required a safety cell.

This patient stabilized during the following month and again requested transfer back to EOP. He
was described as very motivated for discharge on September 29, 2017, when he was discharged.

Findings

There was inadequate documentation of this patient’s LRH assessment, but staff reported that the
patient was assessed for his LRH.

Patient C

Plaintiffs’ attorneys reported that this patient was admitted to an intermediate care single cell on
August 9, 2017 despite an unlocked dorms LRH. He was discharged on October 21, 2017 after
a 73-day stay in a single cell. Plaintiffs’ attorneys requested a record review to determine

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whether the treatment team had properly and regularly re-evaluated and documented the
justification for continuing to house this patient out of his LRH designation.

The patient was discharged from DSH intermediate care on October 21, 2017; he was admitted
following multiple incidents of suicidal ideation behaviors at CSP/LAC during March and April
2017. This resulted in transport to an outside hospital for further evaluation and treatment. The
onset of suicidal behavior occurred after the patient was changed from the EOP to the 3CMS
level of care. Information in the healthcare record indicated that the patient was vying for DSH
placement. He reported an inconsistent history of suicide attempts and self-injurious behaviors.

A September 6, 2017 violent risk assessment report assessed the patient with low to moderate
risk to engage in violence on the present unit.

An October 17, 2017 discharge note provided significant historic information. It
indicated that the patient had been admitted on August 9, 2017 and was discharged on
October 17, 2017 from the intermediate care level of care. He was admitted due to a
suicide attempt. During his hospitalization, he was adherent with medications and
participated in therapeutic groups. He had two behavioral incidents during his stay, but
no self-harm incidents. The patient denied any hallucinations, delusional thinking or
paranoia. He continued to verbalize that he had not benefitted from inpatient treatment
and that he would prefer to go to EOP where he would receive more programming and
have his medications monitored. The treatment team agreed that since the patient was
unwilling to accept and participate in the treatment, he would benefit more from
treatment at the EOP level of care.

The patient was provided with diagnoses of Bipolar Disorder and Major Depressive Disorder.
He was prescribed Cogentin, oxcarbazepine, olanzapine, and Haldol on an as needed basis.

The treatment plan indicated that the patient was housed in a single cell due to a documented
pattern of agitation, disruption, and difficult to redirect behavior. Such behaviors resulted in his
placement on DPS and return to Step 1 on September 27, 2017.

Findings

The mental health care provided to this patient was appropriate and his LRH was
appropriately assessed.

Patient D

This patient’s healthcare record was reviewed at the request of plaintiffs’ attorneys after they
received a letter from him in October 2017 when he reported that he would be discharged from
the CMF-PIP over his objections two days after he had attempted suicide. Plaintiffs’ attorneys
questioned whether the patient had been discharged; and if so, wanted to identify any concerns
regarding this discharge.

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A September 19, 2017 master treatment plan indicated that the patient attended 77 percent of his
scheduled groups and participated in weekly individual sessions. The documentation also
indicated that the patient had difficulty communicating his needs and focusing on a single goal.
He indicated in the IDTT that he would like to focus on grief, sadness, depression, polysubstance
abuse and hopelessness. The patient also requested psychoeducational groups. Although the
patient participated in programing, it was questioned whether he had obtained maximum benefit
from the program due to his current behavior. The treatment team recommended a change in his
group schedule, continued individual therapy and that the patient remain at Step 2. Medication
adherence was also encouraged, as he had refused medications since arriving in the program.
The plan indicated that the patient would continue to be monitored for the next 30 days. The
treatment plan also provided information regarding the patient’s recent history, including the
events that led to his MHCB admission and his history of assaultive behavior.

An October 17, 2017 treatment plan indicated that the patient presented with depressive
symptoms; however, his symptoms seemed to wax and wane and his presentation was
inconsistent. During his stay in the CMF-PIP, his group attendance and individual sessions were
inconsistent. Specifically, it was noted that when he attended group, he appeared bored or fell
asleep.

The patient was provided with a diagnosis of Major Depressive Disorder; a history of Antisocial
Personality Disorder and a differential diagnosis of PTSD were also provided. He was
prescribed Zoloft, Vistaril, and olanzapine on an as needed basis.

A subsequent October 17, 2017 note indicated that the patient took an overdose of
Vistaril on that date. He reported to the nurse that he intentionally took four tablets of
Vistaril that someone else had given him, but denied hoarding the drugs himself. When
asked whether or not he had an intention to kill himself, he explained that “I am
depressed, I just wanted to go to sleep and not wake up.” Later during observation, the
patient reported that he may have taken some heroin with his coffee and was feeling very
sleepy. He was observed for five hours in the TTA, given 1.5 L of normal saline and 0.4
mg of Narcan. He became more alert and his blood pressure normalized.

In an October 18, 2017 note, the psychiatrist indicated that the patient was seen at cell
front due to restricted programing. The patient reported having a crisis when he found
out unexpectedly that he would be discharged; however, another possible reason could
have been related to his alleged use of a prohibited substance. The patient stated that he
needed Prozac to handle his increased stress; he reported having medication side effects
from Zoloft. He denied current self-destructive thinking. He made a phone call to his
lawyer, he said, to fight the planned discharge. After obtaining consent, Prozac was
prescribed.

It appeared that by October 20, 2017, the plan to discharge the patient had been changed.


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A November 15, 2017 four-month IDTT note documented the previous plan to discharge the
patient from the CMF-PIP due to his reaching maximum benefit. In the preceding 30 days, the
patient had reportedly continued to show stability, with group attendance above 90 percent and
fewer problem behaviors noted. The note indicated that although fewer problem behaviors were
exhibited, the primary clinician was unable to identify consistent symptoms for treatment. The
primary clinician recommended psychological testing before discharge; the patient was informed
of this testing.

Findings

This patient was not discharged for the reasons previously stated. The documentation relevant to
the decision not to discharge him following his reported suicide attempt was poor.

Patient E

This patient was admitted to the CMF-PIP acute care program on September 14, 2017. The
psychiatric admission note indicated that he was suicidal and cutting his wrist due to chronic
back and shoulder pain. He also had no family support, hopelessness and anhedonia related to
his chronic pain. He reported depression for the previous five to six months. He attempted to
cut his wrist two weeks prior. The patient also reported auditory hallucinations, which were at
times command in nature, telling him to attack custody officers and to throw food. He had
paranoia related to custody officers.

This patient had a significant history of multiple suicide attempts and a history of polysubstance
abuse. He was provided with a diagnosis of Schizophrenia. Seroquel was continued and the
patient was initially placed on suicide precaution.

Suicide precaution was discontinued on the following day. On September 17, 2017, the patient
was involved in an altercation with another patient.

A SRASHE was completed on September 21, 2017. His chronic suicide risk was assessed as
high and his acute risk was assessed as moderate. A safety plan was outlined.

A September 28, 2017 psychiatric note indicated that the patient was feeling better and he
reported that he would inform staff of suicidal intent. He was reportedly medication adherent.
He indicated some auditory hallucination, but no command hallucinations. He stated that
controlling his back pain would improve his depression.

A September 28, 2017 master treatment plan was developed. Problems identified included
symptoms of Schizophrenia and chronic back pain. The patient attended yard on October 1,
2017 and attended a music therapy session on October 9, 2017.

An October 13, 2017 psychiatric note described similar symptoms and statements by the patient
as the previous note dated September 28, 2017.

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The patient was prescribed Buspar, hydroxyzine, Seroquel, and venlafaxine.

An October 13, 2017 IDTT note was reviewed; the treatment plan was essentially unchanged.

The patient again participated in music therapy on October 16, 2017. He was again seen
by the psychiatrist on October 27 and October 31, 2017. A primary clinician note on
October 31, 2017 indicated that the patient had continued hallucinations, which were not
command in nature. He denied suicidal ideation or safety concerns, but expressed
interest in admission to the intermediate care program. He reportedly consistently
attended large groups, but frequently refused yard. The patient generally showered, but
with periodic ‘bird-bathing.’

The treatment plan of October 31, 2017 was changed from prior plans. Progress notes by the
primary clinician and psychiatrist on November 22, 2017 were consistent with prior notes.

Findings

Only two progress notes were located in the healthcare record from admission to November 22,
2017 that indicated that the patient had been participating in group therapy; only one note
indicated that he went to yard. This lack of being offered and/or participating in out-of-cell
activities was inadequate for an acute care psychiatric program; it resulted in limitations not
unlike a segregation unit.

Patient F

The October 17, 2017 psychiatric admission note provided information regarding the patient’s
history. He was readmitted to the CMF MHCB on September 26, 2017 due to suicidal ideation.
He had been depressed as his son had died in a motor vehicle accident one to two month prior.
Other stressors included chronic pain and difficulty adjusting to a new prison. He also reported
auditory hallucinations. He was referred for acute care and stabilization.

The patient had a history of three suicide attempts, including jumping from a window, attempting
to be shot by the police and overdosing. He also had a history of PIP placement at CMF from
March 30, 2015 to December 31, 2015. The patient had reportedly been medication adherent.

An October 18, 2017 master treatment plan noted that the patient had been prescribed
sertraline and Vistaril during his hospital stay; however, he refused sertraline
approximately half of the time. He indicated that the medication was not helpful and he
did not wish to take it early in the morning. He was willing to take paroxetine 20 mg in
the evening as an alternative to the sertraline. Vistaril was continued on an as needed
basis; Gabapentin was also prescribed.

Since his admission to the acute care program, the patient was seen by the psychiatrist on a

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regular basis and by the treatment team. He went to yard on two occasions, on November 13,
2017 and November 23, 2017. Group therapies occurred on October 27, 2017 (cognitive
behavioral therapy), November 3, 2017 (cognitive behavioral therapy, coping skills) and
November 13, 2017 (art therapy).

The patient was observed by the expert during his November 29, 2017 IDTT. He complained
that he received more out-of-cell time when he was housed in the SHU. He reported being
scheduled for about four weekly groups, but stated that most of the groups were canceled; staff
confirmed this comment.

Findings

The patient received inadequate treatment for an acute care psychiatric program due to the severe
lack of out-of-cell activities and programming; this resulted in limitations not unlike a
segregation unit.

Patient G

The September 20, 2017 acute care admission note provided information regarding the patient’s
history. He was initially admitted to the MHCB after being observed urinating on the floor; he
also was not showering and was eating intermittently. The patient was also observed kicking and
banging; he had paranoia regarding his family being murdered and had a fixation on Jesus. Of
note, the patient was off his antipsychotic medications for some time prior to decompensation.

The patient had a history of inpatient and outpatient mental health treatment in the community in
Los Angeles County, as well as multiple psychiatric holds when he was “off his medication and
suicidal.” He had been followed at the parole outpatient clinic, where he was provided with a
diagnosis of Schizophrenia, paranoid type. He had a history of DSH treatment in 2010 and a
history of substance abuse beginning in adolescence, including marijuana, methamphetamine,
crack, and spice.

The patient reported hearing the voice of Jesus. He also had delusional thinking regarding the
porters with infrared guns pointing at him. He was placed on a PC 2602 order during the MHCB
admission. He was prescribed Cogentin, Effexor XR, fluphenazine, and metformin.

The patient was seen by the psychiatrist on a regular and timely basis. He participated in seven
therapeutic groups during October 2017 and eight groups during November 2017.

His initial IDTT occurred on October 3, 2017.

Findings

It was encouraging that this patient received more group therapy than the average acute care
patient; however, the number of groups offered to him was still inadequate for an acute care

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psychiatric program.

Patient H

This case was selected for review as this intermediate care patient was identified as having an
individualized behavioral plan. The patient was admitted to the CMF-PIP on August 4, 2017; he
was referred for a multi-person cell placement. Upon arrival, staff determined that he required a
single-cell placement due to verbalized threats to harm someone at CMF and paranoia toward
others. He was then moved to single-cell housing.

According to the healthcare record, the patient had a history of approximately twenty inpatient
hospitalizations characterized by chronically poor hygiene, difficulty with activities of daily
living, poor treatment adherence, and an inability to engage in treatment. He was referred due to
these issues and for problems with command hallucinations and suicidal ideation with a plan.
The patient had a history of suicide attempts by hanging or cutting, with the most recent attempt
in 2015 by cutting. He was on a PC 2602 order as a result of posing a danger to others; the order
would expire on February 8, 2018.

The patient was provided with a diagnosis of Schizophrenia. He was prescribed Abilify
Maintena 400 mg intramuscular injection every 28 days, valproic acid, Zyprexa, and oral
Abilify.

The initial behavioral plan was reported in the behavior log developed by the PBST on August
24, 2017; however, according to the healthcare record, the document was actually completed on
September 12, 2017. The plan was entitled “PBST Behavioral Guidelines” which was a more
accurate title than behavioral plan, as it contained a significant amount of ancillary information
that was cut and pasted from treatment team and intake notes; this was inconsistent with a
concise description of the target behavior as well as a functional analysis. No baseline data
appeared to have been collected regarding the target behavior, which was necessary for a
functional assessment and in determining if the interventions had a positive impact on the target
behavior.

There were also multiple short-term goals included in the guidelines; these goals were unrealistic
for this patient due to his chronic mental illness and severely impaired functional level. A more
clinically appropriate approach would focus on one target area, identify an achievable goal that
would assist in patient and staff accomplishment and then expand the goals as indicated. The
behavioral guidelines also addressed interventions that were more appropriately addressed
through the treatment plan, such as medication adherence. These guidelines also directed staff to
issue a rules violation report to the patient for any threatening behavior, regardless of whether
that behavior was the result of psychotic symptoms. Such punitive interventions had no clinical
foundation and were inappropriate. In addition, individual clinical contacts with the PBST were
to be withheld if the patient made threats against staff. This was also an inappropriate
intervention, as it would withhold treatment without a direct connection to the behavior. Even
more importantly, behavioral reinforcers were more powerful for permanent behavioral change

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than punishment, particularly when used effectively; however, the behavioral guidelines for this
patient appeared heavily weighted toward punishment.

Findings

This patient was not effectively treated, as his behavioral plan was not adequately completed.
There was no evidence that a functional analysis was completed. No baseline data of the target
behavior was included in the guidelines; there were too many treatment goals and those goals
were not stated in behaviorally specific and objective ways. The behavioral plan did not focus
on behavioral interventions that would address the target behavior. In fact, it was unclear what
the target behavior was. The behavioral plan needed to be revised.

Patient I

The healthcare record of this intermediate care patient was reviewed to evaluate the behavioral
plan. The patient was classified as DD2. He was admitted to the CMF-PIP on September 29,
2017, according to a CMF log and his housing was high security, single cell. The healthcare
record suggested that the patient had actually transferred to CMF from CHCF on September 19,
2017. According to the master treatment plan (last updated December 13, 2017), his LRH was
locked dorm, but the treatment team indicated that he needed a single cell due to concerns
regarding victimization, violence within the previous year and an inability to negotiate the
complexities of a less structured program. Specifically, the team noted that the patient had
allegedly engaged in violence toward nursing staff at DSH-Atascadero. The patient had initially
been placed in a locked dorm unit, but he immediately began reporting thoughts of head banging
or breaking a window, stating that he did not want to remain in the dorm setting. The treatment
team convinced him to wait until a bed was available in the high custody unit. Once moved, the
patient denied thoughts of hurting himself, hallucinations and suicidal and homicidal ideation.
The reason for referral to inpatient care was to develop coping skills to minimize the head
banging behavior.

The patient was provided with a diagnosis of Schizoaffective Disorder. He had a history of self-
injurious behavior, particularly head banging. He was prescribed Benadryl, chlorpromazine,
divalproex, and sertraline.

The October 12, 2017 behavioral plan did not include evidence that a functional analysis had
been completed, but included interventions designed to prevent the head banging behavior and to
teach appropriate limits. The effectiveness of this intervention without the functional analysis
was unclear, but the PBST was monitoring and updating the plans. The patient was asked about
enjoyable activities, in an effort to utilize positive reinforcement for appropriate behavior. The
plan was updated on November 21, 2017; of note was documentation stating that the details of
the plan should not be communicated to the patient. The specifics regarding what aspects of the
plan that could not be communicated or why it should not be communicated to him were not
provided. The patient had reportedly attributed his recent head banging behavior to a desire to
obtain a housing change (from dorm to single cell) and to parole to ASH. This resulted in the

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discontinuation of one of the behavioral interventions; this occurred without the addition of any
new interventions, despite a lack of documentation of patient progress. In a subsequent update
dated November 30, 2017, the PBST noted that the patient had engaged in self-injurious
behavior; he stated that he did not like the high custody unit and would not stop head banging
until he was moved to the acute level of care. Additional interventions were added, as were
several more reinforcers.

Findings

This patient was adequately treated at the intermediate level of care. He was seen frequently by
the treatment team and PBST, in part due to the behavioral plan and an effort to provide
appropriate attention and reinforcement. Although the behavioral plan did not document a
functional analysis, it included positive reinforcement and an attempt to intervene prior to the
head banging occurrence.

Patient J

The healthcare record of this acute care patient was reviewed to evaluate the behavioral plan. It
appeared that he was admitted to the CMF-PIP on September 19, 2017, from an MHCB, due to
self-injurious behavior, with cutting. He was provided with a diagnosis of Schizoaffective
Disorder. He was prescribed Benadryl, clozapine, Haldol, hydroxyzine, and mirtazapine.

The patient reported that he had only harmed himself due to safety concerns at his sending
institution and denied further intent to harm himself in a safe environment. The patient was
originally referred for intermediate care; however, he engaged in disruptive behavior on the
intermediate care unit, with kicking and banging on his cell door as he requested additional
medication. This behavior indicated the need for more acute stabilization and the patient was
transferred to the acute care program. He was provided with some medications on an as needed
basis, which staff documented as ineffective. The patient acknowledged that he engaged in this
behavior as a result of perceived injustice in the prison environment. He was referred to PBST
due to an escalation in banging, with head banging.

The behavioral plan did not document the completion of a functional analysis. The plan focused
on interventions after the problematic behavior occurred, rather than identifying precursors and
intervening preemptively. This plan further reinforced, rather than decreased, the problematic
behavior. In addition, the plan relied heavily on as needed medications, despite the patient’s
known addictive history, drug-seeking behavior during inpatient admissions and the difficulty in
receiving such medications once released to outpatient care. Reinforcement for positive
behavior was not frequent enough to establish that behavior and it was unclear whether the plan
included salient (meaningful) reinforcers for the patient. Initially, a schedule of frequent
reinforcement should be developed in an effort to produce and maintain the positive behavior.
Subsequently, an intermittent schedule of reinforcement can be used to ensure maintenance. The
plan must also address the specific precursors to the problematic behavior.


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Findings

This patient did not have an adequate behavioral plan. The plan should include a functional
analysis that would identify precursors and reinforcers to the problem behavior. The PBST
could then design interventions that would occur at the point of precursors or antecedents and
prevent harm to the patient. There was also inadequate use of positive reinforcement and the
target behavior was too vague.

The staff of the intermediate care program appropriately recognized the patient’s instability and
transferred him to the acute care unit. However, treatment was inadequate and ineffective; the
patient received insufficient treatment and therapeutic interventions were not individualized.

Patient K

The healthcare record of this intermediate care patient was reviewed as he remained on
Assessment and Orientation status for 37 days, which was prolonged. His admission date was
listed as October 11, 2017, but the healthcare record indicated that the patient was housed at
CSP/Sac at that time. It appeared that his inpatient admission occurred on or about October 20,
2017. The patient was referred for intermediate inpatient care to increase his engagement with
his treatment team, as he had refused all services at his sending EOP institution. Additionally,
the intermediate care treatment team included the goal of assessing for a psychiatric diagnosis
and grave disability. The patient initially refused medications; no medications were prescribed
for daily administration, however, medications were ordered on an as needed basis so the
medications were available “if they need to control any agitated behavior...” He was previously
prescribed sertraline and ziprasidone.

A comprehensive psychological assessment during a prior DSH admission noted that the patient
had borderline intellectual functioning, frequent dissociative experiences, and PTSD with
dissociative symptoms. During this admission, he denied most symptoms, but acknowledged a
history of auditory hallucinations. At the ten-day IDTT on October 20, 2017, the patient was
unresponsive to most questions; he reported minimal depression and continued to state that he
did not belong there and did not need medications. He refused his 30-day IDTT on November
15, 2017, but when seen at cell front, he mumbled incoherently. The patient reportedly ate his
meals, but took an “exorbitant” amount of time to get out of bed. He last showered nine days
prior and had allegedly only taken bird baths since. The treatment plan included the goal of
treatment adherence for three months and successfully programming at a lower level of care.
The LRH was addressed by the treatment team although the patient was housed at his LRH.
While the treatment plan indicated that an individual plan of care (IPOC) was completed, it was
not located in the healthcare record, making it difficult to assess actual interventions.

The treatment team never addressed the patient’s Step level or provided a clinical rationale for
maintaining the patient at Assessment and Orientation status. As an individualized behavioral
plan was clearly indicated for this patient, the treatment team referred him to the PBST. The
behavioral plan indicated that the patient had stopped participating in assessment around the time

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of his admission. The purpose of the plan was to create guidelines that would motivate the
patient to be more active in treatment. There were goals of medication adherence and attending
75 percent of showers. These goals were too difficult for the patient to be successful and
involved too many different behaviors for him. A functional analysis that would have added data
that could be used for goals and treatment targets was not done. Completing a use functional
analysis would have required observation in light of the patient’s lack of cooperation.

As a result of inappropriate behavioral goals, the behavioral interventions were also problematic.
Salient reinforcers were not identified for use in the behavioral plan. Finally, while the treatment
team occasionally mentioned obtaining an involuntary medication order (PC 2602), there was a
lack of documentation why this action was not pursued. The patient’s cell was dirty and
unkempt; he had not showered or changed his clothes. He also was not engaged in treatment and
refused medications. It was unclear if the patient was eating although he accepted a food tray.
The psychiatrist prescribed sertraline and ziprasidone, in the hope that the patient would accept
the medications.

Findings

Although the patient was appropriately referred to the PBST and was appropriately maintained
on Assessment and Orientation status, he remained on Assessment and Orientation status for a
prolonged period of time and was not engaged in treatment. The behavioral plan was inadequate
and was unlikely to result in behavioral change. No functional analysis was completed, leaving
the plan without identified antecedents and salient reinforcers. Consequently, appropriate
interventions were not identified. Rather than focusing on one behavior and allowing staff and
the patient to experience success, multiple goals were selected and unrealistic goals were
established. This patient would better benefit from the use of successive approximation for
treatment engagement. This patient also should have been referred for a PC 2602 evaluation, as
he appeared to meet multiple criteria.

Patient L

This case was reviewed as the expert observed the patient’s intermediate care IDTT during the
site visit. The patient was initially housed in the CMF L1-PIP, but was transferred to the HCITC
due to negative behavior. It appeared that he was admitted to CMF for intermediate care during
early August 2017 based on a note documenting a ten-day treatment team on August 18, 2017.
He was referred for inpatient care due to self-injurious behavior. The patient reported that those
thoughts were precipitated by placement in administrative segregation.

The August 18, 2017 master treatment plan was not properly completed. As an example, the
treatment team discussed the possibility of a diagnosis of Antisocial Personality Disorder. This
discussion occurred in the treatment plan section under protective factors; a diagnosis of
Antisocial Personality Disorder would clearly not be a protective factor to reduce disciplinary
infractions and segregation placement. No IPOC was created but multiple goals were listed in
the master treatment plan. Those goals included not engaging in self-harming behaviors for 30

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days, increasing treatment groups and learning one productive coping skill. The treatment goals
were not sufficiently specified in behavioral terms, but were generally focused on the patient’s
primary problem areas. The patient’s LRH was addressed; his LRH was multi-person cell, until
he became maximum custody and was transferred to the HCITC. The treatment plan indicated
that the patient would be seen weekly by his primary clinician; it appeared that those contacts
occurred, but content was cut and pasted from prior notes and did not indicate what treatment
interventions were utilized during treatment sessions. The weekly psychologist progress notes
required improvement, as they consisted merely of a summary of historic information and other
team member’s documentation.

The patient was provided with a diagnosis of Bipolar I Disorder, most recent episode manic, with
psychotic features; he had been prescribed Depakote, but it was discontinued due to weight gain.
He received his psychotropic medications by a PC 2602 order. He was prescribed venlafaxine,
Geodon, and mirtazapine. The patient continued to report frequent thoughts of harming himself.
He also reported incidents of cutting himself.

Findings

Based on a review of the healthcare record, this patient received only medication management
and did not receive indicated therapies. He did not receive adequate treatment.
This patient appeared to have feelings of hopelessness combined with depressive and psychotic
symptoms that manifested in suicidal ideation and self-injurious behaviors. The treatment team
recognized the treatment needs of the patient and provided him with weekly primary clinician
contact; however, documentation of actual treatment during those sessions was lacking. This
patient required appropriate treatment, as his behavior resulted in increased custody status and
more restrictive housing which he reported exacerbated his suicidal thoughts and self-harming
behaviors. While the IPOC was reportedly completed, it was not located and specific treatment
interventions were also not documented. The treatment goals were generally acceptable, but
required more behavioral specificity. In addition, the patient’s impulsivity, which was
negatively affected by his youth, brain development, and long sentence, should have been
included as a treatment target.




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                            APPENDIX B-5
                               CMF L1-PIP
                  November 28, 2017 – November 30, 2017




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Patient A

This patient was housed in the CMF L1-PIP in a multi-person cell. The most recent treatment
plan dated November 21, 2017 indicated that the patient’s LRH was locked dorm. His
healthcare record was reviewed to evaluate the mental health care provided and whether there
was clinical justification for not placing him at his LRH.

The patient was provided with diagnoses of Bipolar I Disorder, PTSD and Amphetamine Abuse.
He was prescribed Buspar, hydroxyzine, Prozac, Zyprexa, Lithium, and Trazodone.

The inmate was referred for inpatient treatment after a failed suicide attempt at Deuel Vocational
Institution in June 2017, when he tied a noose around his neck. There was also indication that he
was experiencing paranoid ideation and auditory hallucinations at that time. He was admitted to
the CMF L1-PIP on July 10, 2017. He had a significant history of numerous suicide attempts. A
SRASHE on July 7, 2017 assessed the patient with high chronic and moderate acute risk for
suicide.

Progress notes indicated that the patient adjusted to the unit and he was an active participant in
individual and group therapy. He did have some extensive dental issues that affected his
participation at times. He was also followed consistently by the psychiatrist, who adjusted his
medications as was clinically indicated.

Regarding LRH placement, documentation during early August 2017 (August 9 and 11, 2017)
initially noted the patient’s suicidal ideation and paranoia that prevented transfer to his LRH. At
a subsequent evaluation on August 30, 2017, it noted that there were no clinical contraindications
for the patient to receive treatment at his LRH; however, it was reported that he was
programming well in the CMF L1-PIP and that he did not want to transfer to another program.
There was no subsequent documentation noted regarding discussion of LRH preparation or
transfer.

The most recent progress notes indicated that the patient was stable on medications and had
progressed to Step 3.

Findings

This patient appeared to be receiving mental health services at the appropriate level of care and
the care provided appeared to be clinically appropriate. The patient appeared to be stabilizing
according to recent documentation.

There was poor documentation regarding the reasons why the patient was not transferred to his
LRH and there was no documentation that his treatment team was working with him to
encourage and support transfer to his LRH.



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Patient B

This patient was housed in the CMF L1-PIP in a multi-person cell. The patient’s LRH was
locked dorm. His healthcare record was reviewed to evaluate the mental health care provided
and whether there was clinical justification for not placing him at his LRH.

The patient was admitted to CMF-VPP on March 7, 2016 from CMC due to depression, auditory
hallucinations and suicidal ideation. He was admitted to the CMF L1-PIP on August 2, 2017,
due to command auditory hallucinations with suicidal ideation and depression. He had a long
history of suicide attempts; some of these attempts were nearly lethal. He was provided with
diagnoses of Schizophrenia, paranoid type, Major Depressive Disorder, single episode and Other
Substance Use Disorder. He was prescribed Clozaril and Remeron.

A CDCR Patient Housing Decision Form dated August 11, 2017 noted that the IDTT did not
recommend placement at his LRH due to suicidal ideation and paranoia. A SRASHE completed
on September 5, 2017 assessed the patient with moderate chronic and high acute risk of suicide.

Although the patient remained with command auditory hallucinations and paranoia, progress
notes indicated that he had increasing participation in treatment activities. He also actively
participated in individual weekly therapy with his psychologist or the social worker. Clozaril
was adjusted to address continued psychotic symptoms. The most recent progress notes
indicated that the patient remained with significant auditory hallucinations and his medications
were adjusted accordingly.

A review of the treatment plan dated October 11, 2017 noted improving treatment participation,
but continued command auditory hallucinations. Treatment goals were clinically appropriate.
The IDTT recommended multi-person cell (his LRH was locked dorm), as the patient was
described as unable to negotiate the complexities of a less restrictive housing environment due to
functional capacity.

Findings

The mental health care provided to this patient appeared to be appropriate. Treatment planning
was focused on addressing the patient’s continued psychosis and functional capacity. He was
not placed at his LRH, but there was documentation that noted treatment attempts to increase
socialization, decrease paranoia and decrease auditory hallucinations in an attempt for improved
stabilization. His placement out of his LRH was clinically appropriate.

Patient C

This patient was housed in the CMF L1-PIP in a multi-person cell. The patient’s LRH was
locked dorm. His healthcare record was reviewed to evaluate the mental health care provided
and whether there was clinical justification for not placing him at his LRH.


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This patient was provided with diagnoses of Major Depressive Disorder, recurrent, PTSD, Other
Substance Use Disorder and Antisocial Personality Disorder. He also had significant medical
concerns, including end-stage liver disease and chronic kidney disease. He was prescribed
Remeron, Prazosin, Risperdal, sertraline and Vistaril.

The patient had a history of mental health treatment in CDCR at the 3CMS level of care. He was
referred to the MHCB, and subsequently to DSH for acute care, after he presented with suicidal
ideation, hopelessness due to medical concerns and depression. He also made threats to harm
others and expressed fears of enemy concerns. He was discharged from acute care on March 20,
2017 and reportedly cut himself in the transportation van. He was subsequently referred again to
DSH for acute care. After treatment there, he was referred to CMF-PIP for intermediate care and
was later transferred to the CMF L1-PIP on August 28, 2017.

The patient was a gang dropout and this was believed to be the main trigger for his feelings of
suicide.

An initial treatment plan dated August 28, 2017 noted the patient’s history and indicated that
although the CC I provided information that the LRH was locked dorm, the patient had
historically demonstrated significant difficulty with celling with another individual. He
experienced paranoia in large groups; his paranoia and impulsivity made him inappropriate for a
locked dorm setting at that time.

A treatment plan dated September 25, 2017 noted that the IDTT recommendation was for multi-
person cell, despite his LRH of locked dorm. It noted that the patient was unable to negotiate the
complexities of a less restrictive housing environment due to functional capacity. The treatment
team reported that the patient continued to exhibit symptoms of increased arousal, exaggerated
startle response, anxiety and fleeting thoughts of homicidal ideation that would prevent housing
in a dorm setting at that time. This issue was established as a goal for treatment.

The most recent progress notes indicated that the patient participated in group and individual
therapy, but he experienced some complications of his medical condition and reported insomnia,
which was addressed by the psychiatrist.

Findings

This patient received appropriate mental health care. Treatment planning addressed his current
symptoms and the plan was amended to help to address issues preventing transfer to his LRH.
There was also documentation regarding the reasons that the patient was not placed at his LRH.

Patient D

This patient was housed in the CMF L1-PIP in a multi-person cell, which was the patient’s LRH.
His healthcare record was reviewed to evaluate the mental health care provided. He was


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provided with a diagnosis of Major Depressive Disorder, recurrent. He was prescribed Latuda,
Remeron and Trileptal.

The patient was initially admitted to DSH-Stockton due to suicidal ideation without plan and
increased depression and anxiety due to situational stressors. He was subsequently transferred to
the CMF HCITC on June 28, 2017 for continued treatment.

He was transferred to the CMF L1-PIP on September 21, 2017 for further stabilization. The
patient had a history of prior DSH hospitalizations at the acute and intermediate levels of care.

Progress notes indicated that the patient attended greater than 90 percent of his groups. A
treatment plan dated October 16, 2017 noted that the patient was at his LRH (multi-person cell)
and that he was unable to negotiate the complexities of a less restrictive housing environment
due to functional capacity. His step was decreased to Step 2 due to behavior that led to the
issuance of a CDCR Form-115 for spitting on staff.

The most recent psychiatric progress note on October 27, 2017 indicated that the patient
remained with depression, but he was described as stable. Trileptal was increased at that time to
address the patient’s mood instability.

Findings

This patient was housed at his LRH. It appeared that the mental health care provided was
clinically appropriate.

Patient E

This patient was housed in the CMF L1-PIP in a multi-person cell. The patient’s LRH was
locked dorm. His healthcare record was reviewed to evaluate the mental health care provided,
and whether there was clinical justification for not placing him at his LRH.

He was initially admitted to the MHCB at NKSP during August 2016 due to grave disability with
disorganized behavior and confusion, including removing his clothing, eating his feces and
standing in urine. While in the MHCB, he exhibited catatonic-type symptoms. He was
transferred to CMF-VPP for acute care on September 1, 2016 and was discharged to CMF L1-
PIP for intermediate care on July 20, 2017.

The patient was provided with the following diagnoses: Schizophrenia, continuous with
catatonia, Unspecified Neurocognitive Disorder and Stimulant Use Disorder, amphetamine-type
substance. He also had a history of polydipsia during December 2016 with aspiration pneumonia
and seizure. He was prescribed Clozaril, lamotrigine and Zoloft.

Progress notes indicated that the patient did not have repeated episodes of eating or smearing his
feces since admission to the CMF L1-PIP. He attended meals in the dining area, occasionally

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watched television in the dayroom and attended a few groups. He remained with poor activities
of daily living and at times he smelled of feces. The staff noted the possibility of victimization
for this patient.

The most recent treatment plan dated October 17, 2017 noted that the patient was attending yard
and some of his groups; he had attended approximately half of his groups the month prior. He
was advanced to Step 3 at that time. He remained with symptoms of catatonia with slowed
movements and latency of response and speech. The IDTT indicated that he required more time
at his current treatment setting for stabilization of psychotropic medications before consideration
of transfer to his LRH, particularly in light of his history of coprophagia and poor hygiene. He
was generally adherent with prescribed medications, but only with significant encouragement.
His Clozaril dosage and administration was adjusted to maximize treatment adherence.

Findings

The care provided to this severely ill patient appeared to be appropriate. His medications were
adjusted as was clinically appropriate and treatment planning was addressed at decreasing his
positive and negative psychotic symptoms. Although he was not placed at his LRH, there was
clinical rationale provided for his current placement and attempts were made for psychiatric
stabilization.

Patient F

This patient was housed in the CMF L1-PIP in a multi-person cell. The patient’s LRH was
locked dorm. His healthcare record was reviewed to evaluate the mental health care provided
and whether there was clinical justification for not placing him at his LRH.

The patient had a long history of mental health treatment and multiple DSH placements. He also
had a history of involuntary medication treatment due to danger to self. He was admitted to the
MHCB at CMF on April 17, 2017, after a significant suicide attempt by cutting, which was
reportedly precipitated by a movie depicting suicide and his aunt’s declining health. He was
referred to the CMF L1-PIP due to continued passive suicidal ideation, depression, anhedonia
and hopelessness.

The patient was provided with diagnoses of Major Depressive Disorder and PTSD. He was
prescribed Prozac and olanzapine.

The most recent treatment plan dated October 16, 2017 noted that the patient continued to
experience depression, hopelessness and ongoing suicidal ideation. He attended some groups,
but not all, and did not attend yard. It also noted that the IDTT recommendation was for multi-
person cell, as the patient was unable to negotiate the complexities of a less restrictive housing
environment due to functional capacity. The plan further stated that the patient had difficulty
being out around others. Leaving his cell was a challenge due to prison trauma; for these
reasons, he was deemed not appropriate for a dorm setting.

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The most recent psychiatric progress note dated October 31, 2017 indicated that the patient had
improvement in his depressed affect and no recent suicidal ideation, with improved sleep,
appetite, energy and motivation.

Findings

The care provided to this patient appeared to be appropriate. There was also documentation
regarding the clinical reasons for not placing him at his LRH.




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                            APPENDIX B-6
                                CHCF-PIP
                   November 7, 2017 – November 9, 2018




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Patient A

This patient was previously housed in the CHCF-PIP intermediate care program during
September 2017. Reportedly despite his LRH of locked dorms and his initial HCPOP
endorsement to CMF-VPP, he spent his entire lengthy intermediate care stay at CHCF. His
healthcare record was reviewed at the request of plaintiffs’ attorneys to determine whether he
was regularly and appropriately reviewed by his IDTT to determine whether he was clinically
appropriate for transfer to a less restrictive setting during his stay.

The patient was provided with a diagnosis of Bipolar Disorder, unspecified. He was prescribed
mirtazapine, gabapentin, Haldol, and hydroxyzine. It appeared that the patient was housed at
CHCF from December 2016 to September 8, 2017. He was originally admitted to CHCF from
the CMF MHCB due to suicidal ideation with plan.

The Acute/Intermediate Care Facility (ICF) Master Treatment Plan dated July 25, 2017 indicated
that the patient’s LRH was for locked dorms. It indicated that the patient would be transferred to
DSH once he met the criteria of decrease in anxiety, which reportedly had increased in the past
several days due in part to a peer being placed on solo programming. A decrease in suicidal
ideation was also noted; however, other notes indicated that there was no recent suicidal ideation.
A subsequent Acute/ICF Master Treatment Plan dated August 22, 2017, which was written by
the same social worker, included identical information as the previous plan including the reason
for non-placement at LRH. The plan indicated that discharge paperwork was completed and that
the patient was awaiting transportation. There was no documentation in the treatment plan that
the issues that prevented transfer to LRH had been addressed.

A psychiatry note on July 28, 2017 indicated that the patient was receiving long term care in
intermediate care. The note indicated that he was being referred for dormitory placement.

A psychology progress note dated August 17, 2017 indicated that the patient would be
discharged to EOP.

A subsequent treatment plan dated September 18, 2017 indicated that the patient was housed at
CMF where it appeared that he was admitted to the MHCB after presenting with suicidal
ideation upon arrival to CMF.

Findings

Overall, it appeared that this patient received minimally adequate mental health care; however,
there was a lack of documentation regarding the reason for the patient’s long intermediate care
hospitalization and lack of movement to his LRH. Although it appeared that the treatment team
worked to address the identified symptoms of anxiety and suicidal ideation, treatment planning
documentation did not adequately provide rationale regarding whether or not these symptoms
were addressed, and how these symptoms prevented transfer to his LRH.


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Patient B

This patient was previously housed in the CHCF-PIP intermediate care program. Reportedly
despite his LRH of locked dorms and his initial HCPOP endorsement to CMF-VPP, he spent his
entire lengthy intermediate care stay at CHCF. His healthcare record was reviewed at the request
of the plaintiffs’ attorneys to determine whether he was regularly and appropriately reviewed by
his IDTT to determine whether he was clinically appropriate for transfer to a less restrictive
setting during his stay.

An Acute/ICF Master Treatment Plan dated August 8, 2017 noted that the patient transferred to
CHCF intermediate care from CHCF on February 11, 2017 due to inability to function in an EOP
setting; this was due to anxiety, depression, paranoia and auditory hallucinations. He was
provided with a diagnosis of Schizoaffective Disorder, bipolar type. The patient had a history of
multiple MHCB admissions as well as DSH hospitalizations for mental incompetence, danger to
self, psychosis (auditory hallucinations) and severe depression. The Mental Health Inpatient
Housing Review noted that the IDTT recommendation was that the patient was not appropriate
for less restrictive housing as he was “unable to negotiate the complexities of a less restrictive
housing environment due to functional capacity.” The plan then noted that the patient was
approaching discharge to the EOP, which was a less restrictive housing environment than locked
dorms.

During his hospital course, medication management included treatment with olanzapine, Zoloft,
Buspar and fluoxetine. Although his suicidal symptoms appeared to resolve, he continued to
report anxiety and exhibited depressive symptoms. His medications were adjusted as clinically
indicated.

A subsequent Acute/ICF Master Treatment Plan dated September 7, 2017 noted that the LRH for
the patient was unlocked dorms. The patient indicated a preference for continued treatment at
the intermediate care level of care, and he reported ongoing anxiety and intermittent suicidal
ideation. He was reportedly adherent with his prescribed psychotropic medications. The plan
indicated that, despite the patient’s subjective complaints, the clinical team noted that he had no
objective observations of anxiety or self-injurious or aggressive behavior according to the unit
staff. The clinical team indicated plans for discharge back to EOP as he did not meet criteria for
inpatient psychiatric care.

Findings

This patient appeared to receive appropriate mental health care. He initially presented with
symptoms of anxiety and suicidality which were improved with treatment. Although the
decision to discharge to EOP appeared to be appropriate, there was poor treatment planning
documentation regarding efforts to prepare and to transfer the patient to his LRH. The decision
to not discharge to the LRH prior to EOP placement was not well-documented.



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Patient C

This patient was previously housed in the CHCF-PIP intermediate care program. Reportedly
despite his LRH of locked dorms and his initial HCPOP endorsement to CMF-VPP, he spent his
entire intermediate care stay at CHCF. His healthcare record was reviewed at the request of the
plaintiffs’ attorneys to determine whether he was regularly and appropriately reviewed by his
IDTT to determine whether he was clinically appropriate for transfer to a less restrictive setting
during his stay.

The patient was referred to the CHCF-PIP for intermediate care on February 10, 2017 from
SATF due to depression with auditory hallucinations, poor socialization, and inability to function
in the EOP. He had a history of multiple MHCB admissions (four in the preceding six months).
He also had an extensive history of substance use and suicidal ideation associated with this use.

He was provided with a diagnosis of Major Depressive Disorder, recurrent, severe with
psychosis. He was prescribed Vistaril, Remeron and Effexor.

An Acute/ICF Master Treatment Plan dated August 22, 2017 was reviewed. A mini-IDTT was
convened to discuss discharge to LRH. The Transfer/Discharge Planning section of the
treatment plan noted that the patient would be “discharged to LRH-locked dorms”.

A suicide risk assessment completed on August 24, 2017 assessed the patient with moderate
chronic and low acute risk for suicide.

The most recent CHCF Acute/ICF Master Treatment Plan was dated September 7, 2017. The
patient was provided with a diagnosis of Major Depression, recurrent, severe with psychosis. He
had been prescribed Thorazine as needed, venlafaxine, mirtazapine, and hydroxyzine. He had
discontinued his medications as he reported that they made his auditory hallucinations worse. At
the time of the plan, he was not prescribed antipsychotic medications (at his request); however,
he was agreeable to a trial of Thorazine as needed for his symptoms of suspiciousness and
paranoia, which were described as baseline. His symptoms were described as stabilized, and he
denied hopelessness and suicidal ideation at that time. The staff noted that the patient would
require frequent monitoring and assessment due to his history of symptoms. The Mental Health
Inpatient Housing Review indicated that the IDTT recommendation was for locked dorms, and
that command hallucinations/internal stimuli were present that severely impacted functioning
and resulted in behaviors that were violent and/or disruptive. It noted that the patient continued
to respond to command hallucinations that caused him to yell and punch things that others did
not see or hear, and these symptoms had been disruptive on the unit.

Psychiatric progress notes during August and September 2017 noted that the patient refused
treatment with antipsychotic medication. It was also noted that he did not meet involuntary
medication criteria. He exhibited excessive exercising and reported suspiciousness and paranoia.
On September 7, 2017, he was assessed as functioning at baseline, and it was decided to
discharge him. He was discharged to SATF.

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Findings

It appeared that this patient received appropriate mental health care. He refused treatment with
antipsychotic medications, which may have assisted in addressing his continued psychotic
symptoms. Documentation indicated that plans were initially underway for discharge to LRH;
however, ultimately it was decided to discharge to the EOP as the patient was described as
functioning at his baseline.

Patient D

This patient was receiving treatment at the CHCF-PIP for intermediate care on the B6A unit. He
was prescribed Depakote, Zyprexa and Vistaril. The diagnoses included in the most recent
treatment plan were variable. Specifically, in the Problem section, formal diagnoses of Bipolar I
Disorder and Adult Antisocial Disorder were documented. However, in the Diagnosis section,
“acute anxiety” and “psychosis” were listed, which were symptoms rather than formal diagnoses.
The patient’s IDTT was observed during the monitoring visit; at that time, he presented with
actively manic symptoms. His treatment plan was reviewed to assess documentation of
treatment planning and the mental health care provided.

Treatment team discussion regarding whether the team was considering discharge or a transfer to
DSH-Atascadero was ambiguous. During the IDTT, staff asked the patient if he was ready to
“move to the next level of care,” to which he responded “yes.” Later during the IDTT, the
patient was asked if he wanted to go to DSH-Atascadero. Aside from these queries, there was no
further discussion with the patient about whether he would be discharged to CDCR or transferred
to DSH-Atascadero. Review of IDTT documentation indicated that the patient was
recommended for a transfer to locked dorms, which was his LRH. There was, however, no
discussion documented that the patient was prepared for this transition, and transfer to a locked
dorm facility was not discussed in the IDTT; DSH-Atascadero was an unlocked dorm hospital,
which was lower than his LRH.

A discrepancy in the treatment plan was also noted during the healthcare record review. In a
section indicated as “Risk Factors/Behavioral Alerts”, there was documentation that the patient
had not had a suicide attempt. However, in a section that referenced previous documentation,
there was a report that the patient overdosed on 217 Tegretol 25 years prior.

Consistent with IDTT observations, documentation in the treatment plan did not provide a clear
overview of changes in symptoms or functioning since the previous IDTT. There were missed
opportunities to provide a comprehensive review of the patient’s current mental status, such as
documenting the patient’s statements during IDTT.




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Findings

Based on IDTT observation and the treatment plan review, this patient’s care was inadequate.
The IDTT did not specify the patient’s diagnosis and treatment goals. Additionally, there was a
lack of preparation for potential transfer to a higher level of care.

The documented outcome for this patient was a transfer to his LRH which was locked dorms;
this was a positive outcome, but the process was poorly implemented. The discussion with the
patient during the IDTT did not reference locked dorms as a possibility, but instead referenced
transition to a lower level of care (i.e. EOP or 3CMS) or transfer to DSH-Atascadero, which was
lower than his LRH. It was unclear why DSH-Atascadero was raised as a possible option as it
was not his LRH. The patient did not present as clinically appropriate for an unlocked dorm.
More importantly, the impending transfer to his LRH was not discussed with the patient. This
lack of preparation could be destabilizing for any patient. Further, the diagnoses in the treatment
plan needed clarification with documentation of supporting symptoms.

The inconsistency of documented suicide attempts was also an area of concern.




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                            APPENDIX B-7
                                CIW-PIP
                   November 1, 2017 – November 2, 2017




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Patient A

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the
intermediate care program during the review period. On June 28, 2016, this patient was admitted
to an MHCB due to “danger to self”. She was provided with a diagnosis of Schizophrenia,
chronic paranoid type. She had an acute exacerbation of her symptoms at the time of admission.
She was provided with additional diagnoses of Alcohol Dependence in a controlled environment,
Amphetamine Dependence in a controlled environment, Marijuana Dependence and
Schizoaffective Disorder, bipolar type.

A May 22, 2017 psychiatric note indicated that this patient was in the CIW-PIP intermediate care
program. This was her third CIW-PIP hospitalization; she was admitted on September 22, 2016.
She also had a history of treatment at Patton State Hospital. A history of batteries on other
prisoners and staff was also noted. She was prescribed Clozaril. She reported attending her
groups with no difficulties. Her psychiatric symptoms decreased after treatment with Clozaril.

A July 14, 2017 psych tech note indicated that this patient remained on modified STEP 3 status.

A July 18, 2017 primary clinician note reported that this patient was at STEP 2 with one group
therapy per day. At that time, she was removed from DPS due to decreased aggressive thoughts
toward other patients; however, her delusional thinking continued. The plan appeared to have
included resuming DPS due to recent assaultive thinking. She was to be assessed biweekly for
changes in her level of depression.

The psychiatrist noted on July 26, 2017 that this patient’s primary symptom was the presence of
auditory hallucinations. Her Clozaril was increased due to her refractory psychotic symptoms.
Other medications included Invega Sustenna intramuscular injections for psychosis, Celexa for
mood symptoms and Cogentin for extrapyramidal symptoms.

Progress notes indicated that this patient was continually encouraged by staff to participate with
her plan of care, which included group therapies.

The psychiatrist documented on August 4, 2017 that the patient’s clinical presentation was
essentially unchanged. On September 13, 2017, Clozaril was again increased due to refractory
psychosis, including increased paranoid thinking.

A September 21, 2017 progress note by the psychiatrist indicated that a special IDTT was
conducted that day. A decrease in the patient’s auditory hallucinations was noted and she
reported having more energy since taking Clozaril. She also appeared to have more insight
regarding the nature of her illness. She reportedly was unable to program with several patients
due to prior assaultive behaviors with them. She had attended approximately 43 percent of her
groups. Due to this low attendance rate, she was decreased to STEP 2 and her incentive program
was restructured.

On September 27, 2017, the psychiatrist indicated that the patient’s clinical condition was
essentially unchanged. She was continued on her medications and she remained at STEP 2.

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Her primary clinician performed a 90-day SRASHE update on September 29, 2017. She
remained at STEP 2 with one group per day. She also continued treatment with Clozaril, which
had been prescribed since March 7, 2017; this medication had improved her stability. She
denied homicidal thinking at that time. Prior to the current admission, the patient was housed in
the EOP administrative segregation unit at CCWF after assaulting custody staff and other
patients in the EOP. This patient’s chronic suicide risk was assessed to be moderate and her
acute risk was determined to be low. The treatment plan included medication management and
cognitive behavioral techniques to change her negative thoughts to positive ones.

Findings

This patient was receiving appropriate care at the CIW-PIP and the intermediate care program
was the appropriate level of care. She was seen timely by both her psychiatrist and primary
clinician. Her long length of stay was due to her refractory psychosis and recurrent assaultive
behaviors. Her treatment plan appropriately targeted the symptoms that led to her current
admission.

Patient B

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the
intermediate care program during the review period. This patient was transferred to CDCR for
her current incarceration on March 1, 2017. She was initially admitted to the CCWF MHCB on
May 11, 2017, after she presented with bizarre behavior. She was provided with a diagnosis of
Schizophrenia, paranoid type, with a plan for referral to a higher level of care.

The patient had a history of a hospitalization at the Metropolitan State Hospital during 2009 after
she was found to be incompetent to stand trial. She was admitted to the CIW-PIP from the
CCWF MHCB on July 20, 2017, after being determined to be gravely disabled. She was
referred to the CIW-PIP for a comprehensive treatment program with an emphasis on medication
evaluation and management of her command auditory hallucinations and paranoia, as well as
development of coping life skills.

The admitting diagnoses were chronic hepatitis C, history of syphilis, and Schizophrenia,
paranoid type. Her prescribed medications included Abilify and benztropine.

Her history and physical examination was completed on July 24, 2017.

An IDTT was conducted on August 31, 2017, as a follow-up to her August 17, 2017 IDTT to
reassess her DPS status. She had not attended any DPS groups and staff reported continued
bizarre behaviors. She was seen at cell front when she indicated that she did not want to be
removed from DPS. She was again encouraged to attend DPS groups. The plan was to continue
her on DPS status until the next 30-day IDTT. Abilify Maintena 400 mg intramuscular injection
every month was continued.

This patient fully participated in a group therapy session on September 7, 2017.

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The psychiatrist on September 8, 2017 indicated that this patient continued to demonstrate
psychotic symptoms with grandiose delusions and periods of selected mutism; however, her
symptoms were improving. Her medications were continued unchanged at that time.

This patient was described at her September 12, 2017 IDTT as communicating by hand gestures,
head nodding and writing things down on a piece of paper. She was able to follow commands
and denied any current medical concerns.

The psychiatrist on September 13, 2017 reported that this patient was observed to have continued
psychotic symptoms during the most recent IDTT. Her prior DPS status was described as
essentially being self-imposed. It was discontinued on September 11, 2017 when she was placed
on STEP 1 and in clinical groups. She continued to deny having any type of psychiatric
disorder. Her diagnosis remained unchanged.

A September 19, 2017 progress note by the psychiatrist indicated that the patient was essentially
denying that she was experiencing any psychiatric symptoms. Subsequently, little change was
noted by the psychiatrist at the follow-up appointment on September 26, 2017. The social
worker documented on September 29, 2017 that the patient wanted to move to STEP 2, which
would be discussed at the IDTT that was scheduled to occur in one week.

She was seen on an intermittent basis by clinical social workers.

Findings

This patient was receiving appropriate mental health care. She was seen timely by her
psychiatrist. It appeared that individual therapy sessions were provided by clinical social
workers. The treatment plan was appropriate to her mental health needs.

Patient C

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the
intermediate care program during the review period. This patient was admitted to the CIW-PIP
for intermediate care during February 2014. Her initial diagnosis was Schizoaffective Disorder.

A June 22, 2017 note by the psychiatrist indicated that this patient underwent a trial of Clozaril
from May 1, 2017 to June 21, 2017 with good results. However, the Clozaril was subsequently
discontinued due to her nonadherence with this medication. A long history of medication
nonadherence was noted.

The patient reportedly displayed multiple episodes of rage since her admission to the CIW-PIP
and she was hostile toward staff on multiple occasions, in addition to involvement in physical
altercations with other patients on the unit.

A July 27, 2017 progress note by the psychiatrist indicated that the patient continued to
demonstrate psychotic symptoms. Her medications included Invega Sustenna.



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An August 4, 2017 progress note summarized the most recent IDTT. The patient reported
feeling better since restarting her medications and she had not recently exhibited aggressive
behavior. An August 4, 2017 progress note by the psychiatrist indicated that her diagnosis and
medications were unchanged. Her 30-day IDTT documented that she attended at least 75
percent of her treatment groups, which facilitated her move to STEP 3.

An August 28, 2017 discharge summary documented that the patient was initially admitted to the
CIW-PIP on February 20, 2014. Her long stay in the CIW-PIP was due to her labile mood and
unstable psychosis. She also had a history of aggression toward staff and demonstrated poor
impulse control. At the time of discharge, she was continued on Invega Sustenna after failing
multiple trials of other psychotropic medications; however, she continued to exhibit religious and
grandiose delusional beliefs.

This patient was subsequently administratively discharged on August 24, 2017, because she had
been out to court for 15 days. As per CIW-PIP policy, she was to be readmitted upon her return
from court. She did not return to the CIW-PIP until late October 2017.

Findings

This patient was receiving mental health services at the appropriate level of care in the
intermediate care program. She was seen by the psychiatrist timely. Progress notes by the
primary clinician during the review period were not located in the healthcare record; this may
have been due to the patient’s long-standing psychosis and long-term hospitalization. However,
such an issue should have been addressed in the IDTT documentation.

The patient’s hospital course during the monitoring period was interrupted by her out to court
status. It was clearly appropriate for her to be readmitted to the CIW-PIP upon her return from
court.

Patient D

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the acute
care program during the monitoring period. This patient was referred due to ongoing psychotic
symptoms, response to internal psychotic stimuli, paranoia, agitation, selected mutism,
intermittent adherence with oral psychotropic medication and emitting a foul body odor. She
had a history of threatening her cellmates and physically assaulting a peace officer. She was
placed on a PC 2602 order for involuntary medications due to danger to others and grave
disability. Although the roster indicated that the patient was admitted to the CIW-PIP for acute
care, the admission note indicated that she was actually admitted for intermediate care.

Admitting diagnoses included Schizoaffective Disorder and “acute psychosis”. She was
receiving medications by PC 2602; those medications included fluphenazine decanoate,
olanzapine as needed, Seroquel as needed, and Ativan as needed.

A 30-day IDTT was conducted on July 6, 2017. On July 20, 2017, a psychologist performed a
SRASHE as she remained on suicide precautions. She apparently was placed on suicide

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precautions on July 18, 2017 due to self-injurious behavior. She was again seen by this
psychologist on July 24, 2017. Her history of present illness included the following:

       Inmate is a 28-year-old female with serving a 50 year to life sentence for murder
       first in discharge of a firearm causing great bodily injury death. She arrived in the
       CDCR on 3/29/2017 from San Diego County Jail… . She was on a LPS
       conservatorship due to grave disability from 10/11/16 to 10/11/17. Inmate was
       referred to PIP for not responding to treatment even after two referrals to
       MHCB… . While at MHCB, patient was refusing showers. Her cell was filthy,
       and she refused six consecutive meals.

On July 27, 2017, the psychiatrist prescribed an Invega Sustenna intramuscular injection;
olanzapine was increased and Cogentin was continued. Her diagnoses remained unchanged.

An August 1, 2017 30-day IDTT was reviewed. This patient was noted to have zero-percent
group and dining attendance. Auditory hallucinations continued, which were aggressive in
content. The patient indicated that she did not want to be around people and she did not think
that the medications were helping her. Her medications were adjusted as previously
summarized.

A weekly psych tech progress note was written on August 8, 2017. It indicated that the patient
was consuming all of her meals, but she was not coming to the dining hall for meals. She
attended yard and groups intermittently.

A primary clinician note on August 14, 2017 was reviewed. Improvement from admission was
noted; however, the patient remained symptomatic. Her treatment plan was summarized.

The primary clinician performed the Columbia Suicide Severity Rating Scale specific to this
patient on August 17, 2017. She was assessed with chronic moderate and acute risk for suicide.

The psychiatrist again assessed this patient on August 17, 2017 for medication management. Her
Invega Sustenna was again increased.

A social worker met with the patient on August 23, 2017. She was again encouraged to attend
treatment groups to help deal with her depression. This session was precipitated by the patient’s
request for an individual session with the social worker.

A 30-day IDTT occurred on August 29, 2017.

The primary clinician attempted to conduct an individual session with the patient on August 31,
2017, but the patient declined to meet with her. The patient continued to experience auditory
hallucinations.

A weekly psych tech note on September 5, 2017 indicated that for the past three weeks, the
patient was compliant with showers and was eating all of her meals.



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The psychiatrist again met with the patient on September 11, 2017. Clinical improvement was
noted; however, she remained psychotic. A 60-day SRASHE update was performed on
September 15, 2017 and her chronic and acute suicide risk levels remained moderate. The
psychiatrist decreased Invega Sustenna on September 15, 2017 due to side effects. The patient
was reassessed by the psychiatrist again on September 19, 2017 for medication management
purposes.

Findings

This patient was receiving mental health services at the appropriate level of care in the
intermediate care program.

Patient E

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the acute
care program during the monitoring period. The patient was admitted to the CIW-PIP for acute
care on DPS status on September 20, 2017 from the CCWF MHCB. She had been recovering
from treatment at an outside hospital after swallowing tweezers and nail clippers during the
evening of July 21, 2017; she denied that this incident was a suicide attempt. She continued to
report her primary problems as depression and interpersonal issues. This was her fourth
admission to the CIW-PIP. The admitting diagnoses and behaviors included systemic lupus
erythematosus, Mood Disorder and self-injurious behaviors. Fluphenazine was prescribed.

The psychologist performed a SRASHE on September 20, 2017. This comprehensive suicide
risk assessment determined the patient to be at high chronic risk and moderate acute risk for
suicide. An appropriate safety treatment plan was formulated.

The psychiatrist again assessed this patient on September 22, 2017 for medication management.
In addition to treatment with fluphenazine, she was also prescribed Buspar, Paxil and Trileptal.
She was seen on the following day by another psychiatrist for follow-up.

Daily primary clinician contacts were documented by a social worker. The patient remained on
suicide watch. Daily progress notes by a psychiatrist were also present.
Therapeutic/intervention notes by various mental health clinicians were also present.

A comprehensive social work assessment report was completed on September 26, 2017, which
provided a comprehensive summary of the patient’s history. A special IDTT was conducted on
September 25, 2017, which resulted in the patient’s placement at the intermediate level of care.
Medications were again readjusted. Her psychologist updated the initial mental health
evaluation on September 29, 2017.

Findings

This patient was receiving appropriate treatment at the acute level of care during the early stages
of her admission. Her change to the intermediate level of care was also appropriate.



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Patient F

This healthcare record was reviewed to evaluate the care provided in the CIW-PIP in the acute
care program during the monitoring period. The patient was transferred from CCWF to the
CIW-PIP on August 25, 2017, following a suicide attempt by overdose. The patient had a
history of command auditory hallucinations, assaultive behavior and substance abuse. Her
psychotic symptoms reportedly improved after treatment with Zyprexa. The psychiatrist
provided initial diagnoses that included Adjustment Disorder with mixed disturbance of
emotions and conduct, Mood Disorder in conditions classified elsewhere and a seizure disorder.
She was prescribed Zyprexa, sertraline and Vistaril.

A 72-hour IDTT was conducted on August 20, 2017. The documentation noted the patient’s
arrival to CCWF on May 27, 2017. She was serving a two-year sentence for corporal injury on a
specific person resulting in a traumatic condition. Since her arrival to CCWF, she had received
four RVRs of a violent nature, which appeared to all have been unprovoked. She was referred to
the CIW-PIP due to the inability to function at the EOP level of care. Her presentation fluctuated
in extremes; sometimes appearing stable, and at other times exhibiting symptoms of paranoia,
impulsivity and aggressive acts towards others. She had also recently made a suicide attempt.
Her attention to her activities of daily living was also inconsistent and required much prompting.

Documented treatment outcome expectations included emphasis on skills development to better
manage mood and impulses to harm others and self. Specific treatment goals included
elimination of impulsive repetitive thoughts of self-harm, harm to others and increased coping
skills and insight into her mental illness.

A SRASHE was performed on August 28, 2017. The patient was assessed with moderate acute
and chronic risk for suicide. An appropriate safety treatment plan was developed. On August
29, 2017, the patient remained on DPS status. An acute/ICF initial assessment was performed by
a psychologist on August 31, 2017.

The psychiatrist again met with this patient on September 1, 2017. Her medications were
reviewed, as was her treatment plan. Initial assessments by other clinicians were also
documented in the healthcare record. Further medication review was performed by the
psychiatrist on September 6, 2017.

A mini Master Treatment Plan was documented on September 7, 2017. The patient remained at
STEP 1 of the program. Further follow-up by the psychiatrist occurred on September 11, 2017.
She was again seen by a psychologist two days later. The psychologist indicated that the patient
had been gradually adjusting to the program; however, she had broken the rules on several
occasions. The psychiatrist documented on September 18, 2017 that Zyprexa would be
increased due to continued psychotic symptoms.

A mental health RVR consultation was completed on September 20, 2017 related to a previous
charge of assaulting a peace officer.

The patient was seen again by the psychiatrist on September 20, 2017 for medication

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management. Zyprexa was reduced due to lack of efficacy, with the plan to eventually
discontinue this medication. On September 25, 2017, Zyprexa was discontinued and Latuda was
started; sertraline was also continued at that time.

A revised treatment plan was documented on September 25, 2017. On September 28, 2017, the
psychiatrist restarted Zyprexa. A special IDTT was conducted on September 28, 2017. This was
precipitated by the patient throwing her radio and breaking it. She was prescribed Haldol on an
as needed basis for agitation. Another SRASHE was completed on the following day. Listed
diagnoses included Schizophrenia, Substance Dependence and Personality Disorder NOS.

Findings

It was difficult to determine whether this patient was receiving acute or intermediate level of
care; however, it appeared that she was receiving appropriate mental health treatment. She was
seen on a regular basis by the psychiatrist and periodically by a psychologist. It was unclear
whether she had been assigned a primary clinician.

Patient G

This patient was included in a listing of patients referred but not admitted to the CIW-PIP during
the review period. Her healthcare record was reviewed to evaluate the care provided and the
appropriateness of non-admittance.

The patient was provided with a diagnosis of Bipolar 1 Disorder. She was prescribed
escitalopram, Zyprexa, oxcarbazepine and hydroxyzine as needed. Zyprexa was discontinued on
August 2, 2017 at the patient’s request because she did not want to be included on the heat risk
list during canteen. The psychiatrist attempted to dissuade the patient but was unsuccessful.

The patient was referred to the CIW-PIP from the CIW EOP on July 7, 2017 due to multiple
MHCB admissions over the previous six months, social isolation and cutting behaviors. The
Inpatient Referral Unit received the referral on July 11, 2017 and the referral was rejected
without dispute on that date.

According to CIW-PIP staff, the patient was stable at the time of the referral and remained stable
at the time of the monitoring visit. The patient’s goals prior to the referral were to reduce
depressive moods, to increase socialization, to reduce anxiety and to understand at least two
triggers causing cutting behaviors. The cutting behaviors increased after the patient’s daughter
was involved in a recent car accident.

At an IDTT that occurred on October 27, 2017, the treatment team discussed the patient’s
improved socialization, group attendance and lack of MHCB admissions or cutting behaviors
since June 2017.

This patient was not admitted to the CIW-PIP during the review period.




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Findings

The care provided to this patient was adequate. She appeared to be receiving mental health
services at the appropriate level of care and the referral rejection was appropriate at that time.

Patient H

This patient was included on a list of patients who received mental health treatment and had less
than 90 days prior to parole. The patient was referred for inpatient care on August 9, 2017; she
was admitted to the CIW-PIP on September 7, 2017 and she paroled on September 16, 2017.

The patient was provided with a diagnosis of Major Depressive Disorder, recurrent. She was
prescribed Effexor, Lithium and Abilify; however, Abilify was discontinued on August 3, 2017
due to the patient’s report of anxiety and agitation.

The patient was referred and admitted to the CIW-PIP after swallowing razors twice and paper
clips on four separate occasions. The plan outlined in the healthcare record was for parole agents
to accept the patient on the day of parole and to take her to a hospital for a California Welfare
and Institutions Code (WIC) 5150 evaluation to determine if she needed continued psychiatric
hospitalization. The patient was housed at her correct LRH.

The patient swallowed a paper clip on June 6, 2017 while housed at CCWF, experiencing a
resulting esophageal tear. She underwent surgery and returned to the CCWF MHCB. On
August 5, 2017, the patient informed staff that she had swallowed three paper clips; she was
subsequently admitted to the MHCB and referred to the CIW-PIP on August 9, 2017.

Weekly treatment plan meetings were conducted on September 8, 2017 and September 14, 2017.
The patient reported feelings of hopelessness and apathy and she was seen daily as she was
monitored on suicide precautions.

As the patient’s inpatient stay was brief, the September 14, 2017 goals of her treatment plan
included maintenance of the patient’s mood without delusions for an uneventful release to the
probation officer, understanding the PIP rules, and understanding that she would parole on
September 16, 2017 with a subsequent WIC 5150 evaluation.

The treatment team met with probation staff to discuss the patient’s status and to ensure that the
probation officer would immediately take the patient to a community hospital for a WIC 5150
evaluation on the day of release from prison.

Findings

The clinical care provided to this patient was adequate. The team collaborated with the probation
officer to ensure understanding of the importance of having the patient evaluated immediately
upon discharge.




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Patient I

This patient’s healthcare record was reviewed as she was included in a list of patients who were
administratively discharged from the CIW-PIP. She was classified as DD2.

The patient was provided with a diagnosis of Schizoaffective Disorder. She was admitted to the
CIW-PIP on March 3, 2017 from the MHCB due to “self-harm due to stress caused by
interpersonal conflicts and boundary issues”. She was prescribed olanzapine, haloperidol,
hydroxyzine, divalproex, benztropine and fluoxetine. Her symptoms included labile mood,
anxiety and impulsivity. She was housed at her appropriate LRH.

The patient had eight MHCB admissions in the six months prior to the March 3, 2017 CIW-PIP
admission; she also had three prior CIW-PIP admissions. All MHCB admissions were due to
suicidal ideation and self-injurious behavior by cutting and ingesting disinfectants.

The administrative discharge document noted the administrative discharge date as October 26,
2017 due to out to court status; conversely the EHRS listed the administrative discharge date as
September 21, 2017. The discrepancy in the two dates was due to holding and releasing of the
CIW-PIP bed. The bed was released on October 26, 2017 due to a long out to court stay.

The most recent treatment plan was dated September 6, 2017 and the latest SRASHE was
performed on August 9, 2017. The treatment plan included the following goals: to reduce
thoughts of self-harm, to reduce impulsivity and attention seeking behavior and to focus on her
upcoming court dates. She was removed from DPS and advanced to STEP 1 but with some
restrictions due to her threats and volatile behavior. The treatment plan did address the patient’s
developmental disability with instructions to the staff in assisting the patient in completing
appeals, letter writing and prompting for social skills. The goals were measurable and prioritized
the behaviors most stressful for the patient. The recent loss of the patient’s foster care
grandfather was also addressed in the treatment plan.

Findings

The mental health care provided to this patient appeared adequate. The patient’s low functioning
coupled with her mental illness and impulsivity made clinical treatment difficult, especially
when the patient was out to court for long periods of time.

Patient J

This patient was included in a listing of patients referred but not admitted to the CIW-PIP during
the review period. Her healthcare record was reviewed to evaluate the care provided and to
determine the appropriateness of non-admittance.

The patient was provided with diagnoses of Bipolar II Disorder and PTSD. She was prescribed
aripiprazole, divalproex, venlafaxine, prazosin and buspirone.




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The patient was incarcerated due to lewd and lascivious acts with a child. She had a history of
significant sexual abuse by her father and sister during her elementary school age years. At
approximately age 16, she was provided with a diagnosis of Bipolar Disorder. During her
incarceration, she was threatened and was constantly fearful due to her controlling offense.

The patient was referred by the CIW EOP treatment team to the CIW-PIP on July 17, 2017 due
to continued cutting behaviors. The referral was received by the Inmate Referral Unit on July
21, 2017; however, the patient’s LRH was appropriate for Patton State Hospital. The patient was
seen in the Triage and Treatment Area on July 31, 2017 due to suicidal behavior of cutting her
wrist. She was subsequently transferred to Patton State Hospital on August 1, 2017.

The patient was discharged from PSH to the CIW EOP on September 20, 2017. Five-day
follow-up was conducted timely. The patient was receiving mental health services at the EOP
level of care at the time of the monitoring visit during November 2017.

Findings

The care provided to this patient appeared to be appropriate. She was appropriately admitted to
PSH and upon discharge was transferred to the CIW EOP. She appeared to be receiving mental
health services at the appropriate level of care.

Patient K

The patient’s healthcare record was reviewed to evaluate the mental health services provided in
the CIW-PIP.

The patient was provided with a diagnosis of Schizoaffective Disorder. She was prescribed
benztropine, perphenazine, buspirone and oxcarbazepine.

While in the county jail, the patient was evaluated and found to be incompetent to stand trial.
She was subsequently transferred to Napa State Hospital on September 6, 2016; she returned to
the county jail on April 27, 2017. The patient was received at the CCWF reception center from
the county jail on June 14, 2017. She was placed into the EOP two days later.

The patient was placed into alternative housing on September 11, 2017 due to suicidal ideation;
she had been admitted to the MHCB on six occasions since June 2017.

An IDTT was conducted on September 20, 2017 and the patient was admitted to the CIW-PIP
for acute care on the following day. She was placed into the intermediate care program on
October 4, 2017. She continued to receive services at the intermediate level of care at the time of
the site visit.

The patient exhibited paranoia during the treatment team meeting and she was concerned that the
questions asked by the team were an attempt to gather information to harm her or her family.
She reported a long history of mental illness and improvement with medication management.
Although the treatment team reported that the patient was medication adherent, she continued to

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experience auditory and visual hallucinations. Her estimated parole date was December 7, 2017
or sooner due to time credits. The team also informed the patient that she would parole to Patton
State Hospital as an MDO. The patient indicated that parole to PSH was acceptable to her.

The treatment goals focused on reducing self-harm, reducing delusions and targeting paranoia
triggers.

Findings

The care provided to this patient appeared to be appropriate. She appeared to be receiving
mental health services at the appropriate level of care at her LRH.

Patient L

This patient was included in a list of patients admitted to the CIW-PIP during the review period,
but her level of care was changed at the time of admission. The patient was admitted to the
CIW-PIP for intermediate level of care from CIW, but the original referral indicated the need for
treatment at the acute level of care.

The patient was provided with diagnoses of Bipolar Disorder and Schizoaffective Disorder. She
was prescribed haloperidol, risperidone and Invega. The patient had been housed in the CTC for
treatment of Huntington’s disease, and she was admitted to the MHCB on June 30, 2017 due to
suicidal ideation related to her diagnosis. She was classified as DD2.

An IDTT was conducted on July 23, 2017. The patient was admitted to the CIW-PIP on August
22, 2017 and a PIP IDTT was conducted two days later. She was discharged from the CIW-PIP
and transferred to the CIW CTC/SNF on October 18, 2017.

Findings

The care provided to this patient appeared to be appropriate. She appeared to be receiving
mental health services at the appropriate level of care at her LRH.




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                             APPENDIX B-8
                                  SQ-PIP
                    January 30, 2018 – February 1, 2018




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Patient A

This patient was included on the high refusers list. His healthcare record was reviewed to
evaluate the care provided in the SQ-PIP.

This condemned patient was readmitted to the SQ-PIP for intermediate care on September 22,
2015. This hospitalization followed a hyponatremic event which led to a diagnosis of chronic
adrenal insufficiency, with medical inpatient hospitalization at Marin General Hospital. The
patient had received a trial of Haldol and administration of Ativan after an episode of catatonia.
He was provided with diagnoses of Schizophrenia, catatonic type and Antisocial Personality
Disorder.

The patient had multiple inpatient psychiatric hospitalizations, including state hospital and
MHCBs. He had a history of receiving psychotropic medication involuntarily by Keyhea order
from 2005 to 2006 and was on a PC 2602 order for involuntary medications since 2011 due to
grave disability. This patient had multiple antipsychotic medication trials.

The patient’s medical history was significant for adrenal insufficiency, atypical chest pain, right
ankle pain, blindness of the left eye, hypothyroidism, pituitary adenoma, testosterone deficiency,
and type 2 diabetes mellitus. The patient was prescribed a variety of medications for these
conditions and was also prescribed Lamictal and Zyprexa.

A July 6, 2017 psychiatric progress note indicated that the patient was not taking his prescribed
Zyprexa and wanted it discontinued. The patient remained with prominent and significant
paranoia and persecutory delusions and the note indicated that he was receiving mental health
services at the appropriate level of care in the SQ-PIP intermediate care program. Zyprexa and
Lamictal were continued. The patient’s prognosis was described as guarded.

The psychiatric assessment noted that the patient’s laboratory studies suggested the presence of
metabolic syndrome, which was likely due to the current antipsychotic regimen. The patient had
significant adverse responses to various neuroleptics, including catatonia in the context of
chronic adrenal insufficiency. The psychiatrist indicated that a change in the Zyprexa regimen
would be considered with possible transition to long-acting antipsychotic medication for
improved treatment adherence.

A July 7, 2017 monthly nursing summary note indicated that the patient declined to attend the
group therapy sessions conducted in the SQ-PIP during the month, despite education of its
importance to his treatment goals and plan. The patient attended yard occasionally during the
month and was seen spending most of his time lying in bed in his cell. There were no self-
injurious behaviors noted during the month and the patient denied suicidal or homicidal ideation.

Minimal clinical change was noted by the psychiatrist on July 13, 2017.



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A July 13, 2017 primary clinician progress note indicated that the patient continued to
demonstrate both positive and negative symptoms of Schizophrenia; however, his ability to
relate to others and to participate in regular sessions had drastically improved. The plan outlined
was for the patient to continue at STEP 1 due to his lack of treatment group participation and to
continue weekly meetings with mental health clinicians to reinforce the positive behaviors
identified in his treatment plan. The plan also included weekly meetings with the psychiatrist for
psychoeducation and consultation pertaining to psychotropic medications and mental illness.
Symptoms of psychosis would continue to be monitored and assessed.

The patient refused to attend his July 18, 2017 IDTT. He was seen by his primary clinician on
July 21, 2017.

Weekly clinical contact with the psychiatrist was documented and medical progress notes were
also consistently present in the healthcare record.

An August 25, 2017 weekly summary by nursing staff noted the patient’s adherence with
prescribed medications. He had good personal and environmental hygiene; however, he refused
to allow vital signs or laboratory studies, or attend groups. The patient often was observed
responding to internal stimuli and talking to himself, with perseveration regarding canteen,
money and plots to kill him. He was encouraged to participate in all out-of-cell activities.

The August 31, 2017 psychiatric progress note documented improvement regarding symptoms of
delusions and mood swings after treatment with Zyprexa and Lamictal.

Progress notes from September and October 2017 indicated little clinical change. The treatment
plan continued the patient’s level of care and the treatment team continued to work toward
building rapport in hopes of motivating the patient to engage with the team and attend groups
and yard.

A November 7, 2017 progress note by the primary clinician described the patient with very
limited, poor engagement with others. He was withdrawn and he isolated in his cell; this
behavior was believed to be baseline for this patient. His ADLs appeared adequate, but it was
noted that he occasionally exhibited regression in his presentation.

The psychiatrist noted on November 10, 2017 that the patient continued to demonstrate psychotic
symptoms. He continued to refuse groups and yard. He was reportedly adherent with prescribed
medications and had no recent RVRs or custody problems.

An annual polypharmacy review process occurred on November 14, 2017 by the pharmacist.

Treatment plans were reviewed on a monthly basis. The January 2, 2018 treatment plan
summary and formulation provided an accurate summary of the patient’s progress in treatment
and treatment goals and interventions.


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The major change in the treatment plan as compared to prior treatment plans was the
implementation of a behavioral plan.

Findings

This patient was receiving mental health services at the appropriate level of care. A behavioral
plan was clinically indicated due to the patient’s lack of participation in out-of-cell structured
therapeutic activities.

Patient B

This patient was included on the high refusers list. His healthcare record was reviewed to
evaluate the care provided at the SQ-PIP.

He was admitted to the SQ-PIP during October 2014. At the time of the monitoring visit, the
patient was housed in the SQ-PIP intermediate care program at STEP 2.

The patient was provided with diagnoses of Major Depressive Disorder, recurrent without
psychotic features, PTSD, Mood Disorder NOS and Antisocial Personality Disorder. However,
the validity of these diagnoses was uncertain, as the patient was uncooperative with the clinical
evaluation. The patient’s medical history was significant for chronic lower back pain and
gastroesophageal reflux disease. He was prescribed bupropion, clonazepam, diphenhydramine,
gabapentin, olanzapine and prazosin.

A July 7, 2017 psychiatric progress note documented the patient’s hospitalization in the SQ-PIP
since October 6, 2014. Since admission, he was transferred to the acute care program on four
occasions (on April 1, 2015 after a suicide attempt by cutting; June 25, 2016 after a suicide
attempt by cutting; November 9, 2016 after substantial property damage; and most recently from
February 6, 2017 to February 21, 2017 after a suicide attempt). At the time of the monitoring
visit, the patient had been housed in the intermediate care program at STEP 2 since March 29,
2017.

This patient had a history of multiple serious suicide attempts. He received psychotropic
medications involuntarily by a PC 2602 order that would expire on July 19, 2017. It was
determined that the PC 2602 order would not be renewed, since the patient behaviorally
stabilized as of February 2017 and was determined not to pose a danger to himself or others, and
was not gravely disabled. The patient also understood the risks and benefits of medications and
had the capacity to consent to medication treatment.

The patient had refused individual psychiatric visits since his treatment was assigned to the
Humboldt Team in November 2016. He was cooperative with cell-front contacts, but the
interactions with staff were superficial; he was unwilling to discuss his problems and symptoms.
He was asked to consider plans for his psychiatric medications since the PC 2602 order was
scheduled to expire.

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On July 17, 2017 nursing staff reported that the patient exhibited no behavioral issues or
problems. He was medication adherent. The healthcare record indicated that he had attended
some groups; however, he continued to refuse vital signs and laboratory studies.

His primary clinician reported on July 23, 2017 that the patient would continue to be encouraged
to work with Humboldt Team providers to work collectively toward his goal for discharge.

On July 25, 2017 this patient continued to refuse to leave his cell for an individual visit. The
psychiatrist reported that the patient had stopped taking Zyprexa; he stated that he did not want
this medication any longer. The patient stated that he continued to want to transition to East
Block or the Adjustment Center. He made it clear that he would not talk to mental health staff in
East Block or the Adjustment Center. The psychiatrist summarized the following information.
The patient was behaviorally stable, but was uncooperative with the mental assessment and
treatment in the SQ-PIP and desired discharge. He had been provided with multiple psychiatric
diagnoses. He attended some groups and yard. Electrocardiograms and laboratory studies were
ordered; however, the patient had not complied with this testing. The psychiatrist outlined the
plan to discontinue Zyprexa due to the patient’s refusal and to continue bupropion,
diphenhydramine, gabapentin, and prazosin as ordered. The patient would remain in the
intermediate care program at STEP 2.

Subsequent progress notes, which were written on a consistent basis, indicated very little clinical
change.

During the review period, the treatment plan was reviewed monthly. IPOCs were clinically
appropriate. Treatment plans’ documented a very long history of psychiatric problems, which
preceded the patient’s current incarceration. A history of significant suicide attempts during the
patient’s incarceration was documented. A comprehensive history was documented in his
treatment plans.

Subsequent IDTT documentation indicated that the patient continued to refuse to leave his cell
for individual contacts and that his clinical presentation remained unchanged. He remained at
STEP 2.

The primary clinician indicated on November 1, 2017 that the patient would continue to be
encouraged to work with Humboldt Team providers to work collectively on his goal of
discharge. He was referred to the suicide prevention coordinator for consultation as to the
assessment of risk of self-harm and readiness for discharge.

The November 30, 2017 IDTT note indicated that the patient was not present at the IDTT and
had declined to attend when approached at cell front. Due to his extreme distress when this
social worker recently spoke to him, and his request that the team cease speaking to him unless it
was an emergency, he was written a note inviting him to the IDTT. He read the note at cell
front, made eye contact and politely responded “no thank you.” His case was discussed in

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absentia.

The note further indicated that the treatment team had conferred with the suicide prevention
specialist and the supervisor to conduct a SRASHE and to provide recommendations regarding
safety planning to move the patient toward discharge. It was noted that the team believed that
the patient’s continued SQ-PIP stay was more stressful than a source of support for him and the
benefit of continued hospitalization was questionable.

During the monitoring visit, the expert attended a quasi-IDTT (i.e., a “mega”) that involved this
patient. The patient had requested such a meeting after discovering that his legal requests
relevant to a Vitek proceeding several years ago had either been misplaced intentionally or
unintentionally. The patient wanted to discuss his concerns regarding inadequate access to the
law library and the reported unresponsiveness of the assigned patient advocate.

Staff confirmed significant issues related to law library access and the unresponsiveness of the
patient advocate.

Findings

It was clearly difficult to form a therapeutic alliance with this patient. The current treatment plan
appeared to be ineffective in increasing his participation in structured therapeutic activities. It
was unclear why a behavioral treatment plan had not been developed as part of the treatment
plan. It was also unclear whether continued hospitalization was clinically indicated. This
patient’s mental health issues were related to a longstanding personality disorder in contrast to a
mental illness associated with psychotic features.

Patient C

This patient was admitted to the SQ-PIP on October 1, 2014 for treatment of psychosis. He
transferred from East Block to the SQ-PIP for treatment of depression and psychosis, as he was
not making sufficient progress in his treatment at the EOP level of care. The patient continued to
experience persistent auditory hallucinations, confusion, poor care for his ADLs and social
isolation. He received treatment in the intermediate care program.
The patient reported doing “okay” and indicated that recently he had not attended groups.
The psychiatrist discussed the goals of improved group attendance and consistent
showering.

A treatment plan dated July 8, 2017 provided the following diagnoses: Schizophrenia Spectrum
Disorder, Alcohol Use Disorder, Cannabis Use Disorder, Methamphetamine Use Disorder,
Cocaine Use Disorder, PCP Use Disorder, LSD Use Disorder and Antisocial Personality
Disorder. The plan indicated that the patient would continue treatment in the intermediate care
program with encouragement for participation in groups and recreational therapy.

The patient was prescribed Haldol and Effexor ER. His medical history was significant for

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hypertension, non-insulin dependent diabetes mellitus, right hydrocele, gastroesophageal reflux
disorder, a history of thrombocytopenia, neck and back pain and tardive dyskinesia of trunk and
neck.

The July 12, 2017 treatment plan noted that the patient would remain at STEP 1, with the goal of
group attendance at least five times per week. It also noted that the patient would have a
capacity hearing for PC 2604 proceedings on July 18, 2017. Appropriate IPOCs were initiated.

At the court hearing on July 18, 2017, it was determined that the patient did not have the capacity
to make an informed decision regarding the tests required for the medical workup of his
hematuria.

The PC 2604 order was granted for a one-year period, during which an appointed individual (his
brother) could make medical decisions for the patient.

An August 17, 2017 primary care progress note stated that the social worker had met with the
patient to contact his mother and brother, who stated that the patient had not spoken with them in
30 years; this was in contrast to the patient’s prior report that he regularly spoke with and saw his
family. Information was reportedly provided to the patient by his family as to recent events and
deaths. The patient was agreeable to continued contact with his family through writing and
telephone calls.

Progress notes were written by the psychiatrist and primary care clinician on a consistent and
timely basis.

The November 2017 treatment plan noted the patient’s medication adherence, with goals of
improved hygiene and socialization and decreased auditory hallucinations. He remained with
poor insight and concentration. He required frequent reminders; however, this had improved.
His medications were continued with plans for three showers and groups per week. He was
maintained at STEP 2.

The patient was briefly interviewed at cell front during the site visit by the monitor’s
expert. He reported that he had been hospitalized in the SQ-PIP for three years and had
been housed at SQ for 17 years. He preferred the SQ-PIP to his previous housing in the
East Block. He was not interested in attending any more groups on a weekly basis.

Findings

This patient was receiving appropriate mental health care in the SQ-PIP intermediate care
program. Unfortunately, the patient was very comfortable with attending only two groups per
week, which was much less than was clinically indicated. The patient clearly had a chronic and
persistent mental illness.



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Patient D

The healthcare record of this patient was reviewed to evaluate his continued
hospitalization in the SQ-PIP. This condemned patient had been housed at SQ since
1987. He had received mental health treatment since his arrival in the condemned unit.
His history was significant for at least ten DSH hospitalizations between 1989 and 2009.
He had received his psychotropic medications by a PC 2602 order intermittently from
1990 to 2005 and ongoing since 2006 for grave disability. He was referred to the SQ-PIP
in 2014 for long-term treatment.

The patient had a long history of psychosis with auditory hallucinations and delusional thinking
with paranoia. He also had a history of catatonia. He was provided with several psychotic
diagnoses, including Schizophrenia, paranoid type and Schizoaffective Disorder.

The monitor’s expert attended the bed utilization management committee review of this patient.
At this meeting, it was noted that the patient’s clinical presentation had changed little since his
admission in 2014. The patient continued to require prompting to engage in ADLs and exhibited
delusional thinking and other evidence of a thought disorder, including paucity of speech and
thought blocking. Goals discussed included maintaining medication adherence, engaging in
ADLs, improved organization and insight and reduction of negative symptoms with continued
involvement in groups and yard. The bed utilization management committee recommended
continued hospitalization.

The patient received involuntary psychiatric medication treatment by a PC 2602 order.
He was prescribed oral Haldol concentrate and benztropine. The medication
administration record documented medication adherence.

During the site visit, the expert briefly interviewed this patient at his cell. He was difficult to
understand due to dysarthria. His speech was not linear and was characterized by loose
associations and tangential thinking. He reported attending two groups per day as well as yard;
this report was inconsistent with information present in his healthcare record. He had little
insight regarding his mental illness.

Findings

This patient’s presentation was consistent with the presence of a serious mental disorder,
specifically Schizophrenia, chronic type. He remained in need of continued inpatient care at the
intermediate level. The patient’s care appeared to be appropriate.

Patient E

The healthcare record of this patient was reviewed to evaluate the care provided in the SQ-PIP.
This condemned patient was admitted to the SQ-PIP intermediate care program directly from
Receiving and Release. At the time of admission, he was intermittently mute, internally

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preoccupied and appeared to be responding to auditory hallucinations. He was unable to provide
history of his mental health treatment. The patient also had disorganized thinking and a
disheveled appearance.

A November 6, 2017 psychiatric progress note documented improvement reported by nursing
staff. The patient required less prompting for simple tasks, such as hygiene; he consistently took
his medications and regularly attended groups. He remained with some delusional thinking. He
also exhibited improved energy since treatment with Abilify.

The most recent treatment plan dated January 29, 2018 noted the patient’s medication adherence.
He was described as pleasant and friendly. He presented with psychosis, which was
characterized by internal preoccupation, incoherence, loose speech and disorganized thinking.
The patient also had difficulty maintaining his ADLs. Treatment goals were to reduce and
stabilize psychotic symptoms and improve hygiene. The patient’s poor insight and psychosis
were noted as limiting factors in obtaining full treatment engagement.

The patient was prescribed Prozac, Abilify, Cogentin, Vistaril and Zyprexa. He was adherent
with prescribed medications.

The expert briefly interviewed this patient at his cell during the monitoring visit. The patient
reported being hospitalized in the SQ-PIP for three years. He stated that he liked the SQ-PIP
because he was interested in “rehabilitation.” He demonstrated little insight regarding his mental
illness. He reported attending three to four groups per day, which appeared to be consistent with
information in his healthcare record.

Findings

This patient was receiving appropriate mental health care in the SQ-PIP intermediate care
program.

Patient F

This case was selected for review as the patient was identified as having an individualized
behavioral plan. This condemned patient arrived at SQ in 1989. He had a longstanding history
of paranoia, with the delusional belief that custody staff would harm him. The patient was
identified during the original SQ-PIP activation assessment project and had remained in the SQ-
PIP since October 2014. He was provided with diagnoses of Schizophrenia, paranoid type,
Polysubstance Dependence and Antisocial Personality. He had well-established treatment
refractory symptoms that included the aforementioned paranoid delusions and anxiety and
auditory hallucinations. The patient refused to eat on occasion, which resulted in significant
weight loss. The patient’s reduction in food intake was linked to his delusions regarding custody
staff and concerns that they had poisoned his food.



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The patient was prescribed Haldol concentrate on a regular and as needed basis. He was
administered them as needed during the previous month. He was also prescribed Paxil,
trazodone and Zyprexa Zydis. A medication review on January 4, 2018 revealed that the patient
had 100-percent adherence with routine medications.

This patient refused most clinical out-of-cell activities and typically refused yard. He also
intermittently stopped eating or reduced his food intake due to his anxiety and/or delusional
belief that custody had tampered with his food. It did not appear that the treatment plan had been
appropriately modified prior to the referral for a behavioral consult and request for a behavioral
plan. The treatment team modified treatment goals; the number of groups was increased from
one to two weekly groups. Other actual interventions were not documented. It was difficult to
determine the adequacy of treatment planning prior to the referral for a behavioral plan. The
patient remained at STEP 2 throughout the reporting period due to his low clinical activity
attendance and sporadic eating.

The patient had a brief episode of decompensation on December 29, 2017, when a lieutenant,
who the patient was fearful of, worked in the unit. Following the assignment of that lieutenant,
the patient scratched himself using his television plug and reported suicidal ideation. This
resulted in placement on one-to-one suicide observation. He told the psychiatrist the following
day that the behavior was a suicide attempt and that he would rather kill himself than allow
custody to hang him. The patient believed that he had overheard custody discussing hanging or
choking him. On December 31, 2017, the treatment team clinically moved the patient to acute
status, although he remained in the same room. The lieutenant would complete his temporary
assignment during the first week of January 2018 and the patient’s anxiety lessened significantly
in anticipation of that event. While on suicide precaution, the patient’s property was removed.
He was seen daily while at the acute level of care.

While the patient had improved during the course of his SQ-PIP hospitalization, with
improvement in depression, self-injurious behavior and select disruptive behaviors, he continued
to persistently utilize staff to soothe him. In addition, his delusional beliefs continued to
negatively impact his ability to regularly consume food, function within the unit and achieve a
functional level that would allow for discharge. As a result, a positive behavior support plan was
completed; it was based on a thorough functional analysis and identified potential drivers or
reinforcers of the behavior. As the positive behavior support plan appeared to have been
implemented in January 2018, it was too soon to evaluate possible clinical effects.

Findings

This patient was adequately treated at the appropriate level of care. However, his treatment was
not modified, despite the lack of progress for multiple months. It was a significant clinical
improvement when the team chose to refer him for a behavioral consultation and behavioral
plan; this was a critical aspect in determining that the patient was receiving adequate care at the
time of the monitoring visit.


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Patient G

This case was selected for review as the patient was identified as a frequent refuser of treatment
services. The condemned patient arrived at SQ in 1990. He was a patient in the inpatient
program that existed prior to activation of the SQ-PIP and was admitted to the SQ-PIP on
October 1, 2014. He was provided with a diagnosis of Schizophrenia, disorganized type. The
patient was described as malodorous at times, due to poor hygiene; he also exhibited impaired
mobility due to the delusional belief that he had a computer in his brain that controlled his
movements. The patient had received his psychotropic medications by involuntary medication
order continuously since 1996, except for the period of 2000 to 2001 when he reportedly took
medications voluntarily. He remained on a PC 2602 order at the time of the site visit. He was
prescribed clozapine and Lamictal. The patient remained on STEP 1 due to his lack of
engagement in treatment.

The most recent treatment plan dated January 23, 2018 summarized prior treatment plans. All
treatment plans included only one mental health treatment target which was related to the
patient’s delusions. There was no treatment target related to the anxiety the patient experienced
regarding urinary incontinence, despite documentation that it was a primary obstacle to treatment
participation. The short-term treatment goal for delusions was to reduce feelings of distress and
it used a subjective rating of distress, as this was an EHRS requirement. There were no objective
behaviorally-based measures of distress utilized for the treatment target of delusions. The
delusions were to be in “remission” for a period of three months in order to discharge the patient.
This was an unrealistic goal, in light of the chronic nature of the patient’s delusions. It would
have been more appropriate to identify how the patient’s delusions interfered with his observed
daily functioning and to establish a functional level goal for discharge. For example, the team
could set the following expectations for discharge: the patient will inform custody staff
immediately when he needs new clothing due to his incontinence, he will shower whenever he
experiences incontinence, and at least three times weekly he will participate in at least 50 percent
of mental health treatment activities and 75 percent of medical treatment activities. There were
no specific treatment interventions listed; interventions simply listed “individual, group, and
recreation therapy.”

This patient was eventually referred for a behavioral consultation and behavioral plan due to his
passive resistance to escort, but this was primarily due to his treatment refusals and the hiding of
his incontinence. The patient hid his soiled clothing rather than exchanging them for clean
clothes. The undated positive behavioral support plan was designed to create incentives for the
patient to engage in specific hygiene and health care tasks and mental health treatment activities.
Based on reward tracking, it appeared that the behavioral plan was implemented in mid-January
2018. At the time of the monitoring visit, it appeared that only the points given were being
tracked, not the reason they were given (what activity) or continued data tracking (measurement)
of the target behaviors to be increased and decreased to monitor the plan’s effectiveness.

Clinical documentation indicated that while the patient generally remained stable, but with
significant negative symptoms, improvement was noted since implementation of the positive

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support behavioral plan. The patient increased his shower frequency and he worked more
frequently with medical staff. Baseline data indicated that the patient also increased showering
in September 2017, before decreasing dramatically in subsequent months. No information was
located explaining either the significant increase or subsequent decrease. That information
would have been helpful, especially because it preceded the behavioral plan. There was no
change in participation in clinical activities, despite the reinforcement schedule implemented as
part of the positive support behavioral plan. If clinical activity continued to demonstrate no
change, as part of the ongoing assessment of the behavioral plan, the reinforcers used for mental
health activity should be reevaluated. Positive incentives may be insufficient to increase
programming without eliminating the incentives that maintain the patient’s negative symptoms.
Despite the lack of improvement in clinical engagement, it should also be noted that the patient
made contact with his family for the first time in 20 years, received a package from them and
spoke on the phone with his mother. This was seen as a significant clinical improvement by the
treatment team.

The patient was seen weekly by the social worker and psychologist. He was seen at least
monthly by the psychiatrist. Progress notes indicated that they attempted to convince the patient
to leave his cell for confidential contacts with refusals. When the patient attended his individual
sessions, documentation indicated that they were generally therapeutic and appeared to be
primarily focused on maintaining and building rapport.

Findings

This patient was receiving a significant amount of treatment. Despite that, treatment was not
modified due to a lack of progress over multiple months of treatment during his hospitalization.
That lack of treatment plan modification was concerning. A significant clinical improvement in
the treatment was the treatment team referral for a positive support behavioral plan. As a result
of the development and implementation of that plan, the treatment team documented recent
improvements in select areas. It will be critical that those clinical gains are maintained and that
the behavior plan was monitored for possible modification if it was ineffective in impacting the
patient’s engagement with mental health treatment providers and activities. This patient was at
the appropriate level of care and was receiving adequate care at the time of the monitoring visit.

Patient H

This case was selected for review as the patient was identified as a frequent refuser of treatment
services. This Stage 1 patient was admitted to the SQ-PIP on October 1, 2014. He was provided
with diagnoses of Schizophrenia, undifferentiated type, Polysubstance Dependence and
Antisocial Personality Disorder. The patient had previously received psychotropic medications
by involuntary medication orders; the last order was in place during 2014 and was not renewed.
The patient was prescribed clozapine. It should be noted that the psychiatrist had indicated in the
most recent treatment plan on January 11, 2018 that the patient’s clozapine blood level was in
the low therapeutic range, but the patient would not agree to a higher dose. The psychiatrist


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continued to urge the patient to accept a higher dose during routine visits, which occurred
monthly at a minimum.

The patient had a history of paranoia, auditory and visual hallucinations, emotional volatility,
hostility, aggressive behavior, suicidal behavior and delusional thinking with anorexia and an
associated 60-pound weight loss due to his belief that his food was poisoned. After months of
activity and engagement with providers, he became isolative, anxious, unkempt and withdrawn;
the providers were unable to determine the precipitants for these periods of decompensation.
The patient exhibited many of these negative symptoms during his hospitalization at the SQ-PIP.
In spite of these symptoms, the treatment plan was not modified significantly over much of the
review period beyond a recent medication change. The patient was eventually referred for a
behavioral plan. The functional analysis appeared to have been nearly completed, but the plan
had not been fully developed or implemented at the time of the monitoring visit.

This patient presented as an extremely challenging case. No salient reinforcers were identified
by the treatment team, including the behavioral specialist. He did not typically engage with any
staff. He began showering two to three times weekly after treatment with clozapine. Otherwise,
the patient remained in his cell with no interest in engaging in any in-cell activity, including
watching television or reading. He was passively resistant to engaging with staff in any manner,
including in the functional assessment process. However, during the site visit, the patient
cooperated with the monitor’s expert for a brief interview.

The monitor’s expert discussed this case with the SQ-PIP program director and clinical director
to review additional behavioral interventions and ideas for future treatment settings or
modalities, in light of the patient’s acceptance of an interview with the expert and the chronic
nature of the patient’s negative symptoms. Staff was very responsive to provided
recommendations.

Findings

This patient was severely mentally ill with a long, chronic course of debilitating mental illness.
While his symptoms were described as waxing and waning over the years, no one in his
treatment team identified any possible precipitants or reinforcers that might correlate with the
decompensation and improvement observed. As a result, with the patient’s ongoing reluctance
to engage and respond to staff, it remained extremely difficult to identify effective treatment
modalities or salient reinforcers. Despite these clinical challenges, the treatment team continued
to focus on improving the patient’s functional level by modifying medications and referring him
for a positive support behavioral plan. At the time of the visit, the patient was still undergoing a
functional analysis and development of the behavioral plan. The patient’s medication regimen
was closely monitored and he was consistently followed at least monthly. When the positive
support behavioral plan was completed, it should be reflected in an updated treatment plan. As a
result of the noted challenges and recent clinical interventions, this patient was receiving
adequate care.


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Patient I

This healthcare record was reviewed to evaluate the care provided in the SQ-PIP intermediate
care program. The patient arrived to the condemned unit at SQ in 1979. He was referred to the
SQ-PIP for improvement in anxiety and psychotic symptoms, including auditory hallucinations,
paranoia and delusions, so he could function in East Block without constant distress. The patient
was admitted to the SQ-PIP on April 4, 2016. He was provided with diagnoses of Anxiety
Disorder and Delusional Disorder, persecutory type. He was prescribed Abilify, Remeron and
Cogentin.

The patient’s paranoia and delusions tended to focus on custody staff and fears that they were
monitoring and attempting to harm him. He believed that a custody officer lived in the crawl
space above his room in the SQ-PIP. Even after he was moved to another room due to
maintenance, he reported to staff that the officer remained above him. The patient reported
hearing the officer’s movements, cell phone and radio above his room. This patient was also
interviewed by the monitor’s expert during the site visit, when he reported the same experiences.
He also believed that his telephone calls to his brother had been interfered with by custody
officers. Similar information was documented in the healthcare record.

Treatment plans since November 2017 indicated that the treatment goal of remission of delusions
for three months had been met; based on available documentation and patient interview, this goal
remained unmet. Lack of insight was also included as a treatment target in November 2017.
The documentation of treatment interventions was unclear, but a review of progress notes
indicated that the psychologist was appropriately using cognitive behavioral therapy techniques
to address this treatment target. The patient’s anxiety was also a focus of treatment and anxiety
self-rankings varied significantly over the preceding year. Interventions for anxiety were
unclear, but the progress notes suggested the provision of cognitive behavioral therapy by the
treating psychologist.

The treatment plans required greater specificity in treatment target and interventions, with
objective behavioral descriptions. At times, interventions appeared to be goals rather than actual
interventions (e.g., reduce anxiety); interventions were often vague (e.g., therapist will address)
and not phrased in clinical language (e.g., patients are taught to review paranoid/delusional
thinking). The interventions were not stated as active speech in clinical terms. Interventions and
goals were not distinguished and the person/discipline responsible for the intervention was not
clearly indicated. The treatment plan also did not clearly indicate a diagnosis. The diagnosis
was inferred from problem areas and from reviewing psychiatric notes. As provided diagnoses
may vary among treatment team members, a clear diagnosis in the treatment plan would be
beneficial in documenting diagnostic agreement.

Findings

This patient received adequate care. However, there remained some issues with documentation.
The treatment plan required revision to allow for greater detail. This treatment team, particularly

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the psychologist, documented individual contacts in exceptional detail, including the therapeutic
aspects of those interactions.

Patient J

This healthcare record was reviewed to evaluate the care provided in the SQ-PIP intermediate
care program. This condemned patient was admitted to the SQ-PIP on October 1, 2014, at the
time of activation. The original referral was due to grave disability and lack of engagement with
treatment, including individual sessions and refusing yard. The patient arrived at SQ in 2000.
At the time of the site visit, the patient was reportedly at STEP 3, despite only having attended
five structured groups in the prior 30 days per his most recent treatment team on January 16,
2018. A review of progress notes intermittently listed the patient as STEP 3 and STEP 1, with
no explanation of the discrepancy. The patient’s STEP level was ultimately unclear as a result.
He was provided with a diagnosis of Schizophrenia, paranoid type. He was prescribed Haldol
and benztropine. The patient received his psychotropic medications by a PC 2602 order due to
danger to others.

The patient reportedly had a history of paranoid delusions, bizarre thoughts, disorganization,
tactile hallucinations and depressive symptoms. When not medicated, he exhibited verbally
aggressive and assaultive behavior toward staff.

The patient was assigned to a new treatment team in January 2018 and was seen by that team on
January 16, 2018. He was described as ambivalent about treatment, most likely due to his lack
of insight regarding his mental illness. This team established treatment goals that included
ensuring 100-percent medication adherence, building rapport and increasing the patient’s
engagement with treatment to increase participation in treatment activities. A note in the
healthcare record indicated that the patient had a brain scan that identified patterns of
abnormalities compatible with head injury, as he had reported a head injury secondary to a car
accident as a child. It was unclear if the brain scan results were verified. The presence of such
abnormalities would further complicate the diagnostic and treatment picture for this patient.

Treatment interventions for the goals listed above were either not listed or vague (e.g., listed as
patient specific interventions). However, review of progress notes suggested that the new
treatment team appeared to be beginning anew with the patient, despite extensive documentation
of his course of treatment, prior treatment plans and response to treatment. It was unclear why
the treatment team functioned as though this was a new patient, rather than a patient who had
been receiving treatment at the SQ-PIP for more than three years.

The patient was seen weekly by his psychologist and social worker during the reporting period.
He was also seen weekly by his psychiatrist; there was no clinical rationale provided for this
increased frequency of contact. A review of the records suggested that this may have been due
to the patient’s cooperation with attending his psychiatric contacts. A review of progress notes
from prior treatment team members (e.g., social worker and psychologist) did not include
documentation of therapeutic interventions during individual sessions. Finally, documentation

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indicated that the termination process with the prior psychiatrist was very poor. It appeared that
the patient was informed during the last contact that their treatment was ending.

Findings

This patient did not receive adequate care. His treatment plan did not adequately address his
ongoing lack of treatment engagement. The plan also did not include appropriate treatment
interventions for the primary functional problems, which were the patient’s paranoia and
delusional thoughts. Treatment goals were not stated in objective behavioral terms and
interventions were vague or nonexistent, even when the treatment team changed. The patient
had received care in the SQ-PIP for over three years, but his most recent treatment plan failed to
utilize available data regarding past treatment interventions and response to treatment; instead it
resembled a plan for a new admission. While it was appropriate to include the establishment of
rapport as a goal with the new treatment team, it was inappropriate to not build on prior
treatment for the problem areas. There was no documentation of clinical interventions in the
sessions with the psychologist and social worker. This patient would have benefitted from an
updated treatment plan.




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